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                                                                                                Bulletin No. 2007-36
                                                                                                 September 4, 2007



HIGHLIGHTS
OF THIS ISSUE
These synopses are intended only as aids to the reader in
identifying the subject matter covered. They may not be
relied upon as authoritative interpretations.


INCOME TAX                                                          T.D. 9345, page 523.
                                                                    Final regulations under sections 367 and 1248 of the Code
                                                                    set forth principles for the attribution of earnings and profits to
Rev. Rul. 2007–57, page 531.                                        shares of stock of current or former controlled foreign corpo-
Federal rates; adjusted federal rates; adjusted federal             rations that participate in certain nonrecognition transactions.
long-term rate and the long-term exempt rate. For pur-              The final regulations also provide that, for purposes of section
poses of sections 382, 642, 1274, 1288, and other sections          1248, when a foreign partnership sells stock of a corporation,
of the Code, tables set forth the rates for September 2007.         the partners of the partnership are treated as selling their pro-
                                                                    portionate shares of such stock.
T.D. 9340, page 487.
Final regulations provide updated guidance on tax-shelter           REG–101001–05, page 548.
annuities, custodial accounts of public schools and section         Proposed regulations under section 165 of the Code provide
501(c)(3) tax-exempt organizations, and church retirement           guidance on the availability and character of a deduction for a
income accounts, authorized under section 403(b) of the             loss sustained from abandoned stock or other securities.
Code. The regulations provide the public with the guidance
necessary to comply with the law and will affect sponsors           REG–128224–06, page 551.
of section 403(b) contracts, administrators, participants and       Proposed regulations under section 67 of the Code provide a
beneficiaries. The regulations also provide guidance relating       uniform standard for identifying the types of costs incurred by
to the controlled group rules under section 414(c) for entities     estates or non-grantor trusts that are fully deductible in cal-
that are tax-exempt under section 501(a).                           culating adjusted gross income under section 67(e)(1). Costs
                                                                    incurred by estates or non-grantor trusts that are unique to
T.D. 9343, page 533.                                                an estate or trust are not miscellaneous itemized deductions
Final regulations under section 1502 of the Code allow the Ser-     that are deductible only to the extent they exceed 2 percent
vice to appoint a domestic substitute agent for a consolidated      of adjusted gross income. A public hearing is scheduled for
group when the group’s parent is a foreign corporation that is      November 14, 2007.
treated as a domestic corporation under section 7872 or as
the result of a section 953(d) election.

T.D. 9344, page 535.
REG–148951–05, page 550.
Final, temporary, and proposed regulations under section 7425
of the Code relate to discharge of liens and return of wrongfully
levied property under section 6343. The regulations clarify that
notices and claims are to be sent to the IRS office and official
specified in the relevant IRS publications.



                                                                                                (Continued on the next page)


Announcements of Disbarments and Suspensions begin on page 554.
Finding Lists begin on page ii.
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Notice 2007–72, page 544.                                            Announcement 2007–76, page 560.
Transaction of interest – contribution of successor mem-             The IRS has revoked its determination that Progressive Ser-
ber interest. This notice describes a transaction in which           vices, Inc., of Norman, OK; Harold Binstein Humanitarian Fund
a taxpayer makes a charitable contribution of an interest in         of Chicago, IL; Say No to Drugs of Greenville, TX; Shamrock
an entity that holds real property and claims a deduction for        Boxing, Inc., of Covington, KY; National Home Foundation, Inc.,
the contribution that is significantly higher than the amount        of Rockville, MD; and Business & Nonprofit Center of East-
the taxpayer paid to acquire the interest. This notice identi-       ern Madera County of Fresno, CA, qualify as organizations de-
fies the transaction, and substantially similar transactions, as     scribed in sections 501(c)(3) and 170(c)(2) of the Code.
transactions of interest for purposes of regulations section
1.6011–4(b)(6) and sections 6111 and 6112 of the Code; and
alerts persons involved with these transactions to certain re-       ESTATE TAX
sponsibilities that may arise from their involvement with these
transactions.
                                                                     T.D. 9344, page 535.
Notice 2007–73, page 545.                                            REG–148951–05, page 550.
This notice identifies a transaction that uses a grantor trust,      Final, temporary, and proposed regulations under section 7425
and the purported termination and subsequent re-creation of          of the Code relate to discharge of liens and return of wrongfully
the grantor trust, for the purpose of allowing the grantor to        levied property under section 6343. The regulations clarify that
claim a tax loss greater than any actual economic loss sus-          notices and claims are to be sent to the IRS office and official
tained by the taxpayer or to avoid inappropriately the recogni-      specified in the relevant IRS publications.
tion of gain. The notice also alerts persons involved with these
transactions to certain responsibilities that may arise from their
involvement with these transactions.                                 GIFT TAX

                                                                     T.D. 9344, page 535.
EMPLOYEE PLANS
                                                                     REG–148951–05, page 550.
                                                                     Final, temporary, and proposed regulations under section 7425
T.D. 9340, page 487.                                                 of the Code relate to discharge of liens and return of wrongfully
Final regulations provide updated guidance on tax-shelter            levied property under section 6343. The regulations clarify that
annuities, custodial accounts of public schools and section          notices and claims are to be sent to the IRS office and official
501(c)(3) tax-exempt organizations, and church retirement            specified in the relevant IRS publications.
income accounts, authorized under section 403(b) of the
Code. The regulations provide the public with the guidance
necessary to comply with the law and will affect sponsors            EMPLOYMENT TAX
of section 403(b) contracts, administrators, participants and
beneficiaries. The regulations also provide guidance relating
to the controlled group rules under section 414(c) for entities      T.D. 9344, page 535.
that are tax-exempt under section 501(a).                            REG–148951–05, page 550.
                                                                     Final, temporary, and proposed regulations under section 7425
                                                                     of the Code relate to discharge of liens and return of wrongfully
EXEMPT ORGANIZATIONS                                                 levied property under section 6343. The regulations clarify that
                                                                     notices and claims are to be sent to the IRS office and official
                                                                     specified in the relevant IRS publications.
T.D. 9340, page 487.
Final regulations provide updated guidance on tax-shelter
annuities, custodial accounts of public schools and section          SELF-EMPLOYMENT TAX
501(c)(3) tax-exempt organizations, and church retirement
income accounts, authorized under section 403(b) of the
Code. The regulations provide the public with the guidance           T.D. 9344, page 535.
necessary to comply with the law and will affect sponsors            REG–148951–05, page 550.
of section 403(b) contracts, administrators, participants and        Final, temporary, and proposed regulations under section 7425
beneficiaries. The regulations also provide guidance relating        of the Code relate to discharge of liens and return of wrongfully
to the controlled group rules under section 414(c) for entities      levied property under section 6343. The regulations clarify that
that are tax-exempt under section 501(a).                            notices and claims are to be sent to the IRS office and official
                                                                     specified in the relevant IRS publications.



                                                                                                (Continued on the next page)

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EXCISE TAX

T.D. 9344, page 535.
REG–148951–05, page 550.
Final, temporary, and proposed regulations under section 7425
of the Code relate to discharge of liens and return of wrongfully
levied property under section 6343. The regulations clarify that
notices and claims are to be sent to the IRS office and official
specified in the relevant IRS publications.


TAX CONVENTIONS

Announcement 2007–75, page 540.
This document provides a copy of the Competent Authority
Agreement (CAA) entered into by the Competent Authorities
of the United States and the Netherlands with respect to the
qualification of certain tax-exempt trusts, companies, or other
organizations for benefits under Article 35 of the U.S.–Nether-
lands income tax treaty. The CAA also provides guidelines for
claiming treaty benefits in each country and the methods each
country will use to grant treaty benefits.


ADMINISTRATIVE

T.D. 9344, page 535.
REG–148951–05, page 550.
Final, temporary, and proposed regulations under section 7425
of the Code relate to discharge of liens and return of wrongfully
levied property under section 6343. The regulations clarify that
notices and claims are to be sent to the IRS office and official
specified in the relevant IRS publications.

Rev. Proc. 2007–57, page 547.
This procedure informs taxpayers of their obligations under
section 3402(q) of the Code pertaining to withholding and infor-
mation reporting applicable to certain amounts paid to winners
of poker tournaments. It further sets forth procedures to be
used to comply with the relevant requirements of the Code and
the Treasury regulations thereunder.




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The IRS Mission
Provide America’s taxpayers top quality service by helping                        applying the tax law with integrity and fairness to all.
them understand and meet their tax responsibilities and by


Introduction
The Internal Revenue Bulletin is the authoritative instrument of                  court decisions, rulings, and procedures must be considered,
the Commissioner of Internal Revenue for announcing official                      and Service personnel and others concerned are cautioned
rulings and procedures of the Internal Revenue Service and for                    against reaching the same conclusions in other cases unless
publishing Treasury Decisions, Executive Orders, Tax Conven-                      the facts and circumstances are substantially the same.
tions, legislation, court decisions, and other items of general
interest. It is published weekly and may be obtained from the
                                                                                  The Bulletin is divided into four parts as follows:
Superintendent of Documents on a subscription basis. Bulletin
contents are compiled semiannually into Cumulative Bulletins,
which are sold on a single-copy basis.                                            Part I.—1986 Code.
                                                                                  This part includes rulings and decisions based on provisions of
It is the policy of the Service to publish in the Bulletin all sub-               the Internal Revenue Code of 1986.
stantive rulings necessary to promote a uniform application of
the tax laws, including all rulings that supersede, revoke, mod-                  Part II.—Treaties and Tax Legislation.
ify, or amend any of those previously published in the Bulletin.                  This part is divided into two subparts as follows: Subpart A,
All published rulings apply retroactively unless otherwise indi-                  Tax Conventions and Other Related Items, and Subpart B, Leg-
cated. Procedures relating solely to matters of internal man-                     islation and Related Committee Reports.
agement are not published; however, statements of internal
practices and procedures that affect the rights and duties of
taxpayers are published.                                                          Part III.—Administrative, Procedural, and Miscellaneous.
                                                                                  To the extent practicable, pertinent cross references to these
                                                                                  subjects are contained in the other Parts and Subparts. Also
Revenue rulings represent the conclusions of the Service on the                   included in this part are Bank Secrecy Act Administrative Rul-
application of the law to the pivotal facts stated in the revenue                 ings. Bank Secrecy Act Administrative Rulings are issued by
ruling. In those based on positions taken in rulings to taxpayers                 the Department of the Treasury’s Office of the Assistant Sec-
or technical advice to Service field offices, identifying details                 retary (Enforcement).
and information of a confidential nature are deleted to prevent
unwarranted invasions of privacy and to comply with statutory
requirements.                                                                     Part IV.—Items of General Interest.
                                                                                  This part includes notices of proposed rulemakings, disbar-
                                                                                  ment and suspension lists, and announcements.
Rulings and procedures reported in the Bulletin do not have the
force and effect of Treasury Department Regulations, but they
may be used as precedents. Unpublished rulings will not be                        The last Bulletin for each month includes a cumulative index
relied on, used, or cited as precedents by Service personnel in                   for the matters published during the preceding months. These
the disposition of other cases. In applying published rulings and                 monthly indexes are cumulated on a semiannual basis, and are
procedures, the effect of subsequent legislation, regulations,                    published in the last Bulletin of each semiannual period.



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Part I. Rulings and Decisions Under the Internal Revenue Code
of 1986
Section 42.—Low-Income                                  updated guidance on section 403(b) con-        notice of proposed rulemaking. For this
Housing Credit                                          tracts of public schools and tax-exempt or-    reason, this additional collection of infor-
                                                        ganizations described in section 501(c)(3).    mation has been reviewed and, pending
   The adjusted applicable federal short-term, mid-
                                                        These regulations will affect sponsors of      receipt and evaluation of public com-
term, and long-term rates are set forth for the month
of September 2007. See Rev. Rul. 2007-57, page
                                                        section 403(b) contracts, administrators,      ments, approved by the Office of Man-
531.                                                    participants, and beneficiaries.               agement and Budget in accordance with
                                                                                                       the Paperwork Reduction Act of 1995 (44
                                                        DATES: Effective Date: July 26, 2007.          U.S.C. 3507(d)) under control number
Section 280G.—Golden                                        Applicability Date: These regulations      1545–2068. Comments concerning this
Parachute Payments                                      generally apply for taxable years begin-       additional collection of information should
                                                        ning after December 31, 2008. However,         be sent to the Internal Revenue Service,
   Federal short-term, mid-term, and long-term rates
are set forth for the month of September 2007. See
                                                        see the “Applicability date” section in        Attn: IRS Reports Clearance Officer,
Rev. Rul. 2007-57, page 531.                            this preamble for additional information       SE:W:CAR:MP:T:T:SP, Washington, DC
                                                        regarding the applicability of these regu-     20224, and to the Office of Manage-
                                                        lations.                                       ment and Budget, Attn: Desk Officer for
Section 382.—Limitation                                                                                the Department of the Treasury, Office
on Net Operating Loss                                   FOR       FURTHER         INFORMATION          of Information and Regulatory Affairs,
Carryforwards and Certain                               CONTACT: Concerning the regulations,           Washington, DC 20503. Comments on
Built-In Losses Following                               John Tolleris, (202) 622–6060; concerning      the collection of information should be re-
Ownership Change                                        the regulations as applied to church-related   ceived by September 24, 2007. Comments
                                                        entities, Robert Architect (202) 283–9634      are specifically requested concerning:
   The adjusted applicable federal long-term rate is
                                                        (not toll-free numbers).                          Whether the proposed collection of in-
set forth for the month of September 2007. See Rev.
Rul. 2007-57, page 531.                                                                                formation is necessary for the proper per-
                                                        SUPPLEMENTARY INFORMATION:
                                                                                                       formance of the functions of the Internal
                                                                                                       Revenue Service, including whether the
Section 403.—Taxation of                                Paperwork Reduction Act
                                                                                                       information will have practical utility;
Employee Annuities
                                                            The collection of information in              The accuracy of the estimated burden
26 CFR 1.403(b)–1: General overview of taxabil-         §1.403(b)–10(b)(2)(i)(C) of these final        associated with the proposed collection of
ity under an annuity contract purchased by a section    regulations has been approved by the           information (see above);
501(c)(3) organization or a public school.
                                                        Office of Management and Budget in ac-            How the quality, utility, and clarity of
                                                        cordance with the Paperwork Reduction          the information to be collected may be en-
T.D. 9340                                                                                              hanced;
                                                        Act of 1995 (44 U.S.C. 3507(d)) under
                                                        control number 1545–2068. Responses to            How the burden of complying with the
DEPARTMENT OF
                                                        this collection of information are required    proposed collections of information may
THE TREASURY                                            in order to provide certain benefits.          be minimized, including through the appli-
Internal Revenue Service                                    The estimated burden per respon-           cation of automated collection techniques
26 CFR Parts 1, 31, 54 and                              dent varies among the plan adminis-            or other forms of information technology;
602                                                     trator/payor/recordkeeper,       depending     and
                                                        upon individual respondents’ circum-              Estimates of capital or start-up costs
Revised Regulations                                     stances, with an estimated average of          and costs of operation, maintenance, and
                                                        4.1 hours. Comments concerning the             purchase of service to provide information.
Concerning Section 403(b)
                                                        accuracy of this burden estimate and sug-         An agency may not conduct or sponsor,
Tax-Sheltered Annuity                                   gestions for reducing this burden should       and a person is not required to respond to, a
Contracts                                               be sent to the Internal Revenue Service,       collection of information unless it displays
                                                        Attn: IRS Reports Clearance Officer,           a valid control number assigned by the Of-
AGENCY: Internal Revenue Service                                                                       fice of Management and Budget.
                                                        SE:W:CAR:MP:T:T:SP, Washington, DC
(IRS), Treasury.                                                                                          The estimated burden per respon-
                                                        20224, and to the Office of Manage-
ACTION: Final regulations.                              ment and Budget, Attn: Desk Officer for        dent varies among the plan administra-
                                                        the Department of the Treasury, Office         tor/payor/recordkeeper, depending upon
SUMMARY: This document promulgates                      of Information and Regulatory Affairs,         individual respondents’ circumstances,
final regulations under section 403(b) of               Washington, DC 20503.                          with an estimated average of 4.1 hours.
the Internal Revenue Code and under re-                     The collection of information in              Books or records relating to a collection
lated provisions of sections 402(b), 402(g),            §1.403(b)–10(b)(2)(i)(C) of these final        of information must be retained as long
402A, and 414(c). The regulations provide               regulations was not contained in the prior     as their contents might become material in


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the administration of any internal revenue                  (EGTRRA) (115 Stat. 38, 113, 126, 127),         403(b) arrangements may also include
law. Generally, tax returns and tax return                  Public Law 107–16. The 2004 proposed            after-tax employee contributions.
information are confidential, as required                   regulations also included controlled group          Section 403(b)(1)(C) requires that the
by 26 U.S.C. 6103.                                          rules under section 414(c) for entities that    contract be nonforfeitable (except for the
                                                            are tax-exempt under section 501(a).            failure to pay future premiums), regardless
Background                                                     Following publication of the 2004            of the type of contribution used to purchase
                                                            proposed regulations, comments were re-         the contract. Section 403(b)(1)(E) requires
    Regulations (T.D. 6783, 1965–1 C.B.                     ceived and a public hearing was held on         a section 403(b) contract purchased under
180) under section 403(b) of the Internal                   February 15, 2005. After consideration of       a salary reduction agreement to satisfy the
Revenue Code (Code) were originally                         the comments received, the 2004 proposed        requirements of section 401(a)(30) relat-
published in the Federal Register (29 FR                    regulations are adopted by this Treasury        ing to limitations on elective deferrals un-
18356) on December 24, 1964. Those                          decision, subject to a number of changes,       der section 402(g)(1). In addition, all con-
regulations provided guidance for com-                      some of which are summarized below in           tributions to a section 403(b) arrangement,
plying with section 403(b), which had                       this preamble.                                  when expressed as annual additions under
been enacted in 1958 in section 23(a) of                       Section 403(b) was also amended by           section 415(c)(2), must not exceed the ap-
the Technical Amendments Act of 1958,                       sections 811, 821, 822, 824, 826, and 829       plicable limit of section 415.
Public Law 85–866 (1958), relating to                       of the Pension Protection Act of 2006               Section 403(b)(5) provides that all
tax-sheltered annuity arrangements estab-                   (PPA ’06) (120 Stat. 780), Public Law           section 403(b) contracts purchased for
lished for employees by public schools                      109–280. These final regulations reflect        an individual by an employer are treated
and tax-exempt organizations described                      these amendments.                               as purchased under a single contract for
in section 501(c)(3). Since 1964, ad-                                                                       purposes of the requirements of section
ditional regulations were issued under                      Sections 403(b) and 414(c) Statutory            403(b). Other aggregation rules apply both
section 403(b) to reflect rules relating                    Provisions                                      on an individual and aggregate basis. For
to certain eligible rollover distributions1                                                                 example, the section 402(g) limitations
and required minimum distributions under                        Section 403(b) provides an exclusion        on elective deferrals apply to all elective
section 401(a)(9).2 See §601.601(d)(2)                      from gross income for certain contribu-         deferrals during the year with respect to an
relating to objectives and standards for                    tions made by specific types of employers       individual and the limitations of section
publishing regulations, revenue rulings                     for their employees and by certain minis-       401(a)(30) apply to all elective deferrals
and revenue procedures in the Internal                      ters to specified types of funding arrange-     made by an employer to that employer’s
Revenue Bulletin.                                           ments. The employers are limited to pub-        plans with respect to an individual during
    On November 16, 2004, a notice of                       lic schools and section 501(c)(3) organiza-     the year. The contribution limitations of
proposed rulemaking (REG–155608–02,                         tions. There are three categories of fund-      section 415 generally apply on an em-
2004–2 C.B. 924) was published in the                       ing arrangements to which section 403(b)        ployer-by-employer basis.
Federal Register (69 FR 67075) that                         applies: (1) annuity contracts (as defined          Section 403(b)(12) requires a section
proposed a comprehensive update of the                      in section 401(g)) issued by an insurance       403(b) contract that provides for elective
regulations under section 403(b) (2004                      company; (2) custodial accounts that are        deferrals to make elective deferrals avail-
proposed regulations), including: amend-                    invested solely in mutual funds; and (3) re-    able to all employees (the universal avail-
ing the 1964 and subsequent regulations                     tirement income accounts, which are only        ability rule) and requires other contribu-
to conform them to the numerous amend-                      permitted for church employees and cer-         tions to satisfy the general nondiscrimina-
ments made to section 403(b) by sub-                        tain ministers. Except as otherwise indi-       tion requirements applicable to qualified
sequent legislation, including section                      cated, an annuity contract, for purposes of     plans. These rules are discussed further in
1022(e) of the Employee Retirement In-                      these final regulations, includes a custodial   this preamble under the heading “Section
come Security Act of 1974 (ERISA)                           account that is invested solely in mutual       403(b) Nondiscrimination and Universal
(88 Stat. 829), Public Law 93–406; sec-                     funds.                                          Availability Rules.”
tion 251 of the Tax Equity and Fiscal                           The exclusion applies to employer non-          A section 403(b) contract is also re-
Responsibility Act of 1982 (TEFRA)                          elective contributions (including match-        quired to provide that it will satisfy the
(96 Stat. 324, 529), Public Law 97–248;                     ing contributions) and elective deferrals       required minimum distribution require-
section 1120 of the Tax Reform Act of                       (other than designated Roth contribu-           ments of section 401(a)(9), the incidental
1986 (TRA ’86) (100 Stat. 2085, 2463),                      tions) within the meaning of section            benefit requirements of section 401(a),
Public Law 99–514; section 1450(a) of                       402(g)(3)(C) (which applies to section          and the rollover distribution rules of sec-
the Small Business Job Protection Act of                    403(b) contributions made pursuant to a         tion 402(c).
1996 (SBJPA) (110 Stat. 1755, 1814),                        salary reduction agreement). The exclu-             Many section 403(b) arrangements of
Public Law 104–188; and sections 632,                       sion applies only if certain requirements       employers that are section 501(c)(3) or-
646, and 647 of the Economic Growth                         relating to availability, nondiscrimination,    ganizations are subject to the Employee
and Tax Relief Reconciliation Act of 2001                   and distribution are satisfied. Section         Retirement Income Security Act of 1974

1 See T.D. 8619, 1995–2 C.B. 41, September 22, 1995 (60 FR 49199).

2 See T.D. 8987, 2002–1 C.B. 852, April 17, 2002 (67 FR 18987).




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(ERISA), which includes rules substan-                           plans. For example, section 403(b) is                               These final regulations include a num-
tially identical to the rules for qualified                      limited to certain specific employers and                        ber of revisions to reflect the comments re-
plans, including rules parallel to the sec-                      employees (namely, employees of a public                         ceived, as described further in this pream-
tion 414(l) transfer rules, the section                          school, employees of a section 501(c)(3)                         ble.
401(a)(11) qualified joint and survivor                          organization, and certain ministers) and
annuity (QJSA) transferee plan rules, and                        to certain funding arrangements (namely,                         Written Plan Requirement
the anti-cutback rules of section 411(d)(6)                      an insurance annuity contract, a custodial
                                                                                                                                      These regulations retain the require-
(which apply to transfers). See sections                         account that is limited to mutual fund
                                                                                                                                  ment from the 2004 proposed regula-
204(g), 205, and 208 of ERISA. However,                          shares, or a church retirement income ac-
                                                                                                                                  tions that a section 403(b) contract be
as discussed in this preamble under the                          count). Also, section 403(b) contains the
                                                                                                                                  issued pursuant to a written plan which,
heading “Interaction Between Title I of                          universal availability requirement for sec-
                                                                                                                                  in both form and operation, satisfies the
ERISA and Section 403(b) of the Code,”                           tion 403(b) elective deferrals and provides
                                                                                                                                  requirements of section 403(b) and these
Title I of ERISA does not apply to gov-                          consequences for failing to satisfy certain
                                                                                                                                  regulations.      This requirement imple-
ernmental plans, certain church plans, or                        of the section 403(b) rules (described in
                                                                                                                                  ments the statutory requirements of sec-
a tax-exempt employer’s section 403(b)                           this preamble under the heading “Effect of
                                                                                                                                  tion 403(b)(1)(D), which provides that
program that is not considered to consti-                        a Failure to Satisfy Section 403(b)”)3 that
                                                                                                                                  the contract must be purchased “under
tute the establishment or maintenance of                         differ in significant respects from the con-
                                                                                                                                  a plan” that satisfies the nondiscrimina-
an “employee pension benefit plan” under                         sequences applicable to qualified plans.
                                                                                                                                  tion requirements delineated in section
Title I of ERISA.                                                   The final regulations, as did the 2004
                                                                                                                                  403(b)(12).
    Section 414(c) authorizes the Secretary                      proposed regulations, require the section
                                                                                                                                      The existence of a written plan facili-
of the Treasury to issue regulations treat-                      403(b) contract to satisfy both in form and
                                                                                                                                  tates the allocation of plan responsibilities
ing all employees of trades or businesses                        operation the applicable requirements for
                                                                                                                                  among the employer, the issuer of the con-
which are under common control as em-                            exclusion. The final regulations also re-
                                                                                                                                  tract, and any other parties involved in im-
ployed by a single employer.                                     quire that the contract be maintained pur-
                                                                                                                                  plementing the plan. Without such a cen-
                                                                 suant to a written plan as described in the
Explanation of Provisions                                                                                                         tral document for a comprehensive sum-
                                                                 next section.
                                                                                                                                  mary of responsibilities, there is a risk that
                                                                    The final regulations, like the proposed
Overview                                                                                                                          many of the important responsibilities re-
                                                                 regulations, provide rules under which tax-
                                                                                                                                  quired under the statute and final regula-
                                                                 exempt entities are aggregated and treated
   Like the 2004 proposed regulations,                                                                                            tions may not be allocated to any party.
                                                                 as a single employer under section 414(c).
these final regulations are a comprehen-                                                                                          While a section 403(b) contract issued to
                                                                 These rules apply to plans referenced in
sive update of the current regulations                                                                                            an employee can provide for the issuer to
                                                                 sections 414(b), (c), (m), (o), and (t), such
under section 403(b). These regulations                                                                                           perform many of these functions by itself,
                                                                 as plans qualified under section 401(a) or
replace the existing final regulations that                                                                                       the contract cannot satisfy the function of
                                                                 403(a), as well as section 403(b) plans.
were adopted in 1964 and reflect the nu-                                                                                          setting forth the eligibility criteria for other
                                                                    Comments on the 2004 proposed reg-
merous legal changes that have been made                                                                                          employees, nor can the issuer by itself co-
                                                                 ulations raised a number of questions and
in section 403(b) since then and many                                                                                             ordinate those Code requirements that de-
                                                                 concerns about:
of the positions that have been taken in                                                                                          pend on other contracts, such as the loan
interpretive guidance that has been issued                       • The requirement in the 2004 proposed                           limitations under section 72(p). The is-
under section 403(b).                                                 regulations under which a section                           suer must rely on information or repre-
   As was noted in the preamble to the                                403(b) contract would be required to                        sentations provided by either the employer
2004 proposed regulations, the effect of                              be maintained pursuant to a written                         or the employee for employment-based in-
the various amendments made to section                                plan;                                                       formation that is essential for compliance
403(b) within the past 40 years has been                         •    The elimination of certain non-statu-                       with section 403(b) provisions, such as
to diminish the extent to which the rules                             tory exclusions that a section 403(b)                       the limitations on elective deferrals in sec-
governing section 403(b) plans differ from                            plan was permitted to have under No-                        tion 402(g) and the requirements of section
the rules governing other tax-favored em-                             tice 89–23, 1989–1 C.B. 654, for pur-                       72(p)(2) for a plan loan that is not a taxable
ployer-based retirement plans, including                              poses of the universal availability rule;                   deemed distribution. In addition to pro-
arrangements that include salary reduc-                          •    The elimination of Rev. Rul. 90–24,                         viding a central locus to coordinate those
tion contributions, such as section 401(k)                            1990–1 C.B. 97, which allowed a sec-                        functions, the maintenance of a written
plans and section 457(b) plans for state                              tion 403(b) contract to be exchanged                        plan also benefits participants by provid-
and local governmental entities. How-                                 for another contract; and                                   ing a central document setting forth their
ever, there remain significant differences                       •    The controlled group rules under sec-                       rights and enables government agencies to
between section 403(b) plans and section                              tion 414(c) for entities that are tax-ex-                   determine whether the arrangements sat-
401(a) and governmental section 457(b)                                empt under section 501(a).                                  isfy applicable law and, in particular, for

3 Other differences between the rules applicable to section 403(b) plans and qualified plans include the following: the definition of compensation (including the five-year rule) in section
403(b)(3); the special section 403(b) catch-up elective deferral in section 402(g)(7); and the section 415 aggregation rules. An additional difference relates to when a severance from employ-
ment occurs for purposes of section 403(b) plans maintained by State and local government employers. See §1.403(b)–6(h) of these regulations.



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determining which employees are eligible         vent failures in advance so as to minimize      tract if either: (1) it is a mere change of
to participate in the plan.                      the cases in which the adverse effects of a     investment within the same plan (contract
    The 2004 proposed regulations would          failure fall on the employee. See the dis-      exchange); (2) it constitutes a plan-to-plan
have required that the section 403(b)            cussion in this preamble under the heading      transfer, so that there is another employer
plan include all of the material provisions      “Contract Exchanges.”                           plan receiving the exchange; or (3) it is
regarding eligibility, benefits, applica-            In response to comments, the final regu-    a transfer to purchase permissive service
ble limitations, the contracts available         lations clarify the requirement that the plan   credit (or a repayment to a defined ben-
under the plan, and the time and form un-        include all of the material provisions by       efit governmental plan). If an exchange
der which benefit distributions would be         permitting the plan to incorporate by ref-      or transfer does not constitute a change of
made. The proposed regulations would not         erence other documents, including the in-       investment within the plan, a plan-to-plan
have required that there be a single plan        surance policy or custodial account, which      transfer, or a purchase of permissive ser-
document. However, under the proposed            as a result of such reference would become      vice credit, the exchange or transfer would
regulations, the written plan requirement        part of the plan. As a result, a plan may in-   be treated as a taxable distribution of bene-
would be satisfied by complying with the         clude a wide variety of documents, but it       fits in the form of property if the exchange
plan document rules applicable to quali-         is important for the employer that adopts       occurs after a distributable event (assum-
fied plans.                                      the plan to ensure that there is no conflict    ing the distribution is not rolled over to
    Some comments raised concerns that           with other documents that are incorporated      an eligible retirement plan) or as a tax-
the written plan requirement would impose        by reference. If a plan does incorporate        able conversion to a section 403(c) non-
additional administrative burdens. In re-        other documents by reference, then, in the      qualified annuity contract if a distributable
sponse, the final regulations make a num-        event of a conflict with another document,      event has not occurred. See the “Effect of
ber of clarifications, including that the plan   except in rare and unusual cases, the plan      a Failure to Satisfy Section 403(b)” sec-
is permitted to allocate to the employer or      would govern. In the case of a plan that        tion in this preamble for discussion of sec-
another person the responsibility for per-       is funded through multiple issuers, it is ex-   tion 403(c) nonqualified annuity contracts.
forming functions to administer the plan,        pected that an employer would adopt a sin-      In any case in which a distributable event
including functions to comply with section       gle plan document to coordinate adminis-        has occurred, a participant in a section
403(b). Any such allocation must identify        tration among the issuers, rather than hav-     403(b) plan can always change the invest-
who is responsible for compliance with           ing a separate document for each issuer.        ment through a distribution and non-tax-
the requirements of the Code that apply              Finally, comments also indicated that,      able rollover from a section 403(b) con-
based on the aggregated contracts issued to      while section 403(b) contracts that are sub-    tract to an IRA annuity, as long as the dis-
a participant, including loans under section     ject to ERISA are maintained pursuant to        tribution is an eligible rollover distribu-
72(p) and the requirements for obtaining a       written plans, there may be a potential cost    tion. Note, however, that an IRA annuity
hardship withdrawal under §1.403(b)–6 of         associated with satisfying the written plan     cannot include provisions permitting par-
these regulations.                               requirement for those employers that do         ticipant loans. See sections 408(e)(3) and
    Additional comments recommended              not have existing plan documents, such as       (4) and §§1.408–1(c)(5) and 1.408–3(c).
that certain responsibilities be permitted       public schools. To address this concern,            Any contract exchange, plan-to-plan
to be allocated to employees. The IRS and        the IRS and Treasury Department expect          transfer, or purchase of permissive service
Treasury Department have concluded that          to publish guidance which includes model        credit that is permitted under the final reg-
it is generally inappropriate to allocate        plan provisions that may be used by pub-        ulations is not treated as a distribution for
these responsibilities to employees for a        lic school employers for this purpose. Be-      purposes of the section 403(b) distribution
number of reasons. First, employees often        cause the requirement for a written plan        restrictions (so that such an exchange or
lack the expertise to systematically meet        will not go into effect until 2009 (see the     transfer may be made before severance
these responsibilities and may not recog-        discussion under the heading “Applicabil-       from employment or another distribution
nize the importance of performing these          ity date”), employers would be expected to      event).
actions (including not fully appreciating        adopt a written plan (including applicable
the tax consequences of failing to perform       amendments) no later than the applicabil-       Contract Exchanges
the responsibility). Second, an individual       ity date of these regulations.
employee may have a self-interest in a                                                               Rev. Rul. 73–124, 1973–1 C.B. 200,
particular transaction. In addition, while       Contract Exchanges, Plan-to-Plan                and Rev. Rul. 90–24, 1990–1 C.B. 97,
there are various factors that will often        Transfers, and Purchases of Permissive          dealt with contract exchanges. Rev. Rul.
cause an employer or issuer to have an           Service Credit                                  73–124 had allowed section 403(b) con-
interest in procedures that ensure that the                                                      tracts to be exchanged, without income in-
requirements of section 403(b) are satis-            The final regulations, like the 2004 pro-   clusion, if, pursuant to an agreement with
fied (including income tax withholding           posed regulations, provide for three spe-       the employer, the employee cashed in the
requirements), an employee generally             cific kinds of non-taxable exchanges or         first contract and immediately transmitted
bears the income tax exposure and other          transfers of amounts in section 403(b) con-     the cash proceeds for contribution to the
risks of failing to comply with rules set        tracts. Specifically, under the final regu-     successor contract to which all subsequent
forth in the plan. The IRS and Treasury          lations, a non-taxable exchange or trans-       employer contributions would be made.
Department believe it is important to pre-       fer is permitted for a section 403(b) con-      This ruling was replaced by Rev. Rul.


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90–24 which does not provide for the first       Profit-Sharing Plans, IRAs, Insurance           employment or information that takes into
contract to be cashed in but allows section      Contracts, etc.), or notify the employer        account other section 403(b) contracts
403(b) contracts to be exchanged, without        about loans. Other comments included            or qualified employer plans. For exam-
income inclusion, so long as the successor       a recommendation that the employer be           ple, the procedures must be reasonably
contract includes distribution restrictions      involved to ensure that the exchange is         designed to determine whether a sever-
that are the same or more stringent than the     within the plan. Comments also suggested        ance from employment has occurred for
distribution restrictions in the contract that   that a grandfather may be necessary for         purposes of the distribution restrictions,
is being exchanged.                              exchanges made before the applicability         whether the hardship withdrawal rules are
    The 2004 proposed regulations would          date of the restrictions imposed by the         satisfied, and whether a plan loan consti-
have imposed additional restrictions on          final regulations.                              tutes a deemed distribution under section
contract exchanges by limiting tax-free              These final regulations include a num-      72(p). By contrast, procedures that rely on
contract exchanges to situations in which        ber of changes to reflect these comments.       an employee certification, such as whether
the new contract is provided under the           The regulations allow contract exchanges        a severance from employment has oc-
plan.     The proposal was intended to           with certain characteristics associated with    curred or whether the participant has other
improve compliance with the Code re-             Rev. Rul. 90–24, but under rules that           outstanding loans, would generally not be
quirements that apply on an aggregated           are generally similar to those applicable to    adequate to meet this standard, because
basis because, without coordination, it          qualified plans.                                such a certification is not disinterested,
is difficult, if not impossible, for a plan          Unlike the 2004 proposed regulations,       and also because of the lack of employer
to comply with those tax requirements.           these regulations permit an exchange of         oversight in the certification process to
These requirements include certain dis-          one contract for another to constitute a        ensure accuracy.
tribution restrictions, including the rule       mere change of investment within the
that requires the suspension of deferrals        same plan, but only if certain conditions       Plan-to-Plan Transfers
for a plan that uses the hardship with-          are satisfied in order to facilitate compli-
drawal suspension safe harbor rules for          ance with tax requirements. Specifically,           The final regulations expand the rules
elective deferrals, and the section 72(p)        the other contract must include distribu-       in the 2004 proposed regulations under
rules for loans. In addition, these changes      tion restrictions that are not less stringent   which plan-to-plan transfers would have
make it easier for employers to respond          than those imposed on the contract being        been permitted only if the participant was
to an IRS inquiry or audit. For exam-            exchanged and the employer must enter           an employee of the employer maintain-
ple, where assets have been transferred          into an agreement with the issuer of the        ing the receiving plan. Under the final
to an insurance carrier or mutual fund           other contract under which the employer         regulations, plan-to-plan transfers are per-
that has no subsequent connection to the         and the issuer will from time to time in        mitted if the participant whose assets are
plan or the employer, IRS audits and re-         the future provide each other with certain      being transferred is an employee or for-
lated investigations have revealed that          information. This includes information          mer employee of the employer (or busi-
employers encounter substantial difficulty       concerning the participant’s employment         ness of the employer) that maintains the
in demonstrating compliance with hard-           and information that takes into account         receiving plan and certain additional re-
ship withdrawal and loan rules. These            other section 403(b) contracts or qualified     quirements are met. However, the final
problems are particularly acute when an          employer plans, such as whether a sever-        regulations retain the rules that were in
individual’s benefits are held by numerous       ance from employment has occurred for           the 2004 proposed regulations prohibiting
carriers. Such multiple contract issuers         purposes of the distribution restrictions       a plan-to-plan transfer to a qualified plan,
are commonly associated with plans in            and whether the hardship withdrawal rules       an eligible plan under section 457(b), or
which Rev. Rul. 90–24 exchanges have             in the regulations are satisfied. Additional    any other type of plan that is not a section
occurred.                                        information that is required is information     403(b) plan, except as described in the next
    Commentators generally objected to           necessary for the resulting contract or any     paragraph. Similarly, a section 403(b) plan
the proposal to limit exchanges allowed          other contract to which contributions have      is not permitted to accept a transfer from a
under Rev. Rul. 90–24. They argued               been made by the employer to satisfy other      qualified plan, an eligible plan under sec-
that such exchanges enable participants to       tax requirements, such as whether a plan        tion 457(b), or any other type of plan that
change funding arrangements and claimed          loan constitutes a deemed distribution un-      is not a section 403(b) plan.
that these exchanges have generally been         der section 72(p).
responsible for improved efficiency and              These regulations also authorize the        Purchases of Permissive Service Credit
lower cost in the section 403(b) mar-            IRS to issue guidance of general applica-       and Certain Repayments
ket. Comments often included specific            bility allowing exchanges in other cases.
suggestions, such as limiting any restric-       This authority is limited to cases in which        The final regulations, like the 2004 pro-
tions on exchanges to active employees           the resulting contract has procedures that      posed regulations, include an exception
and effectuating compliance with loan            the IRS determines are reasonably de-           permitting a section 403(b) plan to pro-
restrictions by alternative methods, such        signed to ensure compliance with those          vide for the transfer of its assets to a quali-
as having the issuer report loans on, for        requirements of section 403(b) or other         fied plan under section 401(a) to purchase
example, a Form 1099–R (Distributions            tax provisions that depend on either in-        permissive service credit under a defined
From Pensions, Annuities, Retirement or          formation concerning the participant’s          benefit governmental plan or to make a re-


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payment to a defined benefit governmental                           Any contribution made for a participant                      is a school, hospital, health and welfare
plan.                                                           to a section 403(b) contract for a taxable                       service agency (including a home health
                                                                year that exceeds either the section 415                         service agency), or a church-related or-
Limitations on Contributions                                    maximum annual contribution limits or the                        ganization.
                                                                section 402(g) elective deferral limit con-                          The 2004 proposed regulations defined
    The final regulations, like the 2004 pro-
                                                                stitutes an excess contribution that is in-                      a health and welfare service agency as ei-
posed regulations, provide that the section
                                                                cluded in gross income for that taxable                          ther an organization whose primary activ-
403(b) exclusion applies only to the extent
                                                                year (or, if later, the taxable year in which                    ity is to provide medical care as defined
that all amounts contributed by the em-
                                                                the contract becomes nonforfeitable). The                        in section 213(d)(1) (such as a hospice),
ployer for the purchase of an annuity con-
                                                                final regulations, like the 2004 proposed                        or a section 501(c)(3) organization whose
tract for the participant do not exceed the
                                                                regulations, provide that the section 403(b)                     primary activity is the prevention of cru-
applicable limits under section 415. The
                                                                plan (including contracts under the plan)                        elty to individuals or animals or which
final regulations retain the rule in the 2004
                                                                may provide that any excess deferral as a                        provides substantial personal services to
proposed regulations that if an excess an-
                                                                result of a failure to comply with the sec-                      the needy as part of its primary activity
nual addition is made to a contract that oth-
                                                                tion 402(g) elective deferral limit for the                      (such as a section 501(c)(3) organization
erwise satisfies the requirements of section
                                                                taxable year with respect to any section                         that provides meals to needy individuals).
403(b), then the portion of the contract that
                                                                403(b) elective deferral made for a partici-                     In response to several commentators’ re-
includes the excess will fail to be a sec-
                                                                pant by the employer will be distributed to                      quests, the final regulations expand this
tion 403(b) contract (and instead will be
                                                                the participant, with allocable net income,                      definition to include an adoption agency
a contract to which section 403(c), relat-
                                                                no later than April 15 or otherwise in ac-                       and an agency that provides either home
ing to nonqualified annuity contracts, ap-
                                                                cordance with section 402(g).                                    health services or assistance to individuals
plies) and the remaining portion of the con-
                                                                                                                                 with substance abuse problems or that pro-
tract that includes the contribution that is                    Catch-up Contributions                                           vides help to the disabled.
not in excess of the section 415 limitations
                                                                                                                                     Like the 2004 proposed regulations, the
is a section 403(b) contract. This rule un-                        A section 403(b) plan may provide
                                                                                                                                 final regulations provide that any catch-up
der which only the excess annual addition                       for additional catch-up contributions for
                                                                                                                                 contribution for an employee who is eli-
is subject to section 403(c) does not apply                     a participant who is age 50 by the end
                                                                                                                                 gible for both an age 50 catch-up and the
unless, for the year of the excess and each                     of the year, provided that those age 50
                                                                                                                                 special section 403(b) catch-up is treated
year thereafter, the issuer of the contract                     catch-up contributions do not exceed the
                                                                                                                                 first as a special section 403(b) catch-up to
maintains separate accounts for the portion                     catch-up limit under section 414(v) for the
                                                                                                                                 the extent a special section 403(b) catch-up
that includes the excess and for the section                    taxable year ($5,000 for 2007). In addi-
                                                                                                                                 is permitted, and then as an amount con-
403(b) portion (which is the portion that                       tion, a section 403(b) plan may provide
                                                                                                                                 tributed as an age 50 catch-up (to the ex-
includes the amount that is not in excess                       that an employee of a qualified organiza-
                                                                                                                                 tent the age 50 catch-up amount exceeds
of the section 415 limitations).                                tion who has at least 15 years of service
                                                                                                                                 the maximum special section 403(b) catch-
    With respect to section 403(b) elective                     (disregarding any period during which
                                                                                                                                 up).
deferrals, section 403(b) applies only if the                   an individual is not an employee of the
contract is purchased under a plan that in-                     eligible employer) is entitled to a special                      Timing of Distributions and Benefits
cludes the elective deferral limits under                       section 403(b) catch-up limit. Under the
section 402(g), including aggregation of                        special section 403(b) catch-up limit, the                           The final regulations, like the 2004
all plans, contracts, or arrangements of the                    section 402(g) limit is increased by the                         proposed regulations, contain provisions
employer that are subject to the limits of                      lowest of the following three amounts: (i)                       reflecting the statutory rules regarding
section 402(g). As in the 2004 proposed                         $3,000; (ii) the excess of $15,000 over                          when distributions can be made from
regulations, the final regulations require                      the amount not included in gross income                          a section 403(b) plan. Distributions of
a section 403(b) contract to include this                       for prior taxable years by reason of the                         amounts attributable to section 403(b)
limit on section 403(b) elective deferrals,                     special section 403(b) catch-up rules,                           elective deferrals may not be paid to a par-
as imposed under sections 401(a)(30) and                        plus elective deferrals that are designated                      ticipant earlier than when the participant
402(g). For purposes of the final regula-                       Roth contributions;4 or (iii) the excess of                      has a severance from employment, has a
tions, the term “elective deferral” includes                    (A) $5,000 multiplied by the number of                           hardship, becomes disabled (within the
a designated Roth contribution as well as a                     years of service of the employee with the                        meaning of section 72(m)(7)), or attains
pre-tax elective contribution. These rules                      qualified organization, over (B) the total                       age 591/2. Hardship is generally defined
are generally the same as the rules for                         elective deferrals made for the employee                         under regulations issued under section
qualified cash or deferred arrangements                         by the qualified organization for prior tax-                     401(k). In addition, amounts held in a
(CODAs) under section 401(k).                                   able years. For this purpose, a qualified                        custodial account attributable to employer
                                                                organization is an eligible employer that                        contributions (that are not section 403(b)

4 A technical correction was made to section 402(g)(7)(A)(ii) by section 407(a) of the Gulf Opportunity Zone Act of 2005 (119 Stat. 2577), P.L. 109–135, to clarify that the aggregate $15,000
limit on such contributions was reduced not only by pre-tax elective deferrals made pursuant to the special section 403(b) catch-up rules, but also by designated Roth contributions. Treasury
has recommended that this language be further changed to reflect the intent that the reduction for designated Roth contributions at section 402(g)(7)(A)(ii)(II) be limited to designated Roth
contributions that have been made pursuant to the special section 403(b) catch-up rules.



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elective deferrals) may not be paid to a                   (under §1.401–1(b)(1)(ii)), so that a plan                  Severance From Employment
participant before the participant has a                   is permitted to provide for a distribution
severance from employment, becomes                         upon completion of a fixed number of                           The final regulations, like the 2004 pro-
disabled (within the meaning of section                    years (such as five years of participation),                posed regulations, define severance from
72(m)(7)), or attains age 591/2. This rule                 the attainment of a stated age, or upon the                 employment in a manner that is gener-
also applies to amounts transferred out of                 occurrence of some other identified event                   ally the same as the regulations under sec-
a custodial account to an annuity contract                 (such as the occurrence of a financial                      tion 401(k) (see §1.401(k)–1(d)(2)), but
or retirement income account, including                    need,5 including a need to buy a home).                     provide that, for purposes of distributions
earnings thereon.                                             However, the final regulations make                      from a section 403(b) plan, a severance
    The final regulations, as did the 2004                 a number of changes relating to distribu-                   from employment occurs on any date on
proposed regulations, include a number                     tions. First, the final regulations clarify                 which the employee ceases to be employed
of exceptions to the timing restrictions.                  that after-tax employee contributions are                   by an eligible employer that maintains the
For example, the rule for elective defer-                  not subject to any in-service distribu-                     section 403(b) plan. Thus, a severance
rals does not apply to distributions of sec-               tion restrictions. Second, the regulations                  from employment would occur when an
tion 403(b) elective deferrals (not includ-                address comments that were made re-                         employee ceases to be employed by an eli-
ing earnings thereon) that were contributed                garding certain disability arrangements by                  gible employer, even though the employee
before January 1, 1989.                                    clarifying that, if an insurance contract                   may continue to be employed by an entity
    The final regulations, as did the 2004                 includes provisions under which contri-                     that is part of the same controlled group
proposed regulations, reflect the direct                   butions will be continued in the event a                    but that is not an eligible employer, or on
rollover rules of section 401(a)(31) and                   participant becomes disabled, then that                     any date on which the employee works in
the related requirements of section 402(f)                 benefit is treated as an incidental benefit                 a capacity that is not employment with an
concerning the written explanation re-                     that must satisfy the incidental benefit re-                eligible employer. Examples of the sit-
quirement for distributions that qualify as                quirement applicable to qualified plans (at                 uations that constitute a severance from
eligible rollover distributions, including                 §1.401–1(b)(1)(ii)). Third, changes were                    employment include: an employee trans-
conforming the timing rule to the rule for                 made to reflect elective deferrals that are                 ferring from a section 501(c)(3) organiza-
qualified plans.                                           designated Roth contributions, discussed                    tion to a for-profit subsidiary of the section
    In addition to the restrictions described              further later in this preamble under the                    501(c)(3) organization; an employee ceas-
in this preamble, the final regulations                    heading, “Requirement of Certain Sep-                       ing to work for a public school, but contin-
generally retain, with certain modifica-                   arate Accounts Under Section 403(b).”                       uing to be employed by the same State; and
tions, the additional rules from the 2004                  Fourth, §1.403(b)–7(b)(5) has been added                    an individual employed as a minister for an
proposed regulations relating to when dis-                 referencing the automatic rollover rules                    entity that is neither a State nor a section
tributions are permitted to be made from a                 of section 401(a)(31), in accordance with                   501(c)(3) organization ceasing to perform
section 403(b) plan, including the restric-                section 403(b)(10). See Notice 2005–5,                      services as a minister, but continuing to be
tions described in this preamble imposed                   2005–1 C.B. 337, for rules interpreting this                employed by the same entity.
by sections 403(b)(7)(A)(ii) and (11) on                   requirement. Fifth, a cross-reference to
                                                                                                                       Section 401(a)(9)
distribution of amounts held in custodial                  certain employment tax rules was added,
accounts and elective deferrals, and the                   discussed under the heading “Employment                         The final regulations, like the 2004 pro-
tax treatment of distributions from sec-                   Taxes.” Sixth, in response to comments,                     posed regulations, require section 403(b)
tion 403(b) plans. Comments raised no                      the final regulations provide that the gen-                 plans to comply with rules similar to those
objections to the various rules that were                  eral rule requiring the occurrence of a                     in the existing regulations relating to the
proposed in 2004, other than concerning                    stated event in order for distributions to                  required minimum distribution require-
the general rule requiring the occurrence                  commence does not apply to insurance                        ments of section 401(a)(9), but with some
of a stated event. The 2004 proposed reg-                  contracts issued before January 1, 2009,                    minor changes (for example, omitting the
ulations generally would have required                     and a special rule has been added allowing                  special rules for 5-percent owners). Thus,
the occurrence of a stated event in order                  conforming amendments to be adopted                         section 403(b) contracts must satisfy the
to commence distributions of amounts                       by plans that are subject to ERISA. Sec-                    incidental benefit rules. Guidance con-
attributable to employer contributions to                  tion 1.403(b)–10(c) has been clarified to                   cerning the application of the incidental
section 403(b) plans other than elective                   indicate that in order to be treated as a                   benefit requirements to permissible non-
deferrals or distributions from custodial                  distribution under this section, the distri-                retirement benefits such as life, accident,
accounts. The stated event rule is substan-                bution must be pursuant to a QDRO as                        or health benefits is contained in revenue
tially the same as the rule applicable to                  described in section 206(d)(3) of ERISA                     rulings.6
qualified defined contribution plans that                  and the Department of Labor’s guidance.
are not money purchase pension plans


5 See, for example, Rev. Rul. 56–693, 1956–2 C.B. 282.

6 See, for example, Rev. Rul. 61–121, 1961–2 C.B. 65; Rev. Rul. 68–304, 1968–1 C.B. 179; Rev. Rul. 72–240, 1972–1 C.B. 108; Rev. Rul. 72–241, 1972–1 C.B. 108; Rev. Rul. 73–239,
1973–1 C.B. 201; and Rev. Rul. 74–115, 1974–1 C.B. 100.



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Loans                                            the payor to give proper written notice to      this preamble under the heading “Univer-
                                                 the section 403(b) participant or benefi-       sal Availability for Elective Deferrals”).
    The final regulations adopt the provi-       ciary concerning the eligible rollover dis-     A non-governmental section 403(b) plan
sions in the 2004 proposed regulations re-       tribution provision.                            that provides for nonelective employer
lating to loans to participants from a sec-                                                      contributions must satisfy the coverage
tion 403(b) contract.                            Section 403(b) Nondiscrimination and            requirements of section 410(b) and the
                                                 Universal Availability Rules                    nondiscrimination requirements of section
QDROs                                                                                            401(a)(4) with respect to such contribu-
                                                 Nondiscrimination                               tions.
    The final regulations also adopt the                                                            These final regulations, like the 2004
2004 proposed regulations’ limited rules             Section 403(b)(12)(A)(i) requires that
                                                                                                 proposed regulations, require a section
relating to QDROs under section 414(p).          employer contributions, other than elective
                                                                                                 403(b) plan to comply with the nondis-
Section 414(p)(9) provides that the QDRO         deferrals, and after-tax employee contribu-
                                                                                                 crimination requirements for matching
rules only apply to plans that are sub-          tions made under a section 403(b) contract
                                                                                                 contributions in the same manner as a
ject to the anti-alienation provisions of        satisfy a specified series of requirements
                                                                                                 qualified plan. Thus, a non-governmen-
section 401(a)(13), except that section          (the nondiscrimination requirements) in
                                                                                                 tal section 403(b) plan that provides for
414(p)(9) also provides that the section         the same manner as a qualified plan under
                                                                                                 matching contribution must satisfy the
414(p) QDRO rules apply to a section             section 401(a). These nondiscrimination
                                                                                                 nondiscrimination requirements of section
403(b) contract. The final regulations,          requirements include rules relating to
                                                                                                 401(m). The nondiscrimination require-
like the proposed regulations, clarify that      nondiscrimination in contributions, ben-
                                                                                                 ments are generally tested using compen-
the QDRO rules under section 414(p) ap-          efits, and coverage (sections 401(a)(4)
                                                                                                 sation as defined in section 414(s) and are
ply to section 403(b) plans. The Secretary       and 410(b)), a limitation on the amount
                                                                                                 applied on an aggregated basis taking into
of Labor has authority to interpret the          of compensation that can be taken into
                                                                                                 account all plans of the employer. See the
QDRO provisions, section 206(d)(3), and          account (section 401(a)(17)), and the av-
                                                                                                 discussion under the heading “Treatment
its parallel provision at section 414(p) of      erage contribution percentage rules of
                                                                                                 of Controlled Groups that Include Certain
the Code, and to issue QDRO regulations          section 401(m) (relating to matching and
                                                                                                 Entities.”
in consultation with the Secretary of the        after-tax employee contributions).
                                                                                                    The nondiscrimination requirements do
Treasury. 29 U.S.C. 1056(d)(3)(N). Under             Notice 89–23 discusses these require-
                                                                                                 not apply to section 403(b) elective defer-
section 401(n) of the Internal Revenue           ments and provides a good faith reason-
                                                                                                 rals. Instead, a universal availability re-
Code, the Secretary of the Treasury has          able standard for satisfying these require-
                                                                                                 quirement, discussed further in the next
authority to issue rules and regulations         ments. The 2004 proposed regulations
                                                                                                 section, applies to all section 403(b) elec-
necessary to coordinate the requirements         would have eliminated the good faith
                                                                                                 tive deferrals (including elective deferrals
of section 414(p) (and the regulations is-       reasonable standard for satisfying the
                                                                                                 made under a governmental section 403(b)
sued by the Secretary of Labor thereunder)       nondiscrimination requirements of section
                                                                                                 plan).
with the other provisions of Chapter I of        403(b)(12)(A)(i) for non-governmental
Subtitle A of the Code.                          plans. Comments acknowledged the need           Universal Availability for Elective
                                                 for and the IRS’s authority to make this        Deferrals
Taxation of Distributions and Benefits           change. Accordingly, these final regu-
From a Section 403(b) Contract                   lations do not include the Notice 89–23             The universal availability requirement
                                                 good faith reasonable standard.                 of section 403(b)(12)(A)(ii) provides that
    The final regulations, like the 2004 pro-        However, as discussed in this pre-          all employees of the eligible employer
posed regulations, reflect the statutory pro-    amble under the heading “Treatment of           must be permitted to elect to have sec-
visions regarding the taxation of distribu-      Controlled Groups that Include Certain          tion 403(b) elective deferrals contributed
tions and benefits from section 403(b) con-      Entities,” the Notice 89–23 good faith          on their behalf if any employee of the
tracts, including the provision that gen-        reasonable standard will continue to apply      eligible employer may elect to have the
erally only amounts actually distributed         to State and local public schools (and cer-     organization make section 403(b) elec-
from a section 403(b) contract are includi-      tain church entities) for determining the       tive deferrals. Under the 2004 proposed
ble in the gross income of the recipient un-     controlled group. Although the general          regulations, the universal availability re-
der section 72 for the year in which dis-        nondiscrimination requirements do not           quirement would not have been satisfied
tributed. The final regulations also reflect     apply to governmental plans (within the         unless the contributions were made pur-
the rule that any payment that constitutes       meaning of section 414(d)), these plans are     suant to a section 403(b) plan and the plan
an eligible rollover distribution is not taxed   required to limit the amount of compensa-       permitted all employees of an employer
in the year distributed to the extent the pay-   tion to the amount permitted under section      an opportunity to make elective deferrals
ment is rolled over to an eligible retirement    401(a)(17) for all purposes under the plan,     if any employee of that employer has the
plan. The payor must withhold 20 percent         including, for example the amount of com-       right to make elective deferrals.
Federal income tax, however, if an eligible      pensation taken into account for employer           The rules in the final regulations relat-
rollover distribution is not rolled over in a    contributions, and are required to satisfy      ing to the universal availability require-
direct rollover. Another provision requires      the universal availability rule (described in   ment are substantially similar to those in



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the 2004 proposed regulations. The fi-         do not provide an exclusion from the uni-        a church or a convention or association of
nal regulations clarify that the employee’s    versal availability requirement for individ-     churches as discussed in the next section.
right to make elective deferrals also in-      uals working under a vow of poverty, indi-
cludes the right to designate section 403(b)   viduals who work for an institution that is      Special Rules for Church Plans’
elective deferrals as designated Roth con-     controlled by the church organization and        Retirement Income Accounts
tributions (if any employee of the eligible    whose compensation from the employer is
employer may elect to have the organiza-       not treated as wages for purposes of in-             The final regulations, like the 2004 pro-
tion make section 403(b) elective deferrals    come tax withholding under Rev. Rul.             posed regulations, include a number of
as designated Roth contributions).             68–123 may be excluded from the section          special rules for church plans. Under sec-
    The preamble to the 2004 proposed          403(b) plan without violating the univer-        tion 403(b)(9), a retirement income ac-
regulations requested comments regarding       sal availability requirement because they        count for employees of a church-related
certain exclusions that have been per-         are not treated as employees of the entity       organization is treated as an annuity con-
mitted under transitional guidance issued      maintaining the section 403(b) plan.             tract for purposes of section 403(b). Un-
in 1989. Specifically, Notice 89–23 had            With respect to an exclusion relating to     der these regulations, the rules for a re-
allowed, pending issuance of regulatory        visiting professors, if an individual is ren-    tirement income account are based largely
guidance, the exclusion of the follow-         dering services to a university as a vis-        on the provisions of section 403(b)(9) and
ing classes of employees for purposes          iting professor, but continues to receive        the legislative history of TEFRA. The reg-
of the universal availability rule: em-        his or her compensation from his or her          ulations define a retirement income ac-
ployees who are covered by a collective        home university and elective deferrals on        count as a defined contribution program
bargaining agreement; employees who            his or her behalf are made under the home        established or maintained by a church-re-
make a one-time election to participate in     university’s section 403(b) plan, the final      lated organization under which (i) there
a governmental plan described in section       regulations do not, for purposes of sec-         is separate accounting for the retirement
414(d), instead of a section 403(b) plan;      tion 403(b) and in any case in which such        income account’s interest in the underly-
professors who are providing services on       treatment is appropriate, preclude the plan      ing assets (namely, it must be possible at
a temporary basis to another public school     maintained by the home university from           all times to determine the retirement in-
for up to one year and for whom section        treating the visiting professor as an eligi-     come account’s interest in the underlying
403(b) contributions are being made at         ble employee of the home university.             assets and to distinguish that interest from
a rate no greater than the rate each such          The discussion in this preamble un-          any interest that is not part of the retire-
professor would receive under the section      der the heading “Applicability date” de-         ment income account), (ii) investment per-
403(b) plan of the original public school;     scribes transition relief for any existing       formance is based on gains and losses on
and employees who are affiliated with a        plan that excludes, in accordance with           those assets, and (iii) the assets held in the
religious order and who have taken a vow       Notice 89–23, collective bargaining em-          account cannot be used for, or diverted to,
of poverty where the religious order pro-      ployees, visiting professors, government         purposes other than for the exclusive ben-
vides for the support of such employees in     employees who make a one-time election,          efit of plan participants or their beneficia-
their retirement.                              or employees who work under a vow of             ries. For this purpose, assets are treated as
    The comments submitted in response         poverty.                                         diverted to the employer if the employer
to the request generally requested to have                                                      borrows assets from the account. A retire-
these exclusions continue to be allowed.       Rules Relating to Funding Arrangements           ment income account must be maintained
However, after consideration of the com-                                                        pursuant to a program which is a plan and
                                                   These regulations retain, with certain
ments received, the IRS and Treasury De-                                                        the plan document must state (or otherwise
                                               modifications, the rules in the 2004 pro-
partment have concluded that these ex-                                                          evidence in a similarly clear manner) the
                                               posed regulations relating to the permit-
clusions are inconsistent with the statute                                                      intent to constitute a retirement income ac-
                                               ted investments for a section 403(b) con-
and, accordingly, they are not permitted                                                        count.
                                               tract. In general, a section 403(b) plan
under these regulations. Nonetheless, as                                                            If any asset of a retirement income ac-
                                               must be funded either by an annuity con-
described further in the following para-                                                        count is owned or used by a participant or
                                               tract issued by an insurance company qual-
graphs, other rules may provide relief with                                                     beneficiary, then that ownership or use is
                                               ified to issue annuities in a State or a cus-
respect to individuals who are under a vow                                                      treated as a distribution to that participant
                                               todial account held by a bank (or a per-
of poverty and to certain university profes-                                                    or beneficiary. The regulations also pro-
                                               son who satisfies the conditions in section
sors affected.                                                                                  vide that a retirement income account that
                                               401(f)(2)) where all of the amounts in the
    Rev. Rul. 68–123, 1968–1 C.B. 35, as                                                        is treated as an annuity contract is not a
                                               account are held for the exclusive benefit
clarified by Rev. Rul. 83–127, 1983–2                                                           custodial account (even if it is invested in
                                               of plan participants or their beneficiaries in
C.B. 25, generally excludes from gross                                                          stock of a regulated investment company).
                                               regulated investment companies (mutual
income, and from wage withholding, in-                                                              A life annuity can generally only be
                                               funds) and certain other conditions are sat-
come of an individual working under a                                                           provided from an individual account by the
                                               isfied (including restrictions on distribu-
vow of poverty for an employer controlled                                                       purchase of an insurance annuity contract.
                                               tions). Additional rules apply with respect
by a church and the individual is treated                                                       However, in light of the special rules ap-
                                               to retirement income accounts for plans of
as working as an agent of the church, not                                                       plicable to church retirement income ac-
as an employee. While these regulations                                                         counts, the final regulations, like the 2004


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proposed regulations, permit a life annu-                       the plan. A distribution for this purpose         tive deferrals under a contract, when ag-
ity to be paid from such an account if cer-                     includes delivery of a fully paid individual      gregated with any other contract, plan, or
tain conditions are satisfied. The condi-                       insurance annuity contract.                       arrangement of the employer for that em-
tions are that the distribution from the ac-                                                                      ployee during a calendar year, exceed the
count has an actuarial present value, at the                    Effect of a Failure to Satisfy Section            maximum deferral amount permitted un-
annuity starting date, that is equal to the                     403(b)                                            der section 402(g)(1)(A) (as made appli-
participant’s or beneficiary’s accumulated                                                                        cable by section 403(b)(1)(E)), the fail-
                                                                    These regulations include revisions to
benefit, based on reasonable actuarial as-                                                                        ure would adversely affect the contracts is-
                                                                the 2004 proposed regulations that address
sumptions, including assumptions regard-                                                                          sued to the employee by that employer, but
                                                                the effects of a failure to satisfy section
ing interest and mortality, and that the plan                                                                     would not adversely affect any other em-
                                                                403(b). Section 403(b)(5) provides for all
sponsor guarantee benefits in the event that                                                                      ployee’s contracts.
                                                                of the contracts purchased for an employee
a payment is due that exceeds the partici-
                                                                by an employer to be treated as a single          Requirement of Certain Separate Accounts
pant’s or beneficiary’s accumulated bene-
                                                                contract for purposes of section 403(b).          Under Section 403(b)
fit.
                                                                Thus, if a contract fails to satisfy any of the
Termination of a Section 403(b) Plan                            section 403(b) requirements, then not only            The final regulations, like the 2004
                                                                that contract but also any other contract         proposed regulations, include technical
    The final regulations adopt the provi-                      purchased for that individual by that em-         provisions addressing certain situations
sions of the 2004 proposed regulations per-                     ployer would fail to be a contract that qual-     in which a separate account7 is necessary
mitting an employer to amend its section                        ifies for tax-deferral under section 403(b).      under section 403(b). For example, a sep-
403(b) plan to eliminate future contribu-                           Under these regulations, as under the         arate bookkeeping account is required for
tions for existing participants, and allow-                     2004 proposed regulations, if a contract          any contract in which only a portion of the
ing plan provisions that permit plan termi-                     includes any amount that fails to satisfy         employee’s interest is vested because, in
nation and a resulting distribution of accu-                    the requirements of these regulations, then,      such a case, separate accounting for each
mulated benefits, with the associated right                     except for special rules relating to vesting      type of contribution (and earnings thereon)
to roll over eligible rollover distributions                    conditions and excess contributions (under        that is subject to a different vesting sched-
to an eligible retirement plan, such as an                      section 415 or section 402(g)), that con-         ule is necessary to determine which vested
individual retirement account or annuity                        tract and any other contract purchased for        contributions, including earnings thereon,
(IRA). Comments on the rules in the 2004                        that individual by that employer does not         are treated as held under a section 403(b)
proposed regulations regarding plan termi-                      constitute a section 403(b) contract. In ad-      contract. In addition, the final regula-
nation were favorable. In general, the dis-                     dition, if a contract is not established pur-     tions also clarify that if the section 403(b)
tribution of accumulated benefits is per-                       suant to a written plan, then the contract        plan fails to establish a separate account
mitted under these regulations only if the                      does not satisfy section 403(b). Thus, if         for contributions in excess of the section
employer (taking into account all entities                      an employer fails to have a written plan,         415(c) limitation under section 403(c) (re-
that are treated as a single employer under                     any contract purchased by that employer           lating to nonqualified annuity contracts
section 414 on the date of the termination)                     would not be a section 403(b) contract.           whose present values are generally subject
does not make contributions to any section                      Similarly, if an employer is not an eligible      to current taxation), so that such excess
403(b) contract that is not part of the plan                    employer for purposes of section 403(b),          contributions are commingled in a sin-
during the period beginning on the date of                      none of the contracts purchased by that           gle insurance contract with contributions
plan termination and ending 12 months af-                       employer is a section 403(b) contract. If         intended to qualify under section 403(b)
ter distribution of all assets from the ter-                    a plan fails to satisfy the nondiscrimina-        without maintaining a separate account for
minated plan. However, if at all times dur-                     tion rules (including a failure to operate the    each amount, then none of the amounts
ing the period beginning 12 months before                       plan in accordance with its coverage pro-         held under the insurance contract qualify
the termination and ending 12 months af-                        visions or a failure to operate the plan in       for tax deferral under section 403(b). Any
ter distribution of all assets from the termi-                  a manner that satisfies the nondiscrimina-        such separate account must be established
nated plan, fewer than 2 percent of the em-                     tion rules), none of the contracts issued un-     by the time the excess contribution is
ployees who were eligible under the sec-                        der the plan would be section 403(b) con-         made to the plan. The separate account for
tion 403(b) plan as of the date of plan ter-                    tracts.                                           excess contributions under section 415(c)
mination are eligible under the alternative                         However, under these regulations, any         is necessary to effectuate differences in
section 403(b) contract, the other section                      operational failure, other than those de-         the tax treatment of distributions (for ex-
403(b) contract is disregarded. In order                        scribed in the preceding paragraph, that          ample, because of the need to properly
for a section 403(b) plan to be considered                      is solely within a specific contract gener-       allocate basis under section 72 and sepa-
terminated, all accumulated benefits under                      ally will not adversely affect the contracts      rately identify amounts that can be rolled
the plan must be distributed to all partici-                    issued to other employees that qualify in         over). Similarly, a separate account is
pants and beneficiaries as soon as admin-                       form and operation with section 403(b).           required for elective deferrals to be treated
istratively practicable after termination of                    Thus, for example, if an employee’s elec-


7 These rules are not related to segregated asset accounts under section 817(h).




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as held in a designated Roth account, as                   tion 3(32) of ERISA or a “church plan” un-      of Labor’s safe harbor for tax-sheltered
described in the following paragraph.                      der section 3(33) of ERISA are not gener-       annuity programs funded solely by salary
                                                           ally covered under Title I. However, sec-       deferrals. The Department of Labor notes,
Designated Roth Accounts                                   tion 403(b) of the Internal Revenue Code        however, that the new section 403(b)
                                                           is also available with respect to contracts     regulations offer employers considerable
   These regulations also include final reg-
                                                           purchased or provided by employers for          flexibility in shaping the extent and na-
ulations relating to elective deferrals that
                                                           employees of a section 501(c)(3) organ-         ture of their involvement. The question
are designated Roth contributions under a
                                                           ization, and many programs for the pur-         of whether any particular employer, in
section 403(b) plan. These regulations,
                                                           chase of section 403(b) contracts offered       complying with the section 403(b) reg-
however, do not address the taxation of
                                                           by such employers are covered under Ti-         ulations, has established or maintained
a distribution of designated Roth contri-
                                                           tle I of ERISA as part of an “employee          a plan covered under Title I of ERISA
butions from a section 403(b) plan. See
                                                           pension benefit plan” within the meaning        must be analyzed on a case-by-case basis
§1.402A–1 for those rules. The final reg-
                                                           of section 3(2)(A) of ERISA. The Depart-        applying the criteria set forth in 29 CFR
ulations relating to elective deferrals un-
                                                           ment of Labor promulgated a regulation          §2510.3–2(f) and section 3(2) of ERISA.
der a section 403(b) plan that are desig-
                                                           in 1975, 29 CFR §2510.3–2(f), describing        To assist employers interested in offering
nated Roth contributions are substantially
                                                           circumstances under which an employer’s         their employees access to a tax sheltered
unchanged from the proposed regulations
                                                           program for the purchase of section 403(b)      annuity program that would not be an
that were issued in January of 2006 regard-
                                                           contracts for its employees, which is not       ERISA-covered plan, the Department of
ing designated Roth accounts under a sec-
                                                           otherwise excluded from coverage under          Labor is issuing, in conjunction with the
tion 403(b) plan.8
                                                           Title I, will not be considered to consti-      final publication of this regulation, a Field
Interaction Between Title I of ERISA and                   tute the establishment or maintenance of        Assistance Bulletin to provide additional
Section 403(b) of the Code                                 an “employee pension benefit plan” under        guidance on the interaction of the safe
                                                           Title I of ERISA.                               harbor and the requirements in these final
    The Treasury Department and the IRS                        As described in the preamble to the         regulations. The Field Assistance Bulletin
consulted with the Department of Labor in                  2004 proposed regulations, the Depart-          can be found at www.dol.gov/ebsa.
connection with both the 2004 proposed                     ment of Labor advised the Treasury De-
regulations and these final regulations con-               partment and the IRS that the proposed          Treatment of Controlled Groups that
cerning the interaction between Title I of                 regulations did not appear to require, but      Include Tax-Exempt Entities
ERISA and section 403(b) of the Internal                   left open the possibility that an employer
Revenue Code. In particular, the consulta-                 may undertake, responsibilities in connec-         The final regulations retain the basic
tion focused on whether the requirements                   tion with a section 403(b) program that         rules in the 2004 proposed regulations re-
imposed on employers in these regulations                  would exceed the limits in the safe harbor      garding controlled groups for entities that
would exceed the scope of the Department                   and constitute establishing and maintain-       are tax-exempt under section 501(a), but
of Labor’s safe harbor regulation at 29                    ing an ERISA-covered plan. Comments             with a number of modifications to reflect
CFR §2510.3–2(f) and result in all section                 submitted on the proposal supported the         the comments that were made. As in the
403(b) programs sponsored by tax-exempt                    continued availability of non-Title I sec-      2004 proposed regulations, these rules
employers (other than governmental plans                   tion 403(b) programs to employees of            are not limited to section 403(b) plans,
and certain church plans) falling under the                tax-exempt employers and asked for addi-        but apply more broadly for purposes of
purview of ERISA.                                          tional guidance for employers who offer         determining when tax-exempt entities are
    According to the Department of Labor,                  their employees access to such programs.        treated as a single employer under sec-
Title I of ERISA generally applies to “any                     According to the Department of La-          tions 414(b), (c), (m), and (o). Thus, for
plan, fund, or program . . . established or                bor, review of the final section 403(b)         example, these rules apply for purposes of
maintained by an employer or by an em-                     regulations has not led the Department of       plans maintained by a tax-exempt entity
ployee organization, or by both, to the ex-                Labor to change its view on the principles      that are intended to be qualified under
tent that . . . such plan, fund, or program                that apply in determining whether any           section 401(a). These rules can apply
. . . provides retirement income to em-                    given section 403(b) program is covered         to treat two section 501(c) organizations
ployees, or . . . results in a deferral of                 by Title I of ERISA. Even though the            as a single employer, or a section 501(c)
income by employees for periods extend-                    differences between the tax rules for sec-      organization and a non-section 501(c)
ing to the termination of covered employ-                  tion 403(b) programs and those governing        organization as a single employer, if the
ment or beyond.” ERISA section 3(2)(A).                    other ERISA-covered pension plans may           organizations are under common control.
However, governmental plans and church                     have diminished as a result of the final sec-   For a section 501(c)(3) organization that
plans are generally excluded from cover-                   tion 403(b) regulations, the Department         makes contributions to a section 403(b)
age under Title I of ERISA. ERISA section                  of Labor continues to be of the view that       plan, these rules would be generally rele-
4(b)(1) and (2). Therefore, contracts pur-                 tax-exempt employers can comply with            vant for purposes of the nondiscrimination
chased or provided under a program that                    the requirements in the section 403(b) reg-     requirements, as well as for the section
is either a “governmental plan” under sec-                 ulations and remain within the Department       415 contribution limitations, the special

8 REG–146459–05, 2006–1 C.B. 504, published in the Federal Register (71 FR 4320) on January 26, 2006.




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section 403(b) catch-up contributions, and                     are substantial business reasons for main-                      For example, the definition of an elective
the section 401(a)(9) minimum distribu-                        taining each entity in a separate trust, cor-                   deferral at §1.403(b)–2(a)(7) of these reg-
tion rules.                                                    poration, or other form, and under which                        ulations refers to §1.402(g)(3)–1 of these
    Under the rules in the 2004 proposed                       common control treatment would be con-                          regulations, which in turn refers to section
regulations, the employer for a plan main-                     sistent with the anti-abuse standards in the                    3121(a)(5)(D). See §31.3121(a)(5)–2T of
tained by a section 501(c) organization                        regulations. It is expected that this author-                   the temporary regulations for additional
would include not only the organization                        ity would not be exercised unless the IRS                       guidance on section 3121(a)(5)(D) (defin-
whose employees participate in the plan,                       determines that the organizations are so in-                    ing salary reduction agreement for pur-
but also any other organization that is un-                    tegrated in their operations as to effectively                  poses of the Federal Insurance Contribu-
der common control with the tax-exempt                         constitute a single coordinated employer                        tions Act (FICA)).
organization. Under the 2004 proposed                          for purposes of sections 414(b), (c), (m),                         As another example, §1.403(b)–7(f) of
regulations, the existence of control would                    and (o), including common employee ben-                         these regulations generally references the
be determined based on the facts and cir-                      efit plans.                                                     special income tax withholding rules un-
cumstances. For this purpose, common                               A comment was also received stating                         der section 3405 for purposes of income
control would exist between a tax-exempt                       that a legally required trusteeship for a la-                   tax withholding on distributions from sec-
organization and another organization if at                    bor union that has been imposed in order                        tion 403(b) contracts and also references
least 80 percent of the directors or trustees                  to correct corruption or financial malprac-                     the special rules at §1.72(p)–l, Q&A–15,
of one organization were either representa-                    tice10 should not constitute control. In re-                    and §35.3405(c)–1, Q&A–11, relating to
tives of, or directly or indirectly controlled                 sponse, a change was made to the regula-                        income tax withholding for loans deemed
by, the other organization.9 The 2004 pro-                     tions to reflect the intent that whether a per-                 distributed from qualified employer plans,
posed regulations permitted tax-exempt                         son has the power to appoint and replace                        including section 403(b) contracts. How-
organizations to choose to be aggregated                       a trustee or director is based on facts and                     ever, the general income tax withholding
(permissive aggregation) if they main-                         circumstances. For example, that power                          rules apply for purposes of income tax
tained a single plan covering one or more                      would generally not exist if that power was                     withholding for annuity contracts or cus-
employees from each organization and the                       extremely limited due to the application of                     todial accounts that are not section 403(b)
organizations regularly coordinated their                      other laws, such as where a labor union                         contracts, as well as for cases in which
day-to-day exempt activities. These rules                      was put under trusteeship pursuant to a                         an annuity contract or custodial account
were subject to an overall anti-abuse rule.                    court order, the trusteeship is for the sole                    ceases to qualify as a section 403(b) con-
The final regulations retain the basic rules                   purpose of correcting corruption, financial                     tract. See section 3401 and §§1.83–8(a)
in the 2004 proposed regulations and the                       malpractice, or similar circumstances, and                      and 35.3405–1T, Q&A–18.
anti-abuse rule, and add an example to                         the replacement trustees were permitted to
illustrate when the anti-abuse rule might                      serve only for the time necessary for that                      Effect of These Regulations on Other
apply.                                                         purpose.                                                        Guidance
    Comments on the 2004 proposed reg-                             These controlled group rules for tax-ex-
                                                                                                                                   Since the existing regulations were is-
ulations generally approved of the pro-                        empt entities generally do not apply
                                                                                                                               sued in 1964, a number of revenue rulings
posed controlled group rules, but some                         to certain church entities under section
                                                                                                                               and other items of guidance under section
comments argued for expanding the cat-                         3121(w)(3). These rules also do not apply
                                                                                                                               403(b) have become outdated as a result of
egory of entities that can use the permis-                     to a State or local government or a federal
                                                                                                                               changes in law. In addition, as a result of
sive aggregation rules. These comments                         government entity. Until further guidance
                                                                                                                               the inclusion in these regulations of much
typically did not recommend an overall                         is issued, church entities under section
                                                                                                                               of the guidance that the IRS has issued re-
standard for when permissive aggregation                       3121(w)(3)(A) and (B) and State or local
                                                                                                                               garding section 403(b), these regulations
should be permitted, but identified cer-                       government public schools that sponsor
                                                                                                                               effectively supersede or substantially mod-
tain specific practices which would be fa-                     section 403(b) plans can continue to rely
                                                                                                                               ify a number of revenue rulings and notices
cilitated by permissive aggregation. In                        on the rules in Notice 89–23 for determin-
                                                                                                                               that have been issued under section 403(b).
response, these regulations authorize the                      ing the controlled group.
                                                                                                                               Thus, as indicated in the preamble to the
IRS to issue published guidance permitting
                                                                                                                               2004 proposed regulations, the IRS antici-
other types of combinations of entities that                   Employment Taxes
                                                                                                                               pates taking action in the future to obsolete
include tax-exempt entities to elect to be
treated as under common control for one                           These regulations include several new
or more specified purposes. This author-                       cross-references to certain rules concern-
ity is limited to situations in which there                    ing the application of employment taxes.




9 Treas. Reg. §1.512(b)–1(l)(4)(i)(b) uses a similar test to determine control of a non-stock organization. Note that those regulations do not reflect amendments that were made in section
512(b)(13) by section 1041(a) of the Taxpayer Relief Act of 1997 (111 Stat. 788).
10 See 29 U.S.C. 462.




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many revenue rulings, notices, and other                         tion 402(b) (relating to nonqualified plans                      ically, a special rule applies if a plan has
guidance under section 403(b).11                                 funded through trusts). These regulations                        eligibility conditions for elective defer-
   However, the positions taken in certain                       replace those rules with regulations under                       rals relating to employees who make a
rulings and other outstanding guidance are                       section 402(b) that provide for the same                         one-time election to participate in a gov-
expected to be retained. For example, it is                      rules (those in the section 403(b) regu-                         ernmental plan described in section 414(d)
intended that the existing rules12 for deter-                    lations that were in effect prior to these                       instead of a section 403(b) plan, professors
mining when employees are performing                             regulations) to continue to apply for pur-                       who are providing services on a temporary
services for a public school will continue                       poses of section 402(b). However, these                          basis to another school for up to one year
to apply. Further, as discussed above in                         section 402(b) regulations also authorize                        and for whom section 403(b) contributions
the preamble under the heading, “Treat-                          the Commissioner to issue guidance for                           are being made at a rate no greater than the
ment of Controlled Groups that Include                           determining the amount of the contri-                            rate each such professor would receive un-
Tax-Exempt Entities,” church entities un-                        butions made for an employee under a                             der the section 403(b) plan of the original
der section 3121(w)(3)(A) and (B) and                            defined benefit plan under section 402(b).                       school, or employees who are affiliated
public schools that sponsor section 403(b)                                                                                        with a religious order and who have taken
plans can continue to rely on the rules                          Applicability Date                                               a vow of poverty where the religious order
in Notice 89–23 for determining the con-                                                                                          provides for the support of such employ-
                                                                     These regulations are generally applica-
trolled group. In addition, certain positions                                                                                     ees in their retirement. If, as permitted by
                                                                 ble for taxable years beginning after De-
taken in prior guidance are expected to be                                                                                        Notice 89–23, a plan excludes any of these
                                                                 cember 31, 2008. Thus, because individu-
reevaluated in light of these regulations,                                                                                        three classes of employees from eligibil-
                                                                 als will almost uniformly be on a calendar
such as Rev. Rul. 2004–67, 2004–2 C.B.                                                                                            ity to make elective deferrals on July 26,
                                                                 taxable year, these regulations will gener-
28, which revised the group trust rules                                                                                           2007, the plan is permitted to continue that
                                                                 ally apply on January 1, 2009. However,
of Rev. Rul. 81–100, 1981–1 C.B. 326.                                                                                             exclusion until taxable years beginning on
                                                                 these regulations include a number of ex-
With the issuance of these regulations, a                                                                                         or after January 1, 2010. In addition, if
                                                                 plicit transition rules.
number of conforming changes will be                                                                                              a plan excludes employees covered by a
                                                                     For a section 403(b) plan maintained
considered for the compliance programs                                                                                            collective bargaining agreement from eli-
                                                                 pursuant to one or more collective bargain-
maintained by the IRS, as most recently                                                                                           gibility to make elective deferrals on July
                                                                 ing agreements that have been ratified and
published in Rev. Proc. 2006–27, 2006–1                                                                                           26, 2007, the plan is permitted to continue
                                                                 are in effect on July 26, 2007, the regu-
C.B. 945 (EPCRS), including, for exam-                                                                                            that exclusion until the later of (i) the first
                                                                 lations do not apply until the earlier of:
ple, to reflect the written plan requirement                                                                                      day of the first taxable year that begins
                                                                 (1) the date on which the last of such col-
and the positions described above in this                                                                                         after December 31, 2008, or (ii) the earlier
                                                                 lective bargaining agreements terminates
preamble under the heading, “Effect of a                                                                                          of (I) the date that such agreement termi-
                                                                 (determined without regard to any exten-
Failure to Satisfy Section 403(b).”                                                                                               nates (determined without regard to any
                                                                 sion thereof after July 26, 2007; or (2)
   The prior regulations under section                                                                                            extension thereof after July 26, 2007) or
                                                                 July 26, 2010. For a section 403(b) plan
403(b) had included certain rules for de-                                                                                         (II) July 26, 2010. In the case of a govern-
                                                                 maintained by a church-related organiza-
termining the amount of the contributions                                                                                         mental plan (as defined in section 414(d))
                                                                 tion for which the authority to amend the
made for an employee under a defined                                                                                              for which the authority to amend the plan
                                                                 plan is held by a church convention (within
benefit plan, based on the employee’s                                                                                             is held by a legislative body that meets in
                                                                 the meaning of section 414(e)), the regula-
pension under the plan. These rules are                                                                                           legislative session, the plan is permitted to
                                                                 tions do not apply before the beginning of
generally no longer applicable for section                                                                                        continue the exclusion until the earlier of:
                                                                 the first plan year following December 31,
403(b) because the limitations on contri-                                                                                         (i) the close of the first regular legislative
                                                                 2009.
butions to a section 403(b) contract under                                                                                        session of the legislative body with the
                                                                     There are also special applicability
section 415(c) are no longer coordinated                                                                                          authority to amend the plan that begins on
                                                                 dates for several of the specific provi-
with accruals under a defined benefit                                                                                             or after January 1, 2009; or (ii) January 1,
                                                                 sions in these regulations. First, special
plan.13 However, the rules for determining                                                                                        2011.
                                                                 rules apply to plans which may have in-
the amount of contributions made for an                                                                                               These regulations (at §1.403(b)–6(b))
                                                                 cluded one or more of the exclusions that
employee under a defined benefit plan in                                                                                          also provide that a section 403(b) con-
                                                                 Notice 89–23 permitted for the universal
the prior regulations under section 403(b)                                                                                        tract is permitted to distribute retirement
                                                                 availability rule, but which are no longer
had also been used for purposes of sec-                                                                                           benefits to the participant no earlier than
                                                                 permitted under these regulations. Specif-

11 When these regulations go into effect, the following guidance will be outdated or superseded by these regulations and it is expected that guidance will be issued in the future to formally
supersede these items: Rev. Rul. 64–333, 1964–2 C.B. 114; Rev. Rul. 65–200, 1965–2 C.B. 141; Rev. Rul. 66–254, 1966–2 C.B. 125; Rev. Rul. 66–312, 1966–2 C.B. 127; Rev. Rul. 67–78,
1967–1 C.B. 94; Rev. Rul. 67–69, 1967–1 C.B. 93; Rev. Rul. 67–361, 1967–2 C.B. 153; Rev. Rul. 67–387, 1967–2 C.B. 153; Rev. Rul. 67–388, 1967–2 C.B. 153; Rev. Rul. 68–179,
1968–1 C.B. 179; Rev. Rul. 68–482, 1968–2 C.B. 186; Rev. Rul. 68–487, 1968–2 C.B. 187; Rev. Rul. 68–488, 1968–2 C.B. 188; Rev. Rul. 69–629, 1969–2 C.B. 101; Rev. Rul. 70–243,
1970–1 C.B. 107; Rev. Rul. 87–114, 1987–2 C.B. 116; Rev. Rul. 90–24, 1990–1 C.B. 97; Notice 90–73, 1990–2 C.B. 353; Notice 92–36, 1992–2 C.B. 364; and Announcement 95–48,
1995–23 I.R.B. 13. In addition, Notice 89–23, 1989–1 C.B. 654, is likewise superseded as a result of these regulations, except to the extent described above under the heading “Treatment of
Controlled Groups that Include Tax-Exempt Entities.” It is expected that the following guidance will not be superseded when these regulations are issued in final form: Rev. Rul. 66–254,
1966–2 C.B. 125; Rev. Rul. 68–33, 1968–1 C.B. 175; Rev. Rul 68–58, 1968–1 C.B. 176; Rev. Rul. 68–116, 1968–1 C.B. 177; Rev. Rul. 68–648, 1968–2 C.B. 49; Rev. Rul. 68–488, 1968–2
C.B. 188; and Rev. Rul. 69–146, 1969–1 C.B. 132.
12 Rev. Rul. 73–607, 1973–2 C.B. 145, and Rev. Rul. 80–139, 1980–1 C.B. 88.

13 However, see §1.403(b)–10(f)(2) of these regulations for a special rule applicable to certain church defined benefit plans that were in effect on September 3, 1982.




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the earliest of the participant’s severance      Special Analyses                                    Authority: 26 U.S.C. 7805 * * *
from employment or upon the prior oc-                                                                §1.403(b)–6 also issued under 26
currence of some event, subject to a num-            It has been determined that this Trea-       U.S.C. 403(b)(10). * * *
ber of exceptions (relating to distributions     sury decision is not a significant regula-          §1.414(c)–5 also issued under 26
from custodial accounts, distributions at-       tory action as defined in Executive Or-          U.S.C. 414(b), (c), and (o). * * *
tributable to section 403(b) elective defer-     der 12866. Therefore, a regulatory assess-          Par. 2. Section 1.402(b)–1 is amended
rals, correction of excess deferrals, distri-    ment is not required. It also has been de-       by revising paragraphs (a)(2) and (b)(2)(ii)
butions at plan termination, and payment         termined that section 553(b) of the Admin-       to read as follows:
of after-tax employee contributions). This       istrative Procedure Act (5 U.S.C. chapter
rule does not apply for contracts issued         5) does not apply to these regulations. It is    §1.402(b)–1 Treatment of beneficiary of a
before January 1, 2009. In addition, in          hereby certified that the collection of infor-   trust not exempt under section 501(a).
order to permit plans to comply with the         mation in these regulations will not have
                                                 a significant economic impact on a sub-              (a) * * *
rules relating to in-service distributions for
                                                 stantial number of small entities. This cer-         (2) Determination of amount of em-
contracts issued before January 1, 2009,
                                                 tification is based upon the determination       ployer contributions. If, for an employee,
the regulations provide that an amendment
                                                 that respondents will need to spend mini-        the actual amount of employer contribu-
adopted before January 1, 2009, to comply
                                                 mal time (an average of 4.1 hours per year)      tions referred to in paragraph (a)(1) of this
with these rules does not violate the anti-
                                                 complying with the contract exchange re-         section for any taxable year of the em-
cutback rules of section 204(g) of ERISA.
                                                 quirements in these regulations, and small       ployee is not determinable or for any other
    These regulations (at §1.403(b)–
                                                 entities are generally expected to spend         reason is not known, then, except as set
8(c)(2)) also do not permit a life insur-
                                                 much less time. Thus, the cost of com-           forth in rules prescribed by the Commis-
ance contract, an endowment contract, a
                                                 plying with this statutory requirement is        sioner in revenue rulings, notices, or other
health or accident insurance contract, or
                                                 small, even for small entities. Therefore,       guidance published in the Internal Rev-
a property, casualty, or liability insurance
                                                 a Regulatory Flexibility Analysis is not         enue Bulletin (see §601.601(d)(2)(ii)(b)
contract to constitute an annuity contract
                                                 required under the Regulatory Flexibility        of this chapter), such amount shall be ei-
for purposes of section 403(b). This rule
                                                 Act (5 U.S.C. chapter 6).                        ther—
does not apply for contracts issued before
                                                     Pursuant to section 7805(f) of the Code,         (i) The excess of—
September 24, 2007.
                                                 the notice of proposed rulemaking preced-            (A) The amount determined as of
    These regulations also include specific
                                                 ing these regulations was submitted to the       the end of such taxable year in accor-
rules relating to contract exchanges that
                                                 Chief Counsel for Advocacy of the Small          dance with the formula described in
were permitted under Rev. Rul. 90–24.
                                                 Business Administration for comment on           §1.403(b)–1(d)(4), as it appeared in the
These new rules do not apply to contracts
                                                 its impact on small businesses.                  April 1, 2006, edition of 26 CFR Part 1;
received in an exchange that occurred on
                                                                                                  over
or before September 24, 2007, assuming
                                                 Drafting Information                                 (B) The amount determined as of the
that the exchange (including the contract
                                                                                                  end of the prior taxable year in accordance
received in the exchange) satisfies appli-          The principal authors of these reg-           with the formula described in paragraph
cable pre-existing legal requirements (in-       ulations are R. Lisa Mojiri-Azad and             (a)(2)(i)(A) of this section; or
cluding Rev. Rul. 90–24).                        John Tolleris, Office of the Division                (ii) The amount determined under any
    Finally, these regulations include spe-      Counsel/Associate Chief Counsel (Tax             other method utilizing recognized actuar-
cial applicability date rules to coordinate      Exempt and Government Entities), IRS.            ial principles that are consistent with the
with recently issued regulations under sec-      However, other personnel from the IRS            provisions of the plan under which such
tions 402A and 415.                              and the Treasury Department participated         contributions are made and the method
    For periods following July 26, 2007,         in their development.                            adopted by the employer for funding the
and before the applicable date, taxpayers
                                                                    *****                         benefits under the plan.
can rely on these regulations, except that
                                                                                                      (b) * * *
(1) such reliance must be on a consistent
                                                 Adoption of Amendments to the                        (2) * * *
and reasonable basis and (2) the special
                                                 Regulations                                          (ii) If a separate account in a trust for
rule at §1.403(b)–10(a) of these regula-
                                                                                                  the benefit of two or more employees is not
tions permitting accumulated benefits to            Accordingly, 26 CFR parts 1, 31, 54           maintained for each employee, the value
be distributed on plan termination can be        and 602 are amended as follows:                  of the employee’s interest in such trust is
relied upon only if all of the contracts is-
                                                                                                  determined in accordance with rules pre-
sued under the plan at that time satisfy         PART 1—INCOME TAXES
                                                                                                  scribed by the Commissioner under the au-
all of the applicable requirements of these
                                                    Paragraph 1. The authority citation for       thority in paragraph (a)(2) of this section.
regulations (other than the requirement at
§1.403(b)–3(b)(3)(i) of these regulations        part 1 is amended by removing the entry          *****
that there be a written plan).                   for §1.403(b)–3 and adding entries in nu-           Par. 3. Section 1.402(g)(3)–1 is added
                                                 merical order to read in part as follows:        to read as follows:




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§1.402(g)(3)–1 Employer contributions to        purchased by a section 501(c)(3)               §1.403(b)–7 Taxation of distributions and
purchase a section 403(b) contract under        organization or a public school.               benefits.
a salary reduction agreement.
                                                §1.403(b)–2 Definitions.                          (a) General rules for when amounts are
   (a) General rule. With respect to an an-                                                    included in gross income.
nuity contract under section 403(b), except        (a) Application of definitions.                (b) Rollovers to individual retirement
as provided in paragraph (b) of this section,      (b) Definitions.                            arrangements and other eligible retirement
an elective deferral means an employer                                                         plans.
contribution to purchase an annuity con-        §1.403(b)–3 Exclusion for contributions
                                                                                                  (c) Special rules for certain corrective
tract under section 403(b) under a salary       to purchase section 403(b) contracts.
                                                                                               distributions.
reduction agreement within the meaning of          (a) Exclusion for section 403(b) con-          (d) Amounts taxable under section
section 3121(a)(5)(D).                          tracts.                                        72(p)(1).
   (b) Special rule. Notwithstanding para-         (b) Application of requirements.               (e) Special rules relating to distributions
graph (a) of this section, for purposes of         (c) Special rules for designated Roth       from a designated Roth account.
section 403(b), an elective deferral only       section 403(b) contributions.                     (f) Certain rules relating to employment
includes a contribution that is made pur-          (d) Effect of failure.                      taxes.
suant to a cash or deferred election (as
defined at §1.401(k)–1(a)(3)). Thus, for        §1.403(b)–4 Contribution limitations.          §1.403(b)–8 Funding.
purposes of section 402(g)(3)(C), an elec-
tive deferral does not include a contribu-         (a) Treatment of contributions in excess       (a) Investments.
tion that is made pursuant to an employee’s     of limitations.                                   (b) Contributions to the plan.
one-time irrevocable election made on or           (b) Maximum annual contribution.               (c) Annuity contracts.
before the employee’s first becoming eli-          (c) Section 403(b) elective deferrals.         (d) Custodial accounts.
gible to participate under the employer’s          (d) Employer contributions for former          (e) Retirement income accounts.
plans or a contribution made as a condi-        employees.                                        (f) Combining assets.
tion of employment that reduces the em-            (e) Special rules for determining years
ployee’s compensation.                          of service.                                    §1.403(b)–9 Special rules for church
   (c) Applicable date. This section is ap-        (f) Excess contributions of deferrals.      plans.
plicable for taxable years beginning after
December 31, 2008.                              §1.403(b)–5 Nondiscrimination rules.              (a) Retirement income accounts.
   Par. 4. Section 1.402A–1, A–1 is re-                                                           (b) Retirement income account defined.
                                                   (a) Nondiscrimination rules for contri-        (c) Special deduction rule for self-em-
vised to read as follows:
                                                butions other than section 403(b) elective     ployed ministers.
§1.402A–1 Designated Roth Accounts.             deferrals.
                                                   (b) Universal availability required for     §1.403(b)–10 Miscellaneous provisions.
*****                                           section 403(b) elective deferrals.
   A–1. A designated Roth account is               (c) Plan required.                             (a) Plan terminations and frozen plans.
a separate account under a qualified cash          (d) Church plans exception.                    (b) Contract exchanges and plan-to-
or deferred arrangement under a section            (e) Other rules.                            plan transfers.
401(a) plan, or under a section 403(b) plan,                                                      (c) Qualified domestic relations orders.
to which designated Roth contributions are      §1.403(b)–6 Timing of distributions and           (d) Rollovers to a section 403(b) con-
permitted to be made in lieu of elective        benefits.                                      tract.
contributions and that satisfies the require-                                                     (e) Deemed IRAs.
                                                   (a) Distributions generally.                   (f) Defined benefit plans.
ments of §1.401(k)–1(f) (in the case of a
                                                   (b) Distributions from contracts other         (g) Other rules relating to section
section 401(a) plan) or §1.403(b)–3(c) (in
                                                than custodial accounts or amounts attrib-     501(c)(3) organizations.
the case of a section 403(b) plan).
                                                utable to section 403(b) elective deferrals.
*****                                              (c) Distributions from custodial ac-        §1.403(b)–11 Applicable date.
   Par. 5. Section 1.403(b)–0 is added to       counts that are not attributable to section
read as follows:                                403(b) elective deferrals.                        (a) General rule.
                                                   (d) Distribution of section 403(b) elec-       (b) Collective bargaining agreements.
§1.403(b)–0 Taxability under an
                                                tive deferrals.                                   (c) Church conventions.
annuity purchased by a section 501(c)(3)
                                                   (e) Minimum required distributions for         (d) Special rules for plans that exclude
organization or a public school
                                                eligible plans.                                certain types of employees from elective
   This section lists the headings that ap-        (f) Loans.                                  deferrals.
pear in §§1.403(b)–1 through 1.403(b)–11.          (g) Death benefits and other incidental        (e) Special rules for plans that permit
                                                benefits.                                      in-service distributions.
§1.403(b)–1 General overview of                    (h) Special rule regarding severance           (f) Special rule for life insurance con-
taxability under an annuity contract            from employment.                               tracts.


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   (g) Special rule for contracts received in   domestic relations order, as described in            (10) Employee performing services for
an exchange.                                    §1.403(b)–10(c).                                 a public school means an employee per-
   Par.      6.      Sections 1.403(b)–1,           (4) Catch-up amount or catch-up lim-         forming services as an employee for a pub-
1.403(b)–2, and 1.403(b)–3 are revised          itation for a participant for a taxable          lic school of a State. This definition is not
to read as follows:                             year means a section 403(b) elective de-         applicable unless the employee’s compen-
                                                ferral permitted under section 414(v)            sation for performing services for a pub-
§1.403(b)–1 General overview of                 (as described in §1.403(b)–4(c)(2))              lic school is paid by the State. Further, a
taxability under an annuity contract            or section 402(g)(7) (as described in            person occupying an elective or appointive
purchased by a section 501(c)(3)                §1.403(b)–4(c)(3)).                              public office is not an employee perform-
organization or a public school.                    (5) Church means a church as defined         ing services for a public school unless such
                                                in section 3121(w)(3)(A) and a qualified         office is one to which an individual is
    Section 403(b) and §§1.403(b)–2             church-controlled organization as defined        elected or appointed only if the individual
through 1.403(b)–10 provide rules for           in section 3121(w)(3)(B).                        has received training, or is experienced, in
the Federal income tax treatment of an              (6) Church-related organization means        the field of education. The term public of-
annuity purchased for an employee by an         a church or a convention or association          fice includes any elective or appointive of-
employer that is either a tax-exempt entity     of churches, including an organization de-       fice of a State.
under section 501(c)(3) (relating to certain    scribed in section 414(e)(3)(A).                     (11) Includible compensation means
religious, charitable, scientific, or other         (7) Elective deferral means an elective      the employee’s compensation received
types of organizations) or a public school,     deferral under §1.402(g)–1 (with respect         from an eligible employer that is in-
or for a minister described in section          to an employer contribution to a section         cludible in the participant’s gross income
414(e)(5)(A). See section 403(a) (relating      403(b) contract) and any other amount that       for Federal income tax purposes (com-
to qualified annuities) for rules regarding     constitutes an elective deferral under sec-      puted without regard to section 911) for
the taxation of an annuity purchased under      tion 402(g)(3).                                  the most recent period that is a year of
a qualified annuity plan that meets the             (8) (i) Eligible employer means—             service. Includible compensation for a
requirements of section 404(a)(2), and see          (A) A State, but only with respect to an     minister who is self-employed means the
section 403(c) (relating to nonqualified        employee of the State performing services        minister’s earned income as defined in
annuities) for rules regarding the taxation     for a public school;                             section 401(c)(2) (computed without re-
of other types of annuities.                        (B) A section 501(c)(3) organization         gard to section 911) for the most recent
                                                with respect to any employee of the sec-         period that is a year of service. Includible
§1.403(b)–2 Definitions.                        tion 501(c)(3) organization;                     compensation does not include any com-
                                                    (C) Any employer of a minister de-           pensation received during a period when
    (a) Application of definitions. The         scribed in section 414(e)(5)(A), but only        the employer is not an eligible employer.
definitions set forth in this section are       with respect to the minister; or                 Includible compensation also includes
applicable for purposes of §1.403(b)–1,             (D) A minister described in section          any elective deferral or other amount
this section and §§1.403(b)–3 through           414(e)(5)(A), but only with respect to a         contributed or deferred by the eligible em-
1.403(b)–11.                                    retirement income account established for        ployer at the election of the employee that
    (b) Definitions—(1) Accumulated ben-        the minister.                                    would be includible in the gross income of
efit means the total benefit to which a             (ii) An entity is not an eligible employer   the employee but for the rules of sections
participant or beneficiary is entitled under    under paragraph (a)(8)(i)(A) of this sec-        125, 132(f)(4), 402(e)(2), 402(h)(1)(B),
a section 403(b) contract, including all        tion if it treats itself as not being a State    402(k), or 457(b). The amount of includi-
contributions made to the contract and all      for any other purpose of the Internal Rev-       ble compensation is determined without
earnings thereon.                               enue Code, and a subsidiary or other affil-      regard to any community property laws.
    (2) Annuity contract means a contract       iate of an eligible employer is not an eligi-    See section 415(c)(3)(A) through (D) for
that is issued by an insurance company          ble employer under paragraph (a)(8)(i) of        additional rules, and see §1.403(b)–4(d)
qualified to issue annuities in a State and     this section if the subsidiary or other affil-   for a special rule regarding former em-
that includes payment in the form of an         iate is not an entity described in paragraph     ployees.
annuity. See §1.401(f)–1(d)(2) and (e)          (a)(8)(i) of this section.                           (12) Participant means an employee
for the definition of an annuity, and see           (9) Employee means a common-law              for whom a section 403(b) contract is cur-
§1.403(b)–8(c)(3) for a special rule for cer-   employee performing services for the             rently being purchased, or an employee
tain State plans. See also §§1.403(b)–8(d)      employer, and does not include a former          or former employee for whom a sec-
and 1.403(b)–9(a) for additional rules re-      employee or an independent contrac-              tion 403(b) contract has previously been
garding the treatment of custodial accounts     tor. Subject to any rules in §1.403(b)–1,        purchased and who has not received a dis-
and retirement income accounts as annuity       this section, and §§1.403(b)–3 through           tribution of his or her entire accumulated
contracts.                                      1.403(b)–11 that are specifically appli-         benefit under the contract.
    (3) Beneficiary means a person who is       cable to ministers, an employee also in-             (13) Plan means a plan as described in
entitled to benefits in respect of a partic-    cludes a minister described in section           §1.403(b)–3(b)(3).
ipant following the participant’s death or      414(e)(5)(A) when performing services in             (14) Public school means a State-spon-
an alternate payee pursuant to a qualified      the exercise of his or her ministry.             sored educational organization described


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in section 170(b)(1)(A)(ii) (relating to edu-   instrumentality of a State. For this pur-      The annuity contract is not purchased un-
cational organizations that normally main-      pose, the District of Columbia is treated      der a qualified plan (under section 401(a)
tain a regular faculty and curriculum and       as a State. In addition, for purposes of       or 403(a)) or an eligible governmental plan
normally have a regularly enrolled body of      determining whether an individual is an        under section 457(b).
pupils or students in attendance at the place   employee performing services for a pub-           (2) Nonforfeitability. The rights of
where educational activities are regularly      lic school, an Indian tribal government        the employee under the annuity contract
carried on).                                    is treated as a State, as provided under       (disregarding rights to future premiums)
    (15) Retirement income account means        section 7871(a)(6)(B). See also section        are nonforfeitable. An employee’s rights
a defined contribution program estab-           1450(b) of the Small Business Job Protec-      under a contract fail to be nonforfeitable
lished or maintained by a church-related        tion Act of 1996 (110 Stat. 1755, 1814)        unless the employee for whom the con-
organization to provide benefits under          for special rules treating certain contracts   tract is purchased has at all times a fully
section 403(b) for its employees or their       purchased in a plan year beginning before      vested and nonforfeitable right (as defined
beneficiaries as described in §1.403(b)–9.      January 1, 1995, that include contributions    in regulations under section 411) to all
    (16) Section 403(b) contract; section       by an Indian tribal government as section      benefits provided under the contract. See
403(b) plan—(i) Section 403(b) contract         403(b) contracts, whether or not those         paragraph (d)(2) of this section for addi-
means a contract that satisfies the require-    contributions are for employees perform-       tional rules regarding the nonforfeitability
ments of §1.403(b)–3. If for any taxable        ing services for a public school.              requirement of this paragraph (a)(2).
year an employer contributes to more than          (21) Year of service means each full           (3) Nondiscrimination. In the case of
one section 403(b) contract for a partic-       year during which an individual is a full-     an annuity contract purchased by an eligi-
ipant or beneficiary, then, under section       time employee of an eligible employer,         ble employer other than a church, the con-
403(b)(5), all such contracts are treated       plus fractional credit for each part of a      tract is purchased under a plan that satisfies
as one contract for purposes of section         year during which the individual is either     section 403(b)(12) (relating to nondiscrim-
403(b) and §1.403(b)–1, this section, and       a full-time employee of an eligible em-        ination requirements, including universal
§§1.403(b)–3 through 1.403(b)–11. See           ployer for a part of the year or a part-time   availability). See §1.403(b)–5.
also §1.403(b)–3(b)(1).                         employee of an eligible employer. See             (4) Limitations on elective deferrals. In
    (ii) Section 403(b) plan means the plan     §1.403(b)–4(e) for rules for determining       the case of an elective deferral, the contract
of the employer under which the section         years of service.                              satisfies section 401(a)(30) (relating to
403(b) contracts for its employees are                                                         limitations on elective deferrals). A con-
maintained.                                     §1.403(b)–3 Exclusion for contributions        tract does not satisfy section 401(a)(30) as
    (17) Section 403(b) elective deferral;      to purchase section 403(b) contracts.          required under this paragraph (a)(4) un-
designated Roth contribution—(i) Section                                                       less the contract requires that all elective
403(b) elective deferral means an elective          (a) Exclusion for section 403(b) con-      deferrals for an employee not exceed the
deferral that is an employer contribution to    tracts. Amounts contributed by an eligible     limits of section 402(g)(1), including elec-
a section 403(b) plan for an employee. See      employer for the purchase of an annuity        tive deferrals for the employee under the
§1.403(b)–5(b) for additional rules with        contract for an employee are excluded          contract and any other elective deferrals
respect to a section 403(b) elective defer-     from the gross income of the employee          under the plan under which the contract is
ral.                                            under section 403(b) only if each of the       purchased and under all other plans, con-
    (ii) Designated Roth contribution un-       requirements in paragraphs (a)(1) through      tracts, or arrangements of the employer.
der a section 403(b) plan means a sec-          (9) of this section is satisfied. In addi-     See §1.401(a)–30.
tion 403(b) elective deferral that satisfies    tion, amounts contributed by an eligible          (5) Nontransferability. The contract is
§1.403(b)–3(c).                                 employer for the purchase of an annuity        not transferable. This paragraph (a)(5)
    (18) Section 501(c)(3) organization         contract for an employee pursuant to a         does not apply to a contract issued before
means an organization that is described         cash or deferred election (as defined at       January 1, 1963. See section 401(g).
in section 501(c)(3) (relating to certain       §1.401(k)–1(a)(3)) are not includible in          (6) Minimum required distributions.
religious, charitable, scientific, or other     an employee’s gross income at the time         The contract satisfies the requirements of
types of organizations) and exempt from         the cash would have been includible in         section 401(a)(9) (relating to minimum re-
tax under section 501(a).                       the employee’s gross income (but for the       quired distributions). See §1.403(b)–6(e).
    (19) Severance from employment means        cash or deferred election) if each of the         (7) Rollover distributions. The con-
that the employee ceases to be employed         requirements in paragraphs (a)(1) through      tract provides that, if the distributee of
by the employer maintaining the plan. See       (9) of this section is satisfied. However,     an eligible rollover distribution elects to
§1.401(k)–1(d) for additional guidance          the preceding two sentences generally do       have the distribution paid directly to an el-
concerning severance from employment.           not apply to designated Roth contribu-         igible retirement plan, as defined in sec-
See also §1.403(b)–6(h) for a special rule      tions; see paragraph (c) of this section and   tion 402(c)(8)(B), and specifies the eligi-
under which severance from employment           §1.403(b)–7(e) for special taxation rules      ble retirement plan to which the distribu-
is determined by reference to employment        that apply with respect to designated Roth     tion is to be paid, then the distribution will
with the eligible employer.                     contributions under a section 403(b) plan.     be paid to that eligible retirement plan in a
    (20) State means a State, a political           (1) Not a contract issued under qual-      direct rollover. See §1.403(b)–7(b)(2).
subdivision of a State, or any agency or        ified plan or eligible governmental plan.


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    (8) Limitation on incidental benefits.       tributions would be made. For purposes          to certain compensation paid by the later of
The contract satisfies the incidental ben-       of §1.403(b)–1, §1.403(b)–2, this section,      21/2 months after severance from employ-
efit requirements of section 401(a). See         and §§1.403(b)–4 through 1.403(b)–11,           ment or the end of the limitation year that
§1.403(b)–6(g).                                  a plan may contain certain optional fea-        includes the date of severance from em-
    (9) Maximum annual additions. The            tures that are consistent with but not          ployment), and compensation described
annual additions to the contract do not          required under section 403(b), such as          in §1.415(c)–2(e)(4), §1.415(c)–2(g)(4),
exceed the applicable limitations of sec-        hardship withdrawal distributions, loans,       or §1.415(c)–2(g)(7) (relating to com-
tion 415(c) (treating contributions and          plan-to-plan or annuity contract-to-annu-       pensation paid to participants who are
other additions as annual additions).            ity contract transfers, and acceptance of       permanently and totally disabled or re-
See paragraph (b) of this section and            rollovers to the plan. However, if a plan       lating to qualified military service under
§1.403(b)–4(b) and (f).                          contains any optional provisions, the op-       section 414(u)).
    (b) Application of requirements—(1)          tional provisions must meet, in both form           (c) Special rules for designated Roth
Aggregation of contracts. In accordance          and operation, the relevant requirements        section 403(b) contributions. (1) The rules
with section 403(b)(5), for purposes of de-      under section 403(b), this section, and         of §1.401(k)–1(f)(1) and (2) for designated
termining whether this section is satisfied,     §§1.403(b)–4 through 1.403(b)–11.               Roth contributions under a qualified cash
all section 403(b) contracts purchased for           (ii) The plan may allocate responsibility   or deferred arrangement apply to desig-
an individual by an employer are treated         for performing administrative functions,        nated Roth contributions under a section
as purchased under a single contract. Ad-        including functions to comply with the re-      403(b) plan. Thus, a designated Roth con-
ditional aggregation rules apply under           quirements of section 403(b) and other tax      tribution under a section 403(b) plan is a
section 402(g) for purposes of satisfying        requirements. Any such allocation must          section 403(b) elective deferral that is des-
paragraph (a)(4) of this section and un-         identify responsibility for compliance with     ignated irrevocably by the employee at the
der section 415 for purposes of satisfying       the requirements of the Internal Revenue        time of the cash or deferred election as
paragraph (a)(9) of this section.                Code that apply on the basis of the ag-         a designated Roth contribution that is be-
    (2) Disaggregation for excess annual         gregated contracts issued to a participant      ing made in lieu of all or a portion of the
additions. In accordance with the last sen-      under a plan, including loans under sec-        section 403(b) elective deferrals the em-
tence of section 415(a)(2), if an excess an-     tion 72(p) and the conditions for obtaining     ployee is otherwise eligible to make under
nual addition is made to a contract that         a hardship withdrawal under §1.403(b)–6.        the plan; that is treated by the employer as
otherwise satisfies the requirements of this     A plan is permitted to assign such respon-      includible in the employee’s gross income
section, then the portion of the contract        sibilities to parties other than the eligible   at the time the employee would have re-
that includes such excess annual addition        employer, but not to participants (other        ceived the amount in cash if the employee
fails to be a section 403(b) contract (as fur-   than employees of the employer a substan-       had not made the cash or deferred elec-
ther described in paragraph (d)(1) of this       tial portion of whose duties are adminis-       tion (such as by treating the contributions
section) and the remaining portion of the        tration of the plan), and may incorporate       as wages subject to applicable withhold-
contract is a section 403(b) contract. This      by reference other documents, including         ing requirements); and that is maintained
paragraph (b)(2) is not satisfied unless, for    the insurance policy or custodial account,      in a separate account (within the meaning
the year of the excess and each year there-      which thereupon become part of the plan.        of §1.401(k)–1(f)(2)).
after, the issuer of the contract maintains          (iii) This paragraph (b)(3) applies to          (2) A designated Roth contribution un-
separate accounts for each such portion.         contributions to an annuity contract by a       der a section 403(b) plan must satisfy the
Thus, the entire contract fails to be a sec-     church only if the annuity is part of a         requirements applicable to section 403(b)
tion 403(b) contract if an excess annual ad-     retirement income account, as defined in        elective deferrals. Thus, for example, des-
dition is made and a separate account is not     §1.403(b)–9.                                    ignated Roth contributions under a section
maintained with respect to the excess.               (4) Exclusion limited for former em-        403(b) plan must satisfy the requirements
    (3) Plan in form and operation. (i)          ployees—(i) General rule. Except as pro-        of §1.403(b)–6(d). Similarly, a desig-
A contract does not satisfy paragraph            vided in paragraph (b)(4)(ii) of this section   nated Roth account under a section 403(b)
(a) of this section unless it is main-           and in §1.403(b)–4(d), the exclusion from       plan is subject to the rules of sections
tained pursuant to a plan. For this pur-         gross income provided by section 403(b)         401(a)(9)(A) and (B) and §1.403(b)–6(e).
pose, a plan is a written defined con-           does not apply to contributions made for            (d) Effect of failure—(1) General rules.
tribution plan, which, in both form and          former employees. For this purpose, a           (i) If a contract includes any amount that
operation, satisfies the requirements of         contribution is not made for a former em-       fails to satisfy the requirements of sec-
§1.403(b)–1, §1.403(b)–2, this section,          ployee if the contribution is with respect      tion 403(b), §1.403(b)–1, §1.403(b)–2,
and §§1.403(b)–4 through 1.403(b)–11.            to compensation that would otherwise be         this section, or §§1.403(b)–4 through
For purposes of §1.403(b)–1, §1.403(b)–2,        paid for a payroll period that begins before    1.403(b)–11, then, except as otherwise
this section, and §§1.403(b)–4 through           severance from employment.                      provided in paragraph (d)(2) of this sec-
1.403(b)–11, the plan must contain all the           (ii) Exceptions. The exclusion from         tion (relating to failure to satisfy nonfor-
material terms and conditions for eligi-         gross income provided by section 403(b)         feitability requirements) or §1.403(b)–4(f)
bility, benefits, applicable limitations, the    applies to contributions made for former        (relating to excess contributions under
contracts available under the plan, and the      employees with respect to compensation          section 415 and excess deferrals under
time and form under which benefit dis-           described in §1.415(c)–2(e)(3)(i) (relating     section 402(g)), the contract is not a sec-


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tion 403(b) contract. In addition, section        contract but for the failure to satisfy the     Thus, if an annuity contract that includes
403(b)(5) and paragraph (b)(1) of this            nonforfeitability requirement of paragraph      an excess contributions account changes
section provide that, for purposes of de-         (a)(2) of this section, then the contract       from forfeitable to nonforfeitable during
termining whether a contract satisfies            is treated as a contract to which section       a year, then the portion that is not attrib-
section 403(b), all section 403(b) con-           403(c) applies. See §1.403(b)–8(d)(4) for       utable to the excess contributions account
tracts purchased for an individual by an          a rule under which a custodial account          constitutes a section 403(b) contract (as-
employer are treated as purchased under a         that fails to satisfy the nonforfeitability     suming it otherwise satisfies the require-
single contract. Thus, except as provided         requirement of paragraph (a)(2) of this         ments to be a section 403(b) contract) and
in paragraph (b)(2) of this section or as         section is treated as a section 401(a) qual-    is not included in gross income, and the
otherwise provided in this paragraph (d),         ified plan for certain purposes.                portion that is attributable to the excess
a failure to satisfy section 403(b) with              (ii) Treatment when contract becomes        contributions account is included in gross
respect to any contract issued to an indi-        nonforfeitable—(A) In general. Notwith-         income in accordance with section 403(c).
vidual by an employer adversely affects           standing paragraph (d)(2)(i) of this section,   See §1.403(b)–4(f) for additional rules.
all contracts issued to that individual by        on or after the date on which the partic-          Par.      7.      Sections 1.403(b)–4,
that employer.                                    ipant’s interest in a contract described in     1.403(b)–5, 1.403(b)–6, 1.403(b)–7,
    (ii) In accordance with paragraph (b)(3)      paragraph (d)(2)(i) of this section becomes     1.403(b)–8, 1.403(b)–9, 1.403(b)–10, and
of this section, a failure to operate in accor-   nonforfeitable, the contract may be treated     1.403(b)–11 are added to read as follows:
dance with the terms of a plan adversely          as a section 403(b) contract if no election
affects all of the contracts issued by the        has been made under section 83(b) with re-      §1.403(b)–4 Contribution limitations.
employer to the employee or employ-               spect to the contract, the participant’s in-
ees with respect to whom the operational          terest in the contract has been subject to          (a) Treatment of contributions in excess
failure occurred. Such a failure does             a substantial risk of forfeiture (as defined    of limitations. The exclusion provided
not adversely affect any other contract if        in section 83) before becoming nonfor-          under §1.403(b)–3(a) applies to a par-
the failure is neither a failure to satisfy       feitable, each contribution under the con-      ticipant only if the amounts contributed
the nondiscrimination requirements of             tract that is subject to a different vesting    by the employer for the purchase of an
§1.403(b)–5 (a nondiscrimination failure)         schedule is maintained in a separate ac-        annuity contract for the participant do
nor a failure of the employer to be an eli-       count, and the contract has at all times sat-   not exceed the applicable limit under
gible employer as defined in §1.403(b)–2          isfied the requirements of paragraph (a) of     sections 415 and 402(g), as described in
(an employer eligibility failure). How-           this section other than the nonforfeitabil-     this section. Under §1.403(b)–3(a)(4),
ever, any failure that is not an operational      ity requirement of paragraph (a)(2) of this     a section 403(b) contract is required to
failure adversely affects all contracts is-       section. Thus, for example, for the cur-        include the limits on elective deferrals
sued under the plan, including: a failure         rent year and each prior year, no contri-       imposed by section 402(g), as described
to have contracts issued pursuant to a            bution can have been made to the con-           in paragraph (c) of this section. See para-
written defined contribution plan which,          tract that would cause the contract to fail     graph (f) of this section for special rules
in form, satisfies the requirements of            to be a section 403(b) contract as a result     concerning excess contributions and de-
§1.403(b)–1, §1.403(b)–2, this section,           of contributions exceeding the limitations      ferrals. Rollover contributions made to
and §§1.403(b)–4 through 1.403(b)–11 (a           of section 415 (except to the extent per-       a section 403(b) contract, as described in
written plan failure); a nondiscrimination        mitted under paragraph (b)(2) of this sec-      §1.403(b)–10(d), are not taken into ac-
failure; or an employer eligibility failure.      tion) or to fail to satisfy the nondiscrimi-    count for purposes of the limits imposed
    (iii) See other applicable Internal Rev-      nation rules described in §1.403(b)–5. See      by section 415, §1.403(b)–3(a)(9), section
enue Code provisions for the treatment of         also §1.403(b)–10(a)(1) for a special rule      402(g), §1.403(b)–3(a)(4), and this sec-
a contract that is not a section 403(b) con-      in connection with termination of a section     tion, but after-tax employee contributions
tract, such as sections 61, 83, 402(b), and       403(b) plan.                                    are taken into account under section 415,
403(c). Thus, for example, section 403(c)             (B) Partial vesting. For purposes of ap-    §1.403(b)–3(a)(9), and paragraph (b) of
(relating to nonqualified annuities) applies      plying this paragraph (d), if only a por-       this section.
if any annuity contract issued by an in-          tion of a participant’s interest in a con-          (b) Maximum annual contribution—(1)
surance company fails to satisfy section          tract becomes nonforfeitable in a year, then    General rule. In accordance with sec-
403(b), based on the value of the contract        the portion that is nonforfeitable and the      tion 415(a)(2) and §1.403(b)–3(a)(9),
at the time of the failure. However, see          portion that fails to be nonforfeitable are     the contributions for any participant un-
paragraph (d)(2) of this section for special      each treated as separate contracts. In ad-      der a section 403(b) contract (namely,
rules with respect to the nonforfeitability       dition, for purposes of applying this para-     employer nonelective contributions (in-
requirement of paragraph (a)(2) of this sec-      graph (d), if a contribution is made to an      cluding matching contributions), section
tion.                                             annuity contract in excess of the limita-       403(b) elective deferrals, and after-tax
    (2) Failure to satisfy nonforfeitabil-        tions of section 415(c) and the excess is       employee contributions) are not permit-
ity requirement—(i) Treatment before              maintained in a separate account, then the      ted to exceed the limitations imposed
contract becomes nonforfeitable. If an            portion of the contract that includes the ex-   by section 415. Under section 415(c),
annuity contract issued by an insurance           cess contributions account and the remain-      contributions are permitted to be made
company would qualify as a section 403(b)         der are each treated as separate contracts.     for participants in a defined contribution


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plan, subject to the limitations set forth       under section 414(v) is $5,000, adjusted       403(b) catch-up elective deferrals previ-
therein (which are generally the lesser          for cost-of-living after 2006 in the man-      ously made for a qualified employee for a
of a dollar limit for a year or the partic-      ner described in section 414(v)(2)(C). For     church or other entity within a church-re-
ipant’s compensation for the year). For          additional requirements, see regulations       lated organization or an organization con-
purposes of section 415, contributions           under section 414(v).                          trolled by the church-related organization
made for a participant are aggregated to            (ii) Coordination with special section      are taken into account for purposes of
the extent applicable under section 414(b),      403(b) catch-up. In accordance with sec-       applying this paragraph (c)(3) to the em-
(c), (m), (n), and (o). For purposes of          tions 414(v)(6)(A)(ii) and 402(g)(7)(A),       ployee with respect to any other entity
sections 415(a)(2), §§1.403(b)–1 through         the age 50 catch-up described in this para-    within the same church-related organ-
1.403(b)–3, this section, and §§1.403(b)–5       graph (c)(2) may apply for any taxable         ization or organization controlled by a
through 1.403(b)–11, a contribution means        year in which a participant also qualifies     church-related organization).
any annual addition, as defined in section       for the special section 403(b) catch-up            (C) For purposes of this paragraph
415(c).                                          under paragraph (c)(3) of this section.        (c)(3)(ii), a health and welfare service
    (2) Special rules. See section 415(k)(4)        (3) Special section 403(b) catch-up for     agency means—
for a special rule under which contri-           certain organizations—(i) Amount of the            (1) An organization whose primary
butions to section 403(b) contracts are          special section 403(b) catch-up. In the        activity is to provide services that con-
generally aggregated with contributions          case of a qualified employee of a qualified    stitute medical care as defined in section
under other arrangements in applying sec-        organization for whom the basic section        213(d)(1) (such as a hospice);
tion 415. For purposes of applying section       403(b) elective deferrals for any year are         (2) A section 501(c)(3) organization
415(c)(1)(B) (relating to compensation)          not less than the applicable dollar amount     whose primary activity is the prevention
with respect to a section 403(b) contract,       under section 402(g)(1)(B), the section        of cruelty to individuals or animals;
except as provided in section 415(c)(3)(C),      403(b) elective deferral limitation of sec-        (3) An adoption agency; or
a participant’s includible compensation (as      tion 402(g)(1) for the taxable year of the         (4) An agency that provides substan-
defined in §1.403(b)–2) is substituted for       qualified employee is increased by the         tial personal services to the needy as part
the participant’s compensation, as de-           least of—                                      of its primary activity (such as a section
scribed in section 415(c)(3)(E). Any age            (A) $3,000;                                 501(c)(3) organization that either provides
50 catch-up contributions under paragraph           (B) The excess of—                          meals to needy individuals, is a home
(c)(2) of this section are disregarded in           (1) $15,000, over                           health service agency, provides services
applying section 415.                               (2) The total elective deferrals de-        to help individuals who have substance
    (c) Section 403(b) elective defer-           scribed in section 402(g)(7)(A)(ii) made       abuse, or provides help to the disabled).
rals—(1) Basic limit under section               for the qualified employee by the qualified        (iii) Qualified employee. For pur-
402(g)(1). In accordance with section            organization for prior years; or               poses of this paragraph (c)(3), qualified
402(g)(1)(A), the section 403(b) elective           (C) The excess of—                          employee means an employee who has
deferrals for any individual are included in        (1) $5,000 multiplied by the number of      completed at least 15 years of service (as
the individual’s gross income to the extent      years of service of the employee with the      defined under paragraph (e) of this sec-
the amount of such deferrals, plus all other     qualified organization, over                   tion) taking into account only employment
elective deferrals for the individual, for the      (2) The total elective deferrals (as de-    with the qualified organization. Thus,
taxable year exceeds the applicable dollar       fined at §1.403(b)–2) made for the em-         an employee who has not completed at
amount under section 402(g)(1)(B). The           ployee by the qualified organization for       least 15 years of service (as defined un-
applicable annual dollar amount under            prior years.                                   der paragraph (e) of this section) taking
section 402(g)(1)(B) is $15,000, adjusted           (ii) Qualified organization. (A) For        into account only employment with the
for cost-of-living after 2006 in the man-        purposes of this paragraph (c)(3), qualified   qualified organization is not a qualified
ner described in section 402(g)(4). See          organization means an eligible employer        employee.
§1.403(b)–5(b) for a universal availability      that is—                                           (iv) Coordination with age 50 catch-up.
rule that applies if any employee is per-           (1) An educational organization de-         In accordance with sections 402(g)(1)(C)
mitted to have any section 403(b) elective       scribed in section 170(b)(1)(A)(ii);           and 402(g)(7), any catch-up amount con-
deferrals made on his or her behalf.                (2) A hospital;                             tributed by an employee who is eligible
    (2) Age 50 catch-up—(i) In general.             (3) A health and welfare service agency     for both an age 50 catch-up and a special
In accordance with section 414(v) and the        (including a home health service agency);      section 403(b) catch-up is treated first as
regulations thereunder, a section 403(b)            (4) A church-related organization; or       an amount contributed as a special section
contract may provide for catch-up con-              (5) Any organization described in sec-      403(b) catch-up to the extent a special
tributions for a participant who is age          tion 414(e)(3)(B)(ii).                         section 403(b) catch-up is permitted, and
50 by the end of the year, provided that            (B) All entities that are in a church-re-   then as an amount contributed as an age
such age 50 catch-up contributions do            lated organization or an organization con-     50 catch-up (to the extent the catch-up
not exceed the catch-up limit under sec-         trolled by a church-related organization       amount exceeds the maximum special
tion 414(v)(2) for the taxable year. The         under section 414(e)(3)(B)(ii) are treated     section 403(b) catch-up after taking into
maximum amount of additional age 50              as a single qualified organization (so that    account sections 402(g) and 415(c), this
catch-up contributions for a taxable year        years of service and any special section       paragraph (c)(3), and any limitations on


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the special section 403(b) catch-up that                    not eligible for the special section 403(b) catch-up      limit in paragraph (b) of this section would not be
are imposed by the terms of the plan).                      under paragraph (c)(3) of this section because C is       exceeded because the sum of the $9,600 nonelective
    (4) Coordination with designated Roth                   not a qualified employee (as defined in paragraph         contribution and the $23,000 section 403(b) elective
                                                            (c)(3)(iii) of this section). Accordingly, the max-       deferrals does not exceed the lesser of $49,000 (which
contributions.     See regulations under                    imum section 403(b) elective deferral that C may          is the sum of $44,000 plus the $5,000 additional age
section 402A for rules for determining                      elect for 2006 is $20,000 ($15,000 plus $5,000).          50 catch-up amount) or $53,000 (which is the sum of
whether an elective deferral is a pre-tax                        Example 4. (i) Facts illustrating application of     C’s includible compensation for 2006 ($48,000) plus
elective deferral or a designated Roth con-                 both the age 50 and the special section 403(b) catch-     the $5,000 additional age 50 catch-up amount).
tribution.                                                  up. The facts are the same as in Example 3, except             Example 7. (i) Facts further illustrating applica-
                                                            that C is a qualified employee for purposes of the        tion of the age 50 catch-up and the section 415(c) dol-
    (5) Examples. The provisions of this                    special section 403(b) catch-up provisions in para-       lar limitation. The facts are the same as in Example
paragraph (c) are illustrated by the follow-                graph (c)(3) of this section. For 2006, the maximum       6, except that C’s includible compensation for 2006 is
ing examples:                                               additional section 403(b) elective deferral for which     $58,000 and the plan provides for a nonelective con-
    Example 1. (i) Facts illustrating application of        C qualifies under the special section 403(b) catch-up     tribution equal to 50 percent of includible compen-
the basic dollar limit. Participant B, who is 45, is eli-   under paragraph (c)(3) of this section is $3,000.         sation, so that the employer nonelective contribution
gible to participate in a State university section 403(b)        (ii) Conclusion. The maximum section 403(b)          for C for 2006 is $29,000 (50 percent of $58,000).
plan in 2006. B is not a qualified employee, as de-         elective deferrals that C may elect for 2006 is                (ii) Conclusion. The maximum section 403(b)
fined in paragraph (c)(3)(iii) of this section. The plan    $23,000. This is the sum of the basic limit on sec-       elective deferral that C may elect for 2006 is $20,000.
permits section 403(b) elective deferrals, but no other     tion 403(b) elective deferrals under paragraph (c)(1)     A section 403(b) elective deferral in excess of this
employer contributions are made under the plan. The         of this section equal to $15,000, plus the $3,000         amount would exceed the sum of the limit in section
plan provides limitations on section 403(b) elective        additional special section 403(b) catch-up amount         415(c)(1)(A) plus the additional age 50 catch-up
deferrals up to the maximum permitted under para-           for which C qualifies under paragraph (c)(3) of this      amount, because the sum of the employer’s nonelec-
graphs (c)(1) and (3) of this section and the additional    section, plus the additional age 50 catch-up amount       tive contribution of $29,000 plus a section 403(b)
age 50 catch-up amount described in paragraph (c)(2)        of $5,000.                                                elective deferral in excess of $20,000 would exceed
of this section. For 2006, B will receive includible             Example 5. (i) Facts illustrating calculation of     $49,000 (the sum of the $44,000 limit in section
compensation of $42,000 from the eligible employer.         years of service with a predecessor organization for      415(c)(1)(A) plus the $5,000 additional age 50
B desires to elect to have the maximum section 403(b)       purposes of the special section 403(b) catch-up. Par-     catch-up amount). (Note that a section 403(b) elec-
elective deferral possible contributed in 2006. For         ticipant A is an employee of hospital H and is eligible   tive deferral in excess of $20,000 would also exceed
2006, the basic dollar limit for section 403(b) elec-       to participate in a section 403(b) plan of H in 2006.     the limitations of section 402(g) unless a special
tive deferrals under paragraph (c)(1) of this section is    A does not have 15 years of service with H, but A has     section 403(b) catch-up were permitted.)
$15,000 and the additional dollar amount permitted          previously made special section 403(b) catch-up de-            Example 8. (i) Facts further illustrating applica-
under the age 50 catch-up is $5,000.                        ferrals to a section 403(b) plan maintained by hospital   tion of the age 50 catch-up and the section 415(c) dol-
    (ii) Conclusion. B is not eligible for the age 50       P which has since been acquired by H.                     lar limitation. The facts are the same as in Example
catch-up in 2006 because B is 45 in 2006. B is also              (ii) Conclusion. The special section 403(b)          7, except that the plan provides for a nonelective con-
not eligible for the special section 403(b) catch-up        catch-up amount for which A qualifies under para-         tribution for C equal to $44,000 (which is the limit in
under paragraph (c)(3) of this section because B is         graph (c)(3) of this section must be calculated taking    section 415(c)(1)(A)).
not a qualified employee. Accordingly, the maximum          into account A’s prior years of service and section            (ii) Conclusion. The maximum section 403(b)
section 403(b) elective deferral that B may elect for       403(b) elective deferrals with the predecessor hospi-     elective deferral that C may elect for 2006 is $5,000.
2006 is $15,000.                                            tal if and only if A did not have any severance from      A section 403(b) elective deferral in excess of this
    Example 2. (i) Facts illustrating application of        service in connection with the acquisition.               amount would exceed the sum of the limit in sec-
the includible compensation limitation. The facts are            Example 6. (i) Facts illustrating application of     tion 415(c)(1)(A) plus the additional age 50 catch-up
the same as in Example 1, except B’s includible com-        the age 50 catch-up and the section 415(c) dollar lim-    amount ($5,000), because the sum of the employer’s
pensation is $14,000.                                       itation. The facts are the same as in Example 4, except   nonelective contribution of $44,000 plus a section
    (ii) Conclusion. Under section 415(c), contribu-        that the employer makes a nonelective contribution        403(b) elective deferral in excess of $5,000 would
tions may not exceed 100 percent of includible com-         for each employee equal to 20 percent of C’s com-         exceed $49,000 (the sum of the $44,000 limit in sec-
pensation. Accordingly, the maximum section 403(b)          pensation (which is $48,000). Thus, the employer          tion 415(c)(1)(A) plus the $5,000 additional age 50
elective deferral that B may elect for 2006 is $14,000.     makes a nonelective contribution for C for 2006 equal     catch-up amount).
    Example 3. (i) Facts illustrating application of        to $9,600. The plan provides that a participant is not         Example 9. (i) Facts illustrating application of
the age 50 catch-up. Participant C, who is 55, is eli-      permitted to make section 403(b) elective deferrals to    the age 50 catch-up and the section 415(c) includible
gible to participate in a State university section 403(b)   the extent the section 403(b) elective deferrals would    compensation limitation. The facts are the same as in
plan in 2006. The plan permits section 403(b) elec-         result in contributions in excess of the maximum per-     Example 7, except that C’s includible compensation
tive deferrals, but no other employer contributions are     mitted under section 415 and provides that contri-        for 2006 is $28,000, so that the employer nonelective
made under the plan. The plan provides limitations          butions are reduced in the following order: the spe-      contribution for C for 2006 is $14,000 (50 percent of
on section 403(b) elective deferrals up to the max-         cial section 403(b) catch-up elective deferrals under     $28,000).
imum permitted under paragraphs (c)(1) and (c)(3)           paragraph (c)(3) of this section are reduced first; the        (ii) Conclusion. The maximum section 403(b)
of this section and the additional age 50 catch-up          age 50 catch-up elective deferrals under paragraph        elective deferral that C may elect for 2006 is $19,000.
amount described in paragraph (c)(2) of this section.       (c)(2) of this section are reduced second; and then       A section 403(b) elective deferral in excess of this
For 2006, C will receive includible compensation of         the basic section 403(b) elective deferrals under para-   amount would exceed the sum of the limit in section
$48,000 from the eligible employer. C desires to elect      graph (c)(1) of this section are reduced. For 2006, the   415(c)(1)(B) plus the additional age 50 catch-up
to have the maximum section 403(b) elective defer-          applicable dollar limit under section 415(c)(1)(A) is     amount, because C’s includible compensation is
ral possible contributed in 2006. For 2006, the basic       $44,000.                                                  $28,000 and the sum of the employer’s nonelective
dollar limit for section 403(b) elective deferrals un-           (ii) Conclusion. The maximum section 403(b)          contribution of $14,000 plus a section 403(b) elective
der paragraph (c)(1) of this section is $15,000 and the     elective deferral that C may elect for 2006 is $23,000.   deferral in excess of $19,000 would exceed $33,000
additional dollar amount permitted under the age 50         This is the sum of the basic limit on section 403(b)      (which is the sum of 100 percent of C’s includible
catch-up is $5,000. C does not have 15 years of ser-        elective deferrals under paragraph (c)(1) of this sec-    compensation plus the $5,000 additional age 50
vice and thus is not a qualified employee, as defined       tion equal to $15,000, plus the $3,000 additional spe-    catch-up amount).
in paragraph (c)(3)(iii) of this section.                   cial section 403(b) catch-up amount for which C qual-          Example 10. (i) Facts illustrating that section
    (ii) Conclusion. C is eligible for the age 50           ifies under paragraph (c)(3) of this section, plus the    403(b) elective deferrals cannot exceed compensa-
catch-up in 2006 because C is 55 in 2006. C is              additional age 50 catch-up amount of $5,000. The          tion otherwise payable. Employee D is age 60, has in-



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cludible compensation of $14,000, and wishes to con-           Example 12. (i) Facts illustrating calculation            Example 1. (i) Facts. Private college M is a sec-
tribute section 403(b) elective deferrals of $20,000       of the special section 403(b) catch-up in the next        tion 501(c)(3) organization operated on the basis of
for the year. No nonelective contributions are made        calendar year. The facts are the same as in Example       a June 30 fiscal year that maintains a section 403(b)
for Employee D.                                            11, except that, for 2007, E has includible compen-       plan for its employees. In 2004, M amends the plan
    (ii) Conclusion. Because a contribution is a           sation of $60,000. For 2007, E now has previously         to provide for a temporary early retirement incentive
section 403(b) elective deferral only if it relates to     made $85,000 of section 403(b) elective deferrals         under which the college will make a nonelective con-
an amount that would otherwise be included in the          ($62,000 deferred before 2006, plus the $15,000 in        tribution for any participant who satisfies certain min-
participant’s compensation, the effective limitation       basic section 403(b) elective deferrals in 2006, the      imum age and service conditions and who retires be-
on section 403(b) elective deferrals for a participant     $3,000 maximum additional special section 403(b)          fore June 30, 2006. The contribution will equal 110
whose compensation is less than the basic dollar           catch-up amount in 2006, plus the $5,000 age 50           percent of the participant’s rate of pay for one year
limit for section 403(b) elective deferrals is the         catch-up amount in 2006). However, the $5,000 age         and will be payable over a period ending no later than
participant’s compensation. Thus, D cannot make            50 catch-up amount deferred in 2006 is disregarded        the end of the fifth fiscal year that begins after retire-
section 403(b) elective deferrals in excess of D’s         for purposes of applying the limitation at paragraph      ment. It is assumed for purposes of this Example 1
actual compensation, which is $14,000, even though         (c)(3)(i)(B) of this section to determine the special     that, in accordance with §1.401(a)(4)–10(b) and un-
the basic dollar limit exceeds that amount.                section 403(b) catch-up amount. Thus, for 2007,           der the facts and circumstances, the post-retirement
    Example 11. (i) Facts illustrating calculation of      only $80,000 of section 403(b) elective deferrals         contributions made for participants who satisfy the
the special section 403(b) catch-up. For 2006, em-         are taken into account in applying the limitation at      minimum age and service conditions and retire be-
ployee E, who is age 53, is eligible to participate in     paragraph (c)(3)(i)(B) of this section. For 2007,         fore June 30, 2006, do not discriminate in favor of
a section 403(b) plan of hospital H, which is a sec-       the basic dollar limit for section 403(b) elective        former employees who are highly compensated em-
tion 501(c)(3) organization. H’s plan permits sec-         deferrals under paragraph (c)(1) of this section is       ployees. Employee A retires under the early retire-
tion 403(b) elective deferrals and provides for an em-     assumed to be $16,000, the additional dollar amount       ment incentive on March 12, 2006, and A’s annual
ployer contribution of 10 percent of a participant’s       permitted under the age 50 catch-up is assumed to be      includible compensation for the period from March 1,
compensation. The plan provides limitations on sec-        $5,000, and E’s employer contributes $6,000 (10%          2005, through February 28, 2006 (which is A’s most
tion 403(b) elective deferrals up to the maximum per-      of $60,000) as a non-elective contribution.               recent one year of service) is $30,000. The applicable
mitted under paragraphs (c)(1), (2), and (3) of this           (ii) Conclusion. The maximum section 403(b)           dollar limit under section 415(c)(1)(A) is assumed to
section. For 2006, E’s includible compensation is          elective deferral that D may elect under H’s section      be $44,000 for 2006 and $45,000 for 2007. The col-
$50,000. E wishes to elect to have the maximum             403(b) plan for 2007 is $21,000. This is the sum          lege contributes $30,000 for A for 2006 and $3,000
section 403(b) elective deferral possible contributed      of the basic limit on section 403(b) elective defer-      for A for 2007 (totaling $33,000 or 110 percent of
in 2006. E has previously made $62,000 of section          rals under paragraph (c)(1) of this section equal to      $30,000). No other contributions are made to a sec-
403(b) elective deferrals under the plan, but has never    $16,000, plus the additional age 50 catch-up amount       tion 403(b) contract for A for those years.
made an election for a special section 403(b) catch-up     of $5,000. E is not entitled to any additional special        (ii) Conclusion. The contributions made for A do
elective deferral. For 2006, the basic dollar limit        section 403(b) catch-up amount for 2007 under para-       not exceed A’s includible compensation for 2006 or
for section 403(b) elective deferrals under paragraph      graph (c)(3) of this section due to the limitation at     2007.
(c)(1) of this section is $15,000, the additional dol-     paragraph (c)(3)(i)(C) of this section (16 times $5,000       Example 2. (i) Facts. Private college N is a sec-
lar amount permitted under the age 50 catch-up is          equals $80,000, minus D’s total prior section 403(b)      tion 501(c)(3) organization that maintains a section
$5,000, E’s employer will make a nonelective con-          elective deferrals of $80,000 equals zero).               403(b) plan for its employees. The plan provides
tribution of $5,000 (10% of $50,000 compensation),             (d) Employer contributions for former                 for N to make monthly nonelective contributions
and E is a qualified employee of a qualified employer                                                                equal to 20 percent of the monthly includible com-
                                                           employees—(1) Includible compensation
as defined in paragraph (c)(3) of this section.                                                                      pensation for each eligible employee. In addition,
    (ii) Conclusion. The maximum section 403(b)
                                                           deemed to continue for nonelective contri-                the plan provides for contributions to continue for
elective deferrals that E may elect under H’s section      butions. For purposes of applying para-                   5 years following the retirement of any employee
403(b) plan for 2006 is $23,000. This is the sum of        graph (b) of this section, a former em-                   after age 64 and completion of at least 20 years of
the basic limit on section 403(b) elective deferrals for   ployee is deemed to have monthly includi-                 service (based on the employee’s average annual
2006 under paragraph (c)(1) of this section equal to                                                                 rate of base salary in the preceding 3 calendar years
                                                           ble compensation for the period through
$15,000, plus the $3,000 maximum additional special                                                                  ended before the date of retirement). It is assumed
section 403(b) catch-up amount for which D qualifies
                                                           the end of the taxable year of the employee               for purposes of this Example 2 that, in accordance
in 2006 under paragraph (c)(3) of this section, plus       in which he or she ceases to be an em-                    with §1.401(a)(4)–10(b) and under the facts and cir-
the additional age 50 catch-up amount of $5,000. The       ployee and through the end of each of the                 cumstances, the post-retirement contributions made
limitation on the additional special section 403(b)        next five taxable years. The amount of the                for participants who satisfy the minimum age and
catch-up amount is not less than $3,000 because the                                                                  service conditions do not discriminate in favor of
                                                           monthly includible compensation is equal
limitation at paragraph (c)(3)(i)(B) of this section                                                                 former employees who are highly compensated em-
is $15,000 ($15,000 minus zero) and the limitation
                                                           to one twelfth of the former employee’s in-               ployees. Employee B retires on July 1, 2006, at age
at paragraph (c)(3)(i)(C) of this section is $13,000       cludible compensation during the former                   64 after completion of 20 or more years of service.
($5,000 times 15, minus $62,000 of total deferrals in      employee’s most recent year of service.                   At that date, B’s annual includible compensation for
prior years). These conclusions would be unaffected        Accordingly, nonelective employer contri-                 the most recently ended fiscal year of N is $72,000
if H were an eligible governmental employer under                                                                    and B’s average monthly rate of base salary for 2003
                                                           butions for a former employee must not ex-
section 457(b) that has a section 457(b) eligible gov-                                                               through 2005 is $5,000. N contributes $1,200 per
ernmental plan and E were in the past to have made
                                                           ceed the limitation of section 415(c)(1) up               month (20 percent of 1/12th of $72,000) from Jan-
annual deferrals to that plan, because contributions       to the lesser of the dollar amount in section             uary of 2006 through June of 2006 and contributes
to a section 457(b) eligible governmental plan do not      415(c)(1)(A) or the former employee’s an-                 $1,000 (20 percent of $5,000) per month for B from
constitute elective deferrals; and these conclusions       nual includible compensation based on the                 July of 2006 through June of 2011. The applicable
would also be the same if H had a section 401(k) plan                                                                dollar limit under section 415(c)(1)(A) is $44,000 for
                                                           former employee’s average monthly com-
and E were in the past to have made elective deferrals                                                               2006 through 2011. No other contributions are made
to that plan, assuming that those elective deferrals
                                                           pensation during his or her most recent                   to a section 403(b) contract for B for those years.
did not exceed $10,000 ($5,000 times 15, minus the         year of service.                                              (ii) Conclusion. The contributions made for B do
sum of $62,000 plus $10,000, equals $3,000), so as             (2) Examples. The provisions of para-                 not exceed B’s includible compensation for any of the
to result in the limitation at paragraph (c)(3)(i)(C) of   graph (d)(1) of this section are illustrated              years from 2006 through 2010.
this section being less than $3,000.                                                                                     Example 3. (i) Facts. A public university main-
                                                           by the following examples:
                                                                                                                     tains a section 403(b) plan under which it contributes



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annually 10% of compensation for participants, in-        nual work period is the school’s academic           (iii) In determining the fraction that rep-
cluding for the first 5 calendar years following the      year. However, in no case may an em-             resents the fractional year of service of an
date on which the participant ceases to be an em-         ployee accumulate more than one year of          individual who is employed part time for
ployee. The plan provides that if a participant who
is a former employee dies during the first 5 calen-
                                                          service in a twelve-month period.                the entire annual work period, the numer-
dar years following the date on which the participant         (3) Service with more than one eligible      ator is the amount of work performed by
ceases to be an employee, a contribution is made that     employer—(i) General rule. With respect          the individual, and the denominator is the
is equal to the lesser of —                               to any section 403(b) contract of an eligi-      amount of work normally required of indi-
    (A) The excess of the individual’s includible         ble employer, except as provided in para-        viduals who perform similar services and
compensation for that year over the contributions
previously made for the individual for that year; or
                                                          graph (e)(3)(ii) of this section, any period     who are employed full time for the entire
    (B) The total contributions that would have been      during which an individual is not an em-         annual work period.
made on the individual’s behalf thereafter if he or she   ployee of that eligible employer is disre-          (iv) In determining the fraction repre-
had survived to the end of the 5-year period.             garded for purposes of this paragraph (e).       senting the fractional year of service of an
    (ii) Individual C’s annual includible compensa-           (ii) Special rule for church employ-         individual who is employed part time for
tion is $72,000 (so that C’s monthly includible com-
pensation is $6,000). A $600 contribution is made
                                                          ees. With respect to any section 403(b)          part of an annual work period, the frac-
for C for January of the first taxable year following     contract of an eligible employer that is a       tional year of service that would apply if
retirement (10% of individual C’s monthly includi-        church-related organization, any period          the individual were a part-time employee
ble compensation of $6,000). Individual C dies dur-       during which an individual is an employee        for a full annual work period is multiplied
ing February of that year. The university makes a         of that eligible employer and any other          by the fractional year of service that would
contribution for individual C for February equal to
$11,400 (C’s monthly includible compensation for
                                                          eligible employer that is a church-related       apply if the individual were a full-time em-
January and February, reduced by $600).                   organization that has an association (as         ployee for the part of an annual work pe-
    (iii) Conclusion. The contribution does not ex-       defined in section 414(e)(3)(D)) with that       riod.
ceed the amount of individual C’s includible com-         eligible employer is taken into account on          (6) Work performed. For purposes
pensation for the taxable year for purposes of sec-       an aggregated basis, but any period during       of this paragraph (e), in measuring the
tion 415(c), but any additional contributions would
exceed C’s includible compensation for purposes of
                                                          which an individual is not an employee           amount of work of an individual per-
section 415(c).                                           of a church-related organization or is an        forming particular services, the work
    (3) Disabled employees. See also sec-                 employee of a church-related organization        performed is determined based on the
tion 415(c)(3)(C) which sets forth a spe-                 that does not have an association with           individual’s hours of service (as defined
cial rule under which compensation may                    that eligible employer is disregarded for        under section 410(a)(3)(C)), except that
be treated as continuing for purposes of                  purposes of this paragraph (e).                  a plan may use a different measure of
section 415 for certain former employees                      (4) Full-time employee for full year.        work if appropriate under the facts and
who are disabled.                                         Each annual work period during which an          circumstances. For example, a plan may
    (e) Special rules for determining years               individual is employed full time by the eli-     provide for a university professor’s work
of service—(1) In general. For purposes                   gible employer constitutes one year of ser-      to be measured by the number of courses
of determining a participant’s includible                 vice. In determining whether an individual       taught during an annual work period in
compensation under paragraph (b)(2) of                    is employed full-time, the amount of work        any case in which that individual’s work
this section and a participant’s years of ser-            which he or she actually performs is com-        assignment is generally based on a speci-
vice under paragraphs (c)(3) (special sec-                pared with the amount of work that is nor-       fied number of courses to be taught.
tion 403(b) catch-up for qualified employ-                mally required of individuals performing            (7) Most recent one-year period of ser-
ees of certain organizations) and (d) (em-                similar services from which substantially        vice. For purposes of paragraph (d) of this
ployer contributions for former employ-                   all of their annual compensation is derived.     section, in the case of a part-time employee
ees) of this section, an employee must be                     (5) Other employees. (i) An individual       or a full-time employee who is employed
credited with a full year of service for                  is treated as performing a fraction of a year    for only part of the year determined on the
each year during which the individual is                  of service for each annual work period dur-      basis of the employer’s annual work pe-
a full-time employee of the eligible em-                  ing which he or she is a full-time employee      riod, the employee’s most recent periods
ployer for the entire work period, and a                  for part of the annual work period and for       of service are aggregated to determine his
fraction of a year for each part of a work                each annual work period during which he          or her most recent one-year period of ser-
period during which the individual is a                   or she is a part-time employee either for the    vice. In such a case, there is first taken
full-time or part-time employee of the el-                entire annual work period or for a part of       into account his or her service during the
igible employer. An individual’s number                   the annual work period.                          annual work period for which the last year
of years of service equals the aggregate of                   (ii) In determining the fraction that rep-   of service’s includible compensation is be-
the annual work periods during which the                  resents the fractional year of service for an    ing determined; then there is taken into ac-
individual is employed by the eligible em-                individual employed full time for part of an     count his or her service during his or her
ployer.                                                   annual work period, the numerator is the         next preceding annual work period based
    (2) Work period. A year of service is                 period of time (such as weeks or months)         on whole months; and so forth, until the
based on the employer’s annual work pe-                   during which the individual is a full-time       employee’s service equals, in the aggre-
riod, not the employee’s taxable year. For                employee during that annual work period,         gate, one year of service.
example, in determining whether a univer-                 and the denominator is the period of time           (8) Less than one year of service con-
sity professor is employed full time, the an-             that is the annual work period.                  sidered as one year. If, at the close of a


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taxable year, an employee has, after ap-                   annual section 403(b) elective deferral             (5) Examples. The provisions of this
plication of all of the other rules in this                limit set forth in paragraph (c) of this         paragraph (f) are illustrated by the follow-
paragraph (e), some portion of one year of                 section constitutes an excess contribution       ing examples:
service (but has accumulated less than one                 that is included in gross income for that            Example 1. (i) Facts. Individual D’s employer
year of service), the employee is deemed                   taxable year. See §1.403(b)–3(d)(1)(iii)         makes a $46,000 contribution for 2006 to an indi-
                                                                                                            vidual annuity insurance policy for Individual D
to have one year of service. Except as pro-                and (2)(i) for additional rules, including       that would otherwise be a section 403(b) contract.
vided in the previous sentence, fractional                 special rules relating to contracts that fail    The contribution does not include any elective de-
years of service are not rounded up.                       to be nonforfeitable. See also section           ferrals and the applicable limit under section 415(c)
   (9) Examples. The provisions of this                    4973 for an excise tax applicable with re-       is $44,000 for 2006. The $2,000 section 415(c)
paragraph (e) are illustrated by the follow-               spect to excess contributions to a custodial     excess is put into a separate account under the policy.
                                                                                                            Employer includes $2,000 in D’s gross income as
ing examples:                                              account and section 4979(f)(2)(B) for a          wages for 2006 and, to the extent of the amount held
    Example 1. (i) Facts. Individual G is employed         special rule applicable if excess matching       in the separate account for the section 415(c) excess
half-time in 2004 and 2005 as a clerk by H, a hospital     contributions, excess after-tax employee         contribution, does not treat the account as a contract
which is a section 501(c)(3) organization. G earns
                                                           contributions, and excess section 403(b)         to which section 403(b) applies.
$20,000 from H in each of those years, and retires on
                                                           elective deferrals do not exceed $100.               (ii) Conclusion. The separate account for the sec-
December 31, 2005.
                                                                                                            tion 415(c) excess contribution is a contract to which
    (ii) Conclusion. For purposes of determining G’s          (2) Separate account required for cer-        section 403(c) applies, but the excess contribution
includible compensation during G’s last year of ser-       tain excess contributions; distribution of       does not cause the rest of the contract to fail section
vice under paragraph (d) of this section, G’s most re-     excess elective deferrals. A contract to         403(b).
cent periods of service are aggregated to determine
                                                           which a contribution is made that exceeds            Example 2. (i) Facts. Same facts as Example 1,
G’s most recent one-year period of service. In this
                                                           the maximum annual contribution limit            except that the contribution is made to purchase mu-
case, since D worked half-time in 2004 and 2005,
                                                                                                            tual funds that are held in a custodial account, instead
the compensation D earned in those two years are ag-       set forth in paragraph (b) of this section       of an individual annuity insurance policy.
gregated to produce D’s includible compensation for        is not a section 403(b) contract unless the          (ii) Conclusion. The conclusion is the same as
D’s last full year in service. Thus, in this case, the     excess contribution is held in a separate        in Example 1, except that the purchase constitutes a
$20,000 that D earned in 2004 and 2005 for D’s half-
                                                           account which constitutes a separate ac-         transfer described in section 83.
time work are aggregated, so that D has $40,000 of in-
                                                           count for purposes of section 72. See also           Example 3. (i) Facts. Same facts as Example 1,
cludible compensation for D’s most recent one-year
                                                                                                            except that the amount held in the separate account
of service for purposes of applying paragraphs (b)(2),     §1.403(b)–3(a)(4) and paragraph (f)(4)           for the section 415(c) excess contribution is subse-
(c)(3), and (d) of this section.                           of this section for additional rules with        quently distributed to D.
    Example 2. (i) Facts. Individual H is employed         respect to the requirements of section               (ii) Conclusion. The distribution is included in
as a part-time professor by public University U dur-
                                                           401(a)(30) and any excess deferral.              gross income to the extent provided under section 72
ing the first semester of its two-semester 2004-2005
                                                              (3) Ability to distribute excess contribu-    relating to distributions from a section 403(c) con-
academic year. While H teaches one course gener-
                                                                                                            tract.
ally for 3 hours a week during the first semester of the   tions. A contract does not fail to satisfy the       Example 4. (i) Facts. Individual E makes section
academic year, U’s full-time faculty members gener-        requirements of §1.403(b)–3, the distribu-       403(b) elective deferrals totaling $15,500 for 2006,
ally teach for 9 hours a week during the full academic     tion rules of §1.403(b)–6 or 1.403(b)–9, or      when E is age 45 and the applicable limit on section
year.
                                                           the funding rules of §1.403(b)–8 solely by       403(b) elective deferrals is $15,000. On April 14,
    (ii) Conclusion. For purposes of calculating how
                                                           reason of a distribution made from a sepa-       2007, the plan refunds the $500 excess along with
much of a year of service H performs in the 2004-
                                                                                                            applicable earnings of $65.
2005 academic year (before application of the spe-         rate account under paragraph (f)(2) of this          (ii) Conclusion. The $565 payment constitutes
cial rules of paragraphs (e)(7) and (8) of this section    section or made under paragraph (f)(4) of        a distribution of an excess deferral under paragraph
concerning less than one year of service), paragraph       this section.                                    (f)(4) of this section. Under section 402(g), the $500
(e)(5)(iv) of this section is applied as follows: since
                                                              (4) Excess section 403(b) elective defer-     excess deferral is included in E’s gross income for
H teaches one course at U for 3 hours per week for
                                                           rals. A section 403(b) contract may pro-         2006. The additional $65 is included in E’s gross
1 semester and other faculty members at U teach 9
                                                                                                            income for 2007 and, because the distribution is made
hours per week for 2 semesters, H is considered to         vide that any excess deferral as a result        by April 15, 2007 (as provided in section 402(g)(2)),
have completed 3/18 or 1/6 of a year of service during     of a failure to comply with the limitation       the $65 is not subject to the additional 10 percent
the 2004-2005 academic year, determined as follows:        under paragraph (c) of this section for a        income tax on early distributions under section 72(t).
    (A) The fractional year of service if H were a part-
time employee for a full year is 3/9 (number of hours
                                                           taxable year with respect to any section
employed divided by the usual number of hours of           403(b) elective deferral made for a partici-     §1.403(b)–5 Nondiscrimination rules.
work required for that position).                          pant by the employer will be distributed to
    (B) The fractional year of service if H were a full-   the participant, with allocable net income,         (a) Nondiscrimination rules for contri-
time employee for half of a year is 1/2 (one semester,     no later than April 15 of the following tax-     butions other than section 403(b) elective
divided by the usual 2-semester annual work period).
    (C) These fractions are multiplied to obtain the
                                                           able year or otherwise in accordance with        deferrals—(1) General rule. Under sec-
fractional year of service: 3/9 times 1/2, or 3/18,        section 402(g). See section 402(g)(2)(A)         tion 403(b)(12)(A)(i), employer contribu-
equals 1/6 of a year of service.                           for rules permitting the participant to al-      tions and after-tax employee contributions
   (f) Excess contributions or defer-                      locate excess deferrals among the plans in       to a section 403(b) plan must satisfy all
rals—(1) Inclusion in gross income. Any                    which the participant has made elective de-      of the following requirements (the nondis-
contribution made for a participant to a                   ferrals, and see section 402(g)(2)(C) for        crimination requirements) in the same
section 403(b) contract for the taxable                    special rules to determine the tax treatment     manner as a qualified plan under section
year that exceeds either the maximum                       of such a distribution.                          401(a):
annual contribution limit set forth in para-                                                                   (i) Section 401(a)(4) (relating to
graph (b) of this section or the maximum                                                                    nondiscrimination in contributions and


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benefits), taking section 401(a)(5) into          permitted to have section 403(b) elective       treated one or more of its various geo-
account.                                          deferrals contributed on the employee’s         graphically distinct units as separate for
    (ii) Section 401(a)(17) (limiting the         behalf unless the employee is provided          employee benefit purposes may treat each
amount of compensation that can be taken          an effective opportunity that satisfies the     unit as a separate organization if the unit
into account).                                    requirements of this paragraph (b)(2).          is operated independently on a day-to-day
    (iii) Section 401(m) (relating to match-      Whether an employee has an effective            basis. Units are not geographically dis-
ing and after-tax employee contributions).        opportunity is determined based on all          tinct if such units are located within the
    (iv) Section 410(b) (relating to mini-        the relevant facts and circumstances, in-       same Standard Metropolitan Statistical
mum coverage).                                    cluding notice of the availability of the       Area (SMSA).
    (2) Nonapplication to section 403(b)          election, the period of time during which           (4) Exclusions—(i) Exclusions for spe-
elective deferrals. The requirements of           an election may be made, and any other          cial types of employees. A plan does not
this paragraph (a) do not apply to section        conditions on elections. A section 403(b)       fail to satisfy the universal availability
403(b) elective deferrals.                        plan satisfies the effective opportunity        requirement of this paragraph (b) merely
    (3) Compensation for testing. Except          requirement of this paragraph (b)(2) only       because it excludes one or more of the
as may otherwise be specifically permitted        if, at least once during each plan year,        types of employees listed in paragraph
under the provisions referenced in para-          the plan provides an employee with an           (b)(4)(ii) of this section. However, the
graph (a)(1) of this section, compliance          effective opportunity to make (or change)       exclusion of any employee listed in para-
with those provisions is tested using com-        a cash or deferred election (as defined         graph (b)(4)(ii)(D) or (E) of this section
pensation as defined in section 414(s) (and       at §1.401(k)–1(a)(3)) between cash or a         is subject to the conditions applicable
without regard to section 415(c)(3)(E)). In       contribution to the plan. Further, an effec-    under section 410(b)(4). Thus, if any em-
addition, for purposes of paragraph (a)(1)        tive opportunity includes the right to have     ployee listed in paragraph (b)(4)(ii)(D) of
of this section, there may be excluded em-        section 403(b) elective deferrals made on       this section has the right to have section
ployees who are permitted to be excluded          his or her behalf up to the lesser of the       403(b) elective deferrals made on his or
under paragraph (b)(4)(ii)(D) and (E) of          applicable limits in §1.403(b)–4(c) (in-        her behalf, then no employee listed in that
this section. However, as provided in para-       cluding any permissible catch-up elective       paragraph (b)(4)(ii)(D) of this section may
graph (b)(4)(i) of this section, the exclu-       deferrals under §1.403(b)–4(c)(2) and (3))      be excluded under this paragraph (b)(4)
sion of any employee listed in paragraph          or the applicable limits under the contract     and, if any employee listed in paragraph
(b)(4)(ii)(D) or (E) of this section is sub-      with the largest limitation, and applies to     (b)(4)(ii)(E) of this section has the right
ject to the conditions applicable under sec-      part-time employees as well as full-time        to have section 403(b) elective deferrals
tion 410(b)(4).                                   employees. An effective opportunity is not      made on his or her behalf, then no em-
    (4) Employer aggregation rules. See           considered to exist if there are any other      ployee listed in that paragraph (b)(4)(ii)(E)
regulations under section 414(b), (c), (m),       rights or benefits (other than rights or ben-   of this section may be excluded under this
and (o) for rules treating entities as a single   efits listed in §1.401(k)–1(e)(6)(i)(A), (B),   paragraph (b)(4).
employer for purposes of the nondiscrimi-         or (D)) that are conditioned (directly or           (ii) List of special types of excludi-
nation requirements.                              indirectly) upon a participant making or        ble employees. The following types of
    (5) Special rules for governmental            failing to make a cash or deferred election     employees are listed in this paragraph
plans. Paragraphs (a)(1)(i), (iii), and (iv)      with respect to a contribution to a section     (b)(4)(ii):
of this section do not apply to a govern-         403(b) contract.                                    (A) Employees who are eligible under
mental plan as defined in section 414(d)              (3) Special rules. (i) In the case of       another section 403(b) plan, or a section
(but contributions to a governmental plan         a section 403(b) plan that covers the em-       457(b) eligible governmental plan, of the
must comply with paragraphs (a)(1)(ii)            ployees of more than one section 501(c)(3)      employer which permits an amount to be
and (b) of this section).                         organization, the universal availability re-    contributed or deferred at the election of
    (b) Universal availability required           quirement of this paragraph (b) applies         the employee.
for section 403(b) elective defer-                separately to each common law entity                (B) Employees who are eligible to make
rals—(1) General rule. Under section              (that is, applies separately to each sec-       a cash or deferred election (as defined at
403(b)(12)(A)(ii), all employees of the           tion 501(c)(3) organization). In the case       §1.401(k)–1(a)(3)) under a section 401(k)
eligible employer must be permitted to            of a section 403(b) plan that covers the        plan of the employer.
have section 403(b) elective deferrals con-       employees of more than one State entity,            (C) Employees who are non-resident
tributed on their behalf if any employee of       this requirement applies separately to each     aliens described in section 410(b)(3)(C).
the eligible employer may elect to have the       entity that is not part of a common payroll.        (D) Subject to the conditions applica-
organization make section 403(b) elective         An eligible employer may condition the          ble under section 410(b)(4) (including sec-
deferrals. Further, the employee’s right to       employee’s right to have section 403(b)         tion 410(b)(4)(B) permitting separate test-
make elective deferrals also includes the         elective deferrals made on his or her behalf    ing for employees not meeting minimum
right to designate section 403(b) elective        on the employee electing a section 403(b)       age and service requirements), employees
deferrals as designated Roth contributions.       elective deferral of more than $200 for a       who are students performing services de-
    (2) Effective opportunity required. For       year.                                           scribed in section 3121(b)(10).
purposes of paragraph (b)(1) of this sec-             (ii) For purposes of this paragraph             (E) Subject to the conditions applicable
tion, an employee is not treated as being         (b)(3), an employer that historically has       under section 410(b)(4), employees who


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normally work fewer than 20 hours per           §1.403(b)–6 Timing of distributions and         tributions—(i) General rule.           Except
week (or such lower number of hours per         benefits.                                       as provided in §1.403(b)–4(f) (relat-
week as may be set forth in the plan).                                                          ing to correction of excess deferrals) or
    (iii) Special rules. (A) A section 403(b)       (a) Distributions generally. This sec-      §1.403(b)–10(a) (relating to plan termina-
plan is permitted to take into account cov-     tion provides special rules regarding the       tion), distributions of amounts attributable
erage under another plan, as permitted in       timing of distributions from, and the ben-      to section 403(b) elective deferrals may
paragraphs (b)(4)(ii)(A) and (B) of this        efits that may be provided under, a section     not be paid to a participant earlier than the
section, only if the rights to make elec-       403(b) contract, including limitations on       earliest of the date on which the partici-
tive deferrals with respect to that coverage    when early distributions can be made (in        pant has a severance from employment,
would satisfy paragraphs (b)(2) and (4)(i)      paragraphs (b) through (d) of this section),    dies, has a hardship, becomes disabled
of this section if that coverage were pro-      required minimum distributions (in para-        (within the meaning of section 72(m)(7)),
vided under the section 403(b) plan.            graph (e) of this section), and special rules   or attains age 591/2.
    (B) For purposes of paragraph               relating to loans (in paragraph (f) of this         (ii) Special rule for pre-1989 section
(b)(4)(ii)(E) of this section, an employee      section) and incidental benefits (in para-      403(b) elective deferrals. For special rules
normally works fewer than 20 hours per          graph (g) of this section).                     relating to amounts held as of the close
week if and only if—                                (b) Distributions from contracts other      of the taxable year beginning before Jan-
    (1) For the 12-month period beginning       than custodial accounts or amounts attrib-      uary 1, 1989 (which does not apply to
on the date the employee’s employment           utable to section 403(b) elective deferrals.    earnings thereon), see section 1123(e)(3)
commenced, the employer reasonably ex-          Except as provided in paragraph (c) of          of the Tax Reform Act of 1986 (100 Stat.
pects the employee to work fewer than           this section relating to distributions from     2085, 2475) Public Law 99–514, and sec-
1,000 hours of service (as defined in sec-      custodial accounts, paragraph (d) of this       tion 1011A(c)(11) of the Technical and
tion 410(a)(3)(C)) in such period; and          section relating to distributions attribut-     Miscellaneous Revenue Act of 1988 (102
    (2) For each plan year ending after the     able to section 403(b) elective deferrals,      Stat. 3342, 3476) Public Law 100–647.
close of the 12-month period beginning          §1.403(b)–4(f) (relating to correction              (2) Hardship rules. A hardship dis-
on the date the employee’s employment           of excess deferrals), or §1.403(b)–10(a)        tribution under this paragraph (d) has the
commenced (or, if the plan so provides,         (relating to plan termination), a section       same meaning as a distribution on account
each subsequent 12-month period), the           403(b) contract is permitted to distribute      of hardship under §1.401(k)–1(d)(3) and
employee worked fewer than 1,000 hours          retirement benefits to the participant no       is subject to the rules and restrictions set
of service in the preceding 12-month pe-        earlier than upon the earlier of the par-       forth in §1.401(k)–1(d)(3) (including lim-
riod. (See, however, section 202(a)(1) of       ticipant’s severance from employment or         iting the amount of a distribution in the
the Employee Retirement Income Secu-            upon the prior occurrence of some event,        case of hardship to the amount necessary
rity Act of 1974 (ERISA) (88 Stat. 829)         such as after a fixed number of years, the      to satisfy the hardship). In addition, a hard-
Public Law 93–406, and regulations under        attainment of a stated age, or disability.      ship distribution is limited to the aggregate
section 410(a) of the Internal Revenue          See §1.401–1(b)(1)(ii) for additional guid-     dollar amount of the participant’s section
Code applicable with respect to plans that      ance. This paragraph (b) does not apply to      403(b) elective deferrals under the contract
are subject to Title I of ERISA.)               after-tax employee contributions or earn-       (and may not include any income thereon),
    (c) Plan required. Contributions to an      ings thereon.                                   reduced by the aggregate dollar amount of
annuity contract do not satisfy the require-        (c) Distributions from custodial ac-        the distributions previously made to the
ments of this section unless the contribu-      counts that are not attributable to sec-        participant from the contract.
tions are made pursuant to a plan, as de-       tion 403(b) elective deferrals. Except              (3) Failure to keep separate accounts.
fined in §1.403(b)–3(b)(3), and the terms       as provided in §1.403(b)–4(f) (relat-           If a section 403(b) contract includes both
of the plan satisfy this section.               ing to correction of excess deferrals)          section 403(b) elective deferrals and other
    (d) Church plans exception. This sec-       or §1.403(b)–10(a) (relating to plan ter-       contributions and the section 403(b) elec-
tion does not apply to a section 403(b) con-    mination), distributions from a custodial       tive deferrals are not maintained in a sepa-
tract purchased by a church (as defined in      account, as defined in §1.403(b)–8(d)(2),       rate account, then distributions may not be
§1.403(b)–2).                                   may not be paid to a participant before the     made earlier than the later of—
    (e) Other rules. This section only re-      participant has a severance from employ-            (i) Any date permitted under paragraph
flects requirements of the Internal Rev-        ment, dies, becomes disabled (within the        (d)(1) of this section; and
enue Code applicable for purposes of sec-       meaning of section 72(m)(7)), or attains            (ii) Any date permitted under paragraph
tion 403(b) and does not include other re-      age 591/2. Any amounts transferred out of       (b) or (c) of this section with respect to
quirements. Specifically, this section does     a custodial account to an annuity contract      contributions that are not section 403(b)
not reflect the requirements of ERISA that      or retirement income account, including         elective deferrals (whichever applies to the
may apply with respect to section 403(b)        earnings thereon, continue to be subject to     contributions that are not section 403(b)
arrangements, such as the vesting require-      this paragraph (c). This paragraph (c) does     elective deferrals).
ments at 29 U.S.C. 1053.                        not apply to distributions that are attribut-       (e) Minimum required distributions for
                                                able to section 403(b) elective deferrals.      eligible plans—(1) In general. Under sec-
                                                    (d) Distribution of section 403(b) elec-    tion 403(b)(10), a section 403(b) contract
                                                tive deferrals—(1) Limitation on dis-           must meet the minimum distribution re-


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quirements of section 401(a)(9) (in both       See also §1.403(b)–9(a)(5) for additional       §1.403(b)–10(b)), the amount transferred
form and operation). See section 401(a)(9)     rules relating to annuities payable from a      retains its character as a pre-’87 account
for these requirements.                        retirement income account).                     balance, provided the issuer of the trans-
    (2) Treatment as IRAs. For purposes            (6) Special rules for benefits accruing     feree contract satisfies the recordkeeping
of applying the distribution rules of sec-     before December 31, 1986. (i) The distri-       requirements of paragraph (e)(6)(ii) of this
tion 401(a)(9) to section 403(b) contracts,    bution rules provided in section 401(a)(9)      section.
the minimum distribution rules appli-          do not apply to the undistributed portion           (v) The distinction between the pre-’87
cable to individual retirement annuities       of the account balance under the section        account balance and the post-’86 account
described in section 408(b) and individual     403(b) contract valued as of December 31,       balance provided for under this paragraph
retirement accounts described in section       1986, exclusive of subsequent earnings          (e)(6) of this section has no relevance for
408(a) apply to section 403(b) contracts.      (pre-’87 account balance). The distribu-        purposes of determining the portion of a
Consequently, except as otherwise pro-         tion rules provided in section 401(a)(9)        distribution that is includible in income un-
vided in paragraphs (e)(3) through (e)(5)      apply to all benefits under section 403(b)      der section 72.
of this section, the distribution rules in     contracts accruing after December 31,               (vi) The pre-’87 account balance
section 401(a)(9) are applied to section       1986 (post-’86 account balance), includ-        must be distributed in accordance with
403(b) contracts in accordance with the        ing earnings after December 31, 1986.           the incidental benefit requirement of
provisions in §1.408–8 for purposes of         Consequently, the post-’86 account bal-         §1.401–1(b)(1)(i). Distributions attrib-
determining required minimum distribu-         ance includes earnings after December           utable to the pre-’87 account balance are
tions.                                         31, 1986, on contributions made before          treated as satisfying this requirement if all
    (3) Required beginning date. The re-       January 1, 1987, in addition to the con-        distributions from the section 403(b) con-
quired beginning date for purposes of sec-     tributions made after December 31, 1986,        tract (including distributions attributable
tion 403(b)(10) is April 1 of the calen-       and earnings thereon.                           to the post-’86 account balance) satisfy the
dar year following the later of the calen-         (ii) The issuer or custodian of the sec-    requirements of §1.401–1(b)(1)(i) without
dar year in which the employee attains age     tion 403(b) contract must keep records          regard to this section, and distributions
701/2 or the calendar year in which the em-    that enable it to identify the pre-’87 ac-      attributable to the post-’86 account bal-
ployee retires from employment with the        count balance and subsequent changes            ance satisfy the rules of this paragraph (e)
employer maintaining the plan. However,        as set forth in paragraph (d)(6)(iii) of        (without regard to this paragraph (e)(6)).
for any section 403(b) contract that is not    this section and provide such information       Distributions attributable to the pre-’87
part of a governmental plan or church plan,    upon request to the relevant employee or        account balance are treated as satisfying
the required beginning date for a 5-percent    beneficiaries with respect to the contract.     the incidental benefit requirement if all
owner is April 1 of the calendar year fol-     If the issuer or custodian does not keep        distributions from the section 403(b) con-
lowing the calendar year in which the em-      such records, the entire account balance is     tract (including distributions attributable
ployee attains age 701/2.                      treated as subject to section 401(a)(9).        to both the pre-’87 account balance and
    (4) Surviving spouse rule does not ap-         (iii) In applying the distribution rules    the post-’86 account balance) satisfy the
ply. The special rule in §1.408–8, A–5 (re-    in section 401(a)(9), only the post-’86 ac-     rules of this paragraph (e) (without regard
lating to spousal beneficiaries), does not     count balance is used to calculate the re-      to this paragraph (e)(6)).
apply to a section 403(b) contract. Thus,      quired minimum distribution for a calen-            (7) Application to multiple contracts
the surviving spouse of a participant is not   dar year. The amount of any distribution        for an employee. The required minimum
permitted to treat a section 403(b) contract   from a contract is treated as being paid        distribution must be separately determined
as the spouse’s own section 403(b) con-        from the post-’86 account balance to the        for each section 403(b) contract of an em-
tract, even if the spouse is the sole bene-    extent the distribution is required to sat-     ployee. However, because, as provided in
ficiary.                                       isfy the minimum distribution requirement       paragraph (e)(2) of this section, the dis-
    (5) Retirement income accounts. For        with respect to that contract for a calendar    tribution rules in section 401(a)(9) apply
purposes of §1.401(a)(9)–6, A–4 (relating      year. Any amount distributed in a calen-        to section 403(b) contracts in accordance
to annuity contracts), annuity payments        dar year from a contract in excess of the       with the provisions in §1.408–8, the re-
provided with respect to retirement in-        required minimum distribution for a cal-        quired minimum distribution from one
come accounts do not fail to satisfy the       endar year with respect to that contract is     section 403(b) contract of an employee
requirements of section 401(a)(9) merely       treated as paid from the pre-’87 account        is permitted to be distributed from an-
because the payments are not made un-          balance, if any, of that contract.              other section 403(b) contract in order to
der an annuity contract purchased from             (iv) If an amount is distributed from the   satisfy section 401(a)(9). Thus, as pro-
an insurance company, provided that the        pre-’87 account balance and rolled over         vided in §1.408–8, A–9, with respect to
relationship between the annuity pay-          to another section 403(b) contract, the         IRAs, the required minimum distribution
ments and the retirement income accounts       amount is treated as part of the post-’86       amount from each contract is then totaled
is not inconsistent with any rules pre-        account balance in that second contract.        and the total minimum distribution taken
scribed by the Commissioner in revenue         However, if the pre-’87 account bal-            from any one or more of the individual
rulings, notices, or other guidance pub-       ance under a section 403(b) contract            section 403(b) contracts. However, con-
lished in the Internal Revenue Bulletin        is directly transferred to another sec-         sistent with the rules in §1.408–8, A–9,
(see §601.601(d)(2)(ii)(b) of this chapter).   tion 403(b) contract (as permitted under        only amounts in section 403(b) contracts


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that an individual holds as an employee           ment is deemed to be satisfied if distri-      actually distributed from a section 403(b)
may be aggregated. Amounts in section             butions satisfy the minimum distribution       contract are includible in the gross income
403(b) contracts that an individual holds         requirements of section 401(a)(9). In ad-      of the recipient participant or beneficiary
as a beneficiary of the same decedent may         dition, if a contract issued by an insurance   (in the year in which so distributed) un-
be aggregated, but such amounts may not           company qualified to issue annuities in a      der section 72 (relating to annuities). For
be aggregated with amounts held in sec-           State includes provisions under which, in      an additional income tax that may apply to
tion 403(b) contracts that the individual         the event a participant becomes disabled,      certain early distributions that are includi-
holds as the employee or as the beneficiary       benefits will be provided by the insur-        ble in gross income, see section 72(t).
of another decedent. Distributions from           ance carrier as if employer contributions          (b) Rollovers to individual retire-
section 403(b) contracts do not satisfy           were continued until benefit distribution      ment arrangements and other eligible
the minimum distribution requirements             commences, then that benefit is treated        retirement plans—(1) Timing of taxation
for IRAs, nor do distributions from IRAs          as an incidental benefit (as insurance for     of rollovers. In accordance with sec-
satisfy the minimum distribution require-         a deferred annuity benefit in the event of     tions 402(c), 403(b)(8), and 403(b)(10),
ments for section 403(b) contracts.               disability) that must satisfy the incidental   a direct rollover in accordance with sec-
    (f) Loans.       The determination of         benefit requirement of §1.401–1(b)(1)(ii)      tion 401(a)(31) is not includible in the
whether the availability of a loan, the           (taking into account any other incidental      gross income of a participant or benefi-
making of a loan, or a failure to repay           benefits provided under the plan).             ciary in the year rolled over. In addition,
a loan made from an issuer of a section               (h) Special rule regarding severance       any payment made in the form of an el-
403(b) contract to a participant or benefi-       from employment. For purposes of this          igible rollover distribution (as defined
ciary is treated as a distribution (directly or   section, severance from employment oc-         in section 402(c)(4)) is not includible
indirectly) for purposes of this section, and     curs on any date on which an employee          in gross income in the year paid to the
the determination of whether the availabil-       ceases to be an employee of an eligible        extent the payment is contributed to an
ity of the loan, the making of the loan, or       employer, even though the employee may         eligible retirement plan (as defined in sec-
a failure to repay the loan is in any other       continue to be employed either by another      tion 402(c)(8)(B)) within 60 days, includ-
respect a violation of the requirements of        entity that is treated as the same employer    ing the contribution to the eligible retire-
section 403(b) and §§1.403(b)–1 through           where either that other entity is not an en-   ment plan of any property distributed. For
1.403(b)–5, this section and §§1.403(b)–7         tity that can be an eligible employer (such    this purpose, the rules of section 402(c)(2)
through 1.403(b)–11 depends on the facts          as transferring from a section 501(c)(3)       through (7) and (c)(9) apply. Thus, to the
and circumstances. Among the facts and            organization to a for-profit subsidiary of     extent that a portion of a distribution (in-
circumstances are whether the loan has            the section 501(c)(3) organization) or in a    cluding a distribution from a designated
a fixed repayment schedule and bears a            capacity that is not employment with an        Roth account) would be excluded from
reasonable rate of interest, and whether          eligible employer (for example, ceasing to     gross income if it were not rolled over,
there are repayment safeguards to which           be an employee performing services for a       if that portion of the distribution is to be
a prudent lender would adhere. Thus, for          public school but continuing to work for       rolled over into an eligible retirement plan
example, a loan must bear a reasonable            the same State employer). Thus, this para-     that is not an IRA, the rollover must be
rate of interest in order to be treated as        graph (h) does not apply if an employee        accomplished through a direct rollover of
not being a distribution. However, a plan         transfers from one section 501(c)(3) or-       the entire distribution to a plan qualified
loan offset is a distribution for purposes        ganization to another section 501(c)(3)        under section 401(a) or section 403(b)
of this section. See §1.72(p)–1, Q&A–13.          organization that is treated as the same       plan and that plan must agree to separately
See also §1.403(b)–7(d) relating to the           employer or if an employee transfers from      account for the amount not includible in
application of section 72(p) with respect         one public school to another public school     income (so that a 60-day rollover to a plan
to the taxation of a loan made under a sec-       of the same State employer.                    qualified under section 401(a) or another
tion 403(b) contract. (Further, see section           (i) Certain limitations do not apply       section 403(b) plan is not available for this
408(b)(1) of Title I of ERISA and 29 CFR          to rollover contributions. The limita-         portion of the distribution). Any direct
2550.408b–1 of the Department of Labor            tions on distributions in paragraphs (b)       rollover under this paragraph (b)(1) is a
regulations concerning additional require-        through (d) of this section do not apply       distribution that is subject to the distribu-
ments applicable with respect to plans that       to amounts held in a separate account for      tion requirements of §1.403(b)–6.
are subject to Title I of ERISA.)                 eligible rollover distributions as described       (2) Requirement that contract provide
    (g) Death benefits and other inci-            in §1.403(b)–10(d).                            rollover options for eligible rollover distri-
dental benefits. An annuity is not a                                                             butions. As required in §1.403(b)–3(a)(7),
section 403(b) contract if it fails to sat-       §1.403(b)–7 Taxation of distributions and      an annuity contract is not a section 403(b)
isfy the incidental benefit requirement           benefits.                                      contract unless the contract provides that if
of §1.401–1(b)(1)(ii) (in form or in op-                                                         the distributee of an eligible rollover distri-
eration). For purposes of this paragraph              (a) General rules for when amounts are     bution elects to have the distribution paid
(g), to the extent the incidental benefit re-     included in gross income. Except as pro-       directly to an eligible retirement plan (as
quirement of §1.401–1(b)(1)(ii) requires a        vided in this section (or in §1.403(b)–10(c)   defined in section 402(c)(8)(B)) and spec-
distribution of the participant’s or benefi-      relating to payments pursuant to a qual-       ifies the eligible retirement plan to which
ciary’s accumulated benefit, that require-        ified domestic relations order), amounts       the distribution is to be paid, then the dis-


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tribution will be paid to that eligible retire-       (c) Special rules.          See section     attributable to any other contributions to
ment plan in a direct rollover. For pur-          402(g)(2)(C) for special rules to determine     the section 403(b) plan.
poses of determining whether a contract           the tax treatment of a distribution of excess       (f) Aggregation of contracts. In ac-
satisfies this requirement, the provisions of     deferrals, and see §1.401(m)–1(e)(3)(v)         cordance with section 403(b)(5), the rules
section 401(a)(31) apply to the annuity as        for the tax treatment of corrective distribu-   of this section are applied as if all annu-
though it were a plan qualified under sec-        tions of after-tax employee contributions       ity contracts for the employee by the em-
tion 401(a) unless otherwise provided in          and matching contributions to comply            ployer are treated as a single contract.
section 401(a)(31). Thus, the special rule        with section 401(m). See sections 402(l)            (g) Certain rules relating to employ-
in §1.401(k)–1(f)(3)(ii) with respect to dis-     and 403(b)(2) for a special rule regard-        ment taxes. With respect to contributions
tributions from a designated Roth account         ing distributions for certain retired public    under the Federal Insurance Contributions
that are expected to total less than $200         safety officers made from a governmen-          Act (FICA) under Chapter 21, see section
during a year applies to designated Roth          tal plan for the direct payment of certain      3121(a)(5)(D) for a special rule relating
accounts under a section 403(b) plan. In          premiums.                                       to section 403(b) contracts. With respect
applying the provisions of this paragraph             (d) Amounts taxable under section           to income tax withholding on distribu-
(b)(2), the payor of the eligible rollover        72(p)(1). In accordance with section            tions from section 403(b) contracts, see
distribution from the contract is treated as      72(p), the amount of any loan from a            section 3405 generally. However, see
the plan administrator.                           section 403(b) contract to a participant        section 3401 for income tax withholding
    (3) Requirement that contract payor           or beneficiary (including any pledge or         applicable to annuity contracts or custo-
provide notice of rollover option to dis-         assignment treated as a loan under section      dial accounts that are not section 403(b)
tributees. To ensure that the distributee of      72(p)(1)(B)) is treated as having been re-      contracts or for cases in which an annu-
an eligible rollover distribution from a sec-     ceived as a distribution from the contract      ity contract or custodial account ceases
tion 403(b) contract has a meaningful right       under section 72(p)(1), except to the ex-       to be a section 403(b) contract. See also
to elect a direct rollover, section 402(f) re-    tent set forth in section 72(p)(2) (relating    §1.72(p)–1, Q&A–15, and §35.3405(c)–1,
quires that the distributee be informed of        to loans that do not exceed a maximum           Q&A–11 of this chapter, for special rules
the option. Thus, within a reasonable time        amount and that are repayable in accor-         relating to income tax withholding for
period before making the initial eligible         dance with certain terms) and §1.72(p)–1.       loans made from certain employer plans,
rollover distribution, the payor must pro-        See generally §1.72(p)–1. Thus, except to       including section 403(b) contracts.
vide an explanation to the distributee of his     the extent a loan satisfies section 72(p)(2),
or her right to elect a direct rollover and the   any amount loaned from a section 403(b)         §1.403(b)–8 Funding.
income tax withholding consequences of            contract to a participant or beneficiary (in-
                                                                                                      (a) Investments. Section 403(b) and
not electing a direct rollover. For purposes      cluding any pledge or assignment treated
                                                                                                  §1.403(b)–3(a) only apply to amounts
of satisfying the reasonable time period          as a loan under section 72(p)(1)(B)) is
                                                                                                  held in an annuity contract (as defined in
requirement, the plan timing rule provided        includible in the gross income of the par-
                                                                                                  §1.403(b)–2), including a custodial ac-
in section 402(f)(1) and §1.402(f)–1 ap-          ticipant or beneficiary for the taxable year
                                                                                                  count that is treated as an annuity contract
plies to section 403(b) contracts.                in which the loan is made. A deemed
                                                                                                  under paragraph (d) of this section, or a
    (4) Mandatory withholding upon cer-           distribution is not an actual distribution
                                                                                                  retirement income account that is treated
tain eligible rollover distributions from         for purposes of §1.403(b)–6, as provided
                                                                                                  as an annuity contract under §1.403(b)–9.
contracts. If a distributee of an eligible        at §1.72(p)–1, Q&A–12 and Q&A–13.
                                                                                                      (b) Contributions to the plan. Contri-
rollover distribution from a section 403(b)       (Further, see section 408(b)(1) of Title I of
                                                                                                  butions to a section 403(b) plan must be
contract does not elect to have the eli-          ERISA concerning the effect of noncom-
                                                                                                  transferred to the insurance company issu-
gible rollover distribution paid directly         pliance with Title I loan requirements for
                                                                                                  ing the annuity contract (or the entity hold-
to an eligible retirement plan in a direct        plans that are subject to Title I of ERISA.)
                                                                                                  ing assets of any custodial or retirement in-
rollover, the eligible rollover distribution          (e) Special rules relating to distribu-
                                                                                                  come account that is treated as an annuity
is subject to 20-percent income tax with-         tions from a designated Roth account. If
                                                                                                  contract) within a period that is not longer
holding imposed under section 3405(c).            an amount is distributed from a desig-
                                                                                                  than is reasonable for the proper adminis-
See section 3405(c) and §31.3405(c)–1             nated Roth account under a section 403(b)
                                                                                                  tration of the plan. For purposes of this re-
of this chapter for provisions regarding          plan, the amount, if any, that is includi-
                                                                                                  quirement, the plan may provide for sec-
the withholding requirements relating to          ble in gross income and the amount, if
                                                                                                  tion 403(b) elective deferrals for a partici-
eligible rollover distributions.                  any, that may be rolled over to another
                                                                                                  pant under the plan to be transferred to the
    (5) Automatic rollover for certain            section 403(b) plan is determined under
                                                                                                  annuity contract within a specified period
mandatory distributions under section             §1.402A–1. Thus, the designated Roth
                                                                                                  after the date the amounts would otherwise
401(a)(31). In accordance with section            account is treated as a separate contract
                                                                                                  have been paid to the participant. For ex-
403(b)(10), a section 403(b) plan is re-          for purposes of section 72. For example,
                                                                                                  ample, the plan could provide for section
quired to comply with section 401(a)(31)          the rules of section 72(b) must be applied
                                                                                                  403(b) elective deferrals under the plan to
(including automatic rollover for certain         separately to annuity payments with re-
                                                                                                  be contributed within 15 business days fol-
mandatory distributions) in the same man-         spect to a designated Roth account under
                                                                                                  lowing the month in which these amounts
ner as a qualified plan.                          a section 403(b) plan and separately to
                                                  annuity payments with respect to amounts


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would otherwise have been paid to the par-      tirement system (including a state univer-      constitutes a section 403(b) contract un-
ticipant.                                       sity retirement system) to purchase bene-       der §§1.403(b)–1 through 1.403(b)–7,
    (c) Annuity contracts—(1) Generally.        fits that are unrelated to the basic benefits   this section and §§1.403(b)–9 through
As defined in §1.403(b)–2, and except as        provided under the retirement system, and       1.403(b)–11 or that would constitute a sec-
otherwise permitted under this section, an      the death benefit provided under the con-       tion 403(b) contract under §§1.403(b)–1
annuity contract means a contract that is is-   tract does not at any time exceed the larger    through 1.403(b)–7, this section and
sued by an insurance company qualified to       of the reserve or the contribution made for     §§1.403(b)–9 through 1.403(b)–11 if the
issue annuities in a State and that includes    the employee.                                   amounts held in the account were to sat-
payment in the form of an annuity. This             (d) Custodial accounts—(1) Treat-           isfy the nonforfeitability requirement of
paragraph (c) sets forth additional rules re-   ment as a section 403(b) contract. Under        §1.403(b)–3(a)(2).
garding annuity contracts.                      section 403(b)(7), a custodial account is           (e) Retirement income accounts. See
    (2) Certain insurance contracts. Nei-       treated as an annuity contract for purposes     §1.403(b)–9 for special rules under which
ther a life insurance contract, as defined      of §§1.403(b)–1 through 1.403(b)–7,             a retirement income account for em-
in section 7702, an endowment contract,         this section and §§1.403(b)–9 through           ployees of a church-related organization
a health or accident insurance contract,        1.403(b)–11. See section 403(b)(7)(B) for       is treated as a section 403(b) contract
nor a property, casualty, or liability insur-   special rules regarding the tax treatment       for purposes of §§1.403(b)–1 through
ance contract meets the definition of an        of custodial accounts and section 4973(c)       1.403(b)–7, this section and §§1.403(b)–9
annuity contract. See §1.401(f)–4(e). If a      for an excise tax that applies to excess        through 1.403(b)–11.
contract issued by an insurance company         contributions to a custodial account.               (f) Combining assets. To the extent
qualified to issue annuities in a State pro-        (2) Custodial account defined. A cus-       permitted by the Commissioner in rev-
vides death benefits as part of the contract,   todial account means a plan, or a separate      enue rulings, notices, or other guidance
then that coverage is permitted, assuming       account under a plan, in which an amount        published in the Internal Revenue Bulletin
that those death benefits do not cause the      attributable to section 403(b) contributions    (see §601.601(d)(2)(ii)(b) of this chap-
contract to fail to satisfy any requirement     (or amounts rolled over to a section 403(b)     ter), trust assets held under a custodial
applicable to section 403(b) contracts,         contract, as described in §1.403(b)–10(d))      account and trust assets held under a re-
for example, assuming that those benefits       is held by a bank or a person who satisfies     tirement income account, as described in
satisfy the incidental benefit require-         the conditions in section 401(f)(2), if—        §1.403(b)–9(a)(6), may be invested in a
ment of §1.401–1(b)(1)(i), as required by           (i) All of the amounts held in the ac-      group trust with trust assets held under
§1.403(b)–6(g).                                 count are invested in stock of a regulated      a qualified plan or individual retirement
    (3) Special rule for certain contracts.     investment company (as defined in section       plan. For this purpose, a trust includes a
This paragraph (c)(3) applies in the case       851(a) relating to mutual funds);               custodial account that is treated as a trust
of a contract issued under a State section          (ii) The requirements of §1.403(b)–6(c)     under section 401(f).
403(b) plan established on or before May        (imposing restrictions on distributions
17, 1982, or for an employee who becomes        with respect to a custodial account) are        §1.403(b)–9 Special rules for church
covered for the first time under the plan       satisfied with respect to the amounts held      plans.
after May 17, 1982, unless the Commis-          in the account;
sioner had before that date issued any writ-        (iii) The assets held in the account            (a) Retirement income accounts—(1)
ten communication (either to the employer       cannot be used for, or diverted to, pur-        Treatment as a section 403(b) contract.
or financial institution) to the effect that    poses other than for the exclusive benefit      Under section 403(b)(9), a retirement
the arrangement under which the contract        of plan participants or their beneficiaries     income account for employees of a
was issued did not meet the requirements        (for which purpose, assets are treated as       church-related organization (as defined in
of section 403(b). The requirement that the     diverted to the employer if the employer        §1.403(b)–2) is treated as an annuity con-
contract be issued by an insurance com-         borrows assets from the account); and           tract for purposes of §§1.403(b)–1 through
pany qualified to issue annuities in a State        (iv) The account is not part of a retire-   1.403(b)–8, this section, §1.403(b)–10 and
does not apply to a contract described in       ment income account.                            §1.403(b)–11.
the preceding sentence if one of the fol-           (3) Effect of definition. The require-          (2) Retirement income account de-
lowing two conditions is satisfied and that     ment in paragraph (d)(2)(i) of this section     fined—(i) In general. A retirement in-
condition has been satisfied continuously       is not satisfied if the account includes any    come account means a defined contribu-
since May 17, 1982—                             assets other than stock of a regulated in-      tion program established or maintained
    (i) Benefits under the contract are pro-    vestment company.                               by a church-related organization under
vided from a separately funded retirement           (4) Treatment of custodial account. A       which—
reserve that is subject to supervision of the   custodial account is treated as a section           (A) There is separate accounting for the
State insurance department; or                  401 qualified plan solely for purposes of       retirement income account’s interest in the
    (ii) Benefits under the contract are pro-   subchapter F of subtitle A and subtitle F       underlying assets (namely, there must be
vided from a fund that is separate from         of the Internal Revenue Code with respect       sufficient separate accounting in order for
the fund used to provide statutory bene-        to amounts received by it (and income           it to be possible at all times to determine
fits payable under a state retirement sys-      from investment thereof). This treatment        the retirement income account’s interest
tem and that is part of a State teachers re-    only applies to a custodial account that        in the underlying assets and to distinguish


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that interest from any interest that is not     amounts devoted exclusively to church            the plan during the period beginning on
part of the retirement income account);         purposes (such as a fund from which un-          the date of plan termination and ending
    (B) Investment performance is based on      funded pension payments are made to              12 months after distribution of all assets
gains and losses on those assets; and           former employees of the church). How-            from the terminated plan. However, if at
    (C) The assets held in the account can-     ever, unless otherwise permitted by the          all times during the period beginning 12
not be used for, or diverted to, purposes       Commissioner, no assets of the plan spon-        months before the termination and ending
other than for the exclusive benefit of plan    sor, other than retirement income account        12 months after distribution of all assets
participants or their beneficiaries (and for    assets, may be combined with custodial           from the terminated plan, fewer than 2
this purpose, assets are treated as diverted    account assets or any other assets permit-       percent of the employees who were eligi-
to the employer if there is a loan or other     ted to be combined under §1.403(b)–8(f).         ble under the section 403(b) plan as of the
extension of credit from assets in the ac-      This paragraph (a)(6) is subject to any ad-      date of plan termination are eligible under
count to the employer).                         ditional rules issued by the Commissioner        the alternative section 403(b) contract,
    (ii) Plan required. A retirement income     in revenue rulings, notices, or other guid-      the alternative section 403(b) contract is
account must be maintained pursuant to          ance published in the Internal Revenue           disregarded. To the extent a contract fails
a program which is a plan (as defined in        Bulletin (see §601.601(d)(2)(ii)(b) of this      to satisfy the nonforfeitability requirement
§1.403(b)–3(b)(3)) and the plan document        chapter).                                        of §1.403(b)–3(a)(2) at the date of plan
must state (or otherwise evidence in a sim-         (7) Trust treated as tax exempt. A           termination, the contact is not, and cannot
ilarly clear manner) the intent to constitute   trust (including a custodial account that is     later become, a section 403(b) contract.
a retirement income account.                    treated as a trust under section 401(f)) that    In order for a section 403(b) plan to be
    (3) Ownership or use constitutes distri-    includes no assets other than assets of a        considered terminated, all accumulated
bution. Any asset of a retirement income        retirement income account is treated as an       benefits under the plan must be distributed
account that is owned or used by a par-         organization that is exempt from taxation        to all participants and beneficiaries as
ticipant or beneficiary is treated as having    under section 501(a).                            soon as administratively practicable after
been distributed to that participant or ben-        (b) No compensation limitation up to         termination of the plan. For this pur-
eficiary. See §§1.403(b)–6 and 1.403(b)–7       $10,000. See section 415(c)(7) for spe-          pose, delivery of a fully paid individual
for rules relating to distributions.            cial rules regarding certain annual addi-        insurance annuity contract is treated as a
    (4) Coordination of retirement income       tions not exceeding $10,000.                     distribution. The mere provision for, and
account with custodial account rules. A             (c) Special deduction rule for self-em-      making of, distributions to participants or
retirement income account that is treated       ployed ministers. See section 404(a)(10)         beneficiaries upon plan termination does
as an annuity contract is not a custodial       for a special rule regarding the deductibil-     not cause a contract to cease to be a section
account (as defined in §1.403(b)–8(d)(2)),      ity of a contribution made by a self-em-         403(b) contract. See §1.403(b)–7 for rules
even if it is invested solely in stock of a     ployed minister.                                 regarding the tax treatment of distribu-
regulated investment company.                                                                    tions, including §1.403(b)–7(b)(1) under
    (5) Life annuities. A retirement income     §1.403(b)–10 Miscellaneous provisions.           which an eligible rollover distribution is
account may distribute benefits in a form                                                        not included in gross income if paid in
that includes a life annuity only if—               (a) Plan terminations and frozen             a direct rollover to an eligible retirement
    (i) The amount of the distribution form     plans—(1) In general. An employer is             plan or if transferred to an eligible retire-
has an actuarial present value, at the          permitted to amend its section 403(b) plan       ment plan within 60 days.
annuity starting date, equal to the par-        to eliminate future contributions for ex-            (2) Employers that cease to be eligible
ticipant’s or beneficiary’s accumulated         isting participants or to limit participation    employers. An employer that ceases to be
benefit, based on reasonable actuarial as-      to existing participants and employees (to       an eligible employer may no longer con-
sumptions, including regarding interest         the extent consistent with §1.403(b)–5). A       tribute to a section 403(b) contract for any
and mortality; and                              section 403(b) plan is permitted to contain      subsequent period, and the contract will
    (ii) The plan sponsor guarantees bene-      provisions that provide for plan termina-        fail to satisfy §1.403(b)–3(a) if any further
fits in the event that a payment is due that    tion and that allow accumulated benefits         contributions are made with respect to a
exceeds the participant’s or beneficiary’s      to be distributed on termination. However,       period after the employer ceases to be an
accumulated benefit.                            in the case of a section 403(b) contract that    eligible employer.
    (6) Combining retirement income ac-         is subject to the distribution restrictions in       (b) Contract exchanges and plan-to-
count assets with other assets. For pur-        §1.403(b)–6(c) or (d) (relating to custo-        plan transfers—(1) Contract exchanges
poses of §1.403(b)–8(f) relating to com-        dial accounts and section 403(b) elective        and transfers—(i) General rule. If the
bining assets, retirement income account        deferrals), termination of the plan and          conditions in paragraph (b)(2) of this sec-
assets held in trust (including a custodial     the distribution of accumulated benefits         tion are met, a section 403(b) contract
account that is treated as a trust under sec-   is permitted only if the employer (taking        held under a section 403(b) plan is permit-
tion 401(f)) are subject to the same rules      into account all entities that are treated as    ted to be exchanged for another section
regarding combining of assets as custodial      the same employer under section 414(b),          403(b) contract held under that section
account assets. In addition, retirement         (c), (m), or (o) on the date of the termina-     403(b) plan. Further, if the conditions
income account assets are permitted to          tion) does not make contributions to any         in paragraph (b)(3) of this section are
be commingled in a common fund with             section 403(b) contract that is not part of      met, a section 403(b) plan is permitted


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to provide for the transfer of its assets       changed, and the employer enters into an       satisfied, and whether a plan loan consti-
(including any assets held in a custodial       agreement with the issuer of the other con-    tutes a deemed distribution under section
account or retirement income account that       tract under which the employer and the is-     72(p)).
are treated as section 403(b) contracts) to     suer will from time to time in the future          (3) Requirements for plan-to-plan
another section 403(b) plan. In addition,       provide each other with the following in-      transfers. (i) A plan-to-plan transfer under
if the conditions in paragraph (b)(4) of        formation:                                     paragraph (b)(1) of this section from a sec-
this section (relating to permissive ser-          (1) Information necessary for the re-       tion 403(b) plan to another section 403(b)
vice credit and repayments under section        sulting contract, or any other contract to     plan is permitted if each of the following
415) are met, a section 403(b) plan is per-     which contributions have been made by          conditions are met—
mitted to provide for the transfer of its       the employer, to satisfy section 403(b),           (A) In the case of a transfer for a par-
assets to a qualified plan under section        including information concerning the           ticipant, the participant is an employee or
401(a). However, neither a qualified plan       participant’s employment and informa-          former employee of the employer (or the
nor an eligible governmental plan under         tion that takes into account other section     business of the employer) for the receiv-
section 457(b) may transfer assets to a         403(b) contracts or qualified employer         ing plan.
section 403(b) plan, and a section 403(b)       plans (such as whether a severance from            (B) In the case of a transfer for a bene-
plan may not accept such a transfer. In         employment has occurred for purposes of        ficiary of a deceased participant, the par-
addition, a section 403(b) contract may         the distribution restrictions in §1.403(b)–6   ticipant was an employee or former em-
not be exchanged for an annuity contract        and whether the hardship withdrawal rules      ployee of the employer (or business of the
that is not a section 403(b) contract. Nei-     of §1.403(b)–6(d)(2) are satisfied).           employer) for the receiving plan.
ther a plan-to-plan transfer nor a contract        (2) Information necessary for the result-       (C) The transferor plan provides for
exchange permitted under this paragraph         ing contract, or any other contract to which   transfers.
(b) is treated as a distribution for pur-       contributions have been made by the em-            (D) The receiving plan provides for the
poses of the distribution restrictions at       ployer, to satisfy other tax requirements      receipt of transfers.
§1.403(b)–6. Therefore, such a transfer or      (such as whether a plan loan satisfies the         (E) The participant or beneficiary
exchange may be made before severance           conditions in section 72(p)(2) so that the     whose assets are being transferred has
from employment or another distribution         loan is not a deemed distribution under        an accumulated benefit immediately after
event. Further, no amount is includible in      section 72(p)(1)).                             the transfer that is at least equal to the
gross income by reason of such a transfer          (ii) Accumulated benefit. The condition     accumulated benefit of that participant or
or exchange.                                    in paragraph (b)(2)(i)(B) of this section is   beneficiary immediately before the trans-
    (ii) ERISA rules. See §1.414(l)–1 for       satisfied if the exchange would satisfy sec-   fer.
other rules that are applicable to section      tion 414(l)(1) if the exchange were a trans-       (F) The receiving plan provides that, to
403(b) plans that are subject to section 208    fer of assets.                                 the extent any amount transferred is sub-
of the Employee Retirement Income Secu-            (iii) Authority for future guidance.        ject to any distribution restrictions under
rity Act of 1974 (88 Stat. 829, 865).           Subject to such conditions as the Com-         §1.403(b)–6, the receiving plan imposes
    (2) Requirements for contract exchange      missioner determines to be appropri-           restrictions on distributions to the partici-
within the same plan—(i) General rule. A        ate, the Commissioner may issue rules          pant or beneficiary whose assets are being
section 403(b) contract of a participant or     of general applicability, in revenue rul-      transferred that are not less stringent than
beneficiary may be exchanged under para-        ings, notices, or other guidance published     those imposed on the transferor plan.
graph (b)(1) of this section for another sec-   in the Internal Revenue Bulletin (see              (G) If a plan-to-plan transfer does not
tion 403(b) contract of that participant or     §601.601(d)(2)(ii)(b) of this chapter), per-   constitute a complete transfer of the partic-
beneficiary under the same section 403(b)       mitting an exchange of one section 403(b)      ipant’s or beneficiary’s interest in the sec-
plan if each of the following conditions are    contract for another section 403(b) con-       tion 403(b) plan, the transferee plan treats
met:                                            tract for an exchange that does not satisfy    the amount transferred as a continuation of
    (A) The plan under which the contract       paragraph (b)(2)(i)(C) of this section.        a pro rata portion of the participant’s or
is issued provides for the exchange.            Any such rules must require the result-        beneficiary’s interest in the section 403(b)
    (B) The participant or beneficiary has      ing contract to set forth procedures that      plan (for example, a pro rata portion of
an accumulated benefit immediately af-          the Commissioner determines are reason-        the participant’s or beneficiary’s interest in
ter the exchange that is at least equal to      ably designed to ensure compliance with        any after-tax employee contributions).
the accumulated benefit of that participant     those requirements of section 403(b) or            (ii) Accumulated benefit. The condition
or beneficiary immediately before the ex-       other tax provisions that depend on either     in paragraph (b)(3)(i)(D) of this section is
change (taking into account the accumu-         information concerning the participant’s       satisfied if the transfer would satisfy sec-
lated benefit of that participant or benefi-    employment or information that takes into      tion 414(l)(1).
ciary under both section 403(b) contracts       account other section 403(b) contracts or          (4) Purchases of permissive service
immediately before the exchange).               other employer plans (such as whether a        credit by contract-to-plan transfers from
    (C) The other contract is subject to dis-   severance from employment has occurred         a section 403(b) contract to a qualified
tribution restrictions with respect to the      for purposes of the distribution restric-      plan—(i) General rule. If the conditions
participant that are not less stringent than    tions in §1.403(b)–6, whether the hardship     in paragraph (b)(4)(ii) of this section are
those imposed on the contract being ex-         withdrawal rules of §1.403(b)–6(d)(2) are      met, a section 403(b) plan may provide


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for the transfer of assets held in the plan     same manner as an amount held under a           tion under that section, including the
to a qualified defined benefit plan that is a   section 403(b) contract for purposes of         requirement that no part of the organiza-
governmental plan (as defined in section        §§1.403(b)–3 through 1.403(b)–9 and this        tion’s net earnings inure to the benefit of
414(d)).                                        section.                                        any private shareholder or individual. See
    (ii) Conditions for plan-to-plan trans-         (2) Special rules relating to after-tax     also sections 4941 (self dealing), 4945
fers. A transfer may be made under this         employee contributions and designated           (taxable expenditures), and 4958 (excess
paragraph (b)(4) only if the transfer is ei-    Roth contributions. A section 403(b) plan       benefit transactions), and the regulations
ther—                                           that receives an eligible rollover distri-      thereunder, for rules relating to excise
    (A) For the purchase of permissive          bution that includes after-tax employee         taxes imposed on certain transactions in-
service credit (as defined in section           contributions or designated Roth contri-        volving organizations described in section
415(n)(3)(A)) under the receiving de-           butions is required to obtain information       501(c)(3).
fined benefit plan; or                          regarding the employee’s section 72 ba-
    (B) A repayment to which section            sis in the amount rolled over. A section        §1.403(b)–11 Applicable dates.
415 does not apply by reason of section         403(b) plan is permitted to receive an el-
415(k)(3).                                      igible rollover distribution that includes          (a) General rule. Except as otherwise
    (c) Qualified domestic relations orders.    designated Roth contributions only if the       provided in this section, §§1.403(b)–1
In accordance with the second sentence of       plan permits employees to make elective         through 1.403(b)–10 apply for taxable
section 414(p)(9), any distribution from an     deferrals that are designated Roth contri-      years beginning after December 31, 2008.
annuity contract under section 403(b) (in-      butions.                                            (b) Collective bargaining agreements.
cluding a distribution from a custodial ac-         (e) Deemed IRAs. See regulations un-        In the case of a section 403(b) plan main-
count or retirement income account that is      der section 408(q) for special rules relating   tained pursuant to one or more collective
treated as a section 403(b) contract) pur-      to deemed IRAs.                                 bargaining agreements that have been
suant to a qualified domestic relations or-         (f) Defined benefit plans—(1) Defined       ratified and in effect on July 26, 2007,
der is treated in the same manner as a          benefit plans generally. Except for a           §§1.403(b)–1 through 1.403(b)–10 do not
distribution from a plan to which section       TEFRA church defined benefit plan as            apply before the earlier of—
401(a)(13) applies. Thus, for example, a        defined in paragraph (f)(2) of this sec-            (1) The date on which the last of the col-
section 403(b) plan does not fail to sat-       tion, section 403(b) does not apply to any      lective bargaining agreements terminates
isfy the distribution restrictions set forth    contributions or accrual under a defined        (determined without regard to any exten-
in §1.403(b)–6(b), (c), or (d) merely as        benefit plan.                                   sion thereof after July 26, 2007); or
a result of distribution made pursuant to           (2) TEFRA church defined benefit                (2) July 26, 2010.
a qualified domestic relations order under      plans. See section 251(e)(5) of the Tax             (c) Church conventions; retirement
section 414(p), so that such a distribution     Equity and Fiscal Responsibility Act of         income account. (1) In the case of a
is permitted without regard to whether the      1982, Public Law 97–248, for a provision        section 403(b) plan maintained by a
employee from whose contract the distri-        permitting certain arrangements estab-          church-related organization for which
bution is made has had a severance from         lished by a church-related organization         the authority to amend the plan is held by
employment or another event permitting          and in effect on September 3, 1982 (a           a church convention (within the meaning
a distribution to be made under section         TEFRA church defined benefit plan) to be        of section 414(e)), §§1.403(b)–1 through
403(b). In the case of a plan that is sub-      treated as a section 403(b) contract even       1.403(b)–10 do not apply before the first
ject to Title I of ERISA, see also section      though it is a defined benefit arrangement.     day of the first plan year that begins after
206(d)(3) of ERISA under which the pro-         In accordance with section 403(b)(1), for       December 31, 2009.
hibition against assignment or alienation       purposes of applying section 415 to a               (2) In the case of a loan or other ex-
of plan benefits under section 206(d)(1) of     TEFRA church defined benefit plan, the          tension of credit to the employer that was
ERISA does not apply to an order that is        accruals under the plan are limited to the      entered into under a retirement income ac-
determined to be a qualified domestic re-       maximum amount permitted under sec-             count before July 26, 2007, the plan does
lations order.                                  tion 415(c) when expressed as an annual         not fail to satisfy §1.403(b)–9(a)(2)(i)(C)
    (d) Rollovers to a section 403(b) con-      addition, and, for this purpose, the rules      on account of the loan or other extension
tract—(1) General rule. A section 403(b)        at §1.402(b)–1(a)(2) for determining the        of credit if the plan takes reasonable steps
contract may accept a contribution that is      present value of an accrual under a non-        to eliminate the loan or other extension
an eligible rollover distribution (as defined   qualified defined benefit plan also apply       of credit to the employer before the ap-
in section 402(c)(4)) made from another         for purposes of converting the accrual un-      plicable date for §1.403(b)–9(a)(2) or as
eligible retirement plan (as defined in         der a TEFRA church defined benefit plan         promptly as practical thereafter (including
section 402(c)(8)(B)). Any amount con-          to an annual addition. See section 415(b)       taking steps after July 26, 2007 and before
tributed to a section 403(b) contract as an     for additional limits applicable to TEFRA       the applicable date).
eligible rollover distribution is not taken     church defined benefit plans.                       (d) Special rules for plans that exclude
into account for purposes of the limits             (g) Other rules relating to section         certain types of employees from elective
in §1.403(b)–4, but, except as otherwise        501(c)(3) organizations.        See section     deferrals. (1) If, on July 26, 2007, a plan
specifically provided (for example, at          501(c)(3) and regulations thereunder for        excludes any of the following categories
§1.403(b)–6(i)), is otherwise treated in the    the substantive standards for tax-exemp-        of employees, then the plan does not fail


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to satisfy §1.403(b)–5(b) as a result of that        (2) Any amendment to comply with the         and (t)), and are in addition to the rules
exclusion before the first day of the first       requirements of §1.403(b)–6 (disregarding       otherwise applicable under section 414(b),
taxable year that begins after December           paragraph (e)(1) of this section) that is       (c), (m), and (o) for determining when enti-
31, 2009:                                         adopted before January 1, 2009, or such         ties are treated as the same employer. Ex-
    (i) Employees who make a one-time             later date as may be permitted under guid-      cept to the extent set forth in paragraphs
election to participate in a governmental         ance issued by the Commissioner in rev-         (d), (e), and (f) of this section, this section
plan described in section 414(d) that is not      enue rulings, notices, or other guidance        does not apply to any church, as defined
a section 403(b) plan.                            published in the Internal Revenue Bulletin      in section 3121(w)(3)(A), or any qualified
    (ii) Professors who are providing ser-        (see §601.601(d)(2)(ii)(b) of this chapter),    church-controlled organization, as defined
vices on a temporary basis to another ed-         does not violate section 204(g) of the Em-      in section 3121(w)(3)(B).
ucational organization (as defined under          ployee Retirement Income Security Act of            (b) General rule. In the case of an or-
section 170(b)(1)(A)(ii)) for up to one year      1974 to the extent the amendment elimi-         ganization that is exempt from tax under
and for whom section 403(b) contributions         nates or reduces a right to receive benefit     section 501(a) (an exempt organization)
are being made at a rate no greater than the      distributions during employment.                whose employees participate in a plan, the
rate each such professor would receive un-           (f) Special rule for life insurance con-     employer with respect to that plan includes
der the section 403(b) plan of the original       tracts. Section 1.403(b)–8(c)(2) does not       the exempt organization whose employees
educational organization.                         apply to a contract issued before Septem-       participate in the plan and any other organ-
    (iii) Employees who are affiliated with       ber 24, 2007.                                   ization that is under common control with
a religious order and who have taken a               (g) Special rule for contracts received      that exempt organization. For this pur-
vow of poverty where the religious order          in an exchange. Section 1.403(b)–10(b)(2)       pose, common control exists between an
provides for the support of such employees        does not apply to a contract received in        exempt organization and another organi-
in their retirement from eligibility to make      an exchange that occurred on or before          zation if at least 80 percent of the direc-
elective deferrals.                               September 24, 2007 if the exchange (in-         tors or trustees of one organization are ei-
    (2) If, on July 26, 2007, a plan excludes     cluding the contract received in the ex-        ther representatives of, or directly or in-
employees who are covered by a collec-            change) satisfies such rules as the Com-        directly controlled by, the other organiza-
tive bargaining agreement from eligibility        missioner has prescribed in guidance of         tion. A trustee or director is treated as a
to make elective deferrals, the plan does         general applicability at the time of the ex-    representative of another exempt organiza-
not fail to satisfy §1.403(b)–5(b) (relating      change.                                         tion if he or she also is a trustee, director,
to universal availability) as a result of that       (h) Special rule for coordination with       agent, or employee of the other exempt or-
exclusion before the later of—                    regulations under section 415. Section          ganization. A trustee or director is con-
    (i) The first day of the first taxable year   1.403(b)–3(b)(4)(ii) is applicable for tax-     trolled by another organization if the other
that begins after December 31, 2008; or           able years beginning on or after July 1,        organization has the general power to re-
    (ii) The earlier of—                          2007.                                           move such trustee or director and desig-
    (A) The date on which the related col-           (i) Special rule for coordination with       nate a new trustee or director. Whether a
lective bargaining agreement terminates           regulations under section 402A. Sec-            person has the power to remove or desig-
(determined without regard to any exten-          tions 1.403(b)–3(c), 1.403(b)–7(e), and         nate a trustee or director is based on facts
sion thereof after July 26, 2007); or             1.403(b)–10(d)(2) are applicable with re-       and circumstances. To illustrate the rules
    (B) July 26, 2010.                            spect to taxable years beginning on or after    of this paragraph (b), if exempt organiza-
    (3) In the case of a governmental plan        January 1, 2007.                                tion A has the power to appoint at least 80
(as defined in section 414(d)) for which                                                          percent of the trustees of exempt organiza-
the authority to amend the plan is held by        §1.403(d)–1 [Removed]                           tion B (which is the owner of the outstand-
a legislative body that meets in legisla-                                                         ing shares of corporation C, which is not
tive session, the plan does not fail to sat-          Par. 8. Section 1.403(d)–1 is removed.      an exempt organization) and to control at
isfy §1.403(b)–5(b) as a result of any ex-            Par. 9. Section 1.414(c)–5 is redesig-      least 80 percent of the directors of exempt
clusion in paragraph (d)(1)(i), (d)(1)(ii),       nated as §1.414(c)–6 and new §1.414(c)–5        organization D, then, under this paragraph
(d)(1)(iii), or (d)(2) of this section before     is added to read as follows:                    (b) and §1.414(b)–1, entities A, B, C, and
the earlier of —                                                                                  D are treated as the same employer with re-
    (i) The close of the first regular legisla-   §1.414(c)–5 Certain tax-exempt                  spect to any plan maintained by A, B, C, or
tive session of the legislative body with the     organizations.                                  D for purposes of the sections referenced
authority to amend the plan that begins on                                                        in section 414(b), (c), (m), (o), and (t).
or after January 1, 2009; or                         (a) Application. This section applies to         (c) Permissive aggregation with entities
    (ii) January 1, 2011.                         an organization that is exempt from tax un-     having a common exempt purpose—(1)
    (e) Special rules for plans that per-         der section 501(a). The rules of this sec-      General rule. For purposes of this sec-
mit in-service distributions. (1) Section         tion only apply for purposes of determin-       tion, exempt organizations that maintain
1.403(b)–6(b) does not apply to a contract        ing when entities are treated as the same       a plan to which section 414(c) applies
issued by an insurance company before             employer for purposes of section 414(b),        that covers one or more employees from
January 1, 2009.                                  (c), (m), and (o) (including the sections re-   each organization may treat themselves
                                                  ferred to in section 414(b), (c), (m), (o),     as under common control for purposes of


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section 414(c) (and, thus, as a single em-          (d) Permissive disaggregation between           owns 80% or more of the total value of all classes of
ployer for all purposes for which section       qualified church controlled organizations           stock of corporation B, which is a for profit organiza-
414(c) applies) if each of the organizations    and other entities. In the case of a church         tion.
                                                                                                        (ii) Conclusion. Under paragraph (a) of this sec-
regularly coordinates their day-to-day ex-      plan (as defined in section 414(e)) to which        tion, this section does not alter the rules of section
empt activities. For example, an entity         contributions are made by more than one             414(b) and (c), so that organization A and corporation
that provides a type of emergency relief        common law entity, any employer may                 B are under common control under §1.414(c)–2(b).
within one geographic region and another        apply paragraphs (b) and (c) of this sec-               Example 2. (i) Facts. Organization M is a hos-
exempt organization that provides that          tion to those entities that are not a church        pital which is a tax-exempt organization under sec-
                                                                                                    tion 501(c)(3) and organization N is a medical clinic
type of emergency relief within another         (as defined in section 403(b)(12)(B) and            which is also a tax-exempt organization under section
geographic region may treat themselves as       §1.403(b)–2) separately from those enti-            501(c)(3). N is located in a city and M is located in
under common control if they have a single      ties that are churches. For example, in             a nearby suburb. There is a history of regular coor-
plan covering employees of both entities        the case of a group of entities consist-            dination of day-to-day activities between M and N,
and regularly coordinate their day-to-day       ing of a church (as defined in section              including periodic transfers of staff, coordination of
                                                                                                    staff training, common sources of income, and coor-
exempt activities. Similarly, a hospital        3121(w)(3)(A)), a secondary school (that            dination of budget and operational goals. A single
that is an exempt organization and another      is treated as a church under §1.403(b)–2),          section 403(b) plan covers professional and staff em-
exempt organization with which it coordi-       and several nursing homes each of which             ployees of both the hospital and the medical clinic.
nates the delivery of medical services or       receives more than 25 percent of its sup-           While a number of members of the board of directors
medical research may treat themselves as        port from fees paid by residents (so that           of M are also on the board of directors of N, there is
                                                                                                    less than 80% overlap in board membership. Both or-
under common control if there is a single       none of them is a qualified church-con-             ganizations have approximately the same percentage
plan covering employees of the hospital         trolled organization under §1.403(b)–2              of employees who are highly compensated and have
and employees of the other exempt organ-        and section 3121(w)(3)(B)), the nursing             appropriate business reasons for being maintained in
ization and the coordination is a regular       homes may treat themselves as being un-             separate entities.
part of their day-to-day exempt activities.     der common control with each other, but                 (ii) Conclusion. M and N are not under common
                                                                                                    control under this section, but, under paragraph (c) of
    (2) Authority to permit aggregation.        not as being under common control with              this section, may chose to treat themselves as under
(i) For determining when entities are           the church and the school, even though the          common control, assuming both of them act in a man-
treated as the same employer under sec-         nursing homes would be under common                 ner that is consistent with that choice for purposes of
tion 414(b), (c), (m), and (o), the Commis-     control with the school and the church              §1.403(b)–5(a), sections 401(a), 403(b), and 457(b),
sioner may issue rules of general applica-      under paragraph (b) of this section.                and any other applicable section (as defined in sec-
                                                                                                    tion 414(t)), or any other provision for which section
bility, in revenue rulings, notices, or other       (e) Application to certain church enti-         414(c) applies.
guidance published in the Internal Rev-         ties under section 3121(w)(3). [Reserved].              Example 3. (i) Facts. Organizations O and P
enue Bulletin (see §601.601(d)(2)(ii)(b)            (f) Anti-abuse rule. In any case in             are each tax-exempt organizations under section
of this chapter), permitting other types        which the Commissioner determines that              501(c)(3). Each organization maintains a qualified
of combinations of entities that include        the structure of one or more exempt orga-           plan for it employees, but one of the plans would
                                                                                                    not satisfy section 410(b) (or section 401(a)(4)) if
exempt organizations to elect to be treated     nizations (which may include an exempt              the organizations were under common control. The
as under common control for one or more         organization and an entity that is not ex-          two organizations are closely related and, while the
specified purposes if—                          empt from income tax) or the positions              organizations have several trustees in common, the
    (A) There are substantial business rea-     taken by those organizations has the effect         common trustees constitute fewer than 80 percent of
sons for maintaining each entity in a sepa-     of avoiding or evading any requirements             the trustees of either organization. Organization O
                                                                                                    has the power to remove any of the trustees of P and
rate trust, corporation, or other form; and     imposed under section 401(a), 403(b),               to select the slate of replacement nominees.
    (B) Such treatment would be consistent      or 457(b), or any applicable section (as                (ii) Conclusion. Under these facts, pursuant to
with the anti-abuse standards in paragraph      defined in section 414(t)), or any other            paragraphs (b) and (f) of this section, the Commis-
(f) of this section.                            provision for which section 414(c) ap-              sioner treats the entities as under common control.
    (ii) For example, this authority might be   plies, the Commissioner may treat an                   (h) Applicable date. This section ap-
exercised in any situation in which the or-     entity as under common control with the             plies for plan years beginning after De-
ganizations are so integrated in their op-      exempt organization.                                cember 31, 2008.
erations as to effectively constitute a sin-        (g) Examples. The provisions of this               Par. 10. For each entry listed in the
gle coordinated employer for purposes of        section are illustrated by the following ex-        “Location” column, remove the language
section 414(b), (c), (m), and (o), including    amples:                                             in the “Remove” column and add the lan-
common employee benefit plans.                     Example 1. (i) Facts. Organization A is a tax-   guage in the “Add” column in its place.
                                                exempt organization under section 501(c)(3) which



 Location                                       Remove                                              Add
 §1.101–1(a)(2)(ii)                             paragraph (a) or (b) of §1.403(b)–1                 §1.403(b)–3
 §1.101–1(a)(2)(ii)                             paragraph (c)(3) of §1.403(b)–1                     §1.403(b)–7
 §1.401(a)(9)–1, A–1                            §1.403(b)–3                                         §1.403(b)–6(e)




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 Location                                     Remove                                        Add
 §1.401(a)(31)–1, introductory text           1.403(b)–2                                    1.403(b)–7(b)
 §1.401(a)(31)–1, A–1(b)(3)                   §1.403(b)–2                                   §1.403(b)–7(b)
 §1.402(c)–2, introductory text               1.403(b)–2                                    1.403(b)–7(b)
 §1.402(c)–2, A–1(b)(4)                       §1.403(b)–2                                   §1.403(b)–7(b)
 §1.402(f)–1, introductory text               1.403(b)–2                                    1.403(b)–7(b)
 §1.403(a)–1(a)                               §1.403(b)–1                                   §§1.403(b)–1 through 1.403(b)–10
 §1.403(c)–1, all locations                   §1.403(b)–1(b)                                §1.403(b)–3
 §1.403(c)–1, all locations                   §1.403(b)–1(b)(2)                             §1.403(b)–3(c)

PART 31—EMPLOYMENT                            SECURITY, UNEMPLOYMENT                           Par. 12. For each entry listed in the
TAXES, INCOME TAXES,                          COMPENSATION                                  “Location” column, remove the language
PENALTIES, PENSIONS, RAILROAD                                                               in the “Remove” column and add the lan-
RETIREMENT, REPORTING                            Par. 11. The authority citation for part   guage in the “Add” column in its place.
AND RECORDKEEPING                             31 continues to read in part as follows:
REQUIREMENTS, SOCIAL                             Authority: 26 U.S.C. 7805 * * *


 Location                                     Remove                                        Add
 §31.3405(c)–1, all locations                 §1.403(b)–2, Q&A–1                            §1.403(b)–7(b)
 §31.3405(c)–1, A–1(b)                        §1.403(b)–2, Q&A–3                            §1.403(b)–7(b)
 §31.3405(c)–1, A–1(b)                        §1.403(b)–2, Q&A–1 and Q&A–2                  §1.403(b)–7(b)
 §31.3405(c)–1, A–2                           §1.403(b)–2, Q&A–2                            §1.403(b)–7(b)

PART 54—EXCISE TAXES, PENSIONS,                   Authority: 26 U.S.C. 7805 * * *
REPORTING AND RECORDKEEPING                       Par. 14. For the entry listed in the
REQUIREMENTS                                  “Location” column, remove the language
                                              in the “Remove” column and add the lan-
   Par. 13. The authority citation for part   guage in the “Add” column in its place.
54 continues to read in part as follows:


 Location                                     Remove                                        Add
 §54.4974–2, A–3(a)(2)                        §1.403(b)–3                                   §1.403(b)–6(e)

PART 602—OMB CONTROL                             Authority: 26 U.S.C. 7805.                 §602.101 OMB Control numbers.
NUMBERS UNDER THE PAPERWORK                      Par. 16. In §602.101, paragraph (b)
REDUCTION ACT                                 is amended by removing the entry for          *****
                                              §1.403(b)–2 and adding entries to the ta-       (b) * * *
  Par. 15. The authority citation for part    ble for §§1.403(b)–7 and 1.402(b)–10 to
602 continues to read in part as follows:     read as follows:


 CFR part or section where                                                                            Current OMB
 identified and described                                                                             control No.
 *****
 1.403(b)–7                       ...........................................................         1545–1341
 1.403(b)–10                      ...........................................................         1545–2068
 *****




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                              Kevin M. Brown,                    Section 642.—Special                                    SUMMARY: This document contains final
                      Deputy Commissioner for                    Rules for Credits and                                   regulations under section 1248 of the In-
                      Services and Enforcement.                  Deductions                                              ternal Revenue Code (Code) that provide
                                                                                                                         guidance for determining the earnings and
Approved July 2, 2007.                                              Federal short-term, mid-term, and long-term rates    profits attributable to stock of controlled
                                                                 are set forth for the month of September 2007. See
                                                                                                                         foreign corporations (or former controlled
                                                                 Rev. Rul. 2007-57, page 531.
                                   Eric Solomon,                                                                         foreign corporations) that are (were) in-
                            Assistant Secretary of                                                                       volved in certain nonrecognition transac-
                            Treasury (Tax Policy).               Section 807.—Rules for                                  tions. The final regulations are necessary
(Filed by the Office of the Federal Register on July 23, 2007,
                                                                 Certain Reserves                                        in order to supplement and clarify exist-
8:45 a.m., and published in the issue of the Federal Register                                                            ing guidance in the regulations under sec-
for July 26, 2007, 72 F.R. 41127)                                   The adjusted applicable federal short-term, mid-     tion 1248. The final regulations affect per-
                                                                 term, and long-term rates are set forth for the month
                                                                                                                         sons subject to the regulations under sec-
                                                                 of September 2007. See Rev. Rul. 2007-57, page
                                                                 531.
                                                                                                                         tion 1248, as well as persons to which reg-
Section 412.—Minimum                                                                                                     ulations under other Code provisions, such
Funding Standards                                                                                                        as section 367(b), apply to the extent that
                                                                 Section 846.—Discounted                                 those regulations incorporate the princi-
   The adjusted applicable federal short-term, mid-
term, and long-term rates are set forth for the month
                                                                 Unpaid Losses Defined                                   ples of the section 1248 regulations. In
of September 2007. See Rev. Rul. 2007-57, page
                                                                                                                         addition, the final regulations provide that
                                                                    The adjusted applicable federal short-term, mid-
531.                                                                                                                     with respect to the sale by a foreign part-
                                                                 term, and long-term rates are set forth for the month
                                                                 of September 2007. See Rev. Rul. 2007-57, page
                                                                                                                         nership of the stock of a corporation, the
                                                                 531.                                                    partners in such foreign partnership shall
Section 467.—Certain                                                                                                     be treated as selling or exchanging their
Payments for the Use of                                                                                                  proportionate share of the stock of such
Property or Services                                             Section 953.—Insurance                                  corporation for purposes of section 1248.
                                                                 Income
   The adjusted applicable federal short-term, mid-                                                                      DATES: Effective Date: These regulations
term, and long-term rates are set forth for the month               Final regulations under section 1502 of the Code     are effective on July 30, 2007.
of September 2007. See Rev. Rul. 2007-57, page                   allow the Internal Revenue Service to appoint a do-        Applicability Dates: For dates of
531.                                                             mestic substitute agent for a consolidated group when
                                                                                                                         applicability, see §§1.1248–1(g) and
                                                                 the group’s parent is a foreign corporation that is
                                                                 treated as a domestic corporation as the result of a    1.1248–8(d).
Section 468.—Special                                             section 953(d) election. See T.D. 9343, page 533.
                                                                                                                         FOR    FURTHER           INFORMATION
Rules for Mining and Solid                                                                                               CONTACT: Michael Gilman at (202)
Waste Reclamation and                                            Section 1248.—Gain From                                 622–3850 (not a toll-free number).
Closing Costs                                                    Certain Sales or Exchanges
                                                                 of Stock in Certain Foreign                             SUPPLEMENTARY INFORMATION:
   The adjusted applicable federal short-term, mid-
term, and long-term rates are set forth for the month            Corporations                                            Background
of September 2007. See Rev. Rul. 2007-57, page
531.                                                             26 CFR 1.1248–1: Treatment of gain from certain
                                                                                                                            On June 2, 2006, proposed revisions
                                                                 sales or exchanges of stock in certain foreign corpo-
                                                                 rations.                                                to the regulations under section 1248(a)
                                                                                                                         of the Code (REG–135866–02, 2006–27
Section 482.—Allocation                                                                                                  I.R.B. 34) were published in the Federal
of Income and Deductions                                         T.D. 9345
                                                                                                                         Register (71 FR 31985–01). On Au-
Among Taxpayers                                                                                                          gust 14, 2006, two corrections to those
                                                                 DEPARTMENT OF
   Federal short-term, mid-term, and long-term rates                                                                     proposed regulations were published
are set forth for the month of September 2007. See
                                                                 THE TREASURY                                            in the Federal Register (published in
Rev. Rul. 2007-57, page 531.                                     Internal Revenue Service                                the I.R.B. as Announcement 2006–64,
                                                                 26 CFR Part 1                                           2006–37 I.R.B. 447 [71 FR 46415], and
                                                                                                                         Announcement 2006–65, 2006–37 I.R.B.
Section 483.—Interest on                                         Section 1248 Attribution                                447 [71 FR 46416]). Two written com-
Certain Deferred Payments                                                                                                ments were received. A public hearing
                                                                 Principles
   The adjusted applicable federal short-term, mid-                                                                      was not requested and none was held.
term, and long-term rates are set forth for the month            AGENCY: Internal Revenue Service                        After consideration of the written com-
of September 2007. See Rev. Rul. 2007-57, page                   (IRS), Treasury.                                        ments and other comments, the June 2,
531.                                                                                                                     2006, proposed regulations are adopted as
                                                                 ACTION: Final regulations.                              amended by this Treasury decision.




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Summary of Comments and                         attributable to stock in a foreign corpora-    because the regulations do not impose a
Explanation of Revisions                        tion as described in section 1248. Section     collection of information on small entities,
                                                1248(g)(2)(B) provides that section 1248       the Regulatory Flexibility Act, 5 U.S.C.
    With respect to attribution of earn-        will not apply if any other provision of       chapter 6, does not apply. Pursuant to sec-
ings and profits to stock of an ac-             the Code treats an amount as ordinary          tion 7805(f) of the Code, the notice of pro-
quiring corporation held by a non-ex-           income. Accordingly, §1.1248–1(a)(4) in        posed rulemaking preceding this regula-
changing shareholder, §1.1248–8(b)(4)           the final regulations is revised to clarify    tion was submitted to the Chief Counsel
of the proposed regulations provides a          that a foreign partnership is treated as       for Advocacy of the Small Business Ad-
rule by cross-reference to §1.1248–2 or         an aggregate for this purpose only when        ministration for comment on their impact
§1.1248–3 (whichever is applicable) and         a foreign partnership sells or exchanges       on small businesses.
§1.1248–8(b)(6) (as applicable). A com-         stock of a corporation. Finally, a commen-
mentator asserted that the proposed regu-       tator requested that the final regulations     Drafting Information
lations did not adequately explain which        allow a taxpayer to elect to apply the
earnings and profits were attributed to the     rule in §1.1248–1(a)(4) to taxable years          The principal author of the final reg-
stock of the non-exchanging shareholder.        ending before the effective date of the        ulations is Michael I. Gilman of the Of-
This commentator thought that the rule          final regulations. The Treasury Depart-        fice of Associate Chief Counsel (Interna-
was better explained in the preamble to         ment and the IRS regard this rule as a         tional). However, other personnel from the
the proposed regulations, which states that     clarification of existing law, but recognize   Treasury Department and the IRS partici-
generally the earnings and profits attribut-    that some practitioners have expressed         pated in their development.
able to stock of an acquiring corporation       the view that prior law was not entirely
held by a non-exchanging shareholder                                                                             *****
                                                clear. Accordingly, the final regulations
immediately prior to a restructuring trans-     allow taxpayers to apply the rule in           Adoption of Amendments to the
action continue to be attributed to such        §1.1248–1(a)(4) to open years provided         Regulations
stock, and the earnings and profits of the      that the taxpayer consistently applies the
acquired corporation accumulated prior to       rule in all such years. A partner makes           Accordingly, 26 CFR part 1 is amended
the restructuring transaction attributable      this election by treating its distributive     as follows:
to the stock of an acquired corporation         share of gain attributable to a sale of
are not attributed to the non-exchang-          shares in a controlled foreign corporation     PART 1—INCOME TAXES
ing shareholder’s stock in the acquiring        as gain recognized on a sale or exchange
corporation. In order to clarify the regu-      of stock in a foreign corporation within          Paragraph 1. The authority citation for
lations, this language from the preamble        the meaning of section 1248(a).                part 1 is amended by adding entries in nu-
to the proposed regulations is included in          In order to clarify the application of     merical order to read in part as follows:
§1.1248–8(b)(4) of the final regulations.       §1.1248–8, the definition of controlled for-      Authority: 26 U.S.C. 7805 * * *
    Under §1.1248–1(a)(4) of the proposed       eign corporation at §1.1248–8(b)(1)(iii)          Sections 1.367(b)–2(c)(1) and (2) also
regulations, the partners in a foreign part-    has been revised to provide that a con-        issued under 26 U.S.C. 367(b)(1) and (2).
nership shall be treated as selling or ex-      trolled foreign corporation includes cor-         Section 1.367(b)–2(d)(3) also issued
changing their proportionate share of stock     porations described in either section          under 26 U.S.C. 367(b)(1) and (2).* * *
of a corporation sold or exchanged by the       953(c)(1)(B) or section 957.                      Section 1.367(b)–4(d) also issued under
foreign partnership. The proposed regula-           A commentator requested the addition       26 U.S.C. 367(b)(1) and (2). * * *
tions also apply section 1248(a) in cases       of an example to §1.367(b)–4(d) to clar-          Sections 1.1248–1(a)(1), (4), and (5)
where the stock in a corporation that is        ify that earnings and profits attributable     also issued under 26 U.S.C. 1248(a) and
sold or exchanged is held through tiers         to certain lower-tier subsidiaries are not     (c)(1) and (2).* * *
of foreign partnerships. This treatment         taken into account in determining the all         Section 1.1248–8 also issued under 26
is necessary to reflect properly each part-     earnings and profits amount attributable to    U.S.C. 1248(a) and (c)(1) and (2). * * *
ner’s share of the corporation’s earnings       transactions described in §1.367(b)–3. In
and profits as a dividend.                      response to this comment, such an exam-        §1.367(b)–2 [Amended]
    A      commentator         noted     that   ple is included in §1.367(b)–4(d) of the fi-
§1.1248–1(a)(4) of the proposed reg-            nal regulations.                                  Par. 2. Section 1.367(b)–2 is amended
ulations could be read to apply to the sale                                                    by:
by a partner of its interest in a partnership   Special Analyses                                  1.     Removing the language “, as
holding the stock of a corporation. The                                                        modified by §1.367(b)–4(d) (as applica-
Treasury Department and the IRS did not             It has been determined that this Trea-     ble).” from the last sentence of paragraph
intend that interpretation because it would     sury decision is not a significant regula-     (c)(1)(ii) and adding the language “. See
be contrary to section 1248(g)(2)(B). An        tory action as defined in Executive Order      §1.1248–8.” in its place.
amount that is received by a partner in         12866. Therefore, a regulatory assessment         2. Removing paragraphs (c)(2) Exam-
exchange for all or part of its partnership     is not required. It has also been determined   ple 4 and (d)(3)(ii).
interest is treated as ordinary income          that section 553(b) of 5 U.S.C. chapter 5         3.     Removing the language “, as
under section 751(a) and (c) to the extent      does not apply to these regulations, and,      modified by paragraph (d)(3)(ii) of this


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section and §1.367(b)–4(d) (as applica-             Example. Acquisition of the stock of a foreign        §1.1248–1 Treatment of gain from certain
ble).” from the last sentence of paragraph      corporation that controls a foreign acquiring cor-        sales or exchanges of stock in certain
(d)(3)(i)(B)(2) and adding the language         poration in a reorganization described in section         foreign corporations.
                                                368(a)(1)(C). (i) Facts. DC1, a domestic corpora-
“. See §1.1248–8.” in its place.                tion, has owned all the stock of CFC1, a controlled
   4. Redesignating paragraph (d)(3)(iii)                                                                    (a) In general. (1) * * * See §1.1248–8
                                                foreign corporation, since its formation on January
as paragraph (d)(3)(ii).                        1, year 1. CFC1 has owned all the stock of CFC2,          for additional rules regarding the attribu-
   Par. 3. Section 1.367(b)–4(d) is revised     a controlled foreign corporation, since its formation     tion of earnings and profits to the stock of a
to read as follows:                             on January 1, year 1. FC, a foreign corporation that      foreign corporation following certain non-
                                                is not a controlled foreign corporation, has owned all    recognition transactions. * * *
                                                of the stock of FC2, a foreign corporation, since its
§1.367(b)–4 Acquisition of foreign                                                                        *****
                                                formation on January 1, year 2. On December 31,
corporate stock or assets by a foreign          year 3, pursuant to a restructuring transaction that          (4) For purposes of paragraph (a)(1) of
corporation in certain nonrecognition           was a triangular reorganization described in section      this section, if a foreign partnership sells or
transactions.                                   368(a)(1)(C), CFC1 transfers all of its assets, includ-
                                                                                                          exchanges stock of a corporation, the part-
                                                ing the CFC2 stock, to FC2 in exchange for 80% of
                                                the voting stock of FC. CFC1 transfers the voting         ners in such foreign partnership shall be
*****
                                                stock of FC to DC1 and the CFC1 stock is cancelled.       treated as selling or exchanging their pro-
    (d) Rules for subsequent sales
                                                Pursuant to section 1223(1), DC1 is considered to         portionate share of the stock of such corpo-
or exchanges—(1) Rule.           If an ex-      have held the stock of FC since January 1, year 1.        ration. Stock which is considered to have
changing shareholder (as defined in             Under section 1223(2), FC2 is considered to have
                                                                                                          been sold or exchanged by a partner by
§1.1248–8(b)(1)(iv)) is not required to         held the stock of CFC2 since January 1, year 1. On
                                                December 31, year 3, CFC1 has $100 of earnings and        reason of the application of this paragraph
include in income as a deemed dividend
                                                profits. From January 1, year 4, until December 31,       (a)(4) shall for purposes of applying such
the section 1248 amount under paragraph
                                                year 5, FC (a controlled foreign corporation after the    sentence be treated as actually sold or ex-
(b) of this section in a section 367(b) ex-     restructuring transaction) accumulates an additional      changed by such partner.
change described in paragraph (a) of this       $50 of earnings and profits. FC2, a controlled foreign
                                                                                                              (5) * * *
section (non-inclusion exchange), then,         corporation after the restructuring transaction, accu-
                                                                                                              Example 4. (i) Facts. X, a domestic corporation,
for purposes of applying section 367(b)         mulates $100 of earnings and profits from January
                                                                                                          and Y, a foreign corporation that is not a controlled
or section 1248 to subsequent sales or          1, year 4, until December 31, year 5. On December
                                                                                                          foreign corporation, are partners in foreign partner-
                                                31, year 5, FC is liquidated into DC1 in a transaction
exchanges, and subject to the limitation        described in section 332.
                                                                                                          ship Z. X has a 60% interest in Z, and Y has a 40%
of §1.367(b)–2(d)(3)(ii) (in the case of a                                                                interest in Z. All parties are calendar year taxpayers.
                                                    (ii) Result. Generally, this paragraph (d) requires
                                                                                                          On January 1, year 1, Z forms foreign corporation H,
transaction described in §1.367(b)–3), the      that DC1 include in income the earnings and prof-
                                                                                                          a controlled foreign corporation that conducts a busi-
determination of the earnings and profits       its attributable to its stock in FC as determined un-
                                                                                                          ness in Country C. Z and H’s functional currency is
attributable to the stock an exchanging         der §1.1248–8. However, since the liquidation of FC
                                                                                                          the United States dollar. In years 1 and 2, H did not
                                                into DC1 is a transaction described in §1.367(b)–3,
shareholder receives in the non-inclusion       the earnings and profits attributable to the stock of
                                                                                                          earn subpart F income as defined in section 952(a).
exchange shall be determined pursuant to                                                                  On December 31, year 2, Z sells all of the H stock for
                                                FC are limited by §1.367(b)–2(d)(3)(ii) to that por-
                                                                                                          $600 when Z’s adjusted basis in the stock is $100.
the rules of section 1248 and the regula-       tion of the earnings and profits accumulated by FC it-
                                                                                                          Therefore, Z recognizes a gain of $500 on the sale, of
tions under that section.                       self before or after the restructuring transaction, and
                                                                                                          which $300 is allocable to X as a 60% partner. At the
    (2) Example. The following example          do not include the earnings and profits of FC’s sub-
                                                                                                          time of the sale, H had $300 of earnings and profits,
                                                sidiaries accumulated before or after the restructuring
illustrates the rules of this section. For      transaction. Thus, DC1 will include $40 of earnings
                                                                                                          $180 of which (that is, 60% of $300) is attributable to
purposes of the example, assume that—                                                                     X’s 60% share of the H stock.
                                                and profits in income (80% of the $50 of earnings
                                                                                                              (ii) Result. Pursuant to section 1248(a) and para-
    (i) There is no immediate gain recog-       and profits accumulated by FC after the restructuring
                                                                                                          graphs (a)(1) and (4) of this section, X and Y are
nition pursuant to section 367(a)(1) and        transaction).
                                                                                                          treated as selling 60% and 40%, respectively, of the
the regulations under that section (either          Par. 4. Section 1.1248–1 is amended                   H stock. X includes in its gross income as a dividend
through operation of the rules or be-           by:                                                       $180 of the gain recognized on the sale. Because Y is
cause the appropriate parties have entered          1. Removing the language “(or was                     a foreign corporation that is not a CFC, neither sec-
                                                considered as held by reason of the ap-                   tion 1248 nor section 964 applies to the sale of Y’s
into a gain recognition agreement under
                                                                                                          40% share of the H stock.
§§1.367(a)–3(b) and 1.367(a)–8);                plication of section 1223)” from the first
                                                                                                              (iii) Alternative facts. If, instead, X owned its
    (ii) References to earnings and profits     sentence of paragraph (a)(1) and adding                   60% interest in Z through another foreign partnership,
are to earnings and profits that would be       the language “(or was considered as held                  the result would be the same.
includible in income as a dividend under        by reason of the application of section
                                                                                                          *****
section 1248 and the regulations under that     1223, taking into account §1.1248–8)” in
                                                                                                             (g) Effective/applicability date. The
section if stock to which the earnings and      its place and adding a new third sentence.
                                                                                                          third sentence in paragraph (a)(1), para-
profits are attributable were sold or ex-           2. Redesignating paragraph (a)(4) as
                                                                                                          graph (a)(4), and paragraph (a)(5) Example
changed by its shareholder;                     paragraph (a)(5).
                                                                                                          4 of this section apply to income inclu-
    (iii) Each corporation has only a single        3. Adding new paragraphs (a)(4) and
                                                                                                          sions that occur on or after July 30, 2007.
class of stock outstanding and uses the cal-    (g).
                                                                                                          A taxpayer may elect to apply paragraph
endar year as its taxable year; and                 4. Adding Example 4 in newly-desig-
                                                                                                          (a)(4) of this section to income inclu-
    (iv) Each transaction is unrelated to all   nated paragraph (a)(5).
                                                                                                          sions in open taxable years provided that
other transactions.                                 The additions read as follows:
                                                                                                          it consistently applies paragraph (a)(4)
                                                                                                          for income inclusions in the first year for


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which the election is applicable and in all   §§1.1248–2, 1.1248–3, 1.1248–7               column, remove the language in the “Re-
subsequent years.                             [Amended]                                    move” column and add the language in the
                                                                                           “Add” column in its place.
                                                 Par. 5. In §§1.1248–2, 1.1248–3, and
                                              1.1248–7, for each entry in the “Section”


 Section                                      Remove                                       Add
 §1.1248–2(a)(1)                              (or was considered to be held by reason      (or was considered to be held by reason
                                              of the application of section 1223)          of the application of section 1223, taking
                                                                                           into account §1.1248–8)
 §1.1248–2(a)(2)(ii)                          (or is considered to have held by reason     (or is considered to have held by reason
                                              of the application of section 1223)          of the application of section 1223, taking
                                                                                           into account §1.1248–8)
 §1.1248–2(a)(3)                              (or is considered to have held by reason     (or is considered to have held by reason
                                              of the application of section 1223)          of the application of section 1223, taking
                                                                                           into account §1.1248–8)
 §1.1248–2(c)(4)                              (or is considered to have held by reason     (or is considered to have held by reason
                                              of the application of section 1223)          of the application of section 1223, taking
                                                                                           into account §1.1248–8)
 §1.1248–2(e)(1), introductory text           (or is considered to have held by reason     (or is considered to have held by reason
                                              of the application of section 1223)          of the application of section 1223, taking
                                                                                           into account §1.1248–8)
 §1.1248–2(e)(2)                              (or is considered as held by reason of the   (or is considered as held by reason of the
                                              application of section 1223)                 application of section 1223, taking into
                                                                                           account §1.1248–8)
 §1.1248–2(e)(3)(i)                           (or is considered to have held by reason     (or is considered to have held by reason
                                              of the application of section 1223)          of the application of section 1223, taking
                                                                                           into account §1.1248–8)
 §1.1248–3(a)(1)                              (or was considered to be held by reason      (or was considered to be held by reason
                                              of the application of section 1223)          of the application of section 1223, taking
                                                                                           into account §1.1248–8)
 §1.1248–3(c)(1)(ii)                          (or was considered to have held by reason    (or was considered to have held by reason
                                              of the application of section 1223)          of the application of section 1223, taking
                                                                                           into account §1.1248–8)
 §1.1248–3(e)(2)(i)                           (during the period such share, or block,     (during the period such share, or block,
                                              was considered to be held by such person     was considered to be held by such person
                                              by reason of the application of section      by reason of the application of section
                                              1223)                                        1223, taking into account §1.1248–8)
 §1.1248–3(e)(3)                              (during the period such share, or block,     (during the period such share, or block,
                                              was considered to be held by such person     was considered to be held by such person
                                              by reason of the application of section      by reason of the application of section
                                              1223)                                        1223, taking into account §1.1248–8)
 §1.1248–3(e)(5)                              (or another person who actually owned        (or another person who actually owned
                                              the stock during such taxable year and       the stock during such taxable year and
                                              whose holding of the stock is attributed     whose holding of the stock is attributed
                                              by reason of the application of section      by reason of the application of section
                                              1223 to the person who sold or exchanged     1223, taking into account §1.1248–8, to
                                              the stock)                                   the person who sold or exchanged the
                                                                                           stock)




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 Section                                       Remove                                          Add
 §1.1248–3(e)(6), two places                   by reason of the application of section         by reason of the application of section
                                               1223 to such person                             1223 to such person, taking into account
                                                                                               §1.1248–8
 §1.1248–3(f)(2)(ii)                           (or was considered to have held by reason       (or was considered to have held by reason
                                               of the application of section 1223)             of the application of section 1223, taking
                                                                                               into account §1.1248–8)
 §1.1248–3(f)(5)(ii)                           (during the period such stock was               (during the period such stock was
                                               considered to be held by such person by         considered to be held by such person by
                                               reason of the application of section 1223)      reason of the application of section 1223,
                                                                                               taking into account §1.1248–8)
 §1.1248–3(f)(5)(iv)                           (during the period such share (or block)        (during the period such share (or block)
                                               was considered to be held by such person        was considered to be held by such person
                                               by reason of the application of section         by reason of the application of section
                                               1223)                                           1223, taking into account §1.1248–8)
 §1.1248–7(b)(3)(i)                            (or was considered to have held by reason       (or was considered to have held by reason
                                               of the application of section 1223)             of the application of section 1223, taking
                                                                                               into account §1.1248–8)
 §1.1248–7(b)(3)(iii)                          (or is considered to have held by reason        (or is considered to have held by reason
                                               of the application of section 1223)             of the application of section 1223, taking
                                                                                               into account §1.1248–8)
 §1.1248–7(b)(4), introductory text            (or was considered to have held by reason       (or was considered to have held by reason
                                               of the application of section 1223)             of the application of section 1223, taking
                                                                                               into account §1.1248–8)

   Par. 6. Section 1.1248–8 is added to        dividend the section 1248 amount pur-               (b) Earnings and profits attributable to
read as follows:                               suant to §1.367(b)–4(b). See paragraphs         stock following a restructuring transac-
                                               (b)(2) and (3) of this section;                 tion—(1) Definitions. The following defi-
§1.1248–8 Earnings and profits                     (2) Nonexchanging shareholders.             nitions apply for purposes of this section:
attributable to stock following certain        Stock of a foreign corporation that par-            (i) Acquired corporation is a corpora-
non-recognition transactions.                  ticipates in a restructuring transaction that   tion whose stock or assets are acquired
                                               is held by a non-exchanging shareholder         in exchange for stock in (or stock in and
   (a) Scope. This section sets forth
                                               (as defined in paragraph (b)(1)(vi) of this     other property of) either the acquiring cor-
rules for the attribution of earnings and
                                               section) in the restructuring transaction.      poration or a foreign corporation that con-
profits for purposes of section 1248 and
                                               See paragraph (b)(4) of this section;           trols, within the meaning of section 368(c),
§1.1248–1(a)(1) and to supplement the
                                                   (3) Application of section 381. Stock of    the acquiring corporation in a restructuring
rules in §§1.1248–2 and 1.1248–3 with
                                               a foreign corporation that receives assets in   transaction.
respect to—
                                               a transfer to which section 361(a) applies          (ii) Acquiring corporation is a corpo-
   (1) Stock that an exchanging share-
                                               in connection with a reorganization de-         ration that acquires the stock or assets of
holder receives, or an acquiring corpo-
                                               scribed in section 368(a)(1)(A), (C), (D),      an acquired corporation in a restructuring
ration receives, in restructuring transac-
                                               (F), or (G), or in a distribution to which      transaction.
tions. Except as otherwise provided in
                                               section 332 applies, and to which section           (iii) Controlled foreign corporation is
this paragraph (a), stock of a foreign cor-
                                               381(c)(2)(A) and §1.381(c)(2)–1(a) apply.       a corporation described in either section
poration that an exchanging shareholder
                                               See paragraph (b)(6) of this section; or        953(c)(1)(B) or section 957.
receives, or an acquiring corporation re-
                                                   (4) Section 332 liquidations. Stock of          (iv) Exchanging shareholder is a person
ceives, pursuant to a restructuring transac-
                                               a foreign corporation that receives the as-     that exchanges—
tion (as defined in paragraph (b)(1)(vii) of
                                               sets and liabilities of a foreign corporation       (A) In a restructuring transaction qual-
this section) in which the holding period
                                               in a complete liquidation described in sec-     ifying as a nonrecognition transaction
of such stock is determined by application
                                               tion 332 if the foreign distributee is a for-   within the meaning of section 7701(a)(45)
of section 1223(1) or 1223(2), whichever
                                               eign corporate shareholder (as defined in       and described in section 354, 356, or
is appropriate. This section shall not ap-
                                               paragraph (b)(1)(v) of this section) of the     361(a), stock in an acquired corporation
ply to an exchange otherwise described in
                                               liquidating corporation. See paragraph (c)      for stock in either a foreign acquiring
this paragraph (a)(1) if, as a result of the
                                               of this section.                                corporation or a foreign corporation that
exchange, the exchanging shareholder is
                                                                                               is in control, within the meaning of sec-
required to include in income as a deemed


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tion 368(c), of an acquiring corporation           which the exchanging shareholder is a sec-      tributable to the stock that the exchanging
(whether domestic or foreign); or                  tion 1248 shareholder or a foreign corpo-       shareholder receives in the restructur-
   (B) In a restructuring transaction qual-        rate shareholder immediately before such        ing transaction shall consist solely of the
ifying as a nonrecognition transaction             transaction, the earnings and profits at-       amount of earnings and profits attributable
within the meaning of section 7701(a)(45)          tributable to the stock that the exchang-       to such stock (determined in accordance
and described in section 351, property             ing shareholder receives in the restructur-     with §1.1248–2 or §1.1248–3, whichever
(including stock) for stock in a foreign           ing transaction shall be determined in ac-      is applicable, and this section, if appli-
acquiring corporation.                             cordance with §1.1248–2 or §1.1248–3,           cable) without regard to any portion of
   (v) Foreign corporate shareholder is a          whichever is applicable, without regard to      the section 1223(1) holding period in that
foreign corporation that—                          any portion of the section 1223(1) hold-        stock that is prior to the restructuring
   (A) Owns stock of another foreign cor-          ing period in that stock that is prior to the   transaction. See paragraph (b)(7) Example
poration; and                                      restructuring transaction. See paragraph        5 of this section.
   (B) Has a section 1248 shareholder that         (b)(7) Example 1 of this section.                   (3) Earnings and profits attributable
is also a section 1248 shareholder of the              (ii) Exchanging shareholder exchanges       to stock in a foreign corporation cer-
other foreign corporation.                         stock of a foreign corporation with respect     tain acquiring corporations receive in
   (vi) Non-exchanging shareholder is, at          to which the exchanging shareholder is          a restructuring transaction. Where an
the time the acquiring corporation partici-        either a section 1248 shareholder or a          acquiring corporation receives, in a re-
pates in a restructuring transaction, either a     foreign corporate shareholder. Except as        structuring transaction, stock in a foreign
section 1248 shareholder or a foreign cor-         provided in paragraph (b)(2)(iii) of this       acquired corporation, the holding period
porate shareholder of the acquiring cor-           section, where the exchanging shareholder       of which is determined under section
poration that is not an exchanging share-          exchanges in a restructuring transaction        1223(2), and the acquiring corporation
holder with respect to that corporation.           stock of a foreign acquired corporation         is either a section 1248 shareholder or a
   (vii) Restructuring transaction is a            with respect to which the exchanging            foreign corporate shareholder with respect
transaction qualifying as a nonrecognition         shareholder is either a section 1248 share-     to that foreign acquired corporation imme-
transaction within the meaning of section          holder or a foreign corporate shareholder       diately after the restructuring transaction,
7701(a)(45) and described in section 351,          immediately before such restructuring           the earnings and profits attributable to the
354, 356, or 361.                                  transaction, the earnings and profits at-       foreign acquired corporation stock that
   (viii) Section 1248 shareholder is any          tributable to the stock that the exchanging     the acquiring corporation receives shall be
United States person that satisfies the own-       shareholder receives in the restructuring       determined pursuant to the rules in para-
ership requirements of section 1248(a)(2)          transaction shall be the sum of the earnings    graphs (b)(3)(i) and (ii) of this section.
and §1.1248–1(a)(2) with respect to a for-         and profits attributable to—                        (i) Stock of a foreign corporation with
eign corporation.                                      (A) The stock of the foreign acquired       respect to which the exchanging share-
   (2) Earnings and profits attributable           corporation exchanged (determined in ac-        holder is neither a section 1248 share-
to stock that an exchanging shareholder            cordance with §1.1248–2 or §1.1248–3,           holder nor a foreign corporate share-
receives in a restructuring transaction.           whichever is applicable, and this section,      holder. The earnings and profits attribut-
Where, in a restructuring transaction, an          if applicable) that was accumulated before      able to the stock of the foreign acquired
exchanging shareholder receives stock              the restructuring transaction; and              corporation that the acquiring corpora-
in a foreign corporation, the holding pe-              (B) The stock of the foreign corpora-       tion receives in a restructuring transaction
riod of which is determined under section          tion that the exchanging shareholder re-        where the exchanging shareholder is nei-
1223(1), and the exchanging shareholder            ceives in the restructuring transaction (de-    ther a section 1248 shareholder nor a
is either a section 1248 shareholder or a          termined in accordance with §1.1248–2 or        foreign corporate shareholder with respect
foreign corporate shareholder with respect         §1.1248–3, whichever is applicable, and         to that foreign acquired corporation imme-
to that foreign corporation immediately            this section, if applicable), without regard    diately before the restructuring transaction
after the restructuring transaction, the           to any portion of the section 1223(1) hold-     shall be determined in accordance with
earnings and profits attributable to the           ing period in that stock that is prior to the   §1.1248–2 or §1.1248–3, whichever is
stock the exchanging shareholder receives          restructuring transaction. See paragraph        applicable, without regard to any portion
shall be determined pursuant to the rules          (b)(7) Example 2, Example 4, and Exam-          of the section 1223(2) holding period in
in paragraphs (b)(2)(i), (ii), and (iii) of this   ple 6 of this section.                          that stock that is prior to the restructuring
section.                                               (iii) Exchanging shareholder receives       transaction.
   (i) Exchanging shareholder exchanges            stock in a foreign corporation that con-            (ii) Stock of a foreign corporation with
property that is not stock of a foreign ac-        trols a domestic acquiring corporation.         respect to which the exchanging share-
quired corporation with respect to which           Where the acquiring corporation is a do-        holder is either a section 1248 shareholder
the exchanging shareholder is a section            mestic corporation and the exchanging           or a foreign corporate shareholder. The
1248 shareholder or a foreign corporate            shareholder receives in a restructuring         earnings and profits attributable to the
shareholder. Where the exchanging share-           transaction stock in a foreign corpora-         stock of a foreign acquired corporation
holder exchanges in a restructuring trans-         tion that controls (within the meaning of       that the acquiring corporation receives
action property that is not stock of a for-        section 368(c)) the domestic acquiring          in the restructuring transaction where
eign acquired corporation with respect to          corporation, the earnings and profits at-       the exchanging shareholder is either a


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section 1248 shareholder or a foreign cor-      poration, paragraph (b)(3) of this section      der section 1248 and the regulations under
porate shareholder with respect to that         shall not apply for purposes of determin-       that section if stock to which the earnings
foreign corporation immediately before          ing the earnings and profits attributable to    and profits are attributable were sold or ex-
the restructuring transaction shall be de-      stock in the foreign acquiring corporation      changed by its shareholder;
termined in accordance with §1.1248–2           owned by a non-exchanging shareholder              (iv) Each corporation has only a single
or §1.1248–3, whichever is applicable,          thereof (see section 1248(c)(2)). See para-     class of stock outstanding and uses the cal-
with regard to the portion of the section       graph (b)(7) Example 6 of this section.         endar year as its taxable year; and
1223(2) holding period of the stock that            (5) Reduction in earnings and profits at-      (v) Each transaction is unrelated to all
the exchanging shareholder took into ac-        tributable to stock to prevent multiple in-     other transactions.
count for purposes of attributing earnings      clusions with respect to the same earn-             Example 1. A section 351 exchange of property
and profits to that stock (determined in        ings and profits. To the extent consistent      other than stock in a foreign corporation with respect
                                                                                                to which the exchanging shareholder is either a sec-
accordance with this section). See para-        with the principles of section 1248, adjust-    tion 1248 shareholder or a foreign corporate share-
graph (b)(7) Example 3, Example 5, and          ments to earnings and profits attributable      holder. (i) Facts. DC1, a domestic corporation, has
Example 7 of this section.                      to stock shall be made such that section        owned all the stock of CFC, a foreign corporation,
    (4) Earnings and profits attributable       1223(1) and (2) and this section are applied    since CFC’s formation on January 1, year 3. On De-
to stock held by a non-exchanging share-        in a manner that results in earnings and        cember 31, year 5, DC2, a domestic corporation un-
                                                                                                related to DC1, contributes property it has held since
holder in a foreign acquiring corporation.      profits being taken into account only once.     January 1, year 1, to CFC in exchange for voting stock
(i) Except to the extent paragraph (b)(4)(ii)   Thus, for example, when a controlled for-       of CFC in a restructuring transaction that is an ex-
of this section applies, the earnings and       eign corporation sells or exchanges all or      change under section 351. The property that DC2
profits attributable to stock of a foreign      part of the stock of another foreign corpo-     contributes is not stock in a foreign corporation with
acquiring corporation held by a non-ex-         ration to which earnings and profits are at-    respect to which DC2 was either a section 1248 share-
                                                                                                holder or a foreign corporate shareholder. DC2 re-
changing shareholder immediately prior to       tributable pursuant to this paragraph (b) or    ceives 80% of the voting stock of CFC in the restruc-
a restructuring transaction continue to be      paragraph (c) of this section, proportion-      turing transaction and its holding period in that CFC
attributed to such stock, and the earnings      ate reductions shall be made to the earn-       stock, determined pursuant to section 1223(1), began
and profits of the acquired corporation         ings and profits attributed to the stock of     on January 1, year 1. CFC has $100 of accumulated
accumulated prior to the restructuring          the selling foreign corporate shareholder       earnings and profits on December 31, year 5. On De-
                                                                                                cember 31, year 7, when the accumulated earnings
transaction attributable to the stock of an     owned by a section 1248 shareholder. See        and profits of CFC are $200, DC2, a section 1248
acquired corporation are not attributed to      paragraph (b)(7) Example 7 of this section.     shareholder with respect to CFC, sells its CFC stock.
the non-exchanging shareholder’s stock              (6) Special rule regarding section 381.         (ii) Result. Under paragraph (b)(2)(i) of this sec-
in the foreign acquiring corporation. See       Solely for purposes of determining the          tion, the earnings and profits attributable to the CFC
§1.1248–2 or §1.1248–3 (whichever is            earnings and profits (or deficit in earn-       stock sold by DC2 are $80. This amount consists of
                                                                                                none of the $100 of earnings and profits accumulated
applicable) and, as applicable, paragraph       ings and profits) attributable to stock         by CFC before the restructuring transaction, and 80%
(b)(6) of this section; see also paragraph      pursuant to this paragraph (b), the earn-       of the $100 of earnings and profits of CFC accumu-
(b)(7) Example 2 and Example 4 of this          ings and profits of a corporation shall         lated after the restructuring transaction.
section.                                        not include earnings and profits that are           Example 2. A section 351 exchange of controlled
    (ii) Where a non-exchanging share-          treated as received or incurred under sec-      foreign corporation stock by a United States person
                                                                                                for stock in a controlled foreign corporation in a re-
holder holds stock in a foreign corporation     tion 381(c)(2)(A) and §1.381(c)(2)–1(a).        structuring transaction. (i) Facts. The facts are the
that is also an exchanging shareholder          See paragraph (b)(7) Example 4 of this          same as in Example 1 except as follows. The property
and a foreign acquiring corporation in the      section.                                        that DC2 contributes is 100% of the stock in CFC2, a
same restructuring transaction—                     (7) Examples. The application of this       foreign corporation. DC2 has owned all the stock of
    (A) The earnings and profits attrib-        paragraph (b) is illustrated by the follow-     CFC2 since CFC2’s formation on January 1, year 2,
                                                                                                and CFC2 has $200 of earnings and profits as of De-
utable to such stock shall be the sum of        ing examples. Unless otherwise indicated,       cember 31, year 5. CFC2 does not accumulate any ad-
the earnings and profits attributable to the    in the following examples assume that—          ditional earnings and profits from December 31, year
stock of such foreign corporation immedi-           (i) There is no immediate gain recog-       5, to December 31, year 7. On December 31, year
ately before the restructuring transaction      nition pursuant to section 367(a)(1) and        7, when the accumulated earnings and profits of CFC
(including amounts attributed under sec-        the regulations under that section (either      are $200, DC2, a section 1248 shareholder with re-
                                                                                                spect to CFC, sells its CFC stock. Also on that date,
tion 1248(c)(2)) and the earnings and           through operation of the rules or be-           DC1 sells its CFC stock.
profits attributable to the stock of the for-   cause the appropriate parties have entered          (ii) Result. (A) DC2 sale. Pursuant to paragraph
eign acquiring corporation accumulated          into a gain recognition agreement under         (b)(2)(ii) of this section, the earnings and profits at-
after the restructuring transaction (in-        §§1.367(a)–3(b) and 1.367(a)–8);                tributable to the CFC stock sold by DC2 are $280.
cluding amounts attributed under section            (ii) There is no income inclusion re-       This amount consists of all of the $200 of earnings
                                                                                                and profits of CFC2 accumulated before the restruc-
1248(c)(2)); and                                quired pursuant to section 367(b) and the       turing transaction (see also section 1248(c)(2)), none
    (B) Paragraph (b)(6) of this section ap-    regulations under that section, and all re-     of the $100 of earnings and profits accumulated by
plies. See paragraph (b)(7) Example 8 of        porting requirements in those regulations       CFC before the restructuring transaction, and 80% of
this section.                                   are complied with;                              the $100 of earnings and profits of CFC accumulated
    (iii) Where the acquiring corporation is        (iii) References to earnings and prof-      after the restructuring transaction.
                                                                                                    (B) DC1 sale. Pursuant to paragraph (b)(4) of
a foreign corporate shareholder with re-        its are to earnings and profits that would      this section, the earnings and profits attributable to
spect to stock of a foreign acquired cor-       be includible in income as a dividend un-


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the CFC stock sold by DC1, a non-exchanging share-          ceeded to under section 381 is attributed to the CFC2      and profits accumulated by CFC1, CFC2, or FC
holder in the restructuring transaction, are $120. This     stock sold by DC1, pursuant to paragraph (b)(6) of         before the restructuring transaction.
amount consists of all of the $100 of earnings and          this section.                                                  (B) DC2. Pursuant to paragraph (b)(3)(ii) of this
profits of CFC accumulated before the restructuring              (B) DC2. Pursuant to paragraph (b)(4) of this sec-    section, there is $400 of earnings and profits attribut-
transaction, none of the $200 of earnings and profits       tion, there is $50 of accumulated earnings and prof-       able to the stock of CFC2 sold by DC2. This amount
of CFC2 accumulated before the restructuring trans-         its attributable to the CFC2 stock sold by DC2. This       consists of all of the earnings and profits accumulated
action, and 20% of the $100 of earnings and profits of      amount consists of all of the $200 of CFC2’s earn-         by CFC2 during DC2’s section 1223(2) holding pe-
CFC accumulated after the restructuring transaction.        ings and profits accumulated by CFC2 prior to the          riod.
     Example 3. A section 351 exchange of controlled        reorganization, reduced by 75% of CFC2’s deficit in            Example 6. Acquisition of the stock of a for-
foreign corporation stock by a United States person         earnings and profits in the amount of ($200) incurred      eign corporation that controls a foreign acquiring
for stock in a domestic corporation in a restructuring      after the restructuring transaction. None of the $100      corporation in a reorganization described in section
transaction. (i) Facts. DC1, a domestic corporation,        of CFC1 accumulated earnings and profits succeeded         368(a)(1)(C). (i) Facts. DC1, a domestic corporation,
has owned all of the stock of CFC, a foreign corpo-         to under section 381 is attributable to the CFC2 stock     has owned all the stock of CFC1, a foreign corpora-
ration, since CFC’s formation on January 1, year 1.         sold by DC2, pursuant to paragraph (b)(6) of this sec-     tion, since its formation on January 1, year 1. CFC1
DC1 has also owned all the stock of DC2, a domes-           tion.                                                      has owned all the stock of CFC2, a foreign corpora-
tic corporation, since DC2’s formation on January 1,             (C) Section 368(a)(1)(B) reorganization. If,          tion, since its formation on January 1, year 1. FC,
year 1. On December 31, year 2, DC1 contributes the         instead of DC1 acquiring its 25% interest in CFC2          a foreign corporation that is not a controlled foreign
stock of CFC to DC2 in exchange for stock in DC2            pursuant to a reorganization described in section          corporation, has owned all of the stock of FC2, a for-
in a restructuring transaction that is an exchange de-      368(a)(1)(C), DC1 had transferred the stock of CFC1        eign corporation, since its formation on January 1,
scribed in section 351. On December 31, year 2, CFC         to CFC2 in exchange for 25% of the voting stock            year 2. On December 31, year 3, pursuant to a re-
has $100 of accumulated earnings and profits. DC2           of CFC2 in a reorganization described in section           structuring transaction that was a triangular reorgani-
has a basis in the CFC stock determined under section       368(a)(1)(B), the results would be the same as de-         zation described in section 368(a)(1)(C), CFC1 trans-
362, and is considered to have held the CFC stock           scribed in paragraphs (ii)(A) and (B) of this Example      fers all of its assets, including the CFC2 stock, to FC2
since January 1, year 1, pursuant to section 1223(2).       4.                                                         in exchange for 60% of the voting stock of FC. CFC1
On December 31, year 4, when the accumulated earn-               Example 5. Acquisition of the stock of a foreign      transfers the voting stock of FC to DC1 and the CFC1
ings and profits of CFC are still $100, DC2 sells its       corporation that controls a domestic acquiring cor-        stock is cancelled. Pursuant to section 1223(1), DC1
CFC stock.                                                  poration in a triangular reorganization described in       is considered to have held the stock of FC since Jan-
     (ii) Result. Under paragraph (b)(3)(ii) of this sec-   section 368(a)(1)(C). (i) Facts. DC1, a domestic cor-      uary 1, year 1. Under section 1223(2), FC2 is consid-
tion, $100 of accumulated earnings and profits of           poration, has owned all the stock of CFC1, a foreign       ered to have held the stock of CFC2 since January 1,
CFC is attributable to the stock of CFC sold by DC2,        corporation, since its formation on January 1, year        year 1. On December 31, year 3, CFC1 has $100 of
even though DC2 did not hold the stock of CFC dur-          1. CFC1 has owned all the stock of CFC2, a for-            earnings and profits, CFC2 has $300 of earnings and
ing the time CFC accumulated the earnings and prof-         eign corporation, since its formation on January 1,        profits, FC has $200 of earnings and profits, and FC2
its.                                                        year 1. FC, a foreign corporation that is not a con-       has no earnings and profits. From January 1, year 4,
     Example 4. Acquisition of a controlled foreign         trolled foreign corporation, has owned all of the stock    until December 31, year 5, FC (now a controlled for-
corporation by a controlled foreign corporation in a        of DC2, a domestic corporation, since its formation        eign corporation) accumulates an additional $50 of
reorganization described in section 368(a)(1)(C) (or        on January 1, year 2. On December 31, year 3, pur-         earnings and profits. From January 1, year 4 until De-
section 368(a)(1)(B)). (i) Facts. DC1, a domestic cor-      suant to a restructuring transaction that was a triangu-   cember 31, year 5, CFC2 accumulates an additional
poration, has owned all the stock of CFC1, a foreign        lar reorganization described in section 368(a)(1)(C),      $100 of earnings and profits. FC2, a controlled for-
corporation, since its formation on January 1, year         CFC1 transfers all of its assets, including the CFC2       eign corporation after the restructuring transaction,
1. DC2, a domestic corporation unrelated to DC1,            stock, to DC2 in exchange for 60% of the voting            accumulates $100 of earnings and profits from Jan-
has owned all of the stock of CFC2, a foreign cor-          stock of FC. CFC1 transfers the voting stock of FC         uary 1, year 4, until December 31, year 5. On De-
poration, since its formation on January 1, year 2.         to DC1 and the CFC1 stock is cancelled. Pursuant           cember 31, year 5, DC1 sells its stock in FC.
On December 31, year 3, pursuant to a restructur-           to section 1223(1), DC1 is considered to have held             (ii) Result. Pursuant to paragraphs (b)(2)(ii) and
ing transaction that is a reorganization described in       the stock of FC since January 1, year 1. Under sec-        (b)(4)(iii) of this section, there is $550 of earnings and
section 368(a)(1)(C), CFC1 transfers all of its assets      tion 1223(2), DC2 is considered to have held the           profits attributable to the stock of FC sold by DC1.
to CFC2 in exchange for 25% of the voting stock of          stock of CFC2 since January 1, year 1. On Decem-           This amount consists of all $400 of the CFC1 and
CFC2. CFC1 distributes the CFC2 stock to DC1 and            ber 31, year 3, CFC1 has $100 of earnings and prof-        CFC2 earnings and profits accumulated before the re-
the CFC1 stock is cancelled. DC1’s holding period           its, CFC2 has $300 of earnings and profits, and FC         structuring transaction (see also section 1248(c)(2)),
in the CFC2 stock, determined under section 1223(1),        has $200 of earnings and profits. DC1 includes the         and 60% of the $250 of the earnings and profits accu-
begins on January 1, year 1. On December 31, year           $100 all earnings and profits amount attributable to       mulated by FC, FC2, and CFC2 after the restructuring
3, CFC1 has $100 of accumulated earnings and prof-          its CFC1 stock in income as a deemed dividend un-          transaction.
its and CFC2 has $200 of accumulated earnings and           der §1.367(b)–3 upon the exchange of CFC1 stock for            Example 7. Acquisition of controlled foreign cor-
profits. CFC2 succeeds to the $100 of CFC1 accumu-          FC stock. Pursuant to the lower-tier earnings exclu-       poration stock by a controlled foreign corporation in
lated earnings and profits in the reorganization under      sion of §1.367(b)–2(d)(3)(ii), that amount does not        a reorganization described in section 368(a)(1)(B),
section 381. From January 1, year 4 to December 31,         include the $300 of earnings and profits of CFC2.          followed by a sale of the acquired stock by the acquir-
year 5, CFC2 incurred a deficit in earnings and prof-       From January 1, year 4, until December 31, year 5,         ing controlled foreign corporation. (i) Facts. DC1, a
its in the amount of ($200). On December 31, year 5,        FC (now a controlled foreign corporation) accumu-          domestic corporation, has owned all of the outstand-
both DC1 and DC2 sell their stock in CFC2.                  lates an additional $50 of earnings and profits. From      ing stock of CFC1, a foreign corporation, since its
     (ii) Result. (A) DC1. Pursuant to paragraph            January 1, year 4 until December 31, year 5, CFC2          formation on January 1, year 1. CFC1 has owned all
(b)(2)(ii) of this section, $50 of earnings and prof-       accumulates an additional $100 of earnings and prof-       of the outstanding stock of CFC3, a foreign corpora-
its is attributable to the CFC2 stock sold by DC1.          its. On December 31, year 5, DC1 sells its stock in        tion, since its formation on January 1, year 1. DC2,
This amount consists of $100 of CFC1’s earnings             FC and DC2 sells its stock in CFC2.                        a domestic corporation unrelated to DC1, has owned
and profits accumulated before the restructuring                 (ii) Result. (A) DC1. Pursuant to paragraph           all of the outstanding stock of CFC2, a foreign cor-
transaction, reduced by 25% of CFC2’s ($200)                (b)(2)(iii) of this section, there is $30 of earnings      poration, since its formation on January 1, year 2.
post-restructuring transaction deficit in earnings and      and profits attributable to the stock of FC sold by        On December 31, year 3, pursuant to a restructuring
profits. None of the $200 of CFC2’s earnings and            DC1. This amount consists of 60% of the $50 of             transaction that is a reorganization described in sec-
profits accumulated by CFC2 prior to the reorgani-          earnings and profits accumulated by FC after the           tion 368(a)(1)(B), CFC1 transfers all of the stock of
zation is attributed to the CFC2 stock sold by DC1.         restructuring transaction, and none of the earnings        CFC3 to CFC2 in exchange for 40% of CFC2’s stock.
Also, none of the earnings and profits CFC2 suc-                                                                       On December 31, year 3, CFC2 and CFC3 have, re-



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spectively, $40 and $20 of earnings and profits. On        no accumulated earnings and profits. On December             mation on January 1, year 1. On December 31, year 2,
December 31, year 5, when the accumulated earn-            31, year 1, pursuant to a restructuring transaction          CFC1 has $200 of accumulated earnings and profits
ings and profits of CFC3 are $50 ($20 of earnings          described in section 368(a)(1)(C), CFC2 transfers all        and CFC2 has a ($200) deficit in earnings and prof-
and profits as of December 31, year 3, plus $30 of         its properties to CFC1. In exchange, CFC1 assumes            its. On December 31, year 2, CFC2 distributes all of
earnings and profits generated from January 1, year 4,     the liabilities of CFC2 and transfers to CFC2 voting         its assets and liabilities to CFC1 in a liquidation to
through December 31, year 5), CFC2 sells the stock         stock representing 21% of the stock of CFC1. CFC2            which section 332 applies. From January 1, year 3,
of CFC3 in a transaction to which section 964(e) ap-       distributes the voting stock to X and liquidates. The        until December 31, year 4, CFC1 accumulates no ad-
plies.                                                     liabilities assumed do not exceed 20% of the value           ditional earnings and profits. On December 31, year
     (ii) Result. (A) CFC2. Pursuant to paragraph          of the properties of CFC2. From January 1, year 2,           4, DC sells its stock in CFC1.
(b)(3)(ii) of this section, there is $50 of earnings and   to December 31, year 3, CFC1 accumulates $100 of                  (ii) Result. Pursuant to paragraph (c)(1) of this
profits attributable to the CFC3 stock sold by CFC2.       earnings and profits. On December 31, year 3, DC             section, there are no earnings and profits attributable
This amount consists of the accumulated earnings and       sells its CFC1 stock.                                        to DC’s CFC1 stock. This amount consists of the sum
profits attributable to CFC2’s entire section 1223(2)           (ii) Result. Pursuant to paragraph (b)(4)(ii) of this   of the earnings and profits attributable to the CFC1
holding period in the CFC3 stock.                          section, there is $237 of earnings and profits attribut-     stock immediately before the liquidation (100% of
     (B) CFC1, DC2, and DC1. Under paragraph               able to DC’s CFC1 stock. This amount consists of             the $200 accumulated earnings and profits of CFC1
(b)(5) of this section, the earnings and profits attrib-   79% of CFC2’s $200 of earnings and profits accu-             and 100% of CFC2’s ($200) deficit in earnings and
utable to the CFC2 stock held by CFC1 and DC2,             mulated before the restructuring transaction (see sec-       profits) and the amount of earnings and profits ac-
and the earnings and profits attributable to the CFC1      tion 1248(c)(2)), and 79% of CFC1’s $100 of earn-            cumulated after the section 332 liquidation (see also
stock held by DC1, will be reduced (regardless of          ings and profits accumulated after the restructuring         section 1248(c)(2)).
whether CFC2 recognizes gain on its sale of CFC3           transaction. Pursuant to paragraph (b)(6) of this sec-          (d) Effective/applicability date. This
stock).                                                    tion, none of CFC2’s $200 of earnings and profits to         section applies to income inclusions that
     (1) CFC1. The earnings and profits attributable to    which CFC1 succeeded under section 381 would be
the CFC2 stock held by CFC1 will be reduced by $32,        attributable to DC’s CFC1 stock.
                                                                                                                        occur on or after July 30, 2007.
or the amount of earnings and profits as of Decem-             (c) Earnings and profits attributable to
ber 31, year 5, that would have been attributable to                                                                                                  Kevin M. Brown,
                                                           stock of a foreign distributee corporation
the CFC2 stock held by CFC1 pursuant to paragraph                                                                                             Deputy Commissioner for
                                                           that is a foreign corporate shareholder
(b)(2)(ii) of this section. This amount consists of all                                                                                       Services and Enforcement.
of the $20 of earnings and profits accumulated by          with respect to a foreign liquidating corpo-
CFC3 before the restructuring transaction and 40% of       ration—(1) General rule. If a foreign cor-                   Approved July 16, 2007.
the $30 of earnings and profits accumulated by CFC3        poration (liquidating corporation) makes
after the restructuring transaction (.40 X $30 = $12).                                                                                                   Eric Solomon,
                                                           a distribution of property in complete liq-
     (2) DC1. The earnings and profits attributable to
the CFC1 stock held by DC1 will also be reduced by
                                                           uidation under section 332 to a foreign                                                Assistant Secretary of
$32, or the amount of earnings and profits that would      corporation (distributee), and immediately                                          the Treasury (Tax Policy).
have been attributable to the CFC1 stock held by DC1       before the liquidation the distributee was a                 (Filed by the Office of the Federal Register on July 27, 2007,
as of December 31, year 5.                                 foreign corporate shareholder with respect                   8:45 a.m., and published in the issue of the Federal Register
     (3) DC2. The earnings and profits attributable to                                                                  for July 30, 2007, 72 F.R. 41442)
                                                           to the liquidating foreign corporation, the
the CFC2 stock held by DC2 will be reduced by $18,
or the amount of earnings and profits that would have
                                                           amount of earnings and profits attributable
                                                           to the distributee stock upon its subse-
been attributable to the CFC2 stock held by DC2 as of
December 31, year 5, under paragraph (b)(4) of this        quent sale or exchange will be determined
                                                                                                                        Section 1274.—Determi-
section. This amount consists of 60% of the $30 (.60       under this paragraph (c)(1). The earnings
                                                                                                                        nation of Issue Price in the
X $30 = $18) of earnings and profits accumulated by
                                                           and profits attributable will be the sum
                                                                                                                        Case of Certain Debt Instru-
CFC3 after the restructuring transaction.
                                                           of the earnings and profits attributable to
                                                                                                                        ments Issued for Property
     (C) Partial sale by CFC2. If, instead of sell-
ing 100% of the CFC3 stock, on December 31, year           the stock of the distributee immediately                     (Also Sections 42, 280G, 382, 412, 467, 468, 482,
5, CFC2 sells only 50% of its CFC3 stock, para-            before the liquidation (including amounts                    483, 642, 807, 846, 1288, 7520, 7872.)
graph (b)(5) of this section requires CFC1 to reduce       attributed under section 1248(c)(2)) and
the earnings and profits of CFC3 attributable to its
                                                           the earnings and profits attributable to                        Federal rates; adjusted federal rates;
CFC2 stock to $16. Similarly, DC1 would be required                                                                     adjusted federal long-term rate and the
to reduce the earnings and profits of CFC3 attribut-
                                                           the stock of the distributee accumulated
                                                           after the liquidation (including amounts                     long-term exempt rate. For purposes of
able to its CFC1 stock by $16. Paragraph (b)(5) of
this section also requires DC2 to reduce the CFC3          attributed under section 1248(c)(2)).                        sections 382, 642, 1274, 1288, and other
earnings and profits attributable to its CFC2 stock by         (2) Special rule regarding section 381.                  sections of the Code, tables set forth the
$9. These reductions occur without regard to whether
                                                           Solely for purposes of determining the                       rates for September 2007.
CFC2 recognizes gain on its sale of CFC3 stock.
                                                           earnings and profits (or deficit in earnings
     Example 8. Acquisition of the assets of a
                                                           and profits) attributable to stock under this
                                                                                                                        Rev. Rul. 2007–57
lower-tier controlled foreign corporation by an up-
per-tier controlled foreign corporation in a restruc-      paragraph (c), the attributed earnings and                      This revenue ruling provides various
turing transaction described in section 368(a)(1)(C).      profits of a corporation shall not include
(i) Facts. DC, a domestic corporation, has owned all
                                                                                                                        prescribed rates for federal income tax
                                                           earnings and profits that are treated as                     purposes for September 2007 (the current
the stock of CFC1, a controlled foreign corporation,
since its formation on January 1, year 1. CFC1 is a
                                                           received or incurred pursuant to section                     month). Table 1 contains the short-term,
holding company that has owned 79% of the stock            381(c)(2)(A) and §1.381(c)(2)–1(a).                          mid-term, and long-term applicable fed-
of CFC2, a controlled foreign corporation, since its           (3) Example. (i) Facts. DC, a domestic corpora-
                                                           tion, has owned all of the stock of CFC1, a foreign
                                                                                                                        eral rates (AFR) for the current month
formation on January 1, year 1. The other 21% of
CFC2 stock is owned by X, an unrelated party. On           corporation, since its formation on January 1, year 1.       for purposes of section 1274(d) of the
December 31, year 1, CFC2 has $200 of earnings             CFC1 is an operating company that has owned all of           Internal Revenue Code. Table 2 contains
and profits. On December 31, year 1, CFC1 has              the stock of CFC2, a foreign corporation, since its for-     the short-term, mid-term, and long-term


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adjusted applicable federal rates (adjusted   section 382(f). Table 4 contains the ap-       Table 5 contains the federal rate for deter-
AFR) for the current month for purposes       propriate percentages for determining the      mining the present value of an annuity, an
of section 1288(b). Table 3 sets forth the    low-income housing credit described in         interest for life or for a term of years, or
adjusted federal long-term rate and the       section 42(b)(2) for buildings placed in       a remainder or a reversionary interest for
long-term tax-exempt rate described in        service during the current month. Finally,     purposes of section 7520.


                                                  REV. RUL. 2007–57 TABLE 1
                                       Applicable Federal Rates (AFR) for September 2007
                                                      Period for Compounding
                        Annual                        Semiannual                   Quarterly                       Monthly
   Short-term
       AFR              4.82%                         4.76%                        4.73%                           4.71%
  110% AFR              5.31%                         5.24%                        5.21%                           5.18%
  120% AFR              5.79%                         5.71%                        5.67%                           5.64%
  130% AFR              6.29%                         6.19%                        6.14%                           6.11%

    Mid-term
       AFR              4.79%                         4.73%                        4.70%                           4.68%
  110% AFR              5.27%                         5.20%                        5.17%                           5.14%
  120% AFR              5.76%                         5.68%                        5.64%                           5.61%
  130% AFR              6.24%                         6.15%                        6.10%                           6.07%
  150% AFR              7.23%                         7.10%                        7.04%                           7.00%
  175% AFR              8.45%                         8.28%                        8.20%                           8.14%

   Long-term
       AFR              5.09%                         5.03%                        5.00%                           4.98%
  110% AFR              5.61%                         5.53%                        5.49%                           5.47%
  120% AFR              6.13%                         6.04%                        6.00%                           5.97%
  130% AFR              6.65%                         6.54%                        6.49%                           6.45%



                                                 REV. RUL. 2007–57 TABLE 2
                                                Adjusted AFR for September 2007
                                                    Period for Compounding
                                   Annual                  Semiannual                      Quarterly                 Monthly
 Short-term adjusted               3.65%                   3.62%                           3.60%                     3.59%
 AFR
 Mid-term adjusted AFR             3.92%                      3.88%                        3.86%                     3.85%
 Long-term adjusted                4.44%                      4.39%                        4.37%                     4.35%
 AFR



                                                  REV. RUL. 2007–57 TABLE 3
                                           Rates Under Section 382 for September 2007
 Adjusted federal long-term rate for the current month                                                               4.44%
 Long-term tax-exempt rate for ownership changes during the current month (the highest of the adjusted
 federal long-term rates for the current month and the prior two months.)                                            4.50%




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                                                REV. RUL. 2007–57 TABLE 4
                              Appropriate Percentages Under Section 42(b)(2) for September 2007
 Appropriate percentage for the 70% present value low-income housing credit                                                    8.15%
 Appropriate percentage for the 30% present value low-income housing credit                                                    3.49%



                                                  REV. RUL. 2007–57 TABLE 5
                                           Rate Under Section 7520 for September 2007
 Applicable federal rate for determining the present value of an annuity, an interest for life or a term of years,
 or a remainder or reversionary interest                                                                                       5.8%


                                                        the filing of a consolidated Federal income   and no public hearing was requested
                                                        tax return where the common parent of         or held. The proposed regulations are
Section 1288.—Treatment                                 the consolidated group is a foreign entity    adopted as amended by this Treasury de-
of Original Issue Discount                              that is treated as a domestic corporation     cision and the corresponding temporary
on Tax-Exempt Obligations                               pursuant to section 7874(b) of the Internal   regulations are removed. The temporary
                                                        Revenue Code (Code) or as the result of a     regulations, as contained in the 26 CFR
   The adjusted applicable federal short-term, mid-
                                                        section 953(d) election.                      part 1 edition revised as of April 1, 2007,
term, and long-term rates are set forth for the month
of September 2007. See Rev. Rul. 2007-57, page
                                                                                                      remain in effect for certain taxable years
531.                                                    DATES: Effective Date: These regulations      as provided by §1.1502–77(h)(3)(ii) of
                                                        are effective July 23, 2007.                  these final regulations.
                                                           Applicability Date: For dates of appli-        These final regulations clarify the term
Section 1502.—Regulations                               cability, see §1.1502–77(h)(3).               of the domestic substitute agent’s agency
26 CFR 1.1502–77: Agent for the group.                                                                by specifying that once appointed for one
                                                        FOR    FURTHER           INFORMATION          or more taxable years of the group, un-
T.D. 9343                                               CONTACT: Stephen R. Cleary, (202)             less the designation is expressly limited to
                                                        622–7750, (not a toll-free number).           such term, the domestic substitute agent
DEPARTMENT OF                                                                                         will continue to be the agent for subse-
                                                        SUPPLEMENTARY INFORMATION:                    quent taxable years of the group until cer-
THE TREASURY
                                                                                                      tain specified events occur. These final
Internal Revenue Service                                Background                                    regulations also specify that, if the domes-
26 CFR Part 1                                                                                         tic substitute agent is the group’s agent for
                                                           On March 14, 2006, the IRS and Trea-
                                                                                                      a taxable year, it will generally continue to
Agent for a Consolidated                                sury Department published temporary reg-
                                                                                                      serve as the agent for that year until the
Group With Foreign Common                               ulations (T.D. 9255, 2006–1 C.B. 741) in
                                                                                                      domestic substitute agent’s existence ter-
                                                        the Federal Register (71 FR 13001) pro-
Parent                                                  viding the IRS the authority to designate a
                                                                                                      minates. Finally, these final regulations
                                                                                                      clarify that if a group with a domestic sub-
AGENCY: Internal Revenue Service                        domestic member of a consolidated group
                                                                                                      stitute agent continues in existence with a
(IRS), Treasury.                                        to be the sole agent for the group where
                                                                                                      new common parent that is a domestic cor-
                                                        the common parent of the group is a for-
                                                                                                      poration (without regard to section 7874 or
ACTION: Final regulations and removal                   eign entity. A notice of proposed rule-
                                                                                                      a section 953(d) election) during a consol-
of temporary regulations.                               making (REG–164247–05, 2006–1 C.B.
                                                                                                      idated return year, the domestic substitute
                                                        758) cross-referencing the temporary reg-
SUMMARY: This document contains final                                                                 agent is the agent of the group for the year
                                                        ulations was published in the Federal Reg-
regulations under section 1502 that pro-                                                              through the date of the transaction in which
                                                        ister for the same day (71 FR 13062). The
vide the Internal Revenue Service with the                                                            the new common parent becomes the com-
                                                        temporary regulations provide procedures
authority to designate a domestic member                                                              mon parent, and thereafter the new com-
                                                        for the IRS’s designation of a “domestic
of the consolidated group as a substitute                                                             mon parent becomes the agent of the group
                                                        substitute agent” and define the term of
agent to act as the sole agent for the group                                                          for the entire taxable year.
                                                        that substitute agent’s agency.
where a foreign entity is the group’s com-                                                                Additionally, these regulations indicate
mon parent. The final regulations are nec-              Explanation of Provisions and                 that §1.1502–77(e)(1) is also applicable
essary to clarify and explain the rules gov-            Summary of Comments                           for purposes of determining whether a do-
erning the designation of an agent for the                                                            mestic substitute agent’s existence has ter-
members of a consolidated group. The                       No comments were received respond-         minated.
regulations affect corporations that join in            ing to the notice of proposed rulemaking,


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Special Analyses                                 §1.1502–77 Agent for the group.                 agent for the group. For each such year,
                                                                                                 the domestic substitute agent will be the
    It has been determined that this Trea-       *****                                           sole agent for the group even though the
sury decision is not a significant regula-           (e) Termination of a corporation’s ex-      foreign common parent remains in exis-
tory action as defined in Executive Or-          istence—(1) In general. For purposes of         tence. The foreign common parent ceases
der 12866. Therefore, a regulatory assess-       paragraphs (a)(1)(v), (a)(4)(i), (d), and (j)   to be the agent for the group when the
ment is not required. Pursuant to 5 U.S.C.       of this section, the existence of a corpora-    Commissioner’s designation of a domes-
553(d)(3) it has been determined that a de-      tion is deemed to terminate if—                 tic substitute agent becomes effective. The
layed effective date is unnecessary because          (i) Its existence terminates under appli-   Commissioner may designate a domestic
this rule finalizes currently effective tem-     cable law; or                                   substitute agent for the term of a single
porary rules regarding the designation of a          (ii) Except as provided in paragraph        taxable year, multiple years, or on a con-
domestic substitute agent without substan-       (e)(3) of this section, it becomes, for Fed-    tinuing basis.
tive change. It is hereby certified that these   eral tax purposes, either—                          (2) Domestic substitute agent. The do-
regulations will not have a significant eco-         (A) an entity that is disregarded as an     mestic substitute agent, by designation or
nomic impact on a substantial number of          entity separate from its owner; or              by succession, shall be a domestic corpo-
small entities. This certification is based          (B) an entity that is reclassified as a     ration described in paragraph (d)(1)(i)(A)
on the fact that these regulations will pri-     partnership. * * *                              of this section (determined without regard
marily affect affiliated groups of corpora-                                                      to section 7874, a section 953(d) election
                                                 *****
tions that have elected to file consolidated                                                     or section 1504(d)).
                                                    (h) * * *
returns, which tend to be larger businesses.                                                         (3) Designation by the Commissioner.
                                                    (3) Designation of a domestic substi-
Therefore, a regulatory flexibility analysis                                                     The Commissioner will notify the domes-
                                                 tute agent—(i) In general. The provisions
is not required. Pursuant to section 7805(f)                                                     tic substitute agent in writing by mail or
                                                 of paragraphs (e)(1) and (j) of this section
of the Internal Revenue Code, the notice                                                         faxed transmission of the designation. The
                                                 apply to taxable years for which the con-
of proposed rulemaking preceding these fi-                                                       domestic substitute agent’s designation is
                                                 solidated Federal income tax return is due
nal regulations was submitted to the Chief                                                       effective on the earliest of the 14th day
                                                 (without extensions) after July 23, 2007.
Counsel for Advocacy of the Small Busi-                                                          following the date of a mailing, the 4th
                                                    (ii) Prior law. For taxable years for
ness Administration for comment on its                                                           day following a faxed transmission, or the
                                                 which the consolidated Federal income tax
impact on small business.                                                                        date the Commissioner receives written
                                                 return is due (without extensions) on or be-
                                                                                                 confirmation of the designation by a duly
Drafting Information                             fore July 23, 2007, see §1.1502–77(e)(1)
                                                                                                 authorized officer of the domestic substi-
                                                 as contained in the 26 CFR part 1 edition
                                                                                                 tute agent (within the meaning of section
   The principal author of these regula-         revised as of April 1, 2007. For taxable
                                                                                                 6062). The domestic substitute agent must
tions is Stephen R. Cleary of the Office         years for which the consolidated Federal
                                                                                                 give notice of its designation to the foreign
of Associate Chief Counsel (Corporate).          income tax return is due (without exten-
                                                                                                 common parent and each corporation that
Other personnel from the Treasury Depart-        sions) after March 14, 2006, and on or be-
                                                                                                 was a member of the group during any part
ment and the IRS participated in their de-       fore July 23, 2007, see §1.1502–77T as
                                                                                                 of any consolidated return year for which
velopment.                                       contained in the 26 CFR part 1 edition re-
                                                                                                 the domestic substitute agent will be the
                                                 vised as of April 1, 2007.
                   *****                                                                         agent. A failure of the domestic substitute
                                                 *****                                           agent to notify the foreign common parent
Adoption of Amendments to the                       (j) Designation by Commissioner if           or any member of the group does not inval-
Regulations                                      common parent is treated as a domestic          idate the designation. The Commissioner
                                                 corporation under section 7874 or section       will send a copy of the notification to the
   Accordingly, 26 CFR part 1 is amended         953(d)—(1) In general. If the common            foreign common parent, and if applicable,
as follows:                                      parent is an entity created or organized        to any domestic substitute agent the des-
                                                 under the law of a foreign country and          ignation replaces; a failure to send a copy
PART 1—INCOME TAXES                              is treated as a domestic corporation by         of the notification does not invalidate the
                                                 reason of section 7874 (or regulations          designation.
   Paragraph 1. The authority citation for       under that section) or a section 953(d)             (4) Term of agency—(i) Taxable years
part 1 is amended by removing the entry          election (a foreign common parent), the         for which domestic substitute agent is the
for §1.1502–77T to read as follows:              Commissioner may at any time, with or           agent. If the Commissioner designates a
   Authority: 26 U.S.C. 7805 * * *               without a request from any member of the        domestic substitute agent for one or more
   Par. 2. Section 1.1502–77 is amended          group, designate another member of the          taxable years, unless the designation is ex-
by:                                              group to act as the agent for the group (a      pressly limited to such term, such domes-
   1. Revising paragraph (e)(1).                 domestic substitute agent) for any taxable      tic substitute agent will continue as the
   2. Adding paragraph (h)(3).                   year for which the consolidated Federal         group’s sole agent for subsequent taxable
   3. Revising paragraph (j).                    income tax return is due (without exten-        years until the domestic substitute agent
   The additions and revisions read as fol-      sions) after July 23, 2007, and the foreign     ceases to be a member of the continu-
lows:                                            common parent would otherwise be the            ing group, is replaced by a new domes-


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tic common parent (as provided in para-          parent. If after the Commissioner’s des-        extensions) after July 23, 2007. Such re-
graph (j)(4)(iv)(A) of this section), is re-     ignation of a domestic substitute agent the     quest is deemed to be a request under para-
placed by the Commissioner, or is replaced       group remains in existence with a new           graph (d)(3)(i) of this section. Members of
by a default substitute agent (as provided       common parent, and such new common              the group shall use the procedures in sec-
in paragraph (j)(5)(ii) of this section). If     parent is a domestic corporation (deter-        tion 10 of Rev. Proc. 2002–43, 2002–2
during the course of a consolidated return       mined without regard to section 7874 or         C.B. 99, or a corresponding provision of a
year the domestic substitute agent ceases        a section 953(d) election), the Commis-         successor revenue procedure for this pur-
to be a member of the continuing group or        sioner may designate the new common             pose. (See §601.601(d)(2)(ii)(b) of this
is replaced, it shall no longer act as agent     parent as the sole agent for the group for      chapter.)
for such taxable year or subsequent taxable      any of the group’s prior taxable years (for         (ii) Request that IRS replace a previ-
years in any matter.                             which the consolidated Federal income           ously designated substitute agent. If the
    (ii) Continuing agency for prior tax-        tax return is due (without extensions) after    IRS designates a domestic substitute agent
able years. Unless replaced by a default         July 23, 2007) in which the new common          pursuant to this paragraph (j), one or more
substitute agent (as provided in paragraph       parent was a member of the group. For           members of the group may request that the
(j)(5)(ii) of this section) or by the Commis-    this purpose, the new common parent is          IRS replace the designated domestic sub-
sioner, the domestic substitute agent at the     treated as having been a member of the          stitute agent with another member (or suc-
end of a taxable year of the group will re-      group for any taxable year it is primarily      cessor to another member). Such a request
main the agent for such year until its ex-       liable for the group’s income tax liability.    is deemed to be a request pursuant to para-
istence terminates, even if the group sub-           (v) Replacement of domestic substitute      graph (d)(3)(ii) of this section. Members
sequently ceases to exist or the domestic        agent by the Commissioner. The Com-             of the group shall use the procedures in
substitute agent subsequently ceases to be       missioner may at any time, with or with-        section 11 of Rev. Proc. 2002–43, 2002–2
a member of the group.                           out a request from any member of the            C.B. 99, or a corresponding provision of a
    (iii) Replacement of a §1.1502–              group, designate a replacement for a do-        successor revenue procedure for this pur-
77(d)(1) agent. If, pursuant to paragraph        mestic substitute agent (or a successor to      pose. (See §601.601(d)(2)(ii)(b) of this
(d)(1) of this section, the common parent        such agent).                                    chapter.)
of the group designates a foreign common             (5) Deemed §1.1502–77(d) designa-
parent as the agent for the group for any        tion—(i) In general. If the Commissioner        §1.1502–77T [Removed]
taxable year, the Commissioner may, at           designates a domestic substitute agent un-
any time, designate a domestic substitute        der this paragraph (j), it will be treated as       Par. 3. Section 1.1502–77T is removed.
agent to replace the foreign common par-         a designation of a substitute agent under                                     Kevin M. Brown,
ent, even if the Commissioner approved           paragraph (d) of this section.                                        Deputy Commissioner for
the terminating common parent’s designa-             (ii) Default substitute agent. If the do-                         Services and Enforcement.
tion.                                            mestic substitute agent’s existence termi-
    (iv) Group continues with a new com-         nates and it has a single successor that is     Approved July 16, 2007.
mon parent—(A) Year the new common               a domestic corporation (without regard to
parent becomes the common parent. If             section 269B) that is eligible to be a do-                                       Eric Solomon,
the group has a domestic substitute agent        mestic substitute agent, such successor be-                               Assistant Secretary of
and the group continues in existence with a      comes the domestic substitute agent and is                             the Treasury (Tax Policy).
new common parent during a consolidated          treated as a default substitute agent under
                                                                                                 (Filed by the Office of the Federal Register on July 20, 2007,
return year, and such new common par-            paragraph (d)(2) of this section. See para-     8:45 a.m., and published in the issue of the Federal Register
ent is a domestic corporation (determined        graph (d)(4) of this section regarding the      for July 23, 2007, 72 F.R. 40066)

without regard to section 7874 or a sec-         consequences of the successor’s failure to
tion 953(d) election), the domestic substi-      notify the Commissioner of its status as a
tute agent at the beginning of the year is the   default substitute agent. The default sub-      Section 7425.—Discharge
agent for the group through the date of the      stitute agent shall use procedures in sec-      of Liens
transaction in which the new common par-         tion 9 of Rev. Proc. 2002–43, 2002–2 C.B.       26 CFR 301.7425–3: Discharge of liens; special
ent becomes the common parent, and the           99, or a corresponding provision of a suc-      rules.
new common parent becomes the agent for          cessor revenue procedure for notification.
the group beginning the day after the trans-     (See §601.601(d)(2)(ii)(b) of this chapter.)    T.D. 9344
action, at which time it becomes the agent           (6) Request that IRS designate a domes-
for the group with respect to the entire con-    tic substitute agent—(i) Original designa-      DEPARTMENT OF
solidated return year (including the period      tion. If the common parent of the group is      THE TREASURY
through the date of the transaction) and the     a foreign common parent, and the IRS has
former domestic substitute agent will no         not designated a domestic substitute agent,     Internal Revenue Service
longer be the agent for the group for that       one or more members of the group may re-        26 CFR Part 301
year.                                            quest the IRS to make a designation for
    (B) Years preceding the year the new         taxable years for which the consolidated        Change to Office to Which
common parent becomes the common                 Federal income tax return is due (without       Notices of Nonjudicial Sale

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and Requests for Return of                       For notices of nonjudicial foreclosure        procedures offices referenced in the regu-
Wrongfully Levied Property                    sale under Section 7425(b) and requests          lations no longer exist. Notices of sale, if
Must Be Sent                                  for return of property wrongfully levied         addressed to an office other than that stated
                                              upon under Section 6343(b), the existing         in the regulation, may be misdirected. As a
AGENCY: Internal Revenue Service              regulations direct the notices and requests      result, the IRS office responsible for eval-
(IRS), Treasury.                              to be sent to the “district director (marked     uating notices of nonjudicial sale may not
                                              for the attention of the Chief, Special Pro-     receive notice of the sale and the IRS may
ACTION: Final and temporary regula-           cedures Staff).” The offices of the district     not have the opportunity to timely redeem.
tions.                                        director and Special Procedures were elim-       In Glasgow Realty, LLC v. Withington, 345
                                              inated by the IRS reorganization imple-          F.Supp. 2d 1025 (E.D. Mo. 2004), the
SUMMARY: This document contains fi-           mented pursuant to the IRS Restructur-           court held that the federal tax lien was dis-
nal and temporary regulations relating        ing and Reform Act of 1998, Public Law           charged by a nonjudicial sale under sec-
to the discharge of liens under section       105–206 (RRA 1998), creating uncertainty         tion 7425(b) where the notice of sale was
7425 and return of wrongfully levied          as to the timeliness of notices and requests     addressed to a local IRS taxpayer assis-
upon property under section 6343 of the       under these provisions.                          tance center rather than the district direc-
Internal Revenue Code (Code) of 1986.                                                          tor’s office. Glasgow Realty demonstrates
These temporary regulations clarify that      Explanation of Provisions                        the confusion that resulted from attempts
such notices and claims should be sent                                                         to comply with the current regulation in
to the IRS official and office specified          Section 7425(b) provides for the dis-        light of the IRS reorganization. An amend-
in the relevant IRS publications. The         charge of a junior federal tax lien by a non-    ment is necessary to both assist the public
temporary regulations will affect parties     judicial sale, if proper notice is provided      so as to prevent further confusion on where
seeking to provide the IRS with notice of     to the IRS. Treas. Reg. §301.7425–2(a).          to send notices of nonjudicial foreclosure
a nonjudicial foreclosure sale and parties    Notice of a nonjudicial sale is required         sales, and to prevent the possible loss of
making administrative requests for return     if notice of the federal tax lien has been       proceeds that the IRS could acquire from
of wrongfully levied property. The text       properly filed more than 30 days before          redemptions if the proper office has timely
of the temporary regulations also serves      the nonjudicial sale. Section 7425(b)(1).        notice of the sale.
as the text of the proposed regulation        A party holding a nonjudicial sale must              Similar problems arise with respect to
(REG–148951–05) set forth in the notice       provide written notification to the IRS          requests for return of wrongfully levied
of proposed rulemaking on this subject in     at least 25 days prior to the scheduled          property under section 6343(b). Requests
this issue of the Bulletin.                   sale of the property or the federal tax lien     for the return of the amount of money
                                              remains on the property after the sale.          levied upon or received from the sale of
DATES: Effective/applicability Date:          Section 7425(c)(1). When the notice is           property must be filed within nine months
These regulations are effective August 20,    properly sent, and the federal tax lien dis-     from the date of the levy. Treas. Reg.
2007.                                         charged, the IRS may redeem the property         §301.6343–2(a)(2). The nine month pe-
                                              within 120 days from the date of sale or         riod for filing a wrongful levy suit is ex-
FOR    FURTHER           INFORMATION
                                              any longer period allowed under state            tended by the filing of a timely adminis-
CONTACT: Robin M. Ferguson, (202)
                                              law. Section 7425(d). If the notice is           trative claim. Section 6532(c).
622–3630 (not a toll-free call).
                                              not properly sent, the nonjudicial sale is           As is the case with notices of nonjudi-
SUPPLEMENTARY INFORMATION:                    made subject to and without disturbing the       cial sale, the regulations specify that the re-
                                              federal tax lien. Section 7425(b); Treas.        quest for return of wrongfully levied prop-
Background                                    Reg. §301.7425–2(a); Tompkins v. United          erty be addressed to the district director
                                              States, 946 F.2d 817, 820 (11th Cir. 1991);      (marked for the attention of the Chief, Spe-
    This document contains amendments to      Simon v. United States, 756 F.2d 696,            cial Procedures Staff) for the Internal Rev-
the Procedure and Administration Regu-        697–98 (9th Cir. 1985).                          enue district in which the levy is made.
lations (26 CFR part 301) relating to the         Treas. Reg. §301.7425–3(a)(1) spec-          Treas. Reg. §301.6343–2(b). The elimi-
giving of notice of nonjudicial sales under   ifies that notice “shall be given, in writ-      nation of these offices by the IRS reorga-
section 7425(b) of the Code. Final regula-    ing by registered or certified mail or by        nization can similarly result in misdirected
tions (T.D. 7430, 1976–2 C.B. 314) were       personal service … to the district director      requests. An amendment is necessary to
published on August 20, 1976, in the Fed-     (marked for the attention of the chief, spe-     assist the public in filing timely requests
eral Register (41 FR 35174). This docu-       cial procedures staff) for the Internal Rev-     with the proper office.
ment also contains amendments to the Pro-     enue district in which the sale is to be con-        In order to account for the IRS’s cur-
cedure and Administration Regulations re-     ducted.” The regulation further provides         rent organizational structure and to allow
lating to requests for return of wrongfully   that such notice of sale is not effective if     for future reorganizations of the IRS, the
levied property under section 6343(b) of      given to a district director other than the      temporary regulations remove the title
the Code. Final regulations (T.D. 8587,       district director for the Internal Revenue       “district director” throughout Treas. Reg.
1995–1 C.B. 207) were published on Jan-       district in which the sale is to be conducted.   §§301.7425–3 and 301.6343–2. The title
uary 3, 1995, in the Federal Register (60         In light of the IRS reorganization subse-    is not replaced with any specific official
FR 33).                                       quent to RRA 1998, the district and special      or office. Instead, the public is directed


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to refer to the current relevant IRS pub-        Drafting Information                              (a)(1)(i) through (a)(4) [Reserved]. For
lications or their successor publications                                                      further guidance, see §301.6343–2(a)(1)(i)
for where to send notices or claims. The            The principal author of these regula-      through (a)(4).
temporary regulations provide the web            tions is Robin M. Ferguson, Office of As-         (b) Request for return of property. A
address for the IRS Internet site which          sociate Chief Counsel, Procedure and Ad-      written request for the return of property
may be used to obtain copies of IRS pub-         ministration Division.                        wrongfully levied upon must be given to
lications. The current publications for                           *****                        the IRS official, office and address spec-
nonjudicial foreclosure sales are IRS Pub-                                                     ified in IRS Publication 4528, “Making
lication 786, “Instructions for Preparing        Amendments to the Regulations                 an Administrative Wrongful Levy Claim
a Notice of Nonjudicial Sale of Property                                                       Under Internal Revenue Code (IRC) Sec-
and Application for Consent to Sale,”              Accordingly, 26 CFR part 301 is             tion 6343(b),” or its successor publication.
and IRS Publication 4235, “Technical             amended as follows:                           The relevant IRS publications may be
Services (Advisory) Group Addresses.”                                                          downloaded from the IRS internet site
According to Publication 786, the appli-         PART 301—PROCEDURE AND                        at www.irs.gov. Under this section, a re-
cation or notice should be addressed to          ADMINISTRATION                                quest for the return of property wrongfully
the Technical Services Group Manager                                                           levied upon is not effective if it is given to
for the area in which the notice of fed-            Paragraph 1. The authority citation for    an office other than the office listed in the
eral tax lien was filed. Publication 786         part 301 continues to read in part as fol-    relevant publication. The written request
then instructs the reader to use Publication     lows:                                         must contain the following information—
4235 to determine where to mail the re-             Authority: 26 U.S.C. 7805 * * *                (b)(1) through (d)(2) [Reserved]. For
quest. Publication 4235 lists the addresses         Par. 2. Section 301.6343–2 is amended      further guidance, see §301.6343–2(b)(1)
for the Technical Services offices. The          as follows:                                   through (d)(2).
current publication for requests for re-            1. Paragraphs (a)(1) introductory text         (e) Effective/applicability date. This
turn of wrongfully levied property is IRS        and (b) introductory text are revised.        section applies to any request for return of
Publication 4528, “Making an Administra-            2. Paragraphs (a)(4), (c), (d)(1), and     wrongfully levied property that is filed af-
tive Wrongful Levy Claim Under Internal          (d)(2) are amended by removing the lan-       ter August 20, 2007.
Revenue Code (IRC) Section 6343(b).”             guage “director” and adding the language          Par. 4. Section 301.7425–3 is amended
According to Publication 4528, the claim         “IRS” in its place wherever it appears.       as follows:
should be marked for the attention of the           3. Paragraph (b)(4), is amended by             1. Paragraphs (a)(1), (b)(1), (b)(2),
Advisory Territory Manager for the area          removing the language “Internal Revenue       (c)(1), (d)(2), (d)(3), and (d)(4) are re-
where the taxpayer whose tax liability was       district” and adding the language “IRS of-    vised.
the basis for the levy or seizure resides.       fice” in its place.                               2. Paragraphs (a)(2)(i), (a)(2)(ii)(C),
Publication 4528 then instructs the reader          4. Paragraph (e) is revised.               and (a)(2)(iii) Examples 1, 2, and 3 are
to use Publication 4235 to locate the mail-         The revisions and addition read as fol-    amended by removing the language “dis-
ing address for the appropriate Advisory         lows:                                         trict director” and adding the language
Territory Manager.                                                                             “IRS” in its place wherever it appears.
                                                 §301.6343–2 Return of wrongfully levied
                                                                                                   3. Paragraph (d)(1)(ii)(A) is amended
Effective Date                                   upon property.
                                                                                               by removing the language “internal rev-
                                                    (a) * * * (1) [Reserved]. For further      enue district” and adding the language
   These temporary regulations apply to
                                                 guidance, see §301.6343–2T(a) introduc-       “IRS office” in its place.
any notice of sale filed or request for return
                                                 tory text.                                        4. Paragraph (e) is added.
of property made after August 20, 2007.
                                                                                                   The revisions and addition read as fol-
                                                 *****                                         lows:
Special Analyses
                                                    (b) [Reserved]. For further guidance,
   It has been determined that this Trea-        see §301.6343–2T(b) introductory text.        §301.7425–3 Discharge of liens; special
sury decision is not a significant regula-                                                     rules.
                                                 *****
tory action as defined in Executive Or-             (e) [Reserved]. For further guidance,
der 12866. Therefore, a regulatory assess-                                                        (a) * * * (1) [Reserved]. For further
                                                 see §301.6343–2T(e).
ment is not required. For applicability of                                                     guidance, see §301.7425–3T(a)(1).
                                                    Par. 3. Section 301.6343–2T is added
the Regulatory Flexibility Act, please re-       to read as follows:                           *****
fer to the cross-reference notice of pro-                                                         (b) * * * (1) [Reserved]. For further
posed rulemaking published elsewhere in          §301.6343–2T Return of wrongfully levied      guidance, see §301.7425–3T(b)(1).
this Bulletin. Pursuant to section 7805(f)       upon property.
of the Internal Revenue Code, these reg-                                                       *****
ulations have been submitted to the Chief           (a) Return of property— (1) General           (2) [Reserved]. For further guidance,
Counsel for Advocacy of the Small Busi-          rule. If the Internal Revenue Service (IRS)   see §301.7425–3T(b)(2).
ness Administration for comment on its           determines that property has been wrong-         (c) * * * (1) [Reserved]. For further
impact on small business.                        fully levied upon, the IRS may return—        guidance, see §301.7425–3T(c)(1).


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*****                                            if given in writing and shall be subject          property sold. If the seller fails to hold the
   (d) * * *                                     to such limitations and conditions as the         proceeds of the sale in accordance with the
   (2) [Reserved]. For further guidance,         IRS may require. However, the IRS may             provisions of this paragraph and if the IRS
see §301.7425–3T(d)(2).                          not consent to a sale of property under this      asserts a claim to the proceeds within 30
   (3) [Reserved]. For further guidance,         section after the date of sale, as determined     days after the date of sale, the seller shall
see §301.7425–3T(d)(3).                          under §301.7425–2(b). For provisions re-          be personally liable to the United States for
   (4) [Reserved]. For further guidance,         lating to the authority of the IRS to release     an amount equal to the value of the inter-
see §301.7425–3T(d)(4).                          a lien or discharge property subject to a         est of the United States in the fund. How-
   (e) [Reserved]. For further guidance,         tax lien, see section 6325 and the section        ever, even if the proceeds of the sale are
see §301.7425–3T(e).                             6325 regulations.                                 not so held by the seller, but all the other
   Par. 5. Section 301.7425–3T is added              (2) Application for consent. Any per-         provisions of this paragraph are satisfied,
to read as follows:                              son desiring the IRS’s consent to sell prop-      the buyer of the property at the sale takes
                                                 erty free of a tax lien or a title derived from   the property free of the liens and claims of
§301.7425–3T Discharge of liens; special         the enforcement of a tax lien of the United       the United States. In the event of a post-
rules.                                           States in the property shall submit to the        ponement of the scheduled sale of perish-
                                                 IRS, at the office and address specified in       able goods, the seller is not required to no-
    (a) Notice of sale requirements—(1) In       the relevant IRS publications, a written ap-      tify the IRS of the postponement. For pro-
general. Except in the case of the sale          plication, in triplicate, declaring that it is    visions relating to the authority of the IRS
of perishable goods described in paragraph       made under penalties of perjury, and re-          to release a lien or discharge property sub-
(c) of this section, a notice (as described in   questing that such consent be given. The          ject to a tax lien, see section 6325 and the
paragraph (d) of this section) of a nonjudi-     application shall contain the information         regulations.
cial sale shall be given, in writing by reg-     required in the case of a notice of sale, as          (c)(2) through (d)(1) [Reserved]. For
istered or certified mail or by personal ser-    set forth in paragraph (d)(1) of this section,    further guidance, see §301.7425–3(c)(2)
vice, not less than 25 days prior to the date    and, in addition, shall contain a statement       through (d)(1).
of sale (determined under the provisions of      of the reasons why the consent is desired.            (d)(2) Inadequate notice. Except as
§301.7425–2(b)), to the Internal Revenue             (c) Sale of perishable good–(1) In gen-       otherwise provided in this paragraph, a no-
Service (IRS) official, office and address       eral. A notice (as described in paragraph         tice of sale described in paragraph (a) of
specified in IRS Publication 786, “Instruc-      (d) of this section) of a nonjudicial sale of     this section which does not contain the in-
tions for Preparing a Notice of Nonjudi-         perishable goods (as defined in paragraph         formation described in paragraph (d)(1) of
cial Sale of Property and Application for        (c)(2) of this section) shall be given in writ-   this section shall be considered inadequate
Consent to Sale,” or its successor publica-      ing, by registered or certified mail or deliv-    by the IRS. If the IRS determines that the
tion. The relevant IRS publications may          ered by personal service, at any time be-         notice is inadequate, the IRS will give writ-
be downloaded from the IRS internet site         fore the sale, to the IRS official and of-        ten notification of the items of informa-
at www.irs.gov. Under this section, a no-        fice specified in the relevant IRS publica-       tion which are inadequate to the person
tice of sale is not effective if it is given     tions, at the address specified in such pub-      who submitted the notice. A notice of sale
to an office other than the office listed in     lications. Under this section, a notice of        which does not contain the name and ad-
the relevant publication. The provisions of      sale is not effective if it is given to an of-    dress of the person submitting such notice
sections 7502 (relating to timely mailing        fice other than the office listed in the rele-    shall be considered to be inadequate for all
treated as timely filing) and 7503 (relating     vant publication. If a notice of a nonjudi-       purposes without notification of any spe-
to time for performance of acts where the        cial sale is timely given in the manner de-       cific inadequacy. In any case where a no-
last day falls on Saturday, Sunday, or a le-     scribed in this paragraph, the nonjudicial        tice of sale does not contain the informa-
gal holiday) apply in the case of notices re-    sale shall discharge or divest the tax lien,      tion required under paragraph (d)(1)(ii) of
quired to be made under this paragraph.          or a title derived from the enforcement of        this section with respect to a Notice of Fed-
    (a)(2) [Reserved]. For further guid-         a tax lien, of the United States in the prop-     eral Tax Lien, the IRS may give written no-
ance, see §301.7425–3(a)(2).                     erty. The provisions of sections 7502 (re-        tification of such omission without speci-
    (b) Consent to sale—(1) In general.          lating to timely mailing treated as timely        fication of any other inadequacy and such
Notwithstanding the notice of sale pro-          filing) and 7503 (relating to time for per-       notice of sale shall be considered inade-
visions of paragraph (a) of this section, a      formance of acts where the last day falls on      quate for all purposes. In the event the IRS
nonjudicial sale of property shall discharge     Saturday, Sunday, or a legal holiday) apply       gives notification that the notice of sale is
or divest the property of the lien and title     in the case of notices required to be made        inadequate, a notice complying with the
of the United States if the IRS consents         under this paragraph. The seller of the per-      provisions of this section (including the re-
to the sale of the property free of the lien     ishable goods shall hold the proceeds (ex-        quirement that the notice be given not less
or title. Pursuant to section 7425(c)(2),        clusive of costs) of the sale as a fund, for      than 25 days prior to the sale in the case of
where adequate protection is afforded the        not less than 30 days after the date of the       a notice described in paragraph (a) of this
lien or title of the United States, the IRS      sale, subject to the liens and claims of the      section) must be given. However, in ac-
may, in its discretion, consent with re-         United States, in the same manner and with        cordance with the provisions of paragraph
spect to the sale of property in appropriate     the same priority as the liens and claims of      (b)(1) of this section, in such a case the
cases. Such consent shall be effective only      the United States had with respect to the         IRS may, in its discretion, consent to the


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sale of the property free of the lien or ti-    clearly describes the property sold or to                        Section 7520.—Valuation
tle of the United States even though notice     be sold, identifies the applicable notice of                     Tables
of the sale is given less than 25 days prior    lien, gives the reasons for requesting the
                                                                                                                    The adjusted applicable federal short-term, mid-
to the sale. In any case where the person       information, and states the name and ad-
                                                                                                                 term, and long-term rates are set forth for the month
who submitted a timely notice which in-         dress of the person making the request.                          of September 2007. See Rev. Rul. 2007-57, page
dicates his name and address does not re-       The request should be submitted to the                           531.
ceive, more than 5 days prior to the date of    IRS official, office and address specified
sale, written notification from the IRS that    in IRS Publication 4235, “Technical Ser-
the notice is inadequate, the notice shall be   vices (Advisory) Group Addresses,” or its                        Section 7872.—Treatment
considered adequate for purposes of this        successor publication. The relevant IRS                          of Loans With Below-Market
section.                                        publications may be downloaded from the                          Interest Rates
    (3) Acknowledgment of notice. If a no-      IRS internet site at www.irs.gov.                                   The adjusted applicable federal short-term, mid-
tice of sale described in paragraph (a) or          (e) Effective/applicability date. This                       term, and long-term rates are set forth for the month
(c) of this section is submitted in duplicate   section applies to any notice of sale that is                    of September 2007. See Rev. Rul. 2007-57, page
to the IRS with a written request that re-      filed after August 20, 2007.                                     531.
ceipt of the notice be acknowledged and
returned to the person giving the notice,                                     Kevin M. Brown,
                                                                      Deputy Commissioner for
                                                                                                                 Section 7874.—Rules
this request will be honored by the IRS.                                                                         Relating to Expatriated
The acknowledgment by the IRS will in-                                Services and Enforcement.
                                                                                                                 Entities and Their Foreign
dicate the date and time of the receipt of
the notice.
                                                Approved July 11, 2007.                                          Parents
    (4) Disclosure of adequacy of notice.                                        Eric Solomon,                      Final regulations under section 1502 of the Code
The IRS is authorized to disclose, to any                                 Assistant Secretary of                 allow the Internal Revenue Service to appoint a do-
person who has a proper interest, whether                                                                        mestic substitute agent for a consolidated group when
                                                                       the Treasury (Tax Policy).
an adequate notice of sale was given under                                                                       the group’s parent is a foreign corporation that is
                                                (Filed by the Office of the Federal Register on July 19, 2007,   treated as a domestic corporation under section 7874
paragraph (d)(1) of this section. Any per-      8:45 a.m., and published in the issue of the Federal Register    of the Code. See T.D. 9343, page 533.
son desiring this information should sub-       for July 20, 2007, 72 F.R. 39737)
mit to the IRS a written request which




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Part II. Treaties and Tax Legislation
Subpart A.—Tax Conventions and Other Related Items
U.S.-Netherlands:                                                 Paragraph 1 of Article 35 of the Treaty                   ficial owners of dividends and interest de-
Qualification of Certain                                      provides that dividends or interest derived                   rived from the Netherlands and are consid-
Pension and Other Employee                                    by a trust, company, or other organiza-                       ered to qualify for benefits under Article
                                                              tion constituted and operated exclusively                     35 of the Treaty:
Benefit Arrangements                                          to administer or provide benefits under
                                                              one or more funds or plans established to                     1.    a U.S. resident tax-exempt trust pro-
Announcement 2007–75                                          provide pension, retirement, or other em-                           viding pension or retirement benefits
                                                              ployee benefits shall be exempt from tax                            under a Code section 401(a) qualified
   The following is a copy of the Com-
                                                              in one Contracting State if it is a resident                        pension plan, profit sharing plan or
petent Authority Agreement (“CAA”) en-
                                                              of the other Contracting State according to                         stock bonus plan (including Code sec-
tered into by the Competent Authorities of
                                                              the laws of that other State and its income                         tion 401(k) arrangements);
the United States and the Netherlands with
respect to the qualification of certain tax-                  is generally exempt from tax in that other
                                                              State. Paragraph 2 provides that the provi-                   2.    a U.S. resident tax-exempt trust de-
exempt trusts, companies, or other organi-                                                                                        scribed in Code section 457(g) provid-
zations for benefits under Article 35 of the                  sions of paragraph 1 do not apply with re-
                                                              spect to the income of a trust, company, or                         ing pension or retirement benefits un-
U.S.-Netherlands income tax treaty. The                                                                                           der a Code section 457(b) plan;
CAA also provides guidelines for claim-                       other organization from carrying on a trade
ing treaty benefits in each country and the                   or business or from a related person other
                                                                                                                            3.    a U.S. resident tax-exempt trust pro-
methods each country will use to grant                        than a person referred to in paragraph 1.
                                                                                                                                  viding pension or retirement benefits
treaty benefits.                                                  Questions have been raised regarding
                                                                                                                                  under a Code section 403(b) plan;
   The text of the CAA is as follows:                         the types of trusts, companies, or other or-
                                                              ganizations that qualify for benefits under                   4.    a U.S. resident tax-exempt trust that
COMPETENT AUTHORITY                                           Article 35 of the Treaty. In practice, there                        is an individual retirement account
AGREEMENT                                                     are many different types of funds or plans                          (Code section 408), a Roth individ-
                                                              established to provide pension, retirement,                         ual retirement account (Code section
    The Competent Authorities of the                          or other employee benefits and it is not al-                        408A), or a simple retirement ac-
Netherlands and the United States hereby                      ways clear which of these funds or plans                            count, or a U.S. resident tax-exempt
amend and restate the agreement that                          fulfill the requirements of Article 35. In                          trust that is providing pension or re-
they entered into on March 23, 20001,                         view of this uncertainty, the competent au-                         tirement benefits under a simplified
with respect to the qualification of certain                  thorities of the Netherlands and the United                         employee pension plan;
tax-exempt trusts, companies, or other                        States agree that the types of trusts, com-
organizations for benefits under Article 35                   panies, or other organizations mentioned                      5.    a group trust described in IRS Rev-
of the Convention between the Kingdom                         in chapters II and IV of this agreement are                         enue Ruling 81–100 and meeting the
of the Netherlands and the United States of                   considered to fall within the scope of Arti-                        conditions of IRS Revenue Ruling
America for the avoidance of double tax-                      cle 35.                                                             2004–67;
ation and the prevention of fiscal evasion                        It is understood that for the purpose of
with respect to taxes on income, signed                       this agreement the term “Code section”                        6.    a U.S. resident common trust fund
on December 18, 1992, and amended by                          refers to a section of the U.S. Internal Rev-                       (Code section 584) to the extent that
Protocols signed on October 13, 1993 and                      enue Code of 1986, as amended, and that                             the participants are trusts mentioned
March 8, 2004 (the “Treaty”). The agree-                      the term “trust” includes a custodial ac-                           under points 1) through 5) above;
ment specifies the procedures for claiming                    count treated as a trust for U.S. federal in-
treaty benefits in each country and the                       come tax purposes.                                            7.    the Thrift Savings Fund (Code section
methods each country will use to grant                                                                                            7701(j)); and
treaty benefits.                                              Chapter II
                                                                                                                            8.    a voluntary employees’ beneficiary
    This agreement constitutes a Mutual
                                                                 U.S. resident tax-exempt trusts, compa-                          association (Code section 501(c)(9)).
Agreement in accordance with Article 29
                                                              nies, or other organizations
of the Treaty.
                                                                                                                               However, a U.S. resident tax-exempt
Chapter I                                                        Subject to the conditions of Article 26,                   trust mentioned under points 2), 3), or 4)
                                                              paragraph 2 of Article 35, and paragraph                      above will not be considered to qualify
   Qualification for treaty benefits under                    4 of Article 34 of the Treaty, the following                  for treaty benefits under Article 35 of the
Article 35 of the 1992 Netherlands-US in-                     types of U.S. resident trusts, companies, or                  Treaty in any taxable year if less than 70%
come tax treaty                                               other organizations are treated as the bene-                  of the total amount of the withdrawals

1 Dutch Form IB 96 USA uses the date March 27, 2000, which was the date the original agreement was published in the Staatscourant, but the competent authorities here refer to the same
original mutual agreement as is referred to in Form IB–96-USA.



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from such U.S. trust during that year is       ident tax-exempt trust use the exemption         ternal Revenue Service may also file a
used to provide pension, retirement or         method when filing its request for an ap-        request for a “qualification” certification
other employee benefits as meant in Arti-      plication of benefits under Article 35 of the    with the competent Netherlands tax au-
cle 35 of the Treaty.                          Treaty.                                          thorities.
   Any type of U.S. resident tax-exempt            The Netherlands 2007 regulations for             Irrespective of the above, use of the re-
trust, company, or other organization not      the implementation of the Treaty give a          fund method is mandatory in any taxable
mentioned above, that considers itself         detailed description of the procedures to be     year for a U.S. resident tax-exempt entity
to qualify for benefits under Article 35       applied in the case of both the exemption        mentioned under point 2) or 4) of chapter
of the Treaty, may present its case to         method and the refund method.                    II, if less than 70% of the total amount of
the Netherlands tax unit Belastingdienst           The exemption method may be used if          the withdrawals from such U.S. trust dur-
Limburg / kantoor Buitenland (address:         the U.S. resident tax-exempt trust, com-         ing that year is used to provide pension or
P.O. Box 2865, 6401 DJ HEERLEN, The            pany, or other organization requesting ben-      retirement benefits.
Netherlands), or to the U.S. competent au-     efits under Article 35 of the Treaty:                Where assets of the pension fund(s) or
thority (see Rev. Proc. 2006–54, 2006–49           * provides to the appropriate Dutch          pension plan(s) are held in custodial ac-
I.R.B. 1035) requesting competent author-      withholding agent or payor, Form 6166,           counts, the Dutch Form IB 96 USA re-
ity consideration under Article 29 of the      a U.S. residency certification letter issued     quires a certification that the claim for a re-
Treaty.                                        by the U.S. Internal Revenue Service for         fund of Dutch dividend tax is filed for the
                                               the applicable taxable year(s) (Form 6166        benefit of the custodial accounts in ques-
Chapter III                                    may be obtained by filing Form 8802              tion.
                                               (Application for United States Residency             The status of all U.S. resident tax-ex-
   Appropriate procedures for filing a re-     Certification) in accordance with the in-        empt trusts, companies, or other organiza-
quest for an application of treaty benefits    structions for Form 8802) stating that the       tions claiming benefits under Article 35 of
in the Netherlands                             entity in question is a trust forming part of    the Treaty may at any time be subject to
                                               a pension, profit sharing, or stock bonus        verification by the competent Netherlands
    A trust, company, or other organiza-       plan qualified under Code section 401(a)         tax authority. If considered necessary, use
tion that qualifies for benefits under Ar-     of the Internal Revenue Code (an example         will be made of the exchange of informa-
ticle 35 of the Treaty may claim benefits      of Form 6166 is attached); or                    tion procedure (Article 30 of the Treaty).
with respect to income derived from the            * provides to the appropriate Dutch
Netherlands referred to in Article 10 (Div-    withholding agent or payor, a so-called          Chapter IV
idends). The Netherlands does not apply a      “qualification” certification issued by the
                                                                                                  Netherlands resident tax-exempt trusts,
withholding tax on outgoing interest pay-      competent Netherlands tax authorities,
                                                                                                companies, or other organizations
ments as meant in Article 12 of the Treaty.    stating that the entity in question is a U.S.
    The Netherlands has two methods for        resident tax-exempt trust, company, or
                                                                                                   Subject to the conditions of Article 26,
granting benefits for Dutch source div-        other organization described in paragraph
                                                                                                paragraph 2 of Article 35, and paragraph 4
idend income: the so-called exemption          1 of Article 35 of the Treaty.
                                                                                                of Article 34 of the Treaty, the following
method (in which case the treaty rate is ap-       Requests for a “qualification” cer-
                                                                                                types of Netherlands resident trusts, com-
plied at source) and the so-called refund      tification may be filed with the tax
                                                                                                panies, or other organizations are treated
method.                                        unit Belastingdienst Limburg / kantoor
                                                                                                as beneficial owners of dividends and in-
    As a general rule, the Netherlands ap-     Buitenland (address: P.O. Box 2865, 6401
                                                                                                terest derived from the United States and
plies the exemption method when granting       DJ HEERLEN, The Netherlands).
                                                                                                are considered to qualify for benefits un-
treaty benefits in the case of Dutch source        A “qualification” certification, issued
                                                                                                der Article 35 of the Treaty:
dividend income received by a resident of      by the competent Netherlands tax authori-
the United States, which means that treaty     ties, is in principle valid indefinitely. How-   1.   a Netherlands resident tax-exempt
benefits will be granted by means of an ex-    ever, a “qualification” certification will no         company constituted and operated
emption from Netherlands withholding tax       longer be valid in the event:                         exclusively to administer or pro-
at source. In view of the Netherlands com-         *there is a material change in facts or           vide benefits as meant in article
petent authority’s preference for a closer     circumstances; or                                     5, paragraph 1, under b), of the
monitoring of all requests filed for an ap-        *It is determined that the “qualifica-            Netherlands corporation tax act (in-
plication of benefits under Article 35 of      tion” certification was issued erroneously;           cluding a Netherlands resident tax-ex-
the Treaty, a U.S. resident tax-exempt trust   or                                                    empt company constituted and op-
(including a U.S. common trust fund or             *the U.S. resident tax-exempt entity in           erated exclusively to administer or
group trust) mentioned in point 1) through     question has not claimed an application               provide benefits under a pension plan
8) of chapter II of this agreement shall —     of benefits under Article 35 of the Treaty            as meant in article 3.13, paragraph 1,
as a general rule — be required to use the     for five consecutive calendar years. Since            under b), of the Netherlands income
refund method when filing its request for      Form 6166 issued by the U.S. Internal                 tax act);
an application of benefits under Article 35    Revenue Service is not valid indefinitely,
of the Treaty. Only if the conditions listed   a U.S. resident tax-exempt entity that has       2.   a Netherlands fund that is exempt un-
below are fulfilled, may such a U.S. res-      been issued a Form 6166 by the U.S. In-               der the Netherlands corporation tax


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     act and constituted by a Netherlands          A Netherlands resident tax-exempt           for benefits under Article 35. Such distri-
     labor union and operated exclusively      trust, company, or other organization de-       butions are subject to U.S. tax under para-
     to administer or provide benefits to      scribed in this agreement should claim          graph 1 of Article 14 of the Treaty. In ad-
     its members in case they are on strike    exemption from U.S. income tax with-            dition, distributions paid by a person resi-
     (stakingskassen) and of which the         holding under Article 35 of the Treaty on       dent in the United States that is a Regulated
     payments are exempt under article         dividends or interest income referred to        Investment Company (“RIC”) from gains
     3.13, paragraph 1, under f), of the       in Articles 10 and 12, respectively, of the     realized on the disposition of real property
     Netherlands income tax act; and           Treaty by providing a properly completed        situated in the United States are not eligi-
                                               IRS Form W–8BEN (Certificate of For-            ble for benefits under Article 35 and are
3.   Netherlands limited fund for mu-          eign Status of Beneficial Owner for United      subject to U.S. tax under paragraph 1 of
     tual account (besloten fondsen voor       States Tax Withholding) to the appropriate      Article 14.
     gemene rekening) in which each par-       withholding agent or payer of such in-              Pursuant to section 897(h)(1) of the In-
     ticipant is a Netherlands resident        come before the income is paid or credited      ternal Revenue Code, as amended, certain
     tax-exempt company mentioned un-          to the company. An entity filing Form           amounts distributed by qualified invest-
     der points 1) or 2) above.                W–8BEN should cite Article 35 of the            ment entities (REITs and certain RICs) that
                                               Treaty on line 10 thereof, and state that it    would have otherwise been treated as dis-
    Any type of Netherlands resident tax-      is a Netherlands resident tax-exempt trust,     tributions from gains realized on the dis-
exempt trust, company, or other organi-        company, or other organization described        position of real property situated in the
zation not mentioned above, that consid-       in chapter IV of this agreement.                United States are treated and taxed as div-
ers itself to qualify for benefits under Ar-       Alternatively, the trust, company, or       idends. Such amounts will be treated as
ticle 35 of the Treaty, may present its case   other organization may seek a refund of         dividends that are eligible for exclusion
to the U.S. competent authority, or to the     taxes withheld on such dividend or interest     under paragraph 1 of Article 35.
Netherlands competent authority request-       income by timely filing a U.S. income tax           Paragraph 2 of Article 35 also provides
ing competent authority consideration un-      return and claiming a refund of such taxes.     that income of a trust, company, or other
der Article 29 of the Treaty.                      The status of all Netherlands resident      organization is not exempt under Article
                                               tax-exempt trusts, companies, or other or-      35 if it is derived from carrying on a trade
Chapter V
                                               ganizations providing pension, retirement,      or business or from a related person that is
   Appropriate procedures for filing a re-     or other employee benefits and claiming         not itself eligible for benefits under Article
quest for an application of treaty benefits    benefits under Article 35 of the Treaty may     35. Paragraph XXXVII of the Understand-
in the United States                           be subject to verification by the Internal      ing accompanying the Protocol signed on
                                               Revenue Service. If considered neces-           March 8, 2004 provides that for purposes
   Under U.S. tax law, a Netherlands           sary, use will be made of the exchange of       of paragraph 2 of Article 35, a person will
resident taxpayer (including a Nether-         information procedure (Article 30 of the        be considered to be a “related person” if
lands resident tax-exempt entity referred      Treaty).                                        more than 80 percent of the vote or value
to in Article 35 of the Treaty) may file           As amended by Article 6 of the Pro-         of any class of shares is owned by the per-
for an application of treaty benefits at       tocol signed on October 13, 1993, para-         son deriving the income.
source, or may claim a refund of U.S.          graph 2 of Article 35 of the Treaty provides        Agreed to by the undersigned compe-
income tax withheld according to regula-       that dividends paid by a person resident in     tent authorities:
tions set forth under the Internal Revenue     the United States that is a Real Estate In-
Code. The following procedures apply to        vestment Trust (“REIT”) from gains real-
a Netherlands resident tax-exempt trust,       ized on the disposition of real property sit-
company, or other organization.                uated in the United States are not eligible



 Frank Y. Ng                                                                 Maarten Brabers
 U.S. Competent Authority                                                    Netherlands Competent Authority




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Part III. Administrative, Procedural, and Miscellaneous
Transaction of Interest —                       single member limited liability company.        entering into these transactions on or af-
Contribution of Successor                       Further, the agreement may refer to the         ter November 2, 2006, must disclose the
Member Interest                                 Successor Member Interest as a remainder        transaction as described in § 1.6011–4.
                                                interest.                                       Material advisors who make a tax state-
                                                   After holding the Successor Member           ment on or after November 2, 2006, with
Notice 2007–72                                  Interest for more than one year (in order to    respect to transactions entered into on or
                                                treat the interest as long-term capital gain    after November 2, 2006, have disclosure
    The Internal Revenue Service and the
                                                property), Taxpayer transfers the Succes-       and list maintenance obligations under
Treasury Department are aware of a type
                                                sor Member Interest to an organization de-      §§ 6111 and 6112. See § 1.6011–4(h) and
of transaction, described below, in which a
                                                scribed in § 170(c) (Charity).                  §§ 301.6111–3(i) and 301.6112–1(g) of
taxpayer directly or indirectly acquires cer-
                                                   Taxpayer claims the value of the Suc-        the Procedure and Administration Regula-
tain rights in real property or in an entity
                                                cessor Member Interest to be an amount          tions.
that directly or indirectly holds real prop-
                                                that is significantly higher than Taxpayer’s        Independent of their classification as
erty, transfers the rights more than one year
                                                purchase price (for example, an amount          transactions of interest, transactions that
after the acquisition to an organization de-
                                                that is a multiple of Taxpayer’s purchase       are the same as, or substantially similar
scribed in § 170(c) of the Internal Revenue
                                                price and exceeds normal appreciation).         to, the transaction described in this notice
Code, and claims a charitable contribution
                                                Taxpayer claims a charitable contribution       already may be subject to the require-
deduction under § 170 that is significantly
                                                deduction under § 170 based on this higher      ments of § 6011, 6111, or 6112, or the
higher than the amount that the taxpayer
                                                amount. Taxpayer reaches this value by          regulations thereunder. When the IRS and
paid to acquire the rights. The IRS and the
                                                taking into account an appraisal obtained       the Treasury Department have gathered
Treasury Department believe this transac-
                                                by or on behalf of Advisor or Taxpayer of       enough information to make an informed
tion has the potential for tax avoidance or
                                                the fee interest in the underlying real prop-   decision as to whether this transaction is a
evasion, but lack sufficient information to
                                                erty and the § 7520 valuation tables.           tax avoidance type of transaction, the IRS
determine whether the transaction should
                                                   The Internal Revenue Service and the         and the Treasury Department may take
be identified specifically as a tax avoid-
                                                Treasury Department are concerned about         one or more actions, including removing
ance transaction. This notice identifies this
                                                apparent irregularities in this transaction.    the transaction from the transactions of
transaction, and substantially similar trans-
                                                Specifically, the IRS and the Treasury De-      interest category in published guidance,
actions, as transactions of interest for pur-
                                                partment are concerned with the large dis-      designating the transaction as a listed
poses of § 1.6011–4(b)(6) of the Income
                                                crepancy between (1) the amount Taxpayer        transaction, or providing a new category
Tax Regulations and §§ 6111 and 6112.
                                                paid for the Successor Member Interest,         of reportable transaction.
This notice also alerts persons involved
                                                and (2) the amount claimed by Taxpayer
with these transactions to certain respon-                                                      Participation
                                                as a charitable contribution. The IRS and
sibilities that may arise from their involve-
                                                the Treasury Department also have the fol-
ment with these transactions.                                                                       Under § 1.6011–4(c)(3)(i)(E), Advisor,
                                                lowing additional concerns, which may be
                                                                                                LLC or any entity used in place of LLC,
                                                present in some variations of this trans-
FACTS                                                                                           Taxpayer, and any members of Taxpayer if
                                                action: (1) any mischaracterization of the
                                                                                                Taxpayer is a flow-through entity, are par-
                                                ownership interests in LLC; (2) a Char-
    In a typical transaction, Advisor owns                                                      ticipants in this transaction for each year
                                                ity’s agreement not to transfer the Succes-
all of the membership interests in a lim-                                                       in which their respective tax returns reflect
                                                sor Member Interest for a period of time
ited liability company (LLC) that directly                                                      tax consequences or the tax strategy de-
                                                (which may coincide with the expiration
or indirectly owns real property (other                                                         scribed in this notice.
                                                of the applicable period in § 6050L(a)(1));
than a personal residence as defined in                                                             Charity is not a participant if it re-
                                                and (3) any sale by Charity of the Succes-
§ 1.170A–7(b)(3)) that may be subject to                                                        ceived the Successor Member Interest
                                                sor Member Interest to a party selected by
a long-term lease. Advisor and Taxpayer                                                         described in this notice on or prior to
                                                or related to Advisor or Taxpayer.
enter into an agreement under the terms                                                         August 14, 2007. For Successor Mem-
of which Advisor continues to own the           TRANSACTION OF INTEREST                         ber Interests received after August 14,
membership interests in LLC for a term                                                          2007, under § 1.6011–4(c)(3)(i)(E) Char-
of years (the Initial Member Interest), and     Effective Date                                  ity is a participant in this transaction for
Taxpayer purchases the successor member                                                         the first year for which Charity’s tax return
interest in LLC (the Successor Member              Transactions that are the same as, or        reflects the Successor Member Interest de-
Interest), which entitles Taxpayer to own       substantially similar to, the transactions      scribed in this notice. In general, Charity
all of the membership interests in LLC          described in this notice are identified as      is required to report the receipt of the Suc-
upon the expiration of the term of years.       transactions of interest for purposes of        cessor Member Interest described in this
In some variations of this transaction,         § 1.6011–4(b)(6) and §§ 6111 and 6112           notice on its return for the year in which
Taxpayer may hold the Successor Member          effective August 14, 2007, the date this        it is received. See § 6033. Therefore,
Interest through another entity, such as a      notice was released to the public. Persons      in general, Charity will be a participant


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for the year in which Charity received the      of transaction, described below, that uses      effective on a specified date in the future.
Successor Member Interest.                      a grantor trust, and the purported termi-       See § 675(4).
                                                nation and subsequent re-creation of the            After establishing and funding Trust,
Time for Disclosure                             trust’s grantor trust status, for the pur-      Grantor sells the remainder interest in
                                                pose of allowing the grantor to claim a         Trust to an unrelated person (Buyer) for
   See § 1.6011–4(e) and § 301.6111–3(e).       tax loss greater than any actual economic       an amount equal to the fair market value
                                                loss sustained by the taxpayer or to avoid      of the remainder interest (which is equal
Material Advisor Threshold Amount               inappropriately the recognition of gain.        to the fair market value of the options).
                                                The IRS and Treasury Department be-             Grantor claims that the basis in the remain-
   The threshold amounts are the same           lieve this transaction has the potential for    der interest is determined by allocating to
as those for listed transactions.  See          tax avoidance or evasion, but lack suffi-       the remainder interest a portion of the
§ 301.6111–3(b)(3)(i)(B).                       cient information to determine whether          basis in all of the Trust assets (based on
                                                the transaction should be identified specif-    the respective fair market values of the
Penalties                                       ically as a tax avoidance transaction.          remainder and unitrust interests at the time
                                                This notice identifies this transaction,        of the sale). Therefore, Grantor claims
    Persons required to disclose these trans-
                                                and substantially similar transactions, as      there is no gain recognized on the sale of
actions under § 1.6011–4 who fail to do
                                                transactions of interest for purposes of        the remainder interest because Grantor’s
so may be subject to the penalty under
                                                § 1.6011–4(b)(6) of the Income Tax Reg-         basis in the remainder interest is the same
§ 6707A. Persons required to disclose
                                                ulations and §§ 6111 and 6112 of the            as the amount realized (prearranged to
these transactions under § 6111 who fail to
                                                Internal Revenue Code. This notice also         be equivalent to the fair market value of
do so may be subject to the penalty under
                                                alerts persons involved with these trans-       the options). Buyer gives Grantor an in-
§ 6707(a). Persons required to maintain
                                                actions to certain responsibilities that may    stallment obligation (Note), cash, or other
lists of advisees under § 6112 who fail to
                                                arise from their involvement with these         consideration for the remainder interest.
do so (or who fail to provide such lists
                                                transactions.                                   Grantor claims that the sale of the remain-
when requested by the Service) may be
                                                                                                der interest has terminated (toggled off)
subject to the penalty under § 6708(a). In      FACTS                                           the grantor trust status of Trust so that,
addition, the Service may impose other
                                                                                                during the period after the sale and be-
penalties on persons involved in these             In one variation of the transaction,
                                                                                                fore the effective date of the substitution
transactions or substantially similar trans-    Grantor purchases four options. The value
                                                                                                power, Trust is no longer a grantor trust
actions, including the accuracy-related         of each one of the options is expected to
                                                                                                under § 671.
penalty under § 6662 or 6662A.                  move inversely in relation to at least one
                                                                                                    Grantor claims that, once the substi-
                                                of the other options over a relevant range
                                                                                                tution power becomes effective, Trust’s
DRAFTING INFORMATION                            of values so that, before expiration of any
                                                                                                grantor trust status is restarted (toggled
                                                one of the options, there will be a gain
                                                                                                on). The loss options are then closed
    The principal authors of this notice        in two options (gain options) and a sub-
                                                                                                out. The amount Grantor paid for those
are Patricia M. Zweibel of the Office of        stantially offsetting loss in the other two
                                                                                                options (the original basis of those op-
Associate Chief Counsel (Income Tax             options (loss options). Grantor creates
                                                                                                tions) is greater than the amount Trust
and Accounting) and Leslie H. Finlow            Trust and funds Trust with the options and
                                                                                                receives when the loss options are closed
of the Office of Associate Chief Coun-          a small amount of cash. Grantor gives
                                                                                                out. Grantor claims that Trust’s status as a
sel (Passthroughs and Special Indus-            a short-term unitrust interest in Trust to
                                                                                                grantor trust causes Grantor to recognize
tries). For further information concerning      Beneficiary and retains a noncontingent
                                                                                                the loss on the two loss options. Grantor
this notice generally, contact Ms. Zweibel      remainder interest in Trust. The remainder
                                                                                                calculates the loss based on the difference
at (202) 622–7900 (not a toll-free call).       interest is structured to have a value as de-
                                                                                                between the amount realized and the orig-
For further information concerning the          termined under § 7520 that equals the fair
                                                                                                inal basis in the loss options, even though
sections of this notice under the heading       market value of the options. Grantor takes
                                                                                                Grantor previously used a portion of the
TRANSACTIONS OF INTEREST, con-                  the position that Grantor’s remainder in-
                                                                                                basis in the Trust assets (equivalent to the
tact Ms. Finlow at (202) 622–3070 (not a        terest is a qualified interest under § 2702.
                                                                                                basis in all of the options) to eliminate
toll-free call).                                Because of the retained remainder inter-
                                                                                                Grantor’s gain on the sale of the remain-
                                                est, Grantor treats Trust as a trust owned
                                                                                                der interest. Trust’s remaining assets then
                                                by Grantor under subpart E (§ 671 and
                                                                                                consist of the two gain options, the con-
                                                following), part I, subchapter J, chapter
Transaction of Interest —                                                                       tributed cash, and amounts received, if
                                                1 of the Code (a grantor trust). The trust
                                                                                                any, upon the termination of the loss op-
Toggling Grantor Trust                          agreement also provides that Grantor will
                                                                                                tions.
                                                have the power, exercisable in a nonfidu-
                                                                                                    Buyer then purchases the unitrust inter-
Notice 2007–73                                  ciary capacity, to reacquire Trust corpus
                                                                                                est in Trust from Beneficiary for an amount
                                                by substituting other property of an equiv-
                                                                                                equal to the actuarial value of that interest
   The Internal Revenue Service and the         alent value (the substitution power) and
                                                                                                (which equals or approximates the amount
Treasury Department are aware of a type         that this substitution power will become



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of cash Grantor contributed to Trust), mak-      Trust’s assets on distribution. For tax         §§ 6111 and 6112. See § 1.6011–4(h) and
ing Buyer the owner of both the remainder        purposes, Grantor does not treat the termi-     §§ 301.6111–3(i) and 301.6112–1(g) of
interest and the unitrust interest. Trust then   nation of Trust as a disposition by Grantor     the Procedure and Administration Regula-
terminates (by operation of law or Buyer’s       of the appreciated assets in Trust. Buyer       tions.
action), and Trust’s assets are distributed      claims a basis in the assets of Trust (the          Independent of their classification as
to Buyer. Buyer claims a basis in the assets     appreciated property and cash) equal to         transactions of interest, transactions that
(the gain options and the cash) from Trust       the amount paid by Buyer for the interests      are the same as, or substantially similar to,
equal to the amount paid by Buyer for the        in Trust.                                       the transaction described in this notice may
two separate interests in Trust. Grantor             One of the purported tax consequences       already be subject to the requirements of
does not treat the termination of Trust as       of the first variation of the transaction is    §§ 6011, 6111, or 6112, or the regulations
a taxable disposition by Grantor of the as-      that Grantor sells the remainder interest       thereunder. When the IRS and Treasury
sets of Trust.                                   and receives an amount substantially equal      Department have gathered enough infor-
    The gain options are exercised or sold,      to the fair market value of the (non-cash)      mation to make an informed decision as to
or otherwise terminate, and Buyer claims         assets contributed to Trust but nevertheless    whether this transaction is a tax avoidance
to recognize gain on the gain options only       claims a tax loss attributable to those as-     type of transaction, the IRS and Treasury
to the extent that the amount realized ex-       sets even though Grantor has not suffered       Department may take one or more actions,
ceeds the basis Buyer allocates to the gain      an equivalent economic loss. One of the         including removing the transaction from
options. The transaction has been struc-         purported tax consequences of the second        the transactions of interest category in pub-
tured so that any gain recognized would          variation of the transaction is that Grantor    lished guidance, designating the transac-
be minimal. If Buyer purchased the re-           avoids the recognition of gain on the dispo-    tion as a listed transaction, or providing a
mainder interest from Grantor with a Note,       sition of the appreciated assets substituted    new category of reportable transaction.
Buyer uses the proceeds from the options         for the original assets contributed to Trust.
to pay the Note. If Grantor borrowed to              These transactions usually occur within     Participation
purchase the options, Grantor repays the         a short period of time during the taxable
loan from the Note proceeds.                     year (typically within 30 days), and, in           Under § 1.6011–4(c)(3)(i)(E), Grantor,
    In another variation of the transaction,     each case, Grantor claims that the termi-       Buyer, and Beneficiary are participants in
the facts are the same as described above        nation and subsequent reestablishment of        this transaction for each year in which their
except for the following. Grantor con-           grantor trust status, combined with the se-     respective tax returns reflect tax conse-
tributes to Trust liquid assets such as cash     ries of events regarding Trust’s assets, re-    quences or a tax strategy described in this
or marketable securities, rather than op-        sult in tax consequences that could not be      notice.
tions. Grantor’s basis in the contributed        achieved without both the toggling off and
assets equals or is approximately equal to       on of grantor trust status. The transac-        Time for Disclosure
the fair market value of the assets at the       tions in this notice, as described above, do
                                                                                                    See § 1.6011–4(e) and § 301.6111–3(e).
time of contribution. Before the speci-          not include the situation where a trust’s
fied date on which Grantor’s substitution        grantor trust status is terminated, unless      Material Advisor Threshold Amount
power becomes effective, Grantor sells           there is also a subsequent toggling back
the remainder interest in Trust to Buyer         to the trust’s original status for income tax      The threshold amounts are the same
for an amount equal to the fair market           purposes.                                       as those for listed transactions.  See
value of the remainder interest and claims                                                       § 301.6111–3(b)(3)(i)(B).
to recognize no gain or a minimal gain           TRANSACTION OF INTEREST
or loss for the same reason as described                                                         Penalties
above. As in the prior variation, Grantor        Effective Date
claims that the sale terminates (toggles                                                             Persons required to disclose these trans-
off) Trust’s grantor trust status. After            Transactions that are the same as, or        actions under § 1.6011–4 who fail to do
the substitution power becomes effective,        substantially similar to, the transactions      so may be subject to the penalty under
Grantor substitutes appreciated property         described in this notice are identified as      § 6707A. Persons required to disclose
for Trust’s liquid assets. The fair market       transactions of interest for purposes of        these transactions under § 6111 who fail to
value of the substituted property is equiv-      § 1.6011–4(b)(6) and §§ 6111 and 6112           do so may be subject to the penalty under
alent to the fair market value of the liquid     effective August 14, 2007, the date this        § 6707(a). Persons required to maintain
assets. Grantor claims that, once the sub-       notice was released to the public. Persons      lists of advisees under § 6112 who fail to
stitution power becomes effective (prior to      entering into these transactions on or af-      do so (or who fail to provide such lists
the exchange), Trust’s grantor trust status      ter November 2, 2006, must disclose the         when requested by the Service) may be
is restarted (toggled on), and, therefore,       transaction as described in § 1.6011–4.         subject to the penalty under § 6708(a). In
the substitution will not cause Grantor to       Material advisors who make a tax state-         addition, the Service may impose other
recognize gain.                                  ment on or after November 2, 2006, with         penalties on parties involved in these
    As described above, Buyer purchases          respect to transactions entered into on or      transactions or substantially similar trans-
the unitrust interest in Trust from Ben-         after November 2, 2006, have disclosure         actions, including the accuracy-related
eficiary, terminates Trust, and receives         and list maintenance obligations under          penalty under § 6662 or § 6662A.


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DRAFTING INFORMATION                               shall deduct and withhold from the pay-       more than $5,000 made to a winning payee
                                                   ment an amount equal to the product of the    in a taxable year by filing an information
    The principal author of this notice            third lowest rate of tax applicable under     return with the IRS as prescribed by sec-
is Tolsun N. Waddle of the Office of               section 1(c) and such payment. Section        tion 3402(q). The poker tournament spon-
Associate Chief Counsel (Passthroughs              3402(q)(3) provides that the term “win-       sor must furnish a copy of the informa-
and Special Industries). For further in-           nings which are subject to withholding”       tion return to the IRS on or before Feb-
formation regarding this notice, con-              means, in part, proceeds from a wagering      ruary 28 (March 31 if filed electronically)
tact Mr. Waddle at (202) 622–3070 (not a           transaction, if the proceeds are more than    of the calendar year following the calendar
toll-free call).                                   $5,000 from a wager placed in any sweep-      year in which the payment is made, as pre-
                                                   stakes, wagering pool, or lottery. The term   scribed by section 31.3402(q) of the regu-
26 CFR 31.3402(q): Return of information on pro-   “wagering pool” includes “all pari-mutuel     lations.
ceeds from poker tournaments.                      betting pools, including on- and off-track
(Also: § 3406.)                                    racing pools, and similar types of betting    SECTION 5. SCOPE
                                                   pools.” H.R. Conf. Rep. No. 94–1515, at
Rev. Proc. 2007–57                                 488 (1976) (relating to the enactment of         This revenue procedure applies to poker
                                                   § 3402(q)). “In common usage the term         tournament sponsors, including casinos,
                                                   ‘pool’ connotes a particular gambling         which pay amounts to winners in a manner
SECTION 1. PURPOSE                                                                               substantially similar to that described in
                                                   practice, an arrangement whereby all bets
                                                   constitute a common fund to be taken          section 2 of this revenue procedure.
   This revenue procedure informs tax-
                                                   by the winner or winners.” United States
payers of their obligations under section                                                        SECTION 6. WAIVER OF LIABILITY
                                                   v. Berent, 523 F.2d 1360, 1361 (9th Cir.
3402(q) pertaining to withholding and in-                                                        UNDER SECTION 3402 AND
                                                   1975). Section 3402(q)(4)(A) provides
formation reporting applicable to certain                                                        WAIVER OF OTHER PENALTIES OR
                                                   that proceeds from a wager shall be deter-
amounts paid to winners of poker tourna-                                                         ADDITIONS TO TAX
                                                   mined by reducing the amount received
ments. It further sets forth procedures to
                                                   by the amount of the wager.                      The IRS will not assert any liability
be used to comply with the relevant re-
                                                      .02.       Information reporting un-       for additional tax or additions to tax for
quirements of the Internal Revenue Code
                                                   der section 31.3402(q)–1(e).        Section   violations of any withholding obligation
and Treasury Regulations thereunder.
                                                   31.3402(q)–1(e) of the Employment Tax         with respect to amounts paid to winners
SECTION 2. FACTUAL                                 Regulations provides that each person         of poker tournaments under section 3402,
BACKGROUND                                         who is to receive a payment of winnings       provided that the poker tournament spon-
                                                   subject to withholding shall furnish to the   sor meets all of the requirements for in-
   A business taxpayer (“poker tourna-             payer a statement on Form W–2G or Form        formation reporting under section 3402(q)
ment sponsor”) may sponsor a poker                 5754 (whichever is applicable) made un-       and the regulations thereunder.
tournament, charging an entry fee and              der the penalties of perjury containing
a “buy-in” fee for each participant. In            certain required information, including       SECTION 7. EFFECTIVE DATE
exchange for the fees, each participant            the name, address, and Taxpayer Identi-
receives a set of poker chips with a nom-          fication Number of the winning payee.            This revenue procedure is effective for
inal face value for use in the specific            Section 31.3402(q)–1(f)(1) provides that      payments made on or after March 4, 2008.
poker tournament. The poker tournament             every person making a payment of win-
sponsor pays amounts, which exceed a               nings for which withholding is required       SECTION 8. DRAFTING
participant’s fees by $5,000, to a certain         shall file a Form W–2G with the IRS on or     INFORMATION
number of tournament winner(s), out of             before February 28 (March 31 if filed elec-
                                                   tronically) of the calendar year following       The principal author of this revenue
a pool comprised of all the participants’
                                                   the calendar year in which the payment of     procedure is Blaise G. Dusenberry of the
fees.
                                                   winnings is made and shall furnish a copy     Office of Associate Chief Counsel (Pro-
SECTION 3. LEGAL BACKGROUND                        of the Form to the payee.                     cedure and Administration). For further
                                                                                                 information regarding this revenue proce-
   .01. Withholding under section 3402.            SECTION 4. APPLICATION                        dure, contact Cynthia McGreevy at (202)
Section 3402(q)(1) provides that every                                                           622–4910 (not a toll-free call).
person who makes any payment of win-                  A poker tournament sponsor is required
nings which are subject to withholding             to withhold and report on payments of




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Part IV. Items of General Interest
Notice of Proposed                              SUPPLEMENTARY INFORMATION:                        the position that a loss under section 165(a)
Rulemaking                                                                                        resulting from the abandonment of a secu-
                                                Background and Explanation of                     rity is not subject to the loss characteriza-
                                                Provisions                                        tion rules provided in section 165(g).
Abandonment of Stock and
                                                                                                      Property that has become worthless
Other Securities                                   This document proposes to amend
                                                                                                  to the taxpayer may give rise to a loss
                                                §1.165–5 of the Income Tax Regulations
                                                                                                  deduction under section 165(a). In gen-
REG–101001–05                                   (26 CFR part 1) to provide guidance con-
                                                                                                  eral, worthlessness is determined by a
                                                cerning the Federal income tax treatment
                                                                                                  combination of subjective and objective
AGENCY: Internal Revenue Service                of abandoned securities.
                                                                                                  indicia including a subjective determina-
(IRS), Treasury.
                                                Abandonment of Securities                         tion of worthlessness to the taxpayer and
                                                                                                  objective evidence of a closed and com-
ACTION: Notice of proposed rulemaking.
                                                    Section 165(a) of the Code allows a           pleted transaction. See Echols v. Com-
SUMMARY: These proposed regulations             deduction for any loss sustained during           missioner, 950 F.2d 209 (5th Cir. 1991);
provide guidance concerning the availabil-      the taxable year and not compensated              Boehm v. Commissioner, 326 U.S. 287
ity and character of a loss deduction under     for by insurance or otherwise. Section            (1945). For purposes of section 165(a),
section 165 of the Internal Revenue Code        1.165–1(d)(1) of the Income Tax Regu-             the act of abandonment is an event that
for losses sustained from abandoned secu-       lations provides that a loss is treated as        establishes both of these elements. Rev.
rities. These proposed regulations are nec-     sustained during the taxable year in which        Rul. 2004–58, 2004–1 C.B. 1043, see
essary to clarify the tax treatment of losses   the loss occurs, as evidenced by a closed         §601.601(d)(2)(ii)(b). Although an act
from abandoned securities, and will affect      and completed transaction, and as fixed           of abandonment may be “one of several
any taxpayer claiming a deduction for a         by an identifiable event occurring in such        factors in the analysis of whether the
loss from abandoned securities after the        taxable year.                                     taxpayer’s subjective determination of
date these regulations are published as fi-         Section 165(g)(1) provides that if any        an asset’s worthlessness is sustainable,
nal regulations in the Federal Register.        security that is a capital asset becomes          abandonment is not an indispensable re-
                                                worthless during the taxable year, the re-        quirement for a worthlessness deduction
DATES: Written or electronic comments           sulting loss is treated as a loss from the sale   under Code section 165.” Echols, 950 F.2d
and requests for a public hearing must be       or exchange of a capital asset (that is, as a     at 212. Identifiable events may include
received by October 29, 2007.                   capital loss) on the last day of the taxable      “other acts or events which reflect the fact
                                                year. Section 165(g)(2) defines security as       that the property is worthless.” Proesel v.
ADDRESSES: Send submissions to:                 a share of stock in a corporation; a right to     Commissioner, 77 T.C. 992, 1005 (1981).
CC:PA:LPD:PR (REG–101001–05), room              subscribe for or to receive a share of stock          The proposed regulations provide that,
5205, Internal Revenue Service, P.O. Box        in a corporation; or a bond, debenture, note      for purposes of applying the loss char-
7604, Ben Franklin Station, Washing-            or certificate or other evidence of indebt-       acterization rules of section 165(g), the
ton, DC 20044. Submissions may be               edness issued by a corporation or govern-         abandonment of a security establishes the
hand delivered Monday through Friday            ment with interest coupons or in registered       worthlessness of the security to the tax-
between the hours of 8 a.m. and 4 p.m.          form. Section 165(g)(3) provides an ex-           payer. Under the proposed regulations a
to CC:PA:LPD:PR (REG–101001–05),                ception from capital loss treatment for cer-      loss established by the abandonment of a
Courier’s Desk, Internal Revenue Service,       tain worthless securities in a domestic cor-      security that is a capital asset is treated as a
1111 Constitution Avenue, NW, Washing-          poration affiliated with the taxpayer.            loss from the sale or exchange, on the last
ton, DC 20224, or sent electronically, via          The legislative history of the predeces-      day of the taxable year, of a capital asset,
the IRS internet site at www.irs.gov/regs       sor of section 165(g) indicates that the pro-     unless the exception in section 165(g)(3)
or via the Federal eRulemaking Portal           vision was enacted to remove the “peculiar        applies. In characterizing losses estab-
at www.regulations.gov (indicate IRS            and anomalous results” that followed from         lished by the abandonment of a security in
REG–101001–05).                                 treating losses from the worthlessness of         a manner consistent with other worthless
                                                securities as ordinary losses or deductions,      security losses, the proposed regulations
FOR       FURTHER     INFORMATION               and losses from the sale or exchange of           further the legislative intent to eliminate
CONTACT: Concerning the proposed                securities as capital losses, because both        “peculiar and anomalous results.” See
regulations, Lisa S. Dobson at (202)            losses represent a loss of capital in a trans-    H. Rep. No. 1860, 75th Cong., 3d Sess., at
622–7790, or Sean M. Dwyer at (202)             action entered into for profit. See H. Rep.       18–19 (1938). See also §1.332–2(b) and
622–5020; concerning submissions of             No. 1860, 75th Cong., 3d Sess., at 18–19          Rev. Rul. 2003–125, 2003–2 C.B. 1243,
comments and requests for a hearing,            (1938).                                           see §601.601(d)(2)(ii)(b), (wherein the
Kelly Banks at (202) 622–7180 (not                  The Treasury Department and the IRS           character of a loss established in a trans-
toll-free numbers).                             understand that some taxpayers have taken         action in which a shareholder disposes




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of stock and receives no consideration           ness debt is defined in section 166(d)(2)       (a signed original and eight (8) copies)
(specifically, a liquidation that fails to       as a debt that is not created or acquired       or electronic comments that are submitted
qualify under section 332) is prescribed         in connection with, or the worthlessness        timely to the IRS. The Treasury Depart-
by section 165(g)).                              of which is not incurred in, the taxpayer’s     ment and the IRS specifically request com-
    Although a taxpayer need not relinquish      trade or business. The legislative intent be-   ments on the clarity of the proposed rule
legal title to property in all cases to estab-   hind section 166(d) is in part to provide for   and how they can be made easier to un-
lish abandonment, in view of the nature of       parity of tax treatment with worthless se-      derstand. All comments will be available
a taxpayer’s rights in stock and other se-       curities under section 165(g) and other in-     for public inspection and copying. A pub-
curities these proposed regulations require      vestments. See Putnam v. Commissioner,          lic hearing will be scheduled if requested
that to abandon a security, a taxpayer must      352 U.S. 82, 91–92 (1956).                      in writing by any person that timely sub-
permanently surrender and relinquish all             The Treasury Department and the IRS         mits written comments. If a public hearing
rights in the security and receive no con-       request comments concerning the Federal         is scheduled, notice of the date, time, and
sideration in exchange for the security.         tax treatment of “abandoned debt” other         place for the public hearing will be pub-
                                                 than debt securities, including nonbusiness     lished in the Federal Register.
Abandonment or Cancellation of Other             debts which, under section 166(d), are de-          Although the proposed regulations pro-
Debt Instruments                                 ductible when worthless as short-term cap-      vide that for purposes of section 165(g) the
                                                 ital losses, and other debt instruments, the    term worthless includes abandoned securi-
    Section 166(a)(1) allows as a deduction
                                                 worthlessness of which gives rise to a bad      ties for which no consideration is received,
any debt which becomes worthless within
                                                 debt deduction under section 166(a).            there may be other contexts under the Code
the taxable year. Under section 166(b), the
                                                                                                 or regulations in which the tax treatment of
basis for determining the amount of the de-      Proposed Effective Date                         abandoned securities is unclear or in which
duction is the adjusted basis of the debt.
                                                                                                 abandonment and worthlessness should be
Section 166(a)(2) permits a deduction for           These proposed regulations are pro-
                                                                                                 treated differently. In addition to com-
partially worthless debts. It provides that      posed to apply to an abandonment of
                                                                                                 ments concerning the tax treatment of non-
the Secretary, when satisfied that a debt is     securities occurring after the date these
                                                                                                 security debt instruments, comments are
recoverable only in part, may allow a de-        regulations are published as final reg-
                                                                                                 requested concerning the existence and ap-
duction for the debt in an amount not in         ulations in the Federal Register. No
                                                                                                 propriate tax treatment of abandoned secu-
excess of the part charged off within the        inference is intended regarding the treat-
                                                                                                 rities in other contexts.
taxable year. The courts have noted that         ment for Federal income tax purposes of
the tests for worthlessness under section        an abandonment of securities occurring          Drafting Information
165 and under section 166 are fundamen-          before these regulations are effective.
tally the same. See United States v. S.S.                                                           The principal authors of these regula-
White Dental Mfg. Co., 274 U.S. 398, 401         Special Analyses
                                                                                                 tions are Lisa S. Dobson of the Office of
(1927).                                                                                          Associate Chief Counsel (Corporate) and
                                                    It has been determined that this notice
    A creditor may not voluntarily cancel                                                        Sean M. Dwyer of the Office of Associate
                                                 of proposed rulemaking is not a signifi-
a debt that has value and claim a deduc-                                                         Chief Counsel (Income Tax and Account-
                                                 cant regulatory action as defined in Exec-
tion under section 166 because the debt is                                                       ing). Other personnel from Treasury De-
                                                 utive Order 12866. Therefore, a regula-
now valueless. See Jostens, Inc. v. Com-                                                         partment and the IRS participated in their
                                                 tory assessment is not required. It has been
missioner, 956 F.2d 175, 176–77 (8th Cir.                                                        development.
                                                 determined that section 553(b) of the Ad-
1992).
                                                 ministrative Procedure Act (5 U.S.C. chap-                         *****
    Two categories of worthless debts are
                                                 ter 5) does not apply to these regulations,
excepted from section 166: nonbusiness
                                                 and, because the regulation does not im-        Proposed Amendments to the
debts under section 166(d) and debt secu-
                                                 pose a collection of information on small       Regulations
rities under section 166(e). Under section
                                                 entities, the Regulatory Flexibility Act (5
166(e), section 166 does not apply to a debt                                                        Accordingly, 26 CFR part 1 is proposed
                                                 U.S.C. chapter 6) does not apply. Pursuant
that is evidenced by a security as defined in                                                    to be amended as follows:
                                                 to section 7805(f) of the Internal Revenue
section 165(g)(2)(C). Accordingly, the tax
                                                 Code, this notice of proposed rulemaking
treatment of debt securities is discussed in                                                     PART 1—INCOME TAXES
                                                 has been submitted to the Chief Counsel
the Abandonment of Securities section of
                                                 for Advocacy of the Small Business Ad-
this preamble.                                                                                      Paragraph 1. The authority citation for
                                                 ministration for comment on its impact on
    Section 166(d)(1)(A) provides that in                                                        part 1 continues to read, in part, as follows:
                                                 small businesses.
the case of a taxpayer other than a corpo-                                                          Authority: 26 U.S.C. 7805 * * *
ration, section 166(a) does not apply to a       Comments and Requests for a Public                 Par. 2. Section 1.165–5 is amended as
nonbusiness debt. Instead, under section         Hearing                                         follows:
166(d)(1)(B), a nonbusiness debt that be-                                                           1. Paragraph (i) is redesignated as para-
comes worthless is considered a loss from           Before these proposed regulations are        graph (j).
the sale or exchange of a capital asset held     adopted as final regulations, consideration        2. A new paragraph (i) is added.
for not more than one year. A nonbusi-           will be given to any written comments              The addition reads as follows:



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§1.165–5 Worthless securities.                                   ACTION: Notice of proposed rulemaking          turn of wrongfully levied property under
                                                                 by cross-reference to temporary regula-        section 6343(b) of the Code. The text of
*****                                                            tions.                                         those regulations also serves as the text of
    (i) Abandonment of securities. For                                                                          these proposed regulations. The preamble
purposes of section 165 and this section,                        SUMMARY: In this issue of the Bulletin,        to the temporary regulations explains the
a security that becomes wholly worthless                         the IRS is issuing temporary regulations       temporary regulations and these proposed
includes a security described in paragraph                       (T.D. 9344) relating to the discharge of       regulations.
(a) of this section that is abandoned and                        liens under section 7425 and return of
otherwise satisfies the requirements for a                       wrongfully levied upon property under          Proposed Effective Date
deductible loss under section 165. If the                        section 6343 of the Internal Revenue Code
abandoned security is a capital asset and                        (Code) of 1986. Those regulations clarify         These regulations are proposed to ap-
is not described in section 165(g)(3) and                        that such notices and claims should be         ply to any notice of sale filed or request
paragraph (d) of this section (concerning                        sent to the IRS official and office spec-      for return of property made after the date
worthless securities of certain affiliated                       ified in the relevant IRS publications.        that these regulations are published as fi-
corporations), the resulting loss is treated                     The regulations will affect parties seek-      nal regulations in the Federal Register.
as a loss from the sale or exchange, on the                      ing to provide the IRS with notice of a
                                                                                                                Special Analyses
last day of the taxable year, of a capital                       nonjudicial foreclosure sale and parties
asset. See section 165(g)(1) and paragraph                       making administrative requests for return         It has been determined that this notice
(c) of this section. To abandon a security,                      of wrongfully levied property. The text of     of proposed rulemaking is not a significant
a taxpayer must permanently surrender                            those regulations also serves as the text of   regulatory action as defined in Executive
and relinquish all rights in the security and                    these proposed regulations.                    Order 12866. Therefore, a regulatory as-
receive no consideration in exchange for                                                                        sessment is not required. It also has been
the security. For purposes of this section,                      DATES: Written or electronic comments
                                                                                                                determined that section 553(b) of the Ad-
all the facts and circumstances determine                        and requests for a public hearing must be
                                                                                                                ministrative Procedure Act (5 U.S.C. chap-
whether the transaction is properly char-                        received by October 18, 2007.
                                                                                                                ter 5) does not apply to these regulations,
acterized as an abandonment or other type                        ADDRESSES: Send submissions to:                and because the regulations do not im-
of transaction, such as an actual sale or ex-                    CC:PA:LPD:PR          (REG–148951–05),         pose a collection of information on small
change, contribution to capital, dividend,                       Room 5203, Internal Revenue Service,           entities, the Regulatory Flexibility Act (5
or gift.                                                         PO Box 7604, Ben Franklin Station,             U.S.C. chapter 6) does not apply. Pursuant
                                                                 Washington, DC 20044. Submissions              to section 7805(f) of the Internal Revenue
*****
                                                                 may be hand-delivered to CC:PA:LPD:PR          Code, this regulation has been submitted
                             Linda E. Stiff,                     (REG–148951–05), Courier’s Desk, In-           to the Chief Counsel for Advocacy of the
            Acting Deputy Commissioner for                       ternal Revenue Service, 1111 Consti-           Small Business Administration for com-
                  Services and Enforcement.                      tution Avenue, NW, Washington, DC              ment on its impact on small business.
                                                                 20224. Alternatively, taxpayers may sub-
(Filed by the Office of the Federal Register on July 27, 2007,                                                  Comments and Requests for Public
8:45 a.m., and published in the issue of the Federal Register    mit comments electronically to the IRS
                                                                                                                Hearing
for July 30, 2007, 72 F.R. 41468)                                Internet site via the Federal eRulemak-
                                                                 ing Portal at www.regulations.gov (IRS             Before these proposed regulations are
                                                                 REG–148951–05).                                adopted as final regulations, consideration
Notice of Proposed                                                                                              will be given to any electronic and writ-
                                                                 FOR      FURTHER        INFORMATION
                                                                                                                ten comments (a signed original and eight
Rulemaking by                                                    CONTACT: Concerning the proposed
                                                                                                                (8) copies) or electronic comments that
Cross-Reference to                                               regulations, Robin M. Ferguson, (202)
                                                                                                                are submitted timely to the IRS. The IRS
Temporary Regulations                                            622–3630; concerning submissions of
                                                                                                                and Treasury Department specifically re-
                                                                 comments, the hearing, call Kelly Banks,
                                                                                                                quest comments on the clarity of the pro-
                                                                 (202) 622–7180 (not toll-free numbers).
Change to Office to Which                                                                                       posed rules and how they may be made
Notices of Nonjudicial Sale                                      SUPPLEMENTARY INFORMATION:                     easier to understand. All comments will be
                                                                                                                available for public inspection and copy-
and Requests for Return of
                                                                 Background                                     ing. A public hearing will be scheduled
Wrongfully Levied Property                                                                                      if requested in writing by any person that
Must Be Sent                                                        Temporary regulations in this issue of      timely submits written comments. If a
                                                                 the Bulletin contain amendments to the         public hearing is scheduled, notice of the
REG–148951–05                                                    Procedure and Administration Regulations       date, time, and place for the public hearing
                                                                 (26 CFR part 301) relating to the giving       will be published in the Federal Register.
AGENCY: Internal Revenue Service                                 of notice of nonjudicial sales under section
(IRS), Treasury.                                                 7425(b) of the Code and requests for re-




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Drafting Information                           published elsewhere in this issue of the                         ACTION: Notice of proposed rulemaking
                                               Bulletin].                                                       and notice of public hearing.
   The principal author of these regula-
tions is Robin M. Ferguson, Office of As-      *****                                                            SUMMARY: This document contains pro-
sociate Chief Counsel, Procedure and Ad-          (b) * * * (1) [The text of the proposed                       posed regulations that provide guidance on
ministration Division.                         amendment for §301.7425–3(b)(1) is the                           which costs incurred by estates or non-
                                               same as the text of §301.7425–3T(b)(1)                           grantor trusts are subject to the 2-percent
                  *****                        published elsewhere in this issue of the                         floor for miscellaneous itemized deduc-
                                               Bulletin].                                                       tions under section 67(a). The regulations
Proposed Amendments to the                        (2) [The text of the proposed amend-
Regulations                                                                                                     will affect estates and non-grantor trusts.
                                               ment for §301.7425–3(b)(2) is the same as                        This document also provides notice of a
   Accordingly, 26 CFR part 301 is pro-        the text of §301.7425–3T(b)(2) published                         public hearing on these proposed regula-
posed to be amended as follows:                elsewhere in this issue of the Bulletin].                        tions.
                                               *****
PART 301—PROCEDURE AND                           (c) * * * (1) [The text of the proposed                        DATES: Written and electronic comments
ADMINISTRATION                                 amendment for §301.7425–3(c)(1) is the                           must be received by October 25, 2007.
                                               same as the text of §301.7425–3T(c)(1)                           Outlines of topics to be discussed at the
   Paragraph 1. The authority citation for                                                                      public hearing scheduled for November
                                               published elsewhere in this issue of the
part 301 continues to read in part as fol-                                                                      14, 2007 must be received by October 24,
                                               Bulletin].
lows:                                                                                                           2007.
   Authority: 26 U.S.C. 7805 * * *             *****
   Par. 2. Section 301.6343–2 is amended          (d) * * *                                                     ADDRESSES: Send submissions to
by revising paragraphs (a)(1) introductory        (2) [The text of the proposed amend-                          CC:PA:LPD:PR (REG–128224–06), room
text, (b) introductory text, and (e) to read   ment for §301.7425–3(d)(2) is the same as                        5203, Internal Revenue Service, PO Box
as follows:                                    the text of §301.7425–3T(d)(2) published                         7604, Ben Franklin Station, Washing-
                                               elsewhere in this issue of the Bulletin].                        ton, DC 20044. Submissions may be
§301.6343–2 Return of wrongfully levied           (3) [The text of the proposed amend-                          hand-delivered Monday through Friday
upon property.                                 ment for §301.7425–3(d)(3) is the same as                        between the hours of 8 a.m. and 4 p.m.
                                               the text of §301.7425–3T(d)(3) published                         to CC:PA:LPD:PR (REG–128224–06),
   (a)(1) [The text of the proposed            elsewhere in this issue of the Bulletin].                        Courier’s Desk, Internal Revenue Ser-
amendment for §301.6343–2(a)(1) in-               (4) [The text of the proposed amend-                          vice, 1111 Constitution Avenue, N.W.,
troductory text is the same as the text        ment for §301.7425–3(d)(4) is the same as                        Washington, DC, or sent electronically
of §301.6343–2T(a)(1) introductory text        the text of §301.7425–3T(d)(4) published                         via the Federal eRulemaking Portal at
published elsewhere in this issue of the       elsewhere in this issue of the Bulletin].                        http://www.regulations.gov/ (indicate IRS
Bulletin].                                        (e) [The text of the proposed amend-                          and REG–128224–06). The public hear-
*****                                          ment for §301.7425–3(e) is the same as the                       ing will be held in the IRS Auditorium,
    (b) [The text of the proposed amend-       text of §301.7425–3T(e) published else-                          Internal Revenue Building, 1111 Constitu-
ment for §301.6343–2(b) introductory text      where in this issue of the Bulletin].                            tion Avenue, N.W., Washington, DC.
is the same as the text of §301.6343–2T(b)
introductory text published elsewhere in                                     Kevin M. Brown,                    FOR       FURTHER         INFORMATION
this issue of the Bulletin].                                         Deputy Commissioner for                    CONTACT: Concerning the proposed
                                                                     Services and Enforcement.                  regulations, Jennifer N. Keeney, (202)
*****                                                                                                           622–3060; concerning submissions of
                                               (Filed by the Office of the Federal Register on July 19, 2007,
   (e) [The text of the proposed amend-        8:45 a.m., and published in the issue of the Federal Register    comments, the hearing, or to be placed on
ment for §301.6343–2(e) is the same as the     for July 20, 2007, 72 F.R. 39771)
                                                                                                                the building access list to attend the hear-
text of §301.6343–2T(e) published else-                                                                         ing, Richard A. Hurst, (202) 622–7180
where in this issue of the Bulletin].                                                                           (not toll-free numbers).
   Par. 3. Section 301.7425–3 is amended       Notice of Proposed
by revising paragraphs (a)(1), (b)(1),         Rulemaking and Notice of                                         SUPPLEMENTARY INFORMATION:
(b)(2), (c)(1), (d)(2), (d)(3), and (d)(4),
                                               Public Hearing                                                   Background
and adding paragraph (e) to read as fol-
lows:
                                               Section 67 Limitations on                                           This document contains proposed
§301.7425–3 Discharge of Liens; special        Estates or Trusts                                                amendments to 26 CFR part 1. Section
rules.                                                                                                          67(a) of the Internal Revenue Code (Code)
                                               REG–128224–06                                                    provides that, for an individual taxpayer,
  (a) * * * (1) [The text of the proposed                                                                       miscellaneous itemized deductions are al-
amendment for §301.7425–3(a)(1) is the         AGENCY: Internal Revenue Service                                 lowed only to the extent that the aggregate
same as the text of §301.7425–3T(a)(1)         (IRS), Treasury.                                                 of those deductions exceeds 2 percent of



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adjusted gross income. Section 67(b) ex-        court in Rudkin looked to whether such           Department invite comments on whether
cludes certain itemized deductions from         an expense was “peculiar to trusts” and          any safe harbors or other guidance, con-
the definition of “miscellaneous itemized       “could not” be incurred by an individual.        cerning allocation methods or otherwise,
deductions”. Section 67(e) provides that,           The result of this lack of consistency in    would be helpful.
for purposes of section 67, the adjusted        the case law is that the deductions of simi-
gross income of an estate or trust shall be     larly situated taxpayers may or may not be       Proposed Effective Date
computed in the same manner as in the           subject to the 2-percent floor, depending
case of an individual. However, section         upon the jurisdiction in which the executor         The regulations, as proposed, apply to
67(e)(1) provides that the deductions for       or the trustee is located. The IRS and the       payments made after the date final regula-
costs paid or incurred in connection with       Treasury Department believe that similarly       tions are published in Federal Register.
the administration of the estate or trust and   situated taxpayers should be treated con-
                                                                                                 Special Analyses
which would not have been incurred if the       sistently by having section 67(e)(1) con-
property were not held in such estate or        strued and applied in the same way in all            It has been determined that this notice
trust shall be treated as allowable in arriv-   jurisdictions. The proposed regulations          of proposed rulemaking is not a signifi-
ing at adjusted gross income. Therefore,        are intended to provide a uniform stan-          cant regulatory action as defined in Exec-
deductions described in section 67(e)(1)        dard for identifying the types of costs that     utive Order 12866. Therefore, a regula-
are not subject to the 2-percent floor for      are not subject to the 2-percent floor under     tory assessment is not required. It has also
miscellaneous itemized deductions under         section 67(e)(1).                                been determined that section 553(b) of the
section 67(a).                                                                                   Administrative Procedure Act (5 U.S.C.
    United States courts of appeals have in-    Explanation of Provisions                        chapter 5) does not apply to these regu-
terpreted the language of section 67(e)(1)                                                       lations, and because these regulations do
differently in determining whether costs           These proposed regulations pro-               not impose a collection of information on
incurred by trustees are subject to the         vide that costs incurred by estates or           small entities, the Regulatory Flexibility
2-percent floor. The issue in each case         non-grantor trusts that are unique to an es-     Act (5 U.S.C. chapter 6) does not apply.
has been whether the trust’s costs (specif-     tate or trust are not subject to the 2-percent   Therefore, a Regulatory Flexibility Anal-
ically, investment advisory fees) “would        floor. For this purpose, a cost is unique to     ysis is not required. Pursuant to section
not have been incurred if the property          an estate or trust if an individual could not    7805(f) of the Code, this notice of pro-
were not held in such trust or estate.” In      have incurred that cost in connection with       posed rulemaking has been submitted to
O’Neill v. Commissioner, 994 F.2d 302           property not held in an estate or trust. To      the Chief Counsel for Advocacy of the
(6th Cir. 1993), the Court of Appeals           the extent that expenses paid or incurred        Small Business Administration for com-
for the Sixth Circuit held that investment      by an estate or non-grantor trust do not         ment on its impact on small business.
advisory fees paid for professional in-         meet this standard, they are subject to the
vestment services were fully deductible         2-percent floor of section 67(a). (Neither       Comments and Public Hearing
under section 67(e)(1) where the trustees       section 67 nor this rule applies to expenses
lacked experience in managing large sums        that are excluded under section 67(b) from          Before these proposed regulations are
of money. The court found that, under           the definition of miscellaneous itemized         adopted as final regulations, consideration
state law, the trustee was required to en-      deductions, or to expenses related to a          will be given to any written (a signed origi-
gage an investment advisor to meet its          trade or business.)                              nal and eight (8) copies) or electronic com-
fiduciary obligations and to incur fees that       Under the proposed regulations,               ments that are submitted timely to the IRS.
the trust would not have incurred if the        whether costs are subject to the 2-per-          The IRS and Treasury Department request
property were not held in trust. The court      cent floor on miscellaneous itemized de-         comments on the proposed rules, as well
held that estate or trust expenditures that     ductions depends on the type of services         as their clarity and how they can be made
are necessary to meet specific fiduciary        provided, rather than on taxpayer char-          easier to understand. All comments will be
obligations under state law are not sub-        acterizations or labels for such services.       available for public inspection and copy-
ject to the 2-percent floor. In contrast, in    Thus, taxpayers may not circumvent the           ing.
Mellon Bank, N.A. v. United States, 265         2-percent floor by “bundling” investment            A public hearing has been scheduled
F.3d 1275 (Fed. Cir. 2001), Scott v. United     advisory fees and trustees’ fees into a sin-     for November 14, 2007, beginning at
States, 328 F.3d 132 (4th Cir. 2003), and       gle fee. The regulations provide that, if        10 a.m. in the IRS Auditorium, Inter-
Rudkin v. Commissioner, 467 F.3d 149 (2d        an estate or non-grantor trust pays a single     nal Revenue Building, 1111 Constitution
Cir. 2006), the courts held that investment     fee that includes both costs that are unique     Avenue, N.W., Washington, DC. Due to
advisory fees are subject to the 2-percent      to estates and trusts and costs that are not,    building security procedures, visitors must
floor. These courts read the language of        then the estate or non-grantor trust must        enter at the Constitution Avenue entrance.
section 67(e)(1) differently than the Sixth     use a reasonable method to allocate the          In addition, all visitors must present photo
Circuit. Specifically, the courts in Scott      single fee between the two types of costs.       identification to enter the building. Be-
and Mellon Bank concluded that a trust          The regulations also provide a non-ex-           cause of access restrictions, visitors will
expense is subject to the 2-percent floor       clusive list of services for which the cost      not be admitted beyond the immediate
if it is an expense “commonly” or “cus-         is either exempt from or subject to the          entrance area more than 15 minutes before
tomarily” incurred by individuals; and the      2-percent floor. The IRS and the Treasury        the hearing starts. For information about


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having your name placed on the building        §1.67–4 Costs paid or incurred by estates         fiduciary bond premiums; and communi-
access list to attend the hearing, see the     or non-grantor trusts.                            cations with beneficiaries regarding estate
FOR FURTHER INFORMATION CON-                                                                     or trust matters. A non-exclusive list of
TACT section of this preamble.                     (a) In general. Section 67(e) provides        products or services that are not unique to
   The rules of 26 CFR 601.601(a)(3) ap-       an exception to the 2-percent floor on mis-       an estate or trust, and therefore are subject
ply to the hearing. Persons who wish to        cellaneous itemized deductions for costs          to the 2-percent floor, includes those ren-
present oral comments at the hearing must      that are paid or incurred in connection with      dered in connection with: custody or man-
submit written or electronic comments and      the administration of an estate or a trust        agement of property; advice on investing
an outline of the topics to be discussed       not described in §1.67–2T(g)(1)(i) (a non-        for total return; gift tax returns; the de-
and the time to be devoted to each topic       grantor trust) and which would not have           fense of claims by creditors of the decedent
(signed original and eight (8) copies) by      been incurred if the property were not held       or grantor; and the purchase, sale, mainte-
October 24, 2007. A period of 10 minutes       in such estate or trust. To the extent that       nance, repair, insurance or management of
will be allotted to each person for making     a cost incurred by an estate or non-grantor       non-trade or business property.
comments. An agenda showing the sched-         trust is unique to such an entity, that cost is      (c) “Bundled fees”. If an estate or a
ule of speakers will be prepared after the     not subject to the 2-percent floor on mis-        non-grantor trust pays a single fee, com-
deadline for receiving outlines has passed.    cellaneous itemized deductions. To the ex-        mission or other expense for both costs that
Copies of the agenda will be available free    tent that a cost included in the definition       are unique to estates and trusts and costs
of charge at the hearing.                      of miscellaneous itemized deductions and          that are not, then the estate or non-grantor
                                               incurred by an estate or non-grantor trust        trust must identify the portion (if any) of
Drafting Information                           is not unique to such an entity, that cost is     the legal, accounting, investment advisory,
                                               subject to the 2-percent floor.                   appraisal or other fee, commission or ex-
    The principal author of these regu-            (b) Unique. For purposes of this sec-         pense that is unique to estates and trusts
lations is Jennifer N. Keeney, Office of       tion, a cost is unique to an estate or a          and is thus not subject to the 2-percent
the Office of Associate Chief Counsel          non-grantor trust if an individual could not      floor. The taxpayer must use any rea-
(Passthroughs and Special Industries).         have incurred that cost in connection with        sonable method to allocate the single fee,
                                               property not held in an estate or trust. In       commission or expense between the costs
                  *****
                                               making this determination, it is the type         unique to estates and trusts and other costs.
Proposed Amendments to the                     of product or service rendered to the es-            (d) Effective/applicability date. These
Regulations                                    tate or trust, rather than the characteriza-      regulations are proposed to be effective for
                                               tion of the cost of that product or service,      payments made after the date final regula-
   Accordingly, 26 CFR part 1 is proposed      that is relevant. A non-exclusive list of         tions are published in Federal Register.
to be amended as follows:                      products or services that are unique to an
                                               estate or trust includes those rendered in                                      Kevin M. Brown,
PART 1—INCOME TAXES                            connection with: fiduciary accountings;                                 Deputy Commissioner for
                                               judicial or quasi-judicial filings required                             Services and Enforcement.
   Paragraph 1. The authority citation for     as part of the administration of the estate
                                                                                                 (Filed by the Office of the Federal Register on July 26, 2007,
part 1 continues to read in part as follows:   or trust; fiduciary income tax and estate         8:45 a.m., and published in the issue of the Federal Register
   Authority: 26 U.S.C. 7805 * * *             tax returns; the division or distribution of      for July 27, 2007, 72 F.R. 41243)

   Par. 2. Section 1.67–4 is added to read     income or corpus to or among beneficia-
as follows:                                    ries; trust or will contest or construction;




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Announcement of Disciplinary Actions Involving
Attorneys, Certified Public Accountants, Enrolled Agents,
and Enrolled Actuaries — Reinstatements, Suspensions,
Censures, Disbarments, and Resignations
Announcement 2007-72
    Under Title 31, Code of Federal Regu-        person to practice before the Internal Rev-   their names, their city and state, their pro-
lations, Part 10, attorneys, certified public    enue Service during a period of suspen-       fessional designation, the effective date
accountants, enrolled agents, and enrolled       sion, disbarment, or ineligibility of such    of disciplinary action, and the period of
actuaries may not accept assistance from,        other person.                                 suspension. This announcement will ap-
or assist, any person who is under disbar-          To enable attorneys, certified public      pear in the weekly Bulletin at the earliest
ment or suspension from practice before          accountants, enrolled agents, and enrolled    practicable date after such action and will
the Internal Revenue Service if the assis-       actuaries to identify persons to whom         continue to appear in the weekly Bulletins
tance relates to a matter constituting prac-     these restrictions apply, the Director, Of-   for five successive weeks.
tice before the Internal Revenue Service         fice of Professional Responsibility, will
and may not knowingly aid or abet another        announce in the Internal Revenue Bulletin


Reinstatement To Practice Before the Internal Revenue
Service
   Under Title 31, Code of Federal Reg-          ney, certified public accountant, enrolled       The following individuals’ eligibility to
ulations, Part 10, The Director, Office of       agent, or enrolled actuary censured, sus-     practice before the Internal Revenue Ser-
Professional Responsibility, may entertain       pended, or disbarred, from practice before    vice has been restored:
a petition for reinstatement for any attor-      the Internal Revenue Service.


 Name                              Address                           Designation                       Date of Reinstatement

 Mollo, Charles W.                 Anaheim, CA                      EA                                 December 1, 2004
 Price, Richard A.                 Novato, CA                       CPA                                April 29, 2005
 Reyes, Ruperto D.                 Placentia, CA                    CPA                                December 8, 2005
 Schwartz, Kenneth J.              West Hills, CA                   Attorney                           February 28, 2006
 McCarthy III, William P.          Sacramento, CA                   EA                                 March 10, 2006
 Deen, Mae T.                      Salinas, CA                      EA                                 April 16, 2006
 Banks, Jean R.                    Van Nuys, CA                     EA                                 December 6, 2006
 Eckstein, Matthew                 Woodbury, NY                     CPA                                March 14, 2007
 Cunningham, William               Philadelphia, PA                 CPA                                March 31, 2007
 Ganz, Sheldon M.                  Great Neck, NY                   CPA                                April 19, 2007
 Smith, Sean M.                    Kensington, MD                   Enrolled Agent                     April 27, 2007
 Frascella, Russell B.             Pound Ridge, NY                  CPA                                April 27, 2007
 Lamont, Alice                     Atlanta, GA                      CPA                                May 4, 2007
 Carroccio, Ronald P.              Staten Island, NY                CPA                                May 15, 2007
 Cohen, Ronald J.                  Cornwall, NY                     Attorney                           June 21, 2007
 Troese, Jr., Henry A.             Clarion, PA                      Enrolled Agent                     June 25, 2007


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 Name                              Address                          Designation                      Date of Reinstatement


 Jacob, Robert T.                  Tucson, AZ                      Enrolled Agent                    June 27, 2007
 Simontacchi, Joseph F.            Rockaway, NJ                    CPA                               July 3, 2007
 Kimes, Larry W.                   Irving, TX                      CPA                               July 6, 2007


Consent Suspensions From Practice Before the Internal
Revenue Service
    Under Title 31, Code of Federal Regu-       tice before the Internal Revenue Service,     rolled actuary in accordance with the con-
lations, Part 10, an attorney, certified pub-   may offer his or her consent to suspension    sent offered.
lic accountant, enrolled agent, or enrolled     from such practice. The Director, Office         The following individuals have been
actuary, in order to avoid the institution      of Professional Responsibility, in his dis-   placed under consent suspension from
or conclusion of a proceeding for his or        cretion, may suspend an attorney, certified   practice before the Internal Revenue Ser-
her disbarment or suspension from prac-         public accountant, enrolled agent, or en-     vice:


 Name                              Address                          Designation                      Date of Suspension

 Caplan, Howard A.                 Ocean, NJ                       CPA                               Indefinite
                                                                                                     from
                                                                                                     April 1, 2007
 Tow, Marc R.                      Newport Beach, CA               Attorney                          Indefinite
                                                                                                     from
                                                                                                     April 1, 2007
 Pyburn, Richard E.                Downers Grove, IL               CPA                               Indefinite
                                                                                                     from
                                                                                                     April 9, 2007
 Cook, Jack D.                     South Haven, MI                 CPA                               Indefinite
                                                                                                     from
                                                                                                     April 17, 2007
 Serban, Daniel E.                 Roanoke, IN                     Attorney                          Indefinite
                                                                                                     from
                                                                                                     April 19, 2007
 Wentz, Debora B.                  Newton, NC                      CPA                               Indefinite
                                                                                                     from
                                                                                                     April 19, 2007
 Ferguson, Duane F.                Upland, CA                      CPA                               Indefinite
                                                                                                     from
                                                                                                     May 1, 2007
 Mulrey, Robert M.                 Milton, MA                      CPA                               Indefinite
                                                                                                     from
                                                                                                     May 1, 2007
 Colasuonno, Philip V.             New Rochelle, NY                CPA                               Indefinite
                                                                                                     from
                                                                                                     May 23, 2007
 Bankston, David A.                Land O Lakes, FL                CPA                               Indefinite
                                                                                                     from
                                                                                                     June 1, 2007


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 Name                              Address                           Designation                        Date of Suspension


 Nagy, Robert J.                   Charleston, SC                    CPA                               Indefinite
                                                                                                       from
                                                                                                       June 1, 2007
 Wallen, David G.                  Beckley, WV                       CPA                               Indefinite
                                                                                                       from
                                                                                                       June 15, 2007
 Rudick, Josephine M.              Bear Creek, PA                    Enrolled Agent                    Indefinite
                                                                                                       from
                                                                                                       June 25, 2007
 Iglesias, Jorge E.                Roswell, GA                       CPA                               Indefinite
                                                                                                       from
                                                                                                       July 1, 2007
 Raimer, Russell B.                Brecksville, OH                   CPA                               Indefinite
                                                                                                       from
                                                                                                       July 1, 2007
 Stancukas, Stanley J.             Forth Worth, TX                   CPA                               Indefinite
                                                                                                       from
                                                                                                       July 1, 2007


Expedited Suspensions From Practice Before the Internal
Revenue Service
    Under Title 31, Code of Federal Regu-        the expedited proceeding is instituted (1)        The following individuals have been
lations, Part 10, the Director, Office of Pro-   has had a license to practice as an attor-     placed under suspension from practice be-
fessional Responsibility, is authorized to       ney, certified public accountant, or actuary   fore the Internal Revenue Service by virtue
immediately suspend from practice before         suspended or revoked for cause or (2) has      of the expedited proceeding provisions:
the Internal Revenue Service any practi-         been convicted of certain crimes.
tioner who, within five years from the date


 Name                              Address                           Designation                        Date of Suspension

 Barach, Malcolm J.                Brookline, MA                     Attorney                          Indefinite
                                                                                                       from
                                                                                                       March 9, 2007
 Cox, Marlisa R.                   Oklahoma City, OK                 CPA                               Indefinite
                                                                                                       from
                                                                                                       April 2, 2007
 Artis, Paris A.                   Newberry, FL                      Attorney                          Indefinite
                                                                                                       from
                                                                                                       April 13, 2007
 Blackadar, Christine M.           Center Harbor, NH                 Attorney                          Indefinite
                                                                                                       from
                                                                                                       April 13, 2007
 Brelje, Brian J.                  Laguna Beach, CA                  CPA                               Indefinite
                                                                                                       from
                                                                                                       April 13, 2007


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Name                   Address            Designation           Date of Suspension


Decker, Craig A.       Mesa, AZ           Attorney              Indefinite
                                                                from
                                                                April 13, 2007

House, Stephen M.      Nevada City, CA    CPA                   Indefinite
                                                                from
                                                                April 13, 2007

Laird, James J.        San Ramon, CA      CPA                   Indefinite
                                                                from
                                                                April 13, 2007

Milner, Dennis V.      Dublin, CA         Attorney              Indefinite
                                                                from
                                                                April 13, 2007

Nutt, Jeremy C.        Forth Worth, TX    Attorney              Indefinite
                                                                from
                                                                April 13, 2007

Picl, Frank M.         Peoria, IL         Attorney              Indefinite
                                                                from
                                                                April 13, 2007

Britt, Jerry U.        Mount Olive, NC    CPA                   Indefinite
                                                                from
                                                                April 19, 2007

Lee, Janell M.         Oakland, CA        CPA                   Indefinite
                                                                from
                                                                April 19, 2007

Baker, Sean W.         Elkridge, MD       Attorney              Indefinite
                                                                from
                                                                April 30, 2007

Brett, Stephen M.      York Beach, ME     Attorney              Indefinite
                                                                from
                                                                April 30, 2007

Donahue, Richard K.    Lowell, MA         CPA                   Indefinite
                                                                from
                                                                April 30, 2007

Frank, Mack I.         Eunice, LA         Attorney              Indefinite
                                                                from
                                                                April 30, 2007

Leung, Elsie Y.        Pasadena, CA       CPA                   Indefinite
                                                                from
                                                                April 30, 2007

Pearlman, Stephen E.   Dix Hills, NY      Attorney              Indefinite
                                                                from
                                                                April 30, 2007

Peer, Jameelah         Waimanalo, HI      Attorney              Indefinite
                                                                from
                                                                April 30, 2007


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Name                    Address             Designation         Date of Suspension


Riskowski, Patrick T.   Omaha, NE           Attorney            Indefinite
                                                                from
                                                                April 30, 2007
Schumacher, Mary M.     Dubuque, IA         Attorney            Indefinite
                                                                from
                                                                April 30, 2007
DeVaughn, Donald L.     Plainview, MN       Attorney            Indefinite
                                                                from
                                                                May 1, 2007
Waggle, Stephen L.      Los Banos, CA       CPA                 Indefinite
                                                                from
                                                                May 24, 2007
Nefsky, Melvyn I.       Los Angeles, CA     CPA                 Indefinite
                                                                from
                                                                June 11, 2007
Neuendorf, Louis E.     Sandwich, IL        Attorney            Indefinite
                                                                from
                                                                June 11, 2007
Thomas, Scott C.        Parker, CO          Attorney            Indefinite
                                                                from
                                                                June 11, 2007
Todd, Donald J.         South Holland, IL   CPA                 Indefinite
                                                                from
                                                                June 11, 2007
Winrow, Wayne           Emeryville, CA      Attorney            Indefinite
                                                                from
                                                                June 11, 2007
Cannon, Todd R.         Florence, CO        Attorney            Indefinite
                                                                from
                                                                June 12, 2007
Hester, Karen H.        Overland Park, KS   Attorney            Indefinite
                                                                from
                                                                June 25, 2007
Denman, Dwight E.       Dallas, TX          Attorney            Indefinite
                                                                from
                                                                June 25, 2007
Korcan, Barry           Loretto, PA         CPA                 Indefinite
                                                                from
                                                                June 25, 2007
Lloyd, Max C.           South Jordan, UT    CPA                 Indefinite
                                                                from
                                                                June 25, 2007
White, Lanny R.         Lindon, UT          CPA                 Indefinite
                                                                from
                                                                June 25, 2007
Bjorklund, Dennis A.    Coralville, IA      Attorney            Indefinite
                                                                from
                                                                June 28, 2007

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 Name                           Address                          Designation                      Date of Suspension


 Noel, Robert                   Fairfield, CA                   Attorney                          Indefinite
                                                                                                  from
                                                                                                  June 28, 2007
 Sanger, Susan L.               Greenwood Village, CO           Attorney                          Indefinite
                                                                                                  from
                                                                                                  June 28, 2007
 Shatzen, Robert S.             Beaverton, OR                   Attorney                          Indefinite
                                                                                                  from
                                                                                                  June 28, 2007
 Stevenson, Albert D.           Olive Branch, MS                CPA                               Indefinite
                                                                                                  from
                                                                                                  June 28, 2007
 Van Beek, Andrea               Orange City, IA                 Attorney                          Indefinite
                                                                                                  from
                                                                                                  June 28, 2007
 Sojcher, Stuart H.             Winchester, MA                  Attorney                          Indefinite
                                                                                                  from
                                                                                                  July 3, 2007
 Estrada, Severo C.             San Jose, CA                    CPA                               Indefinite
                                                                                                  from
                                                                                                  July 3, 2007
 Ferguson, Robert E.            Salt Point, NY                  Attorney                          Indefinite
                                                                                                  from
                                                                                                  July 3, 2007
 Wickenkamp, Mary C.            Denison, TX                     Attorney                          Indefinite
                                                                                                  from
                                                                                                  July 3, 2007


Suspensions From Practice Before the Internal Revenue
Service After Notice and an Opportunity for a Proceeding
   Under Title 31, Code of Federal Reg-      ministrative law judge, the following indi-   from practice before the Internal Revenue
ulations, Part 10, after notice and an op-   viduals have been placed under suspension     Service:
portunity for a proceeding before an ad-


 Name                           Address                          Designation                      Effective Date

 Cettomai, Joseph W.            Rootstown, OH                   CPA                               Indefinite
                                                                                                  from
                                                                                                  April 19, 2007




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Disbarments From Practice Before the Internal Revenue
Service After Notice and an Opportunity for a Proceeding
    Under Title 31, Code of Federal Regu-       tunity for a proceeding before an adminis-      als have been disbarred from practice be-
lations, Part 10, after notice and an oppor-    trative law judge, the following individu-      fore the Internal Revenue Service:


 Name                             Address                            Designation                        Effective Date

 Haynes, Scott Y.                 Valdosta, GA                      CPA                                 March 19, 2007


Censure Issued by Consent
   Under Title 31, Code of Federal Reg-         or enrolled actuary, may offer his or her          The following individuals have con-
ulations, Part 10, in lieu of a proceeding      consent to the issuance of a censure. Cen-      sented to the issuance of a Censure:
being instituted or continued, an attorney,     sure is a public reprimand.
certified public accountant, enrolled agent,


 Name                             Address                            Designation                        Date of Censure

 Lyons, John K.                   Dingmans Ferry, PA                Attorney                            April 4, 2007
 Bowman, T. Hardie                Corpus Christi, TX                CPA                                 May 23, 2007
 Kofford, Brian T.                Provo, UT                         CPA                                 June 12, 2007


Resignations of Enrolled Agents
    Under Title 31, Code of Federal Regu-       ternal Revenue Service, may offer his or           The Director, Office of Professional
lations, Part 10, an enrolled agent, in or-     her resignation as an enrolled agent. The       Responsibility, has accepted offers of res-
der to avoid the institution or conclusion      Director, Office of Professional Responsi-      ignation as an enrolled agent from the
of a proceeding for his or her disbarment       bility, in his discretion, may accept the of-   following individuals:
or suspension from practice before the In-      fered resignation.


 Name                                          Address                                     Date of Resignation

 Hancock, William H.                           Plant City, FL                             April 10, 2007
                                                listed organization on or before the date           If on the other hand a suit for declara-
                                                of announcement in the Internal Revenue         tory judgment has been timely filed, con-
Deletions From Cumulative
                                                Bulletin that an organization no longer         tributions from individuals and organiza-
List of Organizations                           qualifies. However, the Service is not          tions described in section 170(c)(2) that
Contributions to Which                          precluded from disallowing a deduction          are otherwise allowable will continue to
are Deductible Under Section                    for any contributions made after an or-         be deductible. Protection under section
170 of the Code                                 ganization ceases to qualify under section      7428(c) would begin on September 4,
                                                170(c)(2) if the organization has not timely    2007, and would end on the date the court
Announcement 2007–76                            filed a suit for declaratory judgment under     first determines that the organization is
                                                section 7428 and if the contributor (1) had     not described in section 170(c)(2) as more
   The names of organizations that no           knowledge of the revocation of the ruling       particularly set forth in section 7428(c)(1).
longer qualify as organizations described       or determination letter, (2) was aware that     For individual contributors, the maximum
in section 170(c)(2) of the Internal Rev-       such revocation was imminent, or (3) was        deduction protected is $1,000, with a hus-
enue Code of 1986 are listed below.             in part responsible for or was aware of the     band and wife treated as one contributor.
   Generally, the Service will not disallow     activities or omissions of the organization     This benefit is not extended to any indi-
deductions for contributions made to a          that brought about this revocation.             vidual, in whole or in part, for the acts or


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omissions of the organization that were   Say No to Drugs                  Business & Nonprofit Center
the basis for revocation.                   Greenville, TX                  of Eastern Madera County
                                          Shamrock Boxing, Inc.             Fresno, CA
Progressive Services, Inc.                  Covington, KY
  Norman, OK                              National Home Foundation, Inc.
Harold Binstein Humanitarian Fund           Rockville, MD
  Chicago, IL




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Definition of Terms
Revenue rulings and revenue procedures           and B, the prior ruling is modified because      of a prior ruling, a combination of terms
(hereinafter referred to as “rulings”) that      it corrects a published position. (Compare       is used. For example, modified and su-
have an effect on previous rulings use the       with amplified and clarified, above).            perseded describes a situation where the
following defined terms to describe the ef-          Obsoleted describes a previously pub-        substance of a previously published ruling
fect:                                            lished ruling that is not considered deter-      is being changed in part and is continued
    Amplified describes a situation where        minative with respect to future transac-         without change in part and it is desired to
no change is being made in a prior pub-          tions. This term is most commonly used in        restate the valid portion of the previously
lished position, but the prior position is be-   a ruling that lists previously published rul-    published ruling in a new ruling that is self
ing extended to apply to a variation of the      ings that are obsoleted because of changes       contained. In this case, the previously pub-
fact situation set forth therein. Thus, if       in laws or regulations. A ruling may also        lished ruling is first modified and then, as
an earlier ruling held that a principle ap-      be obsoleted because the substance has           modified, is superseded.
plied to A, and the new ruling holds that the    been included in regulations subsequently            Supplemented is used in situations in
same principle also applies to B, the earlier    adopted.                                         which a list, such as a list of the names of
ruling is amplified. (Compare with modi-             Revoked describes situations where the       countries, is published in a ruling and that
fied, below).                                    position in the previously published ruling      list is expanded by adding further names in
    Clarified is used in those instances         is not correct and the correct position is       subsequent rulings. After the original rul-
where the language in a prior ruling is be-      being stated in a new ruling.                    ing has been supplemented several times, a
ing made clear because the language has              Superseded describes a situation where       new ruling may be published that includes
caused, or may cause, some confusion.            the new ruling does nothing more than re-        the list in the original ruling and the ad-
It is not used where a position in a prior       state the substance and situation of a previ-    ditions, and supersedes all prior rulings in
ruling is being changed.                         ously published ruling (or rulings). Thus,       the series.
    Distinguished describes a situation          the term is used to republish under the              Suspended is used in rare situations
where a ruling mentions a previously pub-        1986 Code and regulations the same po-           to show that the previous published rul-
lished ruling and points out an essential        sition published under the 1939 Code and         ings will not be applied pending some
difference between them.                         regulations. The term is also used when          future action such as the issuance of new
    Modified is used where the substance         it is desired to republish in a single rul-      or amended regulations, the outcome of
of a previously published position is being      ing a series of situations, names, etc., that    cases in litigation, or the outcome of a
changed. Thus, if a prior ruling held that a     were previously published over a period of       Service study.
principle applied to A but not to B, and the     time in separate rulings. If the new rul-
new ruling holds that it applies to both A       ing does more than restate the substance


Abbreviations
The following abbreviations in current use       ER—Employer.                                     PRS—Partnership.
and formerly used will appear in material        ERISA—Employee Retirement Income Security Act.   PTE—Prohibited Transaction Exemption.
                                                 EX—Executor.                                     Pub. L.—Public Law.
published in the Bulletin.
                                                 F—Fiduciary.                                     REIT—Real Estate Investment Trust.
                                                 FC—Foreign Country.                              Rev. Proc.—Revenue Procedure.
A—Individual.
                                                 FICA—Federal Insurance Contributions Act.        Rev. Rul.—Revenue Ruling.
Acq.—Acquiescence.
B—Individual.                                    FISC—Foreign International Sales Company.        S—Subsidiary.
                                                 FPH—Foreign Personal Holding Company.            S.P.R.—Statement of Procedural Rules.
BE—Beneficiary.
                                                 F.R.—Federal Register.                           Stat.—Statutes at Large.
BK—Bank.
B.T.A.—Board of Tax Appeals.                     FUTA—Federal Unemployment Tax Act.               T—Target Corporation.
                                                 FX—Foreign corporation.                          T.C.—Tax Court.
C—Individual.
                                                 G.C.M.—Chief Counsel’s Memorandum.               T.D. —Treasury Decision.
C.B.—Cumulative Bulletin.
CFR—Code of Federal Regulations.                 GE—Grantee.                                      TFE—Transferee.
                                                 GP—General Partner.                              TFR—Transferor.
CI—City.
                                                 GR—Grantor.                                      T.I.R.—Technical Information Release.
COOP—Cooperative.
Ct.D.—Court Decision.                            IC—Insurance Company.                            TP—Taxpayer.
                                                 I.R.B.—Internal Revenue Bulletin.                TR—Trust.
CY—County.
                                                 LE—Lessee.                                       TT—Trustee.
D—Decedent.
DC—Dummy Corporation.                            LP—Limited Partner.                              U.S.C.—United States Code.
                                                 LR—Lessor.                                       X—Corporation.
DE—Donee.
                                                 M—Minor.                                         Y—Corporation.
Del. Order—Delegation Order.
DISC—Domestic International Sales Corporation.   Nonacq.—Nonacquiescence.                         Z —Corporation.
                                                 O—Organization.
DR—Donor.
                                                 P—Parent Corporation.
E—Estate.
                                                 PHC—Personal Holding Company.
EE—Employee.
                                                 PO—Possession of the U.S.
E.O.—Executive Order.
                                                 PR—Partner.


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1 A cumulative list of current actions on previously published items in Internal Revenue Bulletins 2007–1 through 2007–26 is in Internal Revenue Bulletin 2007–26, dated June 25, 2007.



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